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                 Exhibit B
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March , 2021

NYC Police Reform and
Reinvention Collaborative
Draft Plan




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                Executive Summary
                We envision an NYPD that is the nation’s exemplar institution
                for fair, just, transparent, and accountable policing regardless of
                race, gender, ethnicity, sexual orientation, religion, immigration
                or socioeconomic status. This reflects an aspirational, but
                achievable vision for the City and the Department that is
                based on concerns communicated by hundreds of members
                of communities throughout New York City, leaders of nonprofit
                organizations, clergy, businesspeople, and other stakeholders, as
                well as members of the police force.

                The dire problem of racism in policing has existed in the United
                States from its origins. Racialized policing in New York City is a
                tragic part of that larger history of over 400 years of oppression,
                which runs from slave catching and kidnapping in the 19th
                century in a direct line through to more contemporary practices of
                unconstitutional stops and frisks of Black and Brown individuals,
                and countless assaults and deaths at the hands of police.

                Addressing the legacy and harm of racialized policing in New
                York is a critical step in starting the healing process. To start that
                healing, on February 23, 2021, Police Commissioner Dermot
                Shea acknowledged the following at a Greater Harlem Chamber
                of Commerce event:

                “These many years of racist policies and practices have
                 caused – and continue to cause – immeasurable harm, trauma,
                 discrimination, and injustice for so many in the United States. It
                 exists in all aspects of society, including in policing.

                Police have always been an inexorable part of that story. Whether
                it was arresting runaway slaves or enforcing unjust Jim Crow laws,
                this has been a stain on law enforcement’s history in America.
                We have to acknowledge this truth – and I do. And we must
                acknowledge the NYPD’s historical role in the mistreatment of
                communities of color. I am sorry.

                Our challenge today is to ensure that we will not participate in, or
                tolerate, any further inequality or injustice.”

                This report will outline the ongoing effort of New York City
                government to confront and combat this legacy. This report and
                draft plan for new action was born out of the protest movement
                and renewed calls for police reform across the country that arose
                following May 25, 2020, when the murder of George Floyd in
                Minneapolis shocked our national conscience. This draft plan is


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                                     also written in recognition of our long and painful history, which
                                     includes the deaths of Anthony Baez, Amadou Diallo, Ousmane
                                     Zango, Sean Bell, Ramarley Graham, Patrick Dorismond, Akai
                                     Gurley, and Eric Garner, amongst others.

                                     Equally important, this report responds to the demands of New
                                     Yorkers. A foundation of this report is testimony we took from
                                     hundreds of people across the five boroughs, conveying the
                                     anxiety and pain they carry with them every waking hour from a
                                     lifetime of being stopped and frisked multiple times, the trauma
                                     from being abused by the police as children, the destruction
                                     brought by a wrongful accusation, and the lasting damage to their
                                     prospects of getting a great education and fulfilling career just
                                     because they grew up in an over-policed neighborhood.

                                     We present this draft plan in full acknowledgement that it may be
                                     received with skepticism by many, including those New Yorkers
                                     who bravely contributed to the plan when they spoke to us about
                                     their experiences. Like so many of us, these New Yorkers have
                                     waited in anguish for lasting solutions to the entrenched problems
                                     of our nation. Yet, this draft plan is also presented on the heels of
                                     seven years of progress. Seven years that have shown that New
                                     Yorkers working together in an ongoing process of reform can
                                     change course in the face of history.

                                     On New Year’s Day 2014, Mayor de Blasio used his first minutes
                                     in office to declare that his new Administration would break an old
                                     and painful cycle: “We will reform a broken Stop and Frisk policy,”
                                     he said, “both to protect the dignity and rights of young men of
                                     color, and to give our brave police officers the partnership they
                                     need to continue their success in driving down crime. We won’t
                                     wait. We’ll do it now.”

                                     There were many who said it couldn’t be done, that America’s
                                     largest city must choose between protecting public safety and
                                     respecting dignity and civil rights. But New Yorkers showed it was
                                     possible and that these principles go hand-in-hand. Together, we
                                     ended the racist policy of Stop and Frisk. Together, we ushered in
                                     a new era of Neighborhood Policing. Together, communities and
                                     the police who serve them drove crime down to levels not seen in
                                     half a century.

                                     New Yorkers have proven we do not have to choose between
                                     safety and civil rights. Police enforcement across the board has
                                     changed. New York City’s rates of incarceration have fallen. The
                                     combination of Neighborhood Policing and Precision Policing has
                                     offered a renewed confidence that public safety means pursuing

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                security in partnership with the public. Over the same period,
                the Administration has taken unprecedented steps to address
                the root causes of poverty and mental illness through Pre-K for
                All, affordable housing construction, ThriveNYC and a great
                deal more. Meanwhile, apart from a national rise in gun violence
                during the pandemic, major crime has dramatically decreased
                in New York City. (A fuller, more detailed history of the de Blasio
                Administration’s efforts can be found at the end of this report:
                Background: Laying a Foundation of Reform: 2014-2020.)

                Now, we take a new step forward with this draft plan. We
                understand that we have not, nor can we, erase a 400-year
                legacy during one mayoralty, or as the result of one plan. The
                work of reform never ends, and we won’t stop where we are.

                We must also note that the process of creating this draft plan
                reflects its goal. The City of New York has engaged stakeholders
                and communities, particularly those most affected by police
                actions, as well as members of service from the NYPD, in
                creating a shared vision of public safety and rebuilding mutual
                trust through an inclusive process. To strengthen the police-
                community relationship, the City convened a wide range of
                participants for an honest dialogue about the role of the police in
                our communities.

                This draft plan was created by listening to the experiences and
                insights of hundreds of residents of neighborhoods throughout
                the five boroughs, in forums of varying size and structure. New
                Yorkers who shared their insights, include community based
                organizations (CBOs), advocacy groups, clergy, racial justice
                advocates, cure violence providers, youth groups and youth
                voices, ethnic and religious organizations, BIDs and small
                business owners, non-profits, LGBTQI+ community leaders, the
                deaf and hard-of-hearing community, people with disabilities,
                tenants’ associations, shelter-based and affordable-housing
                communities and providers, people involved in the justice system,
                crime victims, policy experts, prosecutors, oversight bodies,
                judges, elected officials, academic leaders, and many others.
                Special attention was paid to voices from those parts of the city
                that have suffered the most.

                To ensure all voices were heard in this process and to solidify
                the partnership around reform, meetings were also hosted with
                uniform and civilian members of the NYPD. These meetings
                paralleled the community meetings, focusing on members
                assigned to work in the very same highly affected neighborhoods


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                                     as the residents who offered testimony.

                                     The New York City Police Reform and Reinvention Collaborative
                                     Draft Plan is the result of this work. It envisions an NYPD that
                                     stays true to its history of bravery in the service to the public,
                                     that maintains its stellar record of driving down crime, while
                                     continuing to transform itself into an example of just, transparent,
                                     and accountable policing, implemented equitably, without
                                     regard to race, gender, ethnicity, sexual orientation, religion, or
                                     immigration or socioeconomic status.

                                     The City’s draft plan focuses on five goals:

                                         1. Transparency and Accountability to the People of New York
                                            City.
                                          2. Community Representation and Partnership.
                                          3. Recognition and Continual Examination of Historical and
                                             Modern-Day Racialized Policing in New York City.
                                          4. The Decriminalization of Poverty.
                                          5. A Diverse, Resilient, and Supportive NYPD.

                                     We have ended the era of Stop and Frisk, created the era of
                                     Neighborhood Policing, and changed the fundamentals of how
                                     New Yorkers are charged, incarcerated, and released under our
                                     criminal justice system. We have also taken notice of similar
                                     efforts outside of New York City. This report is also built on the
                                     work of President Obama’s Presidential Task Force on 21st
                                     Century Policing, the United States Conference of Mayors Report
                                     on police reform and racial justice, and other notable reports
                                     addressing the call for reform.

                                     Now, the work of reform in New York City continues. The City
                                     offers this report and its 36 proposals for public comment. We
                                     are continuing to review and incorporate input from the public
                                     and from stakeholder engagement, and will update this report
                                     with additional proposals to fundamentally address the problem
                                     of racial bias and other areas in policing in New York City. The
                                     final report will be issued after feedback has been collected and
                                     reviewed.

                                     Based on continuing stakeholder engagement, the New York City
                                     Police Reform and Reinvention Collaborative is seeking input
                                     on the entire draft plan, as well as proposals and public input
                                     on certain additional areas for future public and City Council
                                     consideration:



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                   •   Fair, effective, credible, and transparent early intervention
                       strategies to identify troubling trends in officer
                       performance and to address them immediately to prevent
                       harm to communities
                   •   A public safety and social service system for all, including
                       our more vulnerable communities such as people with
                       disabilities, immigrant communities, people involved in the
                       sex trade, and people who use drugs
                   •   A citywide biometric technology policy
                   •   Policies designed to increase the number of New York City
                       residents who make up the NYPD

                This draft plan, which is responsive to New York State Executive
                Order 203, is meant to be informed and enhanced as we receive
                further feedback from the public, and the City Council. This report
                and its proposals will continue to reflect the demands of today’s
                New Yorkers, based on their experiences in all sections of our
                complex and diverse city.

                The work of reform never ends, and we won’t stop where we are.


                Developing the NYC Police Reform and
                Reinvention Collaborative
                The City’s Reform and Reinvention Collaborative was convened
                by the Mayor, and led by the First Deputy Mayor working in
                partnership with the Police Commissioner, leaders across City
                Hall, the Mayor’s Office of Criminal Justice, Community Affairs
                Unit, Legislative Affairs Unit, and the Law Department.

                Listening to New Yorkers
                The New York City Police Reform and Reinvention Collaborative
                held more than 85 meetings and town halls, including nine public
                listening sessions, over several months to get testimony and
                feedback from a broad range of New Yorkers.

                There were meetings with external stakeholders including CBOs,
                advocacy groups, clergy, racial justice advocates, cure violence
                providers, youth groups and youth voices, ethnic and religious
                organizations, BIDs and small business owners, non-profits,
                LGBTQIA+ community leaders, the deaf and hard-of-hearing
                community, people with disabilities, tenants’ associations,
                shelter-based and affordable housing communities and providers,


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                                     people involved in the justice system, crime victims, policy
                                     experts, prosecutors, oversight bodies, judges, elected officials,
                                     academic leaders, and many others.

                                     The New York City Police Reform and Reinvention Collaborative
                                     hosted meetings with uniform and civilian members of the
                                     NYPD. These meetings paralleled the community meetings,
                                     focusing on members assigned to work in the very same highly
                                     affected neighborhoods as the residents who offered testimony.
                                     Uniform and civilian members of all ranks, ages, races, genders,
                                     orientations, ethnic backgrounds, and assignments participated,
                                     along with leaders from NYPD’s police unions and 36 different
                                     fraternal organizations. All members of the NYPD, like members
                                     of the public, had the opportunity to submit policy proposals for
                                     review and consideration.

                                     The New York City Police Reform and Reinvention Collaborative
                                     also built on the work of President Obama’s Presidential Task
                                     Force on 21st Century Policing, the United States Conference
                                     of Mayors Report on police reform and racial justice, and other
                                     notable reports addressing the call for reform.

                                     The needs and concerns identified through this process were as
                                     diverse as New York City itself.

                                     There was near-universal support for building on the success
                                     of the CCRB and strengthening and clarifying its role in the
                                     disciplinary process.

                                     The City has already announced critical measures to address this
                                     need including creating the NYPD Disciplinary System Penalty
                                     Guidelines, or Discipline Matrix, and an agreement between the
                                     NYPD and the CCRB that will increase accountability, fairness,
                                     and consistency in the disciplinary process.

                                     Another area of near-universal support was the urgent need
                                     to address the disproportionate law enforcement impact that
                                     communities of color experience. While this administration has
                                     prioritized policies that directly address such disproportionate
                                     enforcement, we must listen to what neighborhood residents are
                                     saying – this work is not done, it must be proactive and ongoing.

                                     The Police Reform and Reinvention Collaborative received input
                                     concerning the appropriate role of the police as first responders
                                     to a wide variety of community concerns, ranging from persons
                                     experiencing mental health crises to ensuring student safety in
                                     the City’s school system. Members of the NYPD likewise said


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                 they feel ill-prepared to provide an appropriate response when
                 the most significant issue is a mental health or social service
                 issue rather than a public safety one.

                 And finally, New Yorkers in neighborhoods that are most affected
                 by policing, as well as members of the NYPD themselves,
                 expressed frustration about a lack of transparency into
                 departmental operations and decision-making, and the need for
                 greater familiarity between the community and the NYPD.

                 We received a wide range of feedback, including profound
                 critiques. The following is some of the firsthand testimony
                 received from our fellow New Yorkers on key issues.

                 New Yorkers spoke about the need to directly address the
                 bias and discrimination they’ve experienced:
                   “Just having “diversity training” is not going to cut it. If people
                    have deep seeded racist tendencies, they have to be weeded
                    out.”

                   “If we talk about reimagining, with people adversely impacted
                    by justice processes, we have to talk about truth and
                    reconciliation. We have to have accountability about practices
                    today and have to talk about how law enforcement played a
                    structural role in this. Our neighborhoods didn’t get here by
                    accident.”

                   “We in the poor disenfranchised Black community have been
                    directly impacted through many forms. Fear tactics, targeting,
                    blatant lies, gang-like behavior, bullying and so much more.”

                   “I’ve experienced racism within the department. There are a
                    lot of deniers at the top of the chain saying that there is no
                    systemic racism within the NYPD.”

                   “We should be employable. We’re coming up through different
                    circumstances; these people haven’t done anything bad; they
                    need a second chance.”

                   “When I walk through a deserted South Shore neighborhood
                    at night and see an officer, I feel safe. When one of my Latinx
                    employees does that, she’s asked where she’s going.”

                 New Yorkers spoke about the need for transparency and
                 accountability:
                   “You continue to hear about accountability, transparency and
                    trust. The chief says that officers were disciplined. The public


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                                           has no visibility into it, and so trust is not restored.”

                                          “We need more than just website with details, we need to
                                           let the community know that you’ll publicly make sure that
                                           wrongs are being dealt with.”

                                          “How do suspensions without pay work when the suspension
                                           is over? Is it made public when the officer returns?
                                          Transparency on next steps? How are they reintegrated?
                                           Cycle of discipline?”

                                          “How does supervision work in the field after people have been
                                           trained, to make sure people are following it?”

                                      New Yorkers spoke about the need to decriminalize poverty
                                      and mental illness:
                                        “The most glaring issue in the Bronx is the mental health
                                         challenges. NYPD should be the last resort, not the first.”

                                          “Police won’t cure poverty What can we give to the community
                                           outside of policing? How can we build the community up
                                           outside of policing? What does this community need? If they
                                           got it do you think the crime rate would go down? I think I
                                           would start the conversation with a question, “what do they
                                           need?” or “why is this happening?” Understanding the root
                                           before curing the branches.”

                                          “How are we going to address root causes of violence and
                                           crime? It’s a public health issue. Start the conversation from
                                           that premise, then we can discuss how law enforcement has
                                           been used to address social and income inequality, and why
                                           people commit crimes or come in contact with the justice
                                           system. We need to have an honest conversation about how
                                           to address root causes of poverty.”

                                          “Communities that are well resourced don’t have as many
                                           police, but it’s because they have resources and don’t need
                                           them.”

                                          “When an officer arrests a youth, find out why they were doing
                                           what they were doing.”

                                          “We are skipping some steps when police respond to
                                           communities – why is the crime occurring? A lack of
                                           resources, school system, opportunities, recreation, families,
                                           hierarchy of needs not met. What does the community need to
                                           excel, move forward?”



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                 New Yorkers spoke about the need for an NYPD that is of the
                 community:
                   “Find people who want to be police officers and put them back
                    in their community.”

                   “There needs to be something that happens with the
                    curriculum that encourages real community engagement – it’s
                    not just knowing who the leaders are, but knowing who the
                    indigenous leaders are, the go-to people.”

                   “When commanders change, it goes right back to the
                    beginning, where we started. What we’ve done to improve
                    relationships go down the drain”

                   “How do you build a relationship? You have to know who they
                    are where they come from and what their needs are.”

                 New Yorkers spoke honestly about the difficulty of building
                 trust with police:
                    “There is an oppressive relationship between community and
                     law enforcement.”

                   “People who have turned themselves around, done well
                    in classes while incarcerated; then come home and are
                    confronted with NYPD and parole; they can’t get back on
                    track and into things we expect upstanding citizens to do
                    (go to work, be engaged with family and community); many
                    come home and want to be engaged citizens but there is an
                    over-policing, over-intrusion in their lives that makes it hard for
                    them to be employed.”

                   “There is a disconnect between what the Department and
                    community believe to be “engagement”; we need to work
                    together to define these. What the community is asking for
                    is cultural competency training; how officers show up to
                    community events; we need understanding on either side so
                    gaps can be identified.”

                 Members of service spoke about the historical lack of
                 investment in social services infrastructure and the role
                 of NYPD filling these voids and their feelings on being
                 supported in the City and the people they serve:
                    “The failure of government at so many levels is left up to the
                     cop on the street. Homelessness, mental health, the school
                     system, no jobs, corrections, poverty – the cop responding to



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                                           the scene is the face of a systemic failure of government. We
                                           get called for everything. We always show up.”

                                          “We need to know what our role is.”

                                          “We must interrupt cycles of recidivism and stigma. As a
                                           society, we don’t rehabilitate.”

                                          “How and why we do certain things is just a huge unknown to
                                           people.”

                                      The New York City Police Reform and Reinvention Collaborative
                                      would like to thank the many New Yorkers who bravely spoke
                                      about their experiences.




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                The NYC Police Reform and Reinvention
                Collaborative Draft Plan
                 I. Transparency and Accountability to the
                 People of New York City.
                 Transparency and accountability are critical to the legitimacy
                 and credibility of law enforcement. Throughout this process we
                 heard demands for increased transparency and accountability
                 from all groups that participated. From the community at large
                 and stakeholder groups, we heard calls for accountability when
                 officers cause harm, or do not fulfill the Department’s motto
                 of “Courtesy. Professionalism. Respect. (C.P.R.)”; and calls for
                 transparency into the disciplinary process, surveillance practices,
                 data collection, and Department policies. From the NYPD’s own
                 members, we heard calls for transparency, expediency, and
                 consistency in promotions and in the disciplinary process. A
                 culture of transparency and accountability must be cultivated and
                 nurtured.

                 To earn the trust of all the City’s communities, the NYPD must
                 be transparent while holding members accountable. New York
                 City has an extensive set of internal and external accountability
                 and oversight mechanisms. These include the Commission
                 to Combat Police Corruption (CCPC) to monitor and evaluate
                 anticorruption programs; the Civilian Complaint Review Board
                 (CCRB), to receive, investigate, mediate, hear, make findings and
                 recommend action on complaints against police officers; and
                 the NYPD Inspector General at the Department of Investigation,
                 charged with investigating, reviewing, studying, auditing, and
                 making recommendations related to NYPD. The draft plan
                 proposes strengthening areas and engaging in structural reform
                 of others.

                 1. Hold police officers accountable for misconduct through
                 internal NYPD disciplinary decisions that are transparent,
                 consistent, and fair.
                 The disciplinary system should be based on five values:

                    1. Holding officers accountable for misconduct and harm to
                       the public;
                    2. Keeping a record and recognizing disciplinary actions as
                       vital sources of information about an officer, supervisors,
                       and the department as a whole;


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                                           3. Identifying patterns and problems related to policies,
                                              training, supervision, and institutional performance rather
                                              than mere individual misconduct;
                                           4. Building public trust and community cohesion through
                                              timely decision making; and
                                           5. Holding the Police Commissioner accountable for the
                                              conduct of those whose serve in the department

                                      In January 2021, the Mayor announced a major police discipline
                                      reform: the first NYPD Disciplinary System Penalty Guidelines
                                      (“Discipline Matrix”), which provides clear, consistent, and fair
                                      guidelines for discipline in instances of officer misconduct and
                                      was created with input from the public. The Matrix was also
                                      codified by the Council and signed into law by the Mayor. NYPD
                                      and CCRB then signed a Memorandum of Understanding related
                                      to the use of the Matrix.

                                      The Matrix outlines penalties that may be adjusted up or down
                                      in a set window based on aggravating and mitigating factors.
                                      Penalties escalate with repeated offenses. This improves:

                                          •     Accountability, penalties that are fair and proportional.
                                          •    Transparency, both NYPD and community know what
                                               discipline to expect.
                                          •     Consistency, similar actions are treated similarly.

                                      The City will monitor implementation of the Discipline Matrix. Both
                                      CCRB and NYPD have formally agreed to follow the Matrix. The
                                      agreement ensures the CCRB has access to NYPD employment
                                      history and requires an annual review of whether the agreement is
                                      accomplishing the goal of consistent and fair discipline.

                                      2. The David Dinkins Plan: Expand and Strengthen CCRB
                                      A true CCRB had been an idea for decades before Mayor David
                                      Dinkins made it a reality in 1993. The David Dinkins Plan is the
                                      single largest expansion and strengthening of the CCRB since it
                                      was established.

                                           a. Facilitate timely and necessary access to Body Worn
                                           Camera footage and officers’ disciplinary histories for
                                           CCRB cases.
                                           NYPD will shorten the timeframe for fulfilling CCRB video
                                           footage requests. Working with NYPD, CCRB may adjust
                                           search terms to ensure responsive footage is being returned.


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                    In addition, CCRB may immediately request Law Department
                    intervention if there are disagreements about search terms.

                    b. Give CCRB authority to investigate instances of biased-
                    based policing.
                    This authority is currently placed with NYPD. The NYPD,
                    similar to law enforcement entities around the country, has
                    been largely unsuccessful in substantiating allegations of
                    bias-based policing. This is an important step toward building
                    trust and accountability, and ensuring racial bias is eliminated
                    wherever it is found.

                    c. Allow CCRB to initiate investigations on its own.
                    Currently, CCRB can investigate cases brought to it through a
                    civilian complaint only.

                    d. Establish the Patrol Guide Review Committee.
                    This will allow reform by identifying policies and practices
                    outlined in the Patrol Guide that need to be changed for
                    the future, even if a specific incident did not constitute
                    misconduct.

                 3. Consolidate and strengthen NYPD oversight by expanding
                 the Civilian Complaint Review Board’s authority to
                 incorporate the powers of NYC’s Department of Investigation
                 Office of the Inspector General for the NYPD and the
                 Commission to Combat Police Corruption.
                 Putting all three under one umbrella will allow a new, stronger
                 entity to establish itself as a trusted and robust oversight voice. It
                 will have the combined authority to:

                    •   Investigate complaints and recommend discipline.
                    •   Conduct regular audits of policing, internal discipline, and
                        anti-corruption practices.
                    •   Conduct systemic reviews of NYPD policy and practices,
                        and make recommendations for reform, including
                        publishing regular public reports.

                 4. Support a State law change that would broaden access
                 to sealed records for specified entities, including CCRB,
                 charged with investigating police misconduct, especially
                 biased-policing investigations.
                 State law restricts the use of sealed records by entities
                 investigating allegations of police misconduct, including abuses
                 of authority. The proposed change in State law would improve the
                 ability of CCRB in particular to investigate misconduct, especially


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                                      related to racial profiling and bias-based policing, by permitting
                                      appropriate access to and use of relevant documentation or
                                      evidence that may be protected by sealing.

                                      5. Implement public and comprehensive reporting on key
                                      police reform metrics.
                                      In order to increase transparency surrounding discipline in the
                                      NYPD, the Department will be launching a website providing
                                      information about members’ discipline history, including charges,
                                      penalties, and trial decisions. The public will have a chance to
                                      view a members’ training and arrest history. Annual reports will
                                      also be issued on the implementation of the discipline matrix. In
                                      addition, the new consolidated oversight agency will be tasked
                                      with developing a comprehensive data dashboard for key
                                      metrics, including use of force metrics and data focused on racial
                                      disparities and equity.



                                      II. Community Representation and
                                      Partnership.
                                      In conversations about community engagement, many New
                                      Yorkers discussed: perceptions of the police as an occupying
                                      force in their community, rather than a partner; frustration
                                      about a lack of representation or knowledge about the local
                                      communities within the Department; and a desire to see officers
                                      who understood the cultural nuances of their community. Officers’
                                      awareness of cultural differences and recognition of the unique
                                      needs and characteristics of New York’s many communities
                                      is critical for authentic, productive engagement. Cultural
                                      competence and meaningful partnership must be central to
                                      the Department’s strategies, and can be bolstered through the
                                      focused recruitment, hiring, retention and promotion of those
                                      from the communities most impacted by policing.

                                      With the implementation of Neighborhood Policing in 2015, the
                                      City and the NYPD have made engagement with residents a
                                      priority. We must ensure that change is sustained, continually
                                      evolves to be responsive to neighborhoods, and becomes
                                      embedded in the fiber of the institution.

                                      Improving neighborhood engagement must be a central feature
                                      of NYPD’s culture, decision-making, and organizational structure.
                                      NYPD has been continually enhancing its neighborhood outreach
                                      programs, but more work lies ahead.

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                 NYPD must prioritize creating the right policies, training, and
                 accountability measures to truly integrate and embed itself in the
                 neighborhood. Officers must feel like genuine engagement and
                 thoughtful problem-solving is their job, and not a distraction or an
                 add-on.

                 1. Work with communities to implement NYC Joint Force to
                 End Gun Violence.
                 Reducing gun violence must be done together with the
                 community. Overall crime decreased in 2020 in New York City, but
                 the national surge in gun violence has been felt in far too many of
                 our neighborhoods. Most gun violence is perpetrated by a small
                 group of people. The Joint Force will be focused on addressing
                 these individuals specifically to prevent violence and keep people
                 safe.

                 The Joint Force will be comprised of members of NYPD, Cure
                 Violence groups, District Attorney offices, the Mayor’s Office of
                 Criminal Justice, City agencies, and additional local community
                 groups and law enforcement organizations. It will implement
                 interagency shooting reviews, systematically identify those
                 involved and address underlying dynamics, and create clearer
                 lines of communications between anti-gun violence groups and
                 police.

                 The Joint Force will also re-energize the NYC Ceasefire program,
                 a homicide prevention strategy that’s been shown to lower
                 shootings dramatically in major cities. NYPD will bolster the
                 Joint Force by launching the “Top 100” strategy focused on the
                 100 blocks that have the highest numbers of shootings, and
                 disproportionate numbers of 311 and 911 calls.

                 2. Incorporate direct community participation in the selection
                 of Precinct Commanders.
                 Precinct Councils will interview NYPD’s proposed candidates
                 for precinct commanders and provide the NYPD with feedback
                 on the candidates. These panels will maintain relationships
                 with commanding officers, and will evaluate their general
                 effectiveness, engagement with the larger neighborhood and
                 responsiveness to issues raised by the residents.

                 3. Involve the community in training and education by
                 expanding the People’s Police Academy.
                 Training should ensure officers are fully immersed in the
                 neighborhood, and are educated by the residents they are


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                                      assigned to serve. Beginning this April, New York City will expand
                                      the People’s Police Academy, a community-led training for local
                                      precinct personnel, to five precincts. Learning what public safety
                                      means to residents is integral to serving that community.

                                      4. Immersion of new officers in the neighborhoods they serve.
                                      All officers who are new to a precinct will undergo an intensive
                                      course, including field training, to better understand the
                                      neighborhood. They’ll meet community leaders, service providers,
                                      local small business owners and youth organizations.

                                      5. Elevate the feedback of the community through CompStat
                                      and Enhanced Neighborhood Policing.
                                      In September 2020, NYPD launched a customer service pilot in
                                      East Harlem and South Jamaica that encouraged New Yorkers
                                      to provide direct feedback about the services they received
                                      or requested. This has been expanded to precincts Citywide
                                      and will be rolled out to all Public Service Areas and Transit
                                      Districts in Spring 2021. Commanding officers will be required to
                                      report customer-service and neighborhood-focused metrics to
                                      strengthen and improve bonds of their residents and Officers.

                                      The Department also recently launched the Neighborhood
                                      Strategy Meeting, a forum to share best practices across
                                      commands and to ensure accountability through customer
                                      and neighborhood focused performance metrics, consistently
                                      elevating feedback from the community. Commanding Officers
                                      will be required to report on various customer performance
                                      and community engagement metrics such as customer wait
                                      times, response times, how officers handle various public
                                      interactions, and other indicators to demonstrate improvement
                                      in bonds between officers and communities they serve in
                                      the Neighborhood Strategy Meeting, as well as Compstat.
                                      The Department will engage community representatives in
                                      reviewing customer survey and other data relevant to individual
                                      neighborhoods and will use that input to inform new metrics that
                                      can be collected and assessed agency-wide.

                                      6. Launch the Neighborhood Policing App and expand
                                      training.
                                      The NYPD is launching the Neighborhood Policing App,
                                      a platform for internal and external collaboration and
                                      communication around quality-of-life issues. The Department will
                                      determine how best to expand training to ensure steady sector


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                 cops have the same skills as Neighborhood Coordination Officers
                 (NCOs).

                 7. Respect the right to protest and improve policing of this
                 essential civic activity.
                 In late May 2020, Mayor de Blasio directed the NYC Department
                 of Investigation and the Law Department to conduct independent
                 reviews of the NYPD’s response to the protests in the wake
                 of George Floyd’s murder. The City accepts the findings
                 and 20 recommendations of the DOI report as well as the 10
                 recommendations of Corporation Counsel, and commits to
                 implementing all of the recommendations.

                 8. Expand the Precinct Commander’s Advisory Councils.
                 Composed of key community members and precinct executive
                 leadership, the Councils meet bi-monthly to discuss engagement,
                 outreach, and deployment of resources. The program is currently
                 in the 120th, 77th, 25th and 113th precincts.

                 9. Expand Pop Up with a Cop.
                 The program brings the police directly to under-engaged
                 areas of the precinct. Community Affairs, NCOs, YCOs and
                 other personnel set up tents for approximately 1-2 hours for
                 services such as assistance with police reports, community
                 meeting information, youth services and program locations, and
                 opportunities to provide feedback. This is currently being piloted
                 in the 113th and 25th precincts.

                 10. Support and expand the Citizen’s Police Academy.
                 The Citizens Police Academy is an accelerated civilian training
                 program that informs New Yorkers about NYPD policies, activities
                 and powers, and a key to understanding how and why officers
                 perform their duties. The program will expand, starting by
                 doubling participation in the next year.

                 11. Enhance Youth Leadership Councils.
                 In partnership with NYC Service, the NYPD will formalize and
                 expand the role of the Youth Leadership Councils (YLC). The
                 YLC’s provide forums for young people to advise and share their
                 feedback with the Department, while also gaining educational
                 and enrichment experiences. NYPD values this formal
                 mechanism for regularly receiving input from young people.




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                                      The Department is adding 18 precincts and 9 PSAs to the
                                      program, bringing the total number of Youth Leadership Councils
                                      to 85. There will be a citywide summit where the YLC’s will
                                      present their recommendations for next steps for their precinct
                                      and PSA partners to connect with young people and build mutual
                                      trust.

                                      12. Expand the Law Enforcement Explorers Program.
                                      The Law Enforcement Explorers program introduces young
                                      people ages 14 - 20 to careers in law enforcement or related
                                      fields. The program aims to strengthen the relationship between
                                      law enforcement officers and the community by establishing
                                      positive connections. The NYPD will expand the number of
                                      Explorers from 2,200 to 3,000, and will enhance programming.

                                      13. Transform public space to improve community safety.
                                      NYPD will invite community input into the planning process for
                                      projects like the NYPD Community Center in East New York.
                                      Other planned efforts include:

                                          •     A partnership between NYPD and NYCHA will rehabilitate
                                                NYCHA basketball courts
                                          •     NYPD and the Parks Department are working to
                                                rehabilitate basketball courts and a soccer pitch at the
                                                Colonel Charles Young Park in Harlem. It is anticipated this
                                                project will be complete by Summer 2021.
                                          •     NYPD, the Department of Youth and Community
                                                Development, and other city partner agencies will expand
                                                the Saturday Night Lights program to 100 gyms to provide
                                                free sports programs for young people across the City
                                                beginning Summer 2021.



                                     III. Recognition and Continual
                                     Examination of the Historical and
                                     Modern-Day Racialized Policing in New
                                     York City.
                                      Racialized policing in New York City has existed since the
                                      Department’s inception and persists through contemporary
                                      police policies and practices. Testimony from New Yorkers gave
                                      voice to the legacy of disparate enforcement, aggressive stop
                                      and frisk, and over-policing in Black and Brown neighborhoods.


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                 Addressing the legacy and harm of racialized policing in New York
                 will require a critical examination of the policies and practices
                 that perpetuate structural and institutional racism. Race remains
                 the defining characteristic and predictor of heightened police
                 interactions.

                 Because of the disproportionate enforcement experienced
                 in communities of color, the impacts of use of force are also
                 predominantly felt in these communities. Therefore, a true
                 reckoning with racialized policing requires addressing the harms
                 of force, and reducing its use.

                 All police practices, and particularly those that allow for high
                 levels of discretion, must be assessed for explicit and implicit
                 bias, and for unintended consequences that may reinforce
                 structures of racism and produce racially disparate outcomes.
                 Members of the public made at least 2,495 complaints of bias
                 policing since the “Racial Profiling and Bias Based Policing”
                 complaint category was created in 2014; the majority (68%) of
                 these complaints included allegations of discriminatory policing
                 based on race, ethnicity, color, or national origin.

                 1. Acknowledge the experiences of communities of color in
                 New York City and begin reconciliation.
                 Mayor de Blasio is forming a commission that will focus on
                 racial justice and reconciliation. The commission will have a
                 mandate to identify areas of structural racism in New York City
                 and recommend changes that will tear down the barriers toward
                 true equality. With the new commission, New York City can lead
                 the way in America by speaking openly of the wrongs of the past,
                 creating new approaches to right those wrongs, and enshrining
                 this progress into law.

                 2. Eliminate the use of unnecessary force by changing culture
                 through policy, training, accountability, and transparency.
                 In recent years, NYPD has developed policies and procedures
                 that enable officers to rely primarily on non-force techniques
                 to effectively police, use force only when necessary, and
                 de-escalate the use of force at the earliest possible moment.
                 These reforms related to use of force have produced real results.
                 For example, total officer firearm discharges decreased from 81
                 in 2013 to 52 in 2019. Firearm discharges in the context of an
                 adversarial conflict, a subset of the total discharges, decreased
                 from 40 to 25 during that same period. To contextualize this, in
                 2019: there were 6.4 million calls for service, including 64,302


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                                      weapons calls, with only 52 firearms discharge incidents, just 25
                                      of which were adversarial.

                                      All of the individual tools of policing—policies, laws, training,
                                      accountability, and transparency— must work together in an
                                      ongoing process of reform to create a culture that promotes safe
                                      alternatives to use of force, and eliminates excessive force.

                                      3. Augment racial bias training for NYPD leadership.
                                      In 2018, the NYPD began training all sworn personnel on implicit
                                      biases, including racial biases. This training was completed
                                      in 2020 and all recruits are now trained while they are in the
                                      Academy. Each training specifically addresses how unlawful
                                      biased practices, especially racially biased practices, damage
                                      NYPD’s ability to build trust. The NYPD is now in the process
                                      of providing implicit bias training for all civilian members. To
                                      ensure it is effective, the training must be reinforced over time.
                                      Additionally, the Department will explore providing additional
                                      racial bias trainings for all executives in the rank of Captain and
                                      above focused on their specific role, in concert with community
                                      experts.

                                      4. Educate NYPD leadership and NCOs on restorative justice
                                      processes, and design processes to repair relationships with
                                      communities.
                                      NYPD has worked with the New York Peace Institute to train
                                      NCOs in mediation, de-escalation, and conflict resolution skills.
                                      This training will continue to ensure all of our NCOs are trained
                                      in these important concepts. The City will go further to ensure
                                      principles of Restorative Justice and reconciliation are deeply
                                      engrained in policing in New York City. Restorative justice
                                      practices allow the harmed party and the party who caused the
                                      harm to be restored and reintegrated into the social fabric of the
                                      community.

                                      The City will partner with a community based organization to
                                      work with all NCOs, especially those in the most impacted
                                      communities, to institutionalize restorative justice and
                                      reconciliation practices to address the harms of force and build
                                      mutual trust between police and those communities.

                                      5. Train all officers on Active Bystandership in Law
                                      Enforcement (ABLE).
                                      The Department is partnering with the ABLE program at the
                                      Innovative Policing Program at Georgetown Law, a program that


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                 promotes a culture of duty to intervene, training officers on how to
                 hold one another accountable. ABLE provides practical strategies
                 and tactics to prevent misconduct, reduce officer mistakes, and
                 promote health and wellness. The NYPD plans to train all its
                 officers by the end of 2021. Progress toward building community
                 trust and relationships, and intervening when an officer witnesses
                 misconduct, for instance, need to be reinforced.

                 6. Enhance positive reinforcement, formally and informally, to
                 change culture.
                 In addition to a number of long-standing programs that reflect
                 the NYPD’s commitment to employee recognition, NYPD is
                 developing a new program called “Shout Out a Co-Worker” which
                 will ask members to nominate a fellow co-worker for recent,
                 outstanding work to receive departmental rewards. NYPD will
                 also incorporate this recognition into the formal personnel record.

                 7. Consistently assess and improve practices and policies
                 through accreditation.
                 CALEA is a non-profit that improves law enforcement service
                 by creating a national body of standards, assessing law
                 enforcement agency compliance, and facilitating agencies’
                 pursuit of professional excellence. CALEA accreditation
                 strengthens agency accountability through a continuum of close
                 to 500 standards that clearly define authority, performance, and
                 responsibilities. With respect to use of force, CALEA standards
                 require policies to emphasize the agency’s core values and
                 intent to meet the public’s expectations on topics including
                 de-escalation, the use of deadly force, the use of less lethal
                 weapons and policies surrounding intervention and rendering aid.



                 IV. The Decriminalization of Poverty.
                 For far too many New Yorkers, there is an inescapable cycle of
                 disadvantage and criminal justice involvement that requires a
                 coordinated response to analyze and interrupt. Following the
                 death of George Floyd, there were widespread calls – including
                 during the listening sessions and focus groups as a part of this
                 process – to right-size and reimagine the role of police. As the
                 responsibilities of law enforcement officers have ballooned over
                 the past few decades, non-emergency social issues such as
                 homelessness, mental illness, substance abuse, and access
                 to transportation, have been addressed with criminal justice


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                                      responses, ultimately criminalizing poverty and related stressors.

                                      For the NYPD to provide service that is fair and just for all New
                                      Yorkers, the role of police in responding to non-emergency and
                                      non-crime situations is being critically and vigorously reassessed.
                                      The City owes not only the communities that have been harmed
                                      from current practices and that have expressed the strong
                                      desire for law enforcement to discontinue their role as first-line
                                      responders in a range of circumstances, but also to not put police
                                      officers in situations they are not adequately or appropriately
                                      trained to handle. This reality puts community members and law
                                      enforcement in an impossible situation that has too often had
                                      deadly consequences. Alternative programs and models must be
                                      reimagined, developed, piloted, and established to better assist
                                      and support individuals, families and communities in crises that
                                      are not criminal in nature.

                                      Police have become the default “front door” for many complex
                                      social, emotional, and behavioral situations in our society, in
                                      part because they are the fastest to arrive and because they
                                      simply must respond when called. This pattern is particularly
                                      true in low-income and communities of color, which had
                                      experienced decades of under-investment in critical services.
                                      This unnecessary entanglement with the criminal justice system
                                      has real consequences for individuals, their families, and
                                      communities, creating for too many a poverty to prison pipeline.

                                      True police reform must also be paired with comprehensive,
                                      radical economic justice, or budget justice. Throughout the de
                                      Blasio administration, the Mayor has promoted economic justice
                                      by investing heavily in neighborhoods that were too often ignored
                                      or purposefully underserved for decades, if not centuries. So
                                      far in his tenure, Mayor de Blasio has redistributed over $20
                                      billion from the wealthy to New York City’s working families
                                      through programs like Pre-K for All and NYC Care, and record
                                      investments in affordable housing.

                                      Following the COVID-19 pandemic, Mayor de Blasio pledged
                                      to grow that number and drive a recovery for all of us. Under
                                      the new economic recovery plan, New York City will bend
                                      government to fight inequality by making the NYC Taskforce
                                      on Racial Inclusion and Equity permanent and launching a new
                                      commission focused on racial justice and reconciliation. The City
                                      will combat the unemployment crisis in communities of color by
                                      directly supporting small businesses with new tax credits and
                                      loans, grant more contracts to minority- and women-owned


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                 businesses and push forward community hiring requirements that
                 guarantee construction jobs in low-income communities. This is
                 the social and economic justice required to build a truly inclusive
                 city.

                 As we invest in building neighborhood resilience, we must
                 constantly examine how safety is created. Police play an
                 essential role in keeping our communities safe, but they cannot
                 do it alone. Communities must be co-creators of public safety
                 along with police. Together, residents and police officers can
                 determine the preferred strategies for reinforcing neighborhood
                 policing, preventing crime, and partnering with community
                 organizations.

                 1. Develop a health-centered response to mental health
                 crises.
                 In November 2020, the City announced that for the first time we
                 will be launching a health only response to 911 mental health
                 calls in high need communities. B-HEARD (the Behavioral Health
                 Emergency Assistance Response Division) will be a critical step
                 forward in the City’s commitment to treat mental health crises as
                 public-health not public-safety issues.

                 Currently, NYPD officers and FDNY Emergency Medical Services
                 Emergency Medical Technicians (EMTs) respond to nearly all
                 mental health 911 calls, regardless of the severity of health needs,
                 whether a crime is involved, or whether there is an imminent risk
                 of violence. Beginning in Spring 2021 in Northern Manhattan
                 (the 32nd, 25th and 28th precincts in Harlem and East Harlem),
                 the new Mental Health Teams of social workers and FDNY/EMS
                 emergency medical technicians will be the new default response
                 to mental health emergencies. In situations involving a weapon or
                 imminent risk of harm, the NYPD and EMS will respond.

                 B-HEARD teams will have the experience and expertise to
                 de-escalate crisis situations and respond to a range of behavioral
                 health problems, such as suicidal thinking, substance misuse,
                 and serious mental illness, as well as physical health problems,
                 which can be exacerbated by or mask mental health problems.

                 The overall number of mental health 911 calls fell by over 8,000
                 in 2019 and by nearly 10,000 in 2020, the first decline following
                 a decade in which 911 mental health calls increased every year
                 and in every precinct in the city. This decline follows a concerted
                 effort to strengthen how the City prevents and responds to
                 mental health crises, including the introduction of new mobile


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                                      intervention and treatment teams over the last several years and
                                      other strategies developed by the NYC Crisis Prevention and
                                      Response Task Force. B-HEARD will be a critical component of
                                      this work.

                                      The City looks forward to significantly and rapidly expanding
                                      this program, laying the groundwork for it to become a citywide
                                      initiative.

                                      2. New approaches to safety, outreach and regulation
                                      through civilian agencies.
                                      The City has identified several important areas of daily life, where
                                      safety, outreach and regulatory functions should be handled
                                      by non-law-enforcement personnel and is in the process of
                                      completing these transitions.

                                      Homeless outreach: The City has been shifting primary
                                      responsibility for homeless outreach efforts from NYPD to the
                                      Department of Homeless Services (DHS), with NYPD transitioning
                                      to a more supportive role. DHS and contracted not-for-profit
                                      organizations are conducting outreach to individuals experiencing
                                      street homelessness without a police presence unless there is a
                                      public safety concern.

                                      School Safety Agents: The City has launched a multi-agency
                                      Transition Team to move school safety from the NYPD to the
                                      DOE, and reimagine our approach to school safety. The Transition
                                      Team will work with students, parents, administrators, educators,
                                      advocates, labor and others to develop critical aspects of this
                                      two-year transition.

                                      Street Vending: On January 15, 2021, enforcement of street
                                      vending moved to the Department of Consumer and Worker
                                      Protection (DCWP). DCWP is the coordinating agency for all
                                      street vending activity, working with other agencies to provide
                                      community support, equitable enforcement, and access to
                                      resources.

                                      Press Credentialing: Press credentialing is an important process
                                      in which journalists receive identification to cross police lines
                                      to cover important events. This process is currently run by the
                                      NYPD. This function is best suited for the Mayor’s Office of Media
                                      and Entertainment (MOME), which will ensure the credentialing
                                      process is efficient, transparent, and fair.




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                 3. Interrupt violence through expanded community-based
                 interventions.
                 Over the past several years, the de Blasio Administration has
                 tripled the City’s funding for Cure Violence programs, and
                 increased their reach significantly.

                 Currently, Cure Violence programs conduct about 5,000
                 interventions per year, such as street de-escalations, and
                 mediations, and conduct outreach to more 50,000 people per
                 year through community events. These programs also engage
                 young people and community members through direct services
                 such as mentoring, mediation, referrals to mental health services,
                 linkages to jobs, and referrals to legal services.

                 The City is committed to expanding the impact of this important
                 work by doubling the size of the current Cure Violence workforce
                 in the upcoming budget.

                 4. Expand the Community Solutions Program.
                 This program uses Community Based Organizations, city services
                 and NYPD responses to improve the physical environment,
                 connect community members to resources, and provide
                 appropriate police response. It is an engagement strategy
                 designed by the Chief of Patrol Juanita Holmes in November of
                 2020. The Brownsville Safety Alliance pilot was one of the first
                 to take place under the Community Solutions Program, running
                 from December 8-12th, 2020, bringing together CBOs, NYPD
                 and other City agencies to improve quality-of-life conditions and
                 reduce crime.

                 While the Brownsville pilot was a success, no two communities
                 are the same. To ensure strategies are developed that are
                 specific to the needs of the neighborhood, the Patrol Services
                 Bureau will employ a Community Solutions approach to listen
                 to and prioritize concerns of communities. Being able to solve
                 local issues in true partnership with the communities we serve
                 is the key to sustainable results that achieve buy-in and trust
                 in the processes that provide for the safety and quality of life
                 for all New Yorkers. These meetings will identify top community
                 concerns using 311/911 data, Compstat data, information
                 from the customer feedback surveys, and other metrics. These
                 issues may range from gun violence to chronic noise, but will be
                 decided by the community who will then work together to design
                 and implement formal plans of action to address the identified
                 concerns.



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                                      This program does not require a diversion of police response, but
                                      focuses on the targeted deployment of external resources that
                                      extend beyond traditional policing measures.

                                      5. Consolidate the coordination of all crime victim service
                                      programs into one agency to better support crime victims.
                                      The City will move management of the Crime Victims Assistance
                                      Program (CVAP) from the NYPD to the Office of Crime Victims
                                      Services (OCVS) at the Mayor’s Office of Criminal Justice. This
                                      will improve coordination with other crime victim services,
                                      including crime victim restitution, family assistance programs,
                                      domestic violence hotlines, court-based services, community-
                                      based services, and the Family Justice Centers. In collaboration
                                      with the Mayor’s Office to End Domestic and Gender Based
                                      Violence (ENDGBV) and ThriveNYC, OCVS can deepen the
                                      engagement of community-based organizations and continue to
                                      improve the reach of services for victims and survivors of crime.

                                      6. Strengthen community partnerships with domestic and
                                      gender-based violence providers.
                                      Currently, survivors and advocates report that responses to
                                      individual incidents of domestic and gender-based violence vary
                                      greatly by borough and by precinct, resulting in an inconsistent
                                      response for many survivors, especially those who do not have
                                      prior knowledge or external supports to navigate the system
                                      and those who hold multiple marginalized identities. NYPD will
                                      partner with ENDGBV to create a formalized structure to receive
                                      community feedback, enhance transparency and support
                                      accountability to survivors and their communities. The meetings
                                      would bring in external experts and community representatives
                                      to support and provide feedback on NYPD’s training completion
                                      and implementation of new practices, consistent response to DV/
                                      GBV survivors and other survivors who call law enforcement for
                                      help, and enforcing orders of protection, amongst other topics.

                                      This group will also work with NYPD to examine its interactions
                                      with victims, and reimagine reporting to minimize the number of
                                      times that a survivor has to tell their story throughout the course
                                      of an investigation.




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                 V. A diverse, resilient, and supported
                 NYPD.
                 The City aims to develop the most diverse and resilient law
                 enforcement agency in the nation.

                 The Department has made a concerted effort to recruit more
                 women and people of color, and aims to have a workforce that
                 mirrors the communities served. There have been important
                 gains in diversity during this administration, the percentage of
                 recruits who are people of color increased from 47% in 2013 to
                 60% in 2020 and the percentage of female recruits increased
                 from 17% in 2013 to 24% in 2020. Leadership has become
                 more diverse, too—the percentage of uniform personnel who
                 are people of color in the rank of captain and above grew from
                 approximately 18% in 2013 to 32% at present. The percentage
                 of women in positions of captain and above increased from 6.8%
                 in 2013 to 9.8% today. The NYPD is transparent about workforce
                 demographics, demonstrating the rank, title, gender, and race of
                 NYPD employees across all uniform ranks and civilian safety titles
                 in a new interactive dashboard.

                 Despite these important gains, there is still significant work
                 needed to increase diversity in recruitment, retention and
                 promotion. NYPD’s Office of Equity and Inclusion is currently
                 examining the policy and structural barriers that inhibit the
                 Department from building a more diverse workforce, so that these
                 issues can be directly addressed.

                 The NYPD’s Health and Wellness section is dedicated to building
                 a culture that promotes the mental health and wellness of
                 officers, reduces the stigma of seeking help, and promotes stress
                 management. Recruits receive an intensive health and wellness
                 training module in the academy, and first-line supervisors are
                 trained to make referrals to a range of resources.

                 Members of the Department may also contact the Employee
                 Assistance Unit (EAU) 24 hours a day, 7 days a week to reach
                 EAU Peer Counselors. The EAU peer counseling staff consists of
                 both uniformed and civilian active duty members of the service
                 in a variety of ranks and titles who are trained to recognize
                 when someone needs real help, or just needs to blow off steam.
                 They make appropriate referrals to licensed psychologists or
                 psychiatrists, as well as to union representatives, clergy, financial
                 counselors, and hospice, among others.



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                                      In 2019, NYPD partnered with New York-Presbyterian to create
                                      Finest Care, which offers uniformed members of service access
                                      to free, confidential mental health services.

                                      The City is committed to building upon the Department’s evolving
                                      culture by increasing supports and opportunities and promoting
                                      professionalism and excellence.

                                      1. Recruit officers who reflect the communities they serve.
                                      The NYPD should leverage community partnerships to
                                      collaborate on effective recruitment strategies. As part of its
                                      ongoing diversity, equity, and inclusion efforts, the Department is
                                      focused on identifying and addressing barriers in hiring, training,
                                      promoting, and retaining employees, particularly people of color
                                      and women.

                                      This will include examining the impact of the qualification process
                                      on the diversity of recruits, and those qualification requirements
                                      that have a disproportionate impact on particular candidates.

                                      Among many areas, NYPD will examine the impact of minor
                                      criminal convictions or violations, and the impact of the college
                                      credit requirement to determine if more flexibility is needed.

                                      2. Reform the discretionary promotions process to center on
                                      transparency and fairness.
                                      In the NYPD, uniform members of service are promoted either by
                                      taking civil service exams, offered for ranks from Police Officer
                                      to Captain, or at the discretion of the Police Commissioner,
                                      limited by available vacancies and budget. Once a member
                                      of service achieves the rank of Captain, that member may
                                      opt-in for further promotional consideration. In practice, the
                                      NYPD considers myriad factors, including performance history
                                      (evaluations, discipline, and honors), as well as qualitative
                                      assessments of leadership, problem solving, competence
                                      in supporting the Department’s mission, and community or
                                      department interactions. However, the criteria for discretionary
                                      promotion are informal, and have changed frequently without
                                      notice to employees, impacting members’ career-planning and
                                      confidence in their professional futures, as well as community
                                      trust in the selection of their police leaders. The NYPD commits
                                      to overhauling the discretionary promotion system, in accordance
                                      with best practices across law enforcement and in partnership
                                      with experts in diversity, equity, and inclusion, in order to best
                                      reflect the City’s values, build community trust, and support
                                      members’ professional development.

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                 3. Build a culture that encourages use of coping tools, and
                 supports NYPD officers by addressing trauma through the
                 Critical Incident Stress Management Program.
                 NYPD will constantly work to create a culture that destigmatizes
                 seeking help. As a next step, the NYPD will expand the Critical
                 Incident Stress Management program, which helps officers who
                 need additional support to address trauma, and connects them
                 to a clinician.

                 4. Support professional development through the
                 Commander’s Course and leadership development programs.
                 The NYPD’s Office of Professional Development is developing
                 training courses that will enable members to be more effective
                 managers. These courses will be provided to uniformed
                 and civilian members when they are promoted/appointed to
                 managerial titles. In January 2020, a “commander’s course” was
                 piloted to offer management skills and organizational theory
                 training to a selected group of existing commanders. Feedback
                 was collected to inform the development of a pre-commander’s
                 course in the future for the next generation of commanders.
                 NYPD held focus groups at the end of 2020 with existing
                 commanders to inform topic areas and subjects.

                 5. Commit to an updated Patrol Guide that is more user
                 friendly, less complex for officers, and transparent to the
                 public.
                 The Patrol Guide, which contains all the rules that NYPD officers
                 must follow, will be streamlined to make it more user-friendly and
                 easier to navigate. NYPD will review major procedures for clarity,
                 determine outdated and obsolete procedures, and create new
                 sections to address gaps. The Department will also build a mobile
                 app for Department smartphones and tablets to allow easier
                 access to search for information. The overhaul will be informed
                 by focus groups with members to understand the current
                 challenges they have accessing information in the guide and what
                 improvements can be made.




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                                      Background: Laying a Foundation of
                                      Reform: 2014-2020
                                      Since Mayor de Blasio took office on January 1, 2014, the
                                      de Blasio administration has implemented a sweeping set of
                                      wholesale reforms to address over-policing and reduce the
                                      overall impact of the criminal justice system, while making the city
                                      safer and fairer. The hallmark of the current administration has
                                      been a reduced enforcement footprint coupled with a sustained
                                      decrease in crime. While many criminal justice systems in the
                                      United States continued policies that drive mass incarceration,
                                      New York City led an effort to reduce law enforcement focused
                                      intervention and incarceration.

                                      The results of these efforts have been historic. Comparing 2020
                                      to 2013, the year before the de Blasio Administration took office,
                                      there were approximately:

                                          •    182,000 fewer stop and frisk incidents, a 95% reduction
                                          •     253,000 fewer arrests, a 64% reduction
                                          •     29,000 fewer marijuana arrests, a 98% reduction
                                          •     5,900 fewer people in jail on average per day, a 52%
                                                reduction

                                      Ending the stop and frisk era:
                                      The Department reformed its stop and frisk policy and training,
                                      which has resulted in dramatic changes to the practice. From the
                                      height of almost 700,000 stops in 2011, there were fewer than
                                      12,000 encounters in 2020. However, the overwhelming majority
                                      of such encounters are still disproportionately Black and Brown
                                      New Yorkers.




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                 Use of force:
                 While police are authorized by law to use reasonable force to
                 place subjects under arrest, they are barred by federal, state, and
                 local law, as well as Department policy, from using excessive or
                 unreasonable force to effect arrests or for any other purpose.

                 In recent years, NYPD has developed policies and procedures
                 that enable officers to rely primarily on non-force techniques
                 to effectively police, use force only when necessary, and
                 de-escalate the use of force at the earliest possible moment.
                 Further, this past summer Mayor de Blasio committed to and
                 fulfilled The Obama Foundation pledge to review and address use
                 of force in policing.

                 The plan developed to fulfill The Obama Foundation pledge builds
                 off major NYPD reforms undertaken throughout the Mayor’s
                 tenure, including overhauling use-of-force policies and publishing
                 an annual comprehensive use-of-force report. The plan
                 recognizes that addressing use of force requires going beyond
                 the four corners of the policy itself, and must include reforming
                 the very culture of policing. Key plan elements included involving
                 community members in developing Department policies and
                 in conducting trainings for officers, and releasing a Disciplinary
                 Matrix for public comment, ensuring that officers who engage


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                                      in excessive force would be held accountable in a transparent,
                                      consistent and fair way.

                                      In June 2020, the NYPD reformed its disciplinary process
                                      for incidents involving substantial bodily injury. The Police
                                      Commissioner committed to making an initial determination
                                      on whether to place the officer on modified duty or suspension
                                      within 48 hours of the incident, and concluding the investigation
                                      into such incidents on an expedited basis.

                                      In July 2020, Mayor de Blasio signed a bill making it illegal for
                                      officers to use a chokehold under City law. New York State also
                                      passed legislation criminalizing officer use of a chokehold. Under
                                      the NYPD Disciplinary System Penalty Guideline, released in
                                      January 2021, the presumptive penalty for use of a chokehold is
                                      termination.

                                      Transparency regarding all aspects of use of force is critical. The
                                      NYPD Annual Use of Force Report provides a thorough, annual
                                      analysis of all force incidents occurring within a calendar year.
                                      The NYPD Force dashboard is the newest, dynamic tool meant
                                      for easy public access of data regarding force incidents involving
                                      members of the Department.

                                      Neighborhood Policing:
                                      In 2015, New York City launched Neighborhood Policing,
                                      which has since become the cornerstone of today’s NYPD.
                                      Neighborhood Policing is a comprehensive public safety strategy
                                      built on improved communication and collaboration between
                                      local police officers and community residents. Neighborhood
                                      Policing greatly increases connectivity and engagement with
                                      the community while improving the NYPD’s crime-fighting
                                      capabilities.

                                      Neighborhood Policing provides off-radio time for the sector
                                      officers, so they are not exclusively assigned to answering calls
                                      for service. This time is used to engage with neighborhood
                                      residents, identify local problems, and find solutions. The sector
                                      officer plays the role of a generalist officer who knows and feels
                                      responsible for the neighborhood, and who provides the full
                                      range of policing services.

                                      Accountability:
                                      On June 21, 2018, Police Commissioner James P. O’Neill
                                      appointed an Independent Panel to conduct a review of the
                                      internal disciplinary system of the NYPD. This blue-ribbon


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                 panel of former prosecutors and judges conducted a review
                 of the department’s internal disciplinary system and made
                 recommendations, which NYPD has implemented or is in the final
                 stages of completing.

                 One of those recommendations was the creation of the NYPD
                 Disciplinary System Penalty Guidelines Discipline Matrix
                 (“Matrix”). NYPD worked with the City’s independent Civilian
                 Complaint Review Board (CCRB), the Commission to Combat
                 Police Corruption (CCPC) and many stakeholders to create
                 the Matrix, a guide for penalties for officer misconduct. The
                 Discipline Matrix has been strengthened by a Memorandum
                 of Understanding between NYPD and CCRB committing each
                 Agency to follow the penalties.

                 Under the de Blasio Administration, in partnership with the City
                 Council, the City has made historic investments in the CCRB. In
                 2020, the CCRB had a staff of more than 210 and a budget of
                 $19M, up from around 160 staff and $12M budget in 2013, a 30%
                 increase in staff and 60% increase in budget. As part of these
                 investments, the City build out the Administrative Prosecution
                 Unit and Outreach Unit in the CCRB. The result is a more efficient
                 and effective CCRB: the time it takes the CCRB to complete an
                 investigation has decreased, CCRB’s community outreach has
                 increased, and CCRB’s jurisdiction has expanded.

                 On February 16, 2021, Mayor de Blasio released a statement
                 hailing the federal Second Circuit Court of Appeals ruling on
                 50-a of the New York State Civil Rights Law, clearing the way
                 for the City to release police disciplinary records. “For the past
                 seven years, we’ve fundamentally changed how we police our
                 city, strengthening the bonds between communities and the
                 officers who serve them. Now, we can go even further to restore
                 accountability and trust to the disciplinary process.” Since
                 2016, the Mayor has been calling for State law changes to allow
                 the release of police disciplinary records, and looks forward to
                 releasing this data.

                 The Department already took a major step forward in disciplinary
                 transparency by publishing the trial calendar, including the date,
                 time, rank, and name of the member of service.

                 NYPD also established the Force Investigative Division, to
                 investigate all firearms discharges and incidents in which subjects
                 of police use of force have died or are seriously injured and likely
                 to die. All uses of force, from the lowest level to the highest level,
                 are made public in NYPD’s annual use of force report and on the

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                                      newly launched force dashboard.

                                      In June 2020, the NYPD announced it was disbanding the Anti-
                                      Crime Units- plainclothes units that had disproportionate civilian
                                      complaints and firearms discharges by the police- to instead
                                      focus on strategies that better improve public safety, build trust
                                      between officers and communities, and make better use of
                                      technology and intelligence without causing harm.

                                      Social media:
                                      It is essential to intervene when there are officers expressing
                                      bias on social media, as such bias makes them fundamentally
                                      unable to fairly and justly police New York City communities. In
                                      September of 2020, the NYPD revised their policy on personal
                                      social media accounts. The policy bars members from, among
                                      other conduct, engaging in any type of social media contact
                                      with any individual or organization advocating oppression, or
                                      prejudice based on ethnicity, race, religion, gender, gender
                                      identity/expression, sexual orientation, and/or disability, and
                                      engaging in any type of contact with third parties whose content
                                      violates the provisions of the procedure. The policy also prohibits
                                      posting, transmission or sharing of any content advocating
                                      harassment and violence, and from posting, transmitting or
                                      sharing content involving discourteous or disrespectful remarks
                                      regarding issues of ethnicity, race, religion, gender/gender
                                      identity/expression, sexual orientation or disability. The policy
                                      goes on to remind members of service that they are strictly
                                      accountable for their conduct at all times, inside or outside
                                      of New York City, whether on or off duty, including the use of
                                      personal social media accounts.

                                      Per the Disciplinary Matrix, offensive language/disparaging
                                      remarks have a presumptive penalty of 20 vacation days, while
                                      hate speech, including on personal social media accounts, has a
                                      presumptive penalty of termination.

                                      When a member of service is the subject of any Internal Affairs
                                      Bureau (IAB) investigation, IAB dedicates specific resources
                                      to assess and investigate the member’s compliance with the
                                      Department’s social media policy. In addition, IAB has begun
                                      to monitor open source social media to identify members who
                                      may be violating the Department’s social media policy, including
                                      members who are communicating about official department
                                      business on unofficial social media accounts, in violation of the
                                      updated policy.



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                 Training and new recruits:
                 The NYPD has increased the diversity of its recruits as part of a
                 broader effort to have the police better reflect the communities
                 they serve. Since 2013 there has been an increase in new uniform
                 hires who are people of color, from 47% in 2013 to 60% in 2020.
                 There has also been an increase in female new officers, from 17%
                 in 2013 to 24% in 2020.

                 Demographics of most recent Police Academy class, November
                 2020 (920 individuals):

                    •   40% White                            •    24% Female
                    •   35% Hispanic                         •    76% Male
                    •   13% Black
                    •   12% Asian


                 Since 2015, police recruits have been given assignments in
                 the field, where they meet community partners, learn about the
                 neighborhood, and get a controlled experience of police work.
                 All Police Academy graduates are now assigned to precincts
                 where they patrol with seasoned, veteran field training officers
                 who expose them to the full range of police functions and mentor
                 them in developing the interpersonal skills and discretion.

                 NYPD has made unprecedented investments in new trainings,
                 including instituting annual in-service training for all uniform
                 employees. The training covers critical decision-making skills,
                 basic lifesaving skills, de-escalation tactics, and strategies for
                 using the minimal amount of force necessary, among other areas.
                 In 2018, the Department added training on implicit bias to the
                 in-service training program. All uniform members of service have
                 completed this training.

                 The administration has also committed to the expansion of
                 restorative justice practices, which are currently used by the
                 NYPD in support of diversion efforts throughout the city. The New
                 York Peace Institute, with support from the JAMS foundation,
                 trains the City’s over 1,000 NCOs in mediation, de-escalation,
                 and conflict resolution skills. This program represents the largest
                 police-mediation initiative in the City’s history.

                 Transparency:
                 Body-worn cameras were in use in all precincts by 2018,
                 completing a roll out that began in 2014. Providing body-worn


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                                      cameras to all patrol officers increases accountability, allowing
                                      the Department to review and improve interactions with the
                                      public. More recently, the NYPD also committed to the public
                                      release of body-worn camera footage within 30 days of critical
                                      incidents.

                                      In 2015, the NYPD Open Data Platform increased transparency
                                      by making department data publicly available for examination,
                                      review, and research.

                                      Behavioral health:
                                      The City has taken major steps to address mental health and
                                      substance misuse as it relates to our justice system. The overall
                                      number of mental health 911 calls fell by over 8,000 in 2019 and
                                      by nearly 10,000 in 2020, the first decline following a decade
                                      in which 911 mental health calls increased every year and in
                                      every precinct in the city. This follows a concerted effort to
                                      strengthen how the City prevents and responds to mental health
                                      crises, including the introduction of new mobile intervention and
                                      treatment teams over the last several years and other strategies
                                      developed by the 2018-2019 NYC Crisis Prevention and
                                      Response Task Force.

                                      Other efforts include RxStat, co-led by NYC DOHMH and NYPD,
                                      and the Heroin Overdose Prevention and Education Program
                                      (HOPE)/Project Clear, launched by NYPD and the District
                                      Attorneys. RxStat, a national model public health-public safety
                                      partnership, brings together multiple government agencies with
                                      the shared goal of reducing drug overdoses and saving lives.
                                      The goal of HOPE/Clear is to offer a resource to help people
                                      who suffer from a substance use disorder and have intersected
                                      with the criminal justice system and divert and connect them to
                                      effective drug treatment services. Thousands have participated in
                                      this diversion program citywide.

                                      NYPD also developed Crisis Intervention Team training to train
                                      officers. NYPD and DOHMH instructors co-teach officers how to
                                      better approach and gain voluntary compliance from substance
                                      abusers and persons experiences mental health crises.

                                      And to ensure that victims are fully supported, ThriveNYC
                                      partners with NYPD to place victim advocates in all 77 precincts
                                      and 9 Public Service Areas, which service NYCHA developments.
                                      From September 2016 – July 2020, victim services advocates
                                      provided support to over 165,000 people.



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                 School safety:
                 The de Blasio Administration has made unprecedented
                 investments to create equity in our school system and excellence
                 in every school with Pre-K and 3-K for All, Computer Science for
                 All, Advanced Placement exams for all and more. Every student
                 deserves a school system where they can thrive.

                 That’s why we’ve made sweeping investments in social-emotional
                 learning and mental health supports for our students from
                 pre-school to graduation. To address the trauma of COVID-19,
                 in the upcoming school year, K-12 students in the 33 hardest hit
                 neighborhoods will be screened for social emotional learning
                 needs. We’re hiring 150 Social workers to ensure students
                 will have the appropriate supports and we’re adding 27 new
                 community schools. We’re also adding School Response
                 Clinicians and Mental Health specialists to provide direct care to
                 students in crisis through a partnership between DOE, DOHMH,
                 and ThriveNYC.

                 We have also made school climate and discipline reform central
                 to our policy. The Administration has clarified the role of NYPD
                 in schools, limiting the role of School Safety Agents (SSAs), and
                 making it clear that school officials should handle non-criminal
                 misconduct. The NYPD amended its Patrol Guide to limit arrests
                 in schools to serious incidents. SSAs now undergo extensive
                 training, including conflict resolution and de-escalation. The
                 impact has been significant—in 2019, on-site school arrests
                 decreased 34% from 2018. At the same time, we’ve expanded
                 restorative justice practices that emphasize conflict resolution
                 and problem solving, and reduced suspensions in our schools.
                 Suspensions are down 19.8% during the first half of the 2019-
                 2020 school year compared to the same period the prior year.

                 Justice system reforms:
                 The administration launched The Criminal Justice Reform Act in
                 partnership with City Council in 2016, which gave the NYPD and
                 other enforcement agencies the option to file certain summonses
                 at the NYC Office of Administrative Trials and Hearings (OATH)
                 rather than in Criminal Court. Since then, criminal summonses
                 have decreased substantially.

                 In 2018, the City implemented a policy to reduce unnecessary
                 marijuana arrests to better balance fairness with public safety
                 and quality of life concerns. Marijuana arrests declined 90%
                 from 2014 to 2019 (33,314 vs. 3,231), and the City developed



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                                      a comprehensive proposal for a fair and equitable regulatory
                                      system through the 2018 Task Force on Cannabis Legalization.

                                      In 2019, the City finalized its plan to replace Rikers with a
                                      smaller, safer and fairer borough-based system. This milestone
                                      was made possible due to unprecedented investments in
                                      reshaping the justice system, including expanding alternatives to
                                      incarceration and offering comprehensive reentry programming
                                      with transitional jobs. The City also committed to ending punitive
                                      segregation in 2021 and has reduced its use by approximately
                                      80%.

                                      Despite the unquestionable successes of vast reductions in
                                      overall crime, incarceration, and low level arrests citywide, Black
                                      and Brown New Yorkers still bear the overwhelming brunt of
                                      contact with the criminal justice system, a status quo we cannot
                                      accept and must work urgently and relentlessly to change.




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Appendix II

Community Engagement
The Reform and Reinvention Collaborative hosted over 85 meetings- public listening sessions,
town halls, and roundtable discussions- with a range of groups and organizations.

Between October 2020 and February 2021, the Collaborative engaged New Yorkers from
a cross-section of backgrounds, fields, and experiences. Attendees consisted of clergy
and religious leaders, police reform advocates, community-based organizations, leaders
in restorative justice, alternatives to incarceration and reentry representatives, resident
associations, housing providers, business organizations, LGBTQIA+ organizations, groups
representing New York City’s diverse communities, young people, people with lived experience
in communities most affected by policing, thought leaders in public safety, District Attorneys,
oversight bodies, NYPD officers and employees and unions, and many others.

Public Listening Sessions
The Collaborative held nine community listening sessions across the city, in every borough, to
hear from New Yorkers and solicit their input for reforms.

Meetings in Communities Most Affected
The Collaborative also hosted 5 separate sessions to engage those from communities most
affected by policing. These meetings consisted of panel discussions and open dialogues with
community members to gather their feedback on policing reforms.

Stakeholder Engagement Meetings
The Reform and Reinvention collaborative hosted dozens of meetings with stakeholder groups
and organizations.


Past Meetings
February 2021
  • Indo Caribbean/ East Indian Community Groups – February 11, 2021
   • “Future of Public Safety” – Conversation with John Jay College of Criminal Justice and
      NOBLE– February 8, 2021

January 2021
  • Mayor’s Office of People with Disabilities - Community Stakeholders– January 27, 2021
   •   Minority Business Owners – January 25, 2021
   •   Adult Continuing Education Group – January 20, 2021


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     •    NYPD Cadets, NYPD Explorers, and Members of the Youth Leadership Council–
          January 19, 2021
     •    NYC Office of Neighborhood Safety Partners – January 15, 2021
     •    Center for Justice Research and Innovation – January 11, 2021
     •    Center for Policing Equity – Youth Outreach – January 6, 2021

December 2020
  • Mayor’s Action Plan for Neighborhood Safety (MAP) Program Partners – December 29
     and December 30, 2020
     •    CUNY’s Black Male Initiative – December 28, 2020
     •    Interfaith Center of New York – December 22, 2020
     •     iBelong Program– December 22, 2020
     •    Pan Asian Community Leaders– December 18, 2020
     •    Department for the Aging – Community Stakeholders - December 17, 2020
     •    CCRB Civilian Oversight Panel – December 16, 2020
     •    Business Owners - (Manhattan/Bronx) – December 16, 2020
     •    Impacted Community Meeting #5 – December 16, 2020
     •    1st Deputy Commissioner’s Roundtable on Policy– December 15, 2020
     •    Business Owners (Brooklyn/Queens/SI) – December 15, 2020
     •    Impacted Community Meeting #4 – December 14, 2020
     •    Deaf & Hard of Hearing Community Meeting – December 14, 2020
     •    Impacted Community Meeting #3 – December 11, 2020
     •    Impacted Community Meeting #2 – December 9, 2020
     •    Impacted Community Meeting #1 – December 8, 2020
     •    NYPD Members (Voluntary Participants)– December 8, 2020
     •    Shelter Based and Affordable Housing Providers– December 7, 2020
     •    NYPD – Civilian Complaint Review Board Youth Meeting – December 3, 2020
     •    NYPD Members -(Voluntary Participants) – December 3, 2020
     •    NYPD Members - (Voluntary Participants) – December 2, 2020
     •    LGBTQIA Organizations – December 2, 2020
     •    Community Activists – December 1, 2020
     •    NYPD Civilian Members – Safety Titles – December 1, 2020

November 2020
  • NYPD Civilian Members - Operational Titles – November 30, 2020
     •    Minority Law Enforcement Organizations – November 25, 2020



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  •   NYPD Members - Precinct Commanders – November 25, 2020
  •   NYPD Members - Detectives/Investigative Units – November 24, 2020
  •   Muslim Community Leaders Roundtable – November 23, 2020
  •   NYPD Members - Frontline Supervisors – November 23, 2020
  •   NYPD Members - P.O.’s/Detectives- Specialized Units – November 20, 2020
  •   Commission to Combat Police Corruption – November 20, 2020
  •   Department of Investigation/Inspector General – November 20, 2020
  •   Center for Court Innovation - November 20, 2020
  •   Clergy Members – November 19, 2020
  •   NAACP – November 18, 2020
  •   People’s Police Academy – November 18, 2020
  •   NYPD Members - POs/Dets/Specialized Units – November 18, 2020
  •   District Attorneys – November 16, 2020
  •   Community Activists (CBOs and Clergy Leaders)– November 16, 2020
  •   Civilian Complaint Review Board – November 13, 2020
  •   Federal Monitor Team – November 13, 2020
  •   Fraternal Organization Leadership – November 13, 2020
  •   Columbia University Center for Justice– November 11, 2020
  •   Columbia Univ. Center for Justice Youth Leadership Ambassadors – November 6, 2020
  •   Columbia University Center for Justice – November 4, 2020
  •   Harlem Mothers Save – November 2, 2020
  •   Red Hook Community Justice Center – November 2, 2020

October 2020
  • Center for Court Innovation – October 30, 2020
  •   NYPD Union Leadership – October 30, 2020
  •   Fraternal Organization Leadership – October 28th, 2020
  •   Greater Harlem Coalition – October 27, 2020
  •   NYCHA Tenants Associations (Manhattan) - October 26, 2020
  •   REFORM NYPD Coalition/Union Settlement – October 2, 2020




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Appendix III




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                WŽƚĞŶƚŝĂůŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϬ
              dŚĞĨĨĞĐƚŽĨZĂŶŬŽŶŝƐĐŝƉůŝŶĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϬ
              WƌŝŽƌŝƐĐŝƉůŝŶĂƌǇ,ŝƐƚŽƌǇ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϭ
                 WƌŽŐƌĞƐƐŝǀĞŝƐĐŝƉůŝŶĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϭ
              ŽŶƐĞƋƵĞŶĐĞƐŽĨŝƐĐŝƉůŝŶĂƌǇĐƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϮ
              ĂůĐƵůĂƚŝŽŶŽĨWĞŶĂůƚŝĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϮ
              WƌŽďĂƚŝŽŶĂƌǇ^ƚĂƚƵƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ
              ĨĨĞĐƚŽĨWƌĞĐĞĚĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰ
              ĞĨŝŶŝƚŝŽŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰ
              ĚĚŝƚŝŽŶĂůZĞƋƵŝƌĞŵĞŶƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱ

           ^ƉĞĐŝĨŝĐWĞŶĂůƚǇ'ƵŝĚĞůŝŶĞƐďǇĂƚĞŐŽƌǇ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ
              ŽŶĚƵĐƚŽŶƐƚŝƚƵƚŝŶŐĂƌŝŵĞWƌŽƐĐƌŝďĞĚďǇ^ƚĂƚĞŽƌ&ĞĚĞƌĂů>Ăǁ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ
                WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌsŝŽůĂƚŝŽŶŽĨƌŝŵŝŶĂů^ƚĂƚƵƚĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϴ
              hƐĞŽĨǆĐĞƐƐŝǀĞ&ŽƌĐĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϬ
                ĚĚŝƚŝŽŶĂůĞĨŝŶŝƚŝŽŶƐWĞƌƚĂŝŶŝŶŐƚŽhƐĞŽĨ&ŽƌĐĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϬ
                WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌhƐĞŽĨǆĐĞƐƐŝǀĞ&ŽƌĐĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮ

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50       NYC Police Reform and Reinvention Collaborative Draft Plan
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           ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůDŝƚŝŐĂƚŝŶŐ&ĂĐƚŽƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϰ
           ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϰ
       ďƵƐĞŽĨƵƚŚŽƌŝƚǇ͕ŝƐĐŽƵƌƚĞƐǇĂŶĚKĨĨĞŶƐŝǀĞ>ĂŶŐƵĂŐĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϱ
         ĚĚŝƚŝŽŶĂůĞĨŝŶŝƚŝŽŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϱ
         WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌďƵƐĞŽĨƵƚŚŽƌŝƚǇ͕ŝƐĐŽƵƌƚĞƐǇ͕KĨĨĞŶƐŝǀĞ>ĂŶŐƵĂŐĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϲ
         ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůDŝƚŝŐĂƚŝŶŐ&ĂĐƚŽƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϴ
         ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϴ
       &ĂůƐĞ͕DŝƐůĞĂĚŝŶŐĂŶĚ/ŶĂĐĐƵƌĂƚĞ^ƚĂƚĞŵĞŶƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϵ
         ĚĚŝƚŝŽŶĂůĞĨŝŶŝƚŝŽŶƐĨŽƌ&ĂůƐĞ͕DŝƐůĞĂĚŝŶŐĂŶĚ/ŶĂĐĐƵƌĂƚĞ^ƚĂƚĞŵĞŶƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϵ
         WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌ&ĂůƐĞ͕DŝƐůĞĂĚŝŶŐΘ/ŶĂĐĐƵƌĂƚĞ^ƚĂƚĞŵĞŶƚƐĂŶĚ/ŵƉĞĚŝŶŐĂŶ/ŶǀĞƐƚŝŐĂƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϮ
         ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϮ
         ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůDŝƚŝŐĂƚŝŶŐ&ĂĐƚŽƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϮ
       ŽŵĞƐƚŝĐsŝŽůĞŶĐĞ/ŶĐŝĚĞŶƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϯ
         ĚĚŝƚŝŽŶĂůĞĨŝŶŝƚŝŽŶĨŽƌŽŵĞƐƚŝĐsŝŽůĞŶĐĞ/ŶĐŝĚĞŶƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϯ
         WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌŽŵĞƐƚŝĐsŝŽůĞŶĐĞ/ŶĐŝĚĞŶƚƐ/ŶǀŽůǀŝŶŐ&ĂŵŝůǇͬ,ŽƵƐĞŚŽůĚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϯ
         ĚĚŝƚŝŽŶĂůŽŶƐŝĚĞƌĂƚŝŽŶƐĨŽƌŽŵĞƐƚŝĐsŝŽůĞŶĐĞ/ŶĐŝĚĞŶƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϰ
         hŶŝƋƵĞŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐĂŶĚĚĚŝƚŝŽŶĂůWƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌDŝƐĐŽŶĚƵĐƚ/ŶǀŽůǀŝŶŐ
         &ĂŵŝůǇͬ,ŽƵƐĞŚŽůĚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϱ
         ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůDŝƚŝŐĂƚŝŶŐ&ĂĐƚŽƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϲ
       ƌŝǀŝŶŐtŚŝůĞďŝůŝƚǇ/ŵƉĂŝƌĞĚͬ/ŶƚŽǆŝĐĂƚĞĚ/ŶĐŝĚĞŶƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϳ
          WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌƌŝǀŝŶŐtŚŝůĞ/ŵƉĂŝƌĞĚͬ/ŶƚŽǆŝĐĂƚĞĚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϳ
          ĚĚŝƚŝŽŶĂůŽŶƐŝĚĞƌĂƚŝŽŶƐĨŽƌt//ŶĐŝĚĞŶƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϳ
          hŶŝƋƵĞŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐĂŶĚĚĚŝƚŝŽŶĂůWƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϴ
       &ŝƌĞĂƌŵͲZĞůĂƚĞĚ/ŶĐŝĚĞŶƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϵ
          WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌ&ŝƌĞĂƌŵͲZĞůĂƚĞĚ/ŶĐŝĚĞŶƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϵ
       /ŶŐĞƐƚŝŶŐŽŶƚƌŽůůĞĚ^ƵďƐƚĂŶĐĞƐ͕DĂƌŝŚƵĂŶĂͬd,͕ĂŶŶĞĚ^ƵďƐƚĂŶĐĞƐĂŶĚǆĐĞƐƐŝǀĞͬhŶĞǆĐƵƐĞĚhƐĞŽĨWƌĞƐĐƌŝƉƚŝŽŶƌƵŐƐ
       ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϭ
            ĚĚŝƚŝŽŶĂůĞĨŝŶŝƚŝŽŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϭ
            WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌŽŶƚƌŽůůĞĚ^ƵďƐƚĂŶĐĞƐ͕DĂƌŝũƵĂŶĂͬd,͕ĂŶŶĞĚ^ƵďƐƚĂŶĐĞƐĂŶĚ
            ǆĐĞƐƐŝǀĞͬhŶĞǆĐƵƐĞĚhƐĞŽĨWƌĞƐĐƌŝƉƚŝŽŶƌƵŐƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϮ
       sŝŽůĂƚŝŽŶƐŽĨĞƉĂƌƚŵĞŶƚZƵůĞƐĂŶĚZĞŐƵůĂƚŝŽŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰ ϯ
          WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌsŝŽůĂƚŝŽŶŽĨĞƉĂƌƚŵĞŶƚZƵůĞƐĂŶĚZĞŐƵůĂƚŝŽŶƐʹĚũƵĚŝĐĂƚĞĚďǇŚĂƌŐĞƐĂŶĚ
          ^ƉĞĐŝĨŝĐĂƚŝŽŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϯ
       KĨĨͲƵƚǇDŝƐĐŽŶĚƵĐƚΘWƌŽŚŝďŝƚĞĚŽŶĚƵĐƚ'ĞŶĞƌĂůůǇ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϲ
         WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌKĨĨͲƵƚǇDŝƐĐŽŶĚƵĐƚΘWƌŽŚŝďŝƚĞĚŽŶĚƵĐƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϲ
       ƋƵĂůŵƉůŽǇŵĞŶƚKƉƉŽƌƚƵŶŝƚǇŝǀŝƐŝŽŶĂŶĚƚŚĞŝƐĐŝƉůŝŶĞ^ǇƐƚĞŵ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϴ
         WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌƋƵĂůŵƉůŽǇŵĞŶƚKƉƉŽƌƚƵŶŝƚǇsŝŽůĂƚŝŽŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϴ
         WƌŽƚĞĐƚĞĚůĂƐƐĞƐWƵƌƐƵĂŶƚƚŽ&ĞĚĞƌĂů͕^ƚĂƚĞ͕ĂŶĚ>ŽĐĂů>Ăǁ;ĐƵƌƌĞŶƚĂƐŽĨ:ƵŶĞϭϲ͕ϮϬϮϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϵ
         ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϵ

    DŝƐĐŽŶĚƵĐƚĚũƵĚŝĐĂƚĞĚďǇŽŵŵĂŶĚŝƐĐŝƉůŝŶĞʹ'ĞŶĞƌĂůdĞƌŵƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϬ
       ĚũƵĚŝĐĂƚĞĚďǇ^ĐŚĞĚƵůĞŽŵŵĂŶĚŝƐĐŝƉůŝŶĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϬ
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       ĚũƵĚŝĐĂƚĞĚďǇ^ĐŚĞĚƵůĞŽŵŵĂŶĚŝƐĐŝƉůŝŶĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϮ

    ŽŶĐůƵƐŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϰ

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                                                                                          January 15, 2021

             In January 2019, a blue ribbon panel of judges and former prosecutors made 13 recommendations to improve
             the New York City Police Department’s internal discipline process. The department accepted them all, including
             the recommendation that we consider a discipline penalty matrix to outline the presumptive penalties for a wide
             variety of possible offenses – both violations of internal department rules and police misconduct during
             encounters with members of the public. This document, almost two years in the making, is the product of that
             effort.

             Preparing the matrix turned out to be an extremely useful exercise. First, it gives the members of our department
             and the members of the public a clearer understanding of how penalties will be imposed when officers are found
             guilty of, or plead guilty to, disciplinary charges. Second, the work of developing the matrix forced the
             department to take a hard look at our discipline system. Like the blue ribbon panel, we found that the discipline
             system is generally robust, however, the analysis revealed some inconsistencies and oversights that diminished
             the system’s fairness and efficacy in the eyes of both the public and our own employees. In retrospect, the matrix
             was long overdue and has proven a very welcome improvement.

             The revision process has been a collaborative effort with a wide variety of police oversight entities, public
             interest groups, elected leaders, and other interested parties. The final product relies heavily on public comments
             gathered from August to October of last year. In light of those comments, the department strengthened the
             matrix in several key ways, namely: establishing greater consistency between penalties assessed for violating
             internal department policies and penalties imposed for police misconduct in public encounters, defining clear
             escalating penalties for repeat offenders, and delineating more specifically how both mitigating and aggravating
             factors may affect the ultimate penalties imposed.

             In all, I believe this matrix with its detailed presumptive penalties for acts of misconduct will help to ensure that
             the NYPD discipline system does what it is intended to do: punish officers who have abused their position of
             trust in a fair manner and apply a consistent approach to both appropriate penalties and, in some instances,
             provide for remedial education and rehabilitation of offending officers that deters and prevents future
             wrongdoing. Our goal is to always strive to ensure that our discipline system is as clear and fair as it can be,
             and we believe that this product is another important step toward achieving that goal. We also recognize that
             this matrix is a living document, which may, and should, be revised as part of a continuing process of review,
             assessment, and improvement of the entire disciplinary system in the coming years.

                                                                                          Sincerely,



                                                                                          Dermot Shea
                                                                                          Police Commissioner




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    /ŶƚƌŽĚƵĐƚŝŽŶ
    EĞǁzŽƌŬŝƚǇƉŽůŝĐĞŽĨĨŝĐĞƌƐŚŽůĚĂƵŶŝƋƵĞƉŽƐŝƚŝŽŶǁŝƚŚŝŶŽƵƌƐŽĐŝĞƚǇ͘dŚĞǇĂƌĞƌĞƐƉŽŶƐŝďůĞĨŽƌƚŚĞƐĂĨĞƚǇĂŶĚƐĞĐƵƌŝƚǇŽĨ
    ĂůůŽĨƚŚŽƐĞǁŚŽǁŽƌŬ͕ůŝǀĞĂŶĚǀŝƐŝƚŽƵƌĐŝƚǇ͘tŚĞƚŚĞƌƌĞƐƉŽŶĚŝŶŐƚŽĐƌŝŵĞƐŝŶƉƌŽŐƌĞƐƐŽƌŽĨĨĞƌŝŶŐĞŵĞƌŐĞŶĐǇĂƐƐŝƐƚĂŶĐĞ͕
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    ƚŽĞĨĨĞĐƚŝǀĞůǇĐĂƌƌǇŽƵƚƚŚĞŝƌĚƵƚŝĞƐ͕ƉŽůŝĐĞŽĨĨŝĐĞƌƐĂƌĞŐƌĂŶƚĞĚǀĂƐƚĚŝƐĐƌĞƚŝŽŶŝŶŚŽǁĞǆĂĐƚůǇƚŽƉĞƌĨŽƌŵƚŚĞŝƌǁŽƌŬ͘dŚĞǇ
    ŚĂǀĞƚŚĞƉŽǁĞƌƚŽƐĞŝǌĞƉƌŽƉĞƌƚǇ͕ƌĞƐƚƌŝĐƚƚŚĞĨƌĞĞĚŽŵŽĨŝŶĚŝǀŝĚƵĂůƐ͕ĂŶĚ͕ƵŶĚĞƌĂƉƉƌŽƉƌŝĂƚĞĐŝƌĐƵŵƐƚĂŶĐĞƐ͕ƚŽƵƐĞĨŽƌĐĞ
    ŝŶƚŚĞĐŽƵƌƐĞŽĨƚŚĞŝƌĚƵƚŝĞƐ͘tŝƚŚƚŚŝƐĚŝƐĐƌĞƚŝŽŶĐŽŵĞƐĂƌĞƐƉŽŶƐŝďŝůŝƚǇƚŽƉĞƌĨŽƌŵƚŚĞŝƌĚƵƚŝĞƐƵƐŝŶŐŐŽŽĚũƵĚŐŵĞŶƚĂŶĚ
    ĞǆĞƌĐŝƐĞƚŚĞŝƌĚŝƐĐƌĞƚŝŽŶǁŝƚŚŝŶƚŚĞďŽƵŶĚƐŽĨƚŚĞůĂǁĂŶĚEĞǁzŽƌŬŝƚǇWŽůŝĐĞĞƉĂƌƚŵĞŶƚ;͞EzW͟ͿƉŽůŝĐǇ͘
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    ƉŽůŝĐǇĂƌĞĞǆĐĞĞĚĞĚ͕ĞƋƵŝƚĂďůĞĚŝƐĐŝƉůŝŶĞǁŝůůƌĞƐƵůƚ͘^ŝŵŝůĂƌůǇ͕ŝƚƐŚŽƵůĚďĞĞǆƉĞĐƚĞĚƚŚĂƚĂŶǇĚŝƐĐŝƉůŝŶĞŝŵƉŽƐĞĚǁŝůůďĞĨĂŝƌ͕
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    ŽďũĞĐƚŝǀĞůǇ ƌĞǀŝĞǁ ƚŚĞ ƚŽƚĂůŝƚǇ ŽĨ ƚŚĞ ĐŝƌĐƵŵƐƚĂŶĐĞƐ ƐƵƌƌŽƵŶĚŝŶŐ ĂŶǇ ƐƵďƐƚĂŶƚŝĂƚĞĚ ŵŝƐĐŽŶĚƵĐƚ͘ WƌŽƉŽƌƚŝŽŶĂůŝƚǇ ŽĨ
    ĚŝƐĐŝƉůŝŶĞƌĞƋƵŝƌĞƐƚŚĂƚĞĂĐŚŝŶƐƚĂŶĐĞŽĨŵŝƐĐŽŶĚƵĐƚŝƐĂĚĚƌĞƐƐĞĚŝŶůŝŶĞǁŝƚŚƚŚĞƐĞƌŝŽƵƐŶĞƐƐŽĨƚŚĂƚŵŝƐĐŽŶĚƵĐƚ͕ŝŶĐůƵĚŝŶŐ
    ĂŶǇĂŐŐƌĂǀĂƚŝŶŐĂŶĚŵŝƚŝŐĂƚŝŶŐĐŝƌĐƵŵƐƚĂŶĐĞƐ͘>ĂƐƚůǇ͕ĞƋƵŝƚǇǁŝƚŚŝŶĂĚŝƐĐŝƉůŝŶĞƐǇƐƚĞŵŵĞĂŶƐƚŚĂƚĞǀĞƌǇŽĨĨŝĐĞƌŝƐŚĞůĚ
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    ĂŶĚƉƵďůŝƐŚĞĚ͘
    EŽƚŚŝŶŐŝŶƚŚĞƐĞ'ƵŝĚĞůŝŶĞƐƐŚĂůůďĞĐŽŶƐƚƌƵĞĚƚŽůŝŵŝƚƚŚĞĚŝƐĐƌĞƚŝŽŶŽĨƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌƚŽŝŵƉŽƐĞĚŝƐĐŝƉůŝŶĞ͘dŚĞ
    WŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌŵĂǇŵŽĚŝĨǇƚŚĞƐĞ'ƵŝĚĞůŝŶĞƐĂƐĂƉƉƌŽƉƌŝĂƚĞƚŽĂĚĚƌĞƐƐĞŵĞƌŐŝŶŐŝƐƐƵĞƐĂŶĚĂĚǀĂŶĐĞƚŚĞŐŽĂůƐŽĨƚŚĞ
    ĚŝƐĐŝƉůŝŶĂƌǇ ƐǇƐƚĞŵ ĚĞƐĐƌŝďĞĚ ŚĞƌĞŝŶ͘ ŶǇ ƐƵĐŚ ŵŽĚŝĨŝĐĂƚŝŽŶƐ ƐŚĂůů ďĞ ƉŽƐƚĞĚ ŽŶ ƚŚĞ ĞƉĂƌƚŵĞŶƚ͛Ɛ ǁĞďƐŝƚĞ͕ ǁŝƚŚ ĂŶ
    ĂĐĐŽŵƉĂŶǇŝŶŐĚĞƐĐƌŝƉƚŝŽŶŽĨƚŚĞŵŽĚŝĨŝĐĂƚŝŽŶƐ͕ĂƐŶĞĞĚĞĚ͘EŽůĂƚĞƌƚŚĂŶ:ĂŶƵĂƌǇϯϬ͕ϮϬϮϮĂŶĚďǇ:ĂŶƵĂƌǇϯϬŽĨĞĂĐŚǇĞĂƌ
    ƚŚĞƌĞĂĨƚĞƌ͕ƚŚĞĞƉĂƌƚŵĞŶƚƐŚĂůůƉŽƐƚŽŶŝƚƐǁĞďƐŝƚĞĂŶĚĚĞůŝǀĞƌƚŽƚŚĞ^ƉĞĂŬĞƌŽĨƚŚĞEĞǁzŽƌŬŝƚǇŽƵŶĐŝůĂƌĞƉŽƌƚƚŚĂƚ
    ŝŶĐůƵĚĞƐƚŚĞŶƵŵďĞƌĂŶĚƉĞƌĐĞŶƚĂŐĞŽĨŝŶƐƚĂŶĐĞƐǁŝƚŚŝŶƚŚĞƉƌĞĐĞĚŝŶŐĐĂůĞŶĚĂƌǇĞĂƌŝŶǁŚŝĐŚƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ
    ŝŵƉŽƐĞĚĂĚŝƐĐŝƉůŝŶĂƌǇƉĞŶĂůƚǇƚŚĂƚĚĞǀŝĂƚĞƐĨƌŽŵƚŚĞƉĞŶĂůƚŝĞƐĞŶƵŵĞƌĂƚĞĚŝŶƚŚĞƐĞ'ƵŝĚĞůŝŶĞƐ͘ϭ


    EzWsĂůƵĞƐ
    dŚĞEzWǀĂůƵĞƐƉƌŽǀŝĚĞƚŚĞĨŽƵŶĚĂƚŝŽŶĨŽƌƚŚĞĞƉĂƌƚŵĞŶƚ͛ƐĚŝƐĐŝƉůŝŶĂƌǇƐǇƐƚĞŵ͘'ŝǀĞŶƚŚĞƐĞǀĂůƵĞƐ͕ƚŚĞƐƚĂŶĚĂƌĚƐĨŽƌ
    ƉƌŽĨĞƐƐŝŽŶĂůĂŶĚƉĞƌƐŽŶĂůĐŽŶĚƵĐƚĂƌĞŚŝŐŚ͘dŚĞĞƉĂƌƚŵĞŶƚŚĂƐƉůĞĚŐĞĚƚŚĂƚ͕ŝŶƉĂƌƚŶĞƌƐŚŝƉǁŝƚŚƚŚĞĐŽŵŵƵŶŝƚǇ͕ŝƚǁŝůů͗

           x     WƌŽƚĞĐƚƚŚĞůŝǀĞƐĂŶĚƉƌŽƉĞƌƚǇŽĨŽƵƌĨĞůůŽǁĐŝƚŝǌĞŶƐĂŶĚŝŵƉĂƌƚŝĂůůǇĞŶĨŽƌĐĞƚŚĞůĂǁ
           x     &ŝŐŚƚĐƌŝŵĞ͕ďŽƚŚďǇƉƌĞǀĞŶƚŝŶŐŝƚĂŶĚĂŐŐƌĞƐƐŝǀĞůǇƉƵƌƐƵŝŶŐǀŝŽůĂƚŽƌƐŽĨƚŚĞůĂǁ
           x     DĂŝŶƚĂŝŶĂŚŝŐŚĞƌƐƚĂŶĚĂƌĚŽĨŝŶƚĞŐƌŝƚǇƚŚĂŶŝƐŐĞŶĞƌĂůůǇĞǆƉĞĐƚĞĚŽĨŽƚŚĞƌƐďĞĐĂƵƐĞƐŽŵƵĐŚŝƐĞǆƉĞĐƚĞĚŽĨƵƐ
           x     sĂůƵĞŚƵŵĂŶůŝĨĞ͕ƌĞƐƉĞĐƚƚŚĞĚŝŐŶŝƚǇŽĨĞĂĐŚŝŶĚŝǀŝĚƵĂů͕ĂŶĚƌĞŶĚĞƌŽƵƌƐĞƌǀŝĐĞƐǁŝƚŚĐŽƵƌƚĞƐǇĂŶĚĐŝǀŝůŝƚǇ

    EĞŝŐŚďŽƌŚŽŽĚWŽůŝĐŝŶŐĂŶĚƚŚĞŝƐĐŝƉůŝŶĂƌǇ^ǇƐƚĞŵ
    EĞŝŐŚďŽƌŚŽŽĚWŽůŝĐŝŶŐŝƐƚŚĞĐŽƌŶĞƌƐƚŽŶĞŽĨƚŚĞEzW͘/ƚŝƐĂĐŽŵƉƌĞŚĞŶƐŝǀĞƐƚƌĂƚĞŐǇ͕ďƵŝůƚŽŶŝŵƉƌŽǀĞĚĐŽŵŵƵŶŝĐĂƚŝŽŶĂŶĚ
    ĐŽůůĂďŽƌĂƚŝŽŶďĞƚǁĞĞŶƉŽůŝĐĞŽĨĨŝĐĞƌƐĂŶĚĐŽŵŵƵŶŝƚǇƌĞƐŝĚĞŶƚƐ͘EĞŝŐŚďŽƌŚŽŽĚWŽůŝĐŝŶŐǁŽƌŬƐƚŽĂĐĐŽŵƉůŝƐŚƚŚƌĞĞĐŽƌĞŐŽĂůƐ͗
    ƌĞĚƵĐĞ ĐƌŝŵĞ͖ ƉƌŽŵŽƚĞ ƚƌƵƐƚ ĂŶĚ ƌĞƐƉĞĐƚ͖ ĂŶĚ ƐŽůǀĞ ƉƌŽďůĞŵƐ ĐŽůůĂďŽƌĂƚŝǀĞůǇ͕ ďŽƚŚ ǁŝƚŚŝŶ ƚŚĞ ĞƉĂƌƚŵĞŶƚ ĂŶĚ ǁŝƚŚ
    ŶĞŝŐŚďŽƌŚŽŽĚ ƌĞƐŝĚĞŶƚƐ͘ Ɛ ĂŶ ŝŶƚĞŐƌĂů ƉĂƌƚ ŽĨ ƚŚŝƐ ƉŚŝůŽƐŽƉŚǇ͕ ƚŚĞ ĞƉĂƌƚŵĞŶƚ͛Ɛ ĚŝƐĐŝƉůŝŶĂƌǇ ƐǇƐƚĞŵ ƐĞƚƐ ƐƚĂŶĚĂƌĚƐ ŽĨ
    ƉĞƌĨŽƌŵĂŶĐĞ ĂŶĚ ĐŽŶĚƵĐƚ͕ ĂŶĚ ĞƐƚĂďůŝƐŚĞƐ ĨĂŝƌ ĐŽŶƐĞƋƵĞŶĐĞƐ ĨŽƌ ĨĂŝůŝŶŐ ƚŽ ĂĚŚĞƌĞ ƚŽ ƚŚĞƐĞ ƐƚĂŶĚĂƌĚƐ͘ dŚĞ 'ƵŝĚĞůŝŶĞƐ
    ĐŽŶƚĂŝŶĞĚŚĞƌĞŝŶ͕ĐŽƵƉůĞĚǁŝƚŚƚŚĞĂŶŶƵĂů͞ŝƐĐŝƉůŝŶĞŝŶƚŚĞEzW͟ƌĞƉŽƌƚϮ͕ŚĞůƉƉƌŽŵŽƚĞƚƌƵƐƚĂŶĚƌĞƐƉĞĐƚďǇƉƌŽǀŝĚŝŶŐ
    ŐƌĞĂƚĞƌƚƌĂŶƐƉĂƌĞŶĐǇĂŶĚŝŶƐŝŐŚƚŝŶƚŽƚŚĞĚŝƐĐŝƉůŝŶĂƌǇƐǇƐƚĞŵ͘ƚƚŚĞƐĂŵĞƚŝŵĞ͕ŝƚƉƌŽŵŽƚĞƐŐƌĞĂƚĞƌĐŽŶĨŝĚĞŶĐĞŝŶƚŚĞƉƌŽĐĞƐƐ
    ĂŵŽŶŐŽĨĨŝĐĞƌƐǁŚŽǁŝůůďĞĂďůĞƚŽƐĞĞƚŚĞƐǇƐƚĞŵĂƐĨĂŝƌ͕ƉƌŽƉŽƌƚŝŽŶĂů͕ĂŶĚĞƋƵŝƚĂďůĞ͘


    ϭ^ĞĞEĞǁzŽƌŬŝƚǇĚŵŝŶŝƐƚƌĂƚŝǀĞŽĚĞΑϭϰͲϭϴϲ͘
    ϮdŚĞĂŶŶƵĂůƌĞƉŽƌƚƐĂƌĞƉƵďůŝƐŚĞĚŽŶƚŚĞEzWǁĞďƐŝƚĞĂŶĚĂƌĞĂǀĂŝůĂďůĞĂƚŚƚƚƉƐ͗ͬͬǁǁǁϭ͘ŶǇĐ͘ŐŽǀͬƐŝƚĞͬŶǇƉĚͬƐƚĂƚƐͬƌĞƉŽƌƚƐͲ

    ĂŶĂůǇƐŝƐͬĚŝƐĐŝƉůŝŶĞ͘ƉĂŐĞ͘
                                                                                                                                    Ϯ




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     dŚĞŝƐĐŝƉůŝŶĂƌǇ^ǇƐƚĞŵ
     'ŽĂůƐŽĨƚŚĞŝƐĐŝƉůŝŶĂƌǇ^ǇƐƚĞŵ
     ƐŶŽƚĞĚ͕ĂĚŝƐĐŝƉůŝŶĂƌǇƐǇƐƚĞŵŵƵƐƚďĞĨĂŝƌĂŶĚĞƋƵŝƚĂďůĞŝŶŽƌĚĞƌƚŽďĞĞĨĨĞĐƚŝǀĞ͘ŝƐĐŝƉůŝŶĞŵƵƐƚďĞĨĂŝƌůǇĂĚŵŝŶŝƐƚĞƌĞĚ͕
     ƌĞĂƐŽŶĂďůǇĐŽŶƐŝƐƚĞŶƚ͕ĚĞƐŝŐŶĞĚƚŽĂĐŚŝĞǀĞĂĚĞƐŝƌĞĚƌĞƐƵůƚĂŶĚƉƌĞŵŝƐĞĚƵƉŽŶƐƚĂŶĚĂƌĚƐƚŚĂƚĂƌĞŐĞŶĞƌĂůůǇƵŶĚĞƌƐƚŽŽĚ
     ĞƉĂƌƚŵĞŶƚͲǁŝĚĞ͘dŚĞŐŽĂůƐŽĨƚŚĞĚŝƐĐŝƉůŝŶĂƌǇƐǇƐƚĞŵŝŶĐůƵĚĞ͗
          x    ŽƌƌĞĐƚŝŶŐŽƌŵŽĚŝĨǇŝŶŐŝŶĂƉƉƌŽƉƌŝĂƚĞďĞŚĂǀŝŽƌĂŶĚƌĞŚĂďŝůŝƚĂƚŝŶŐƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ
          x    ĚƵĐĂƚŝŶŐƉĞƌƐŽŶŶĞůĂŶĚƚŚĞĐŽŵŵƵŶŝƚǇƌĞŐĂƌĚŝŶŐĂŐĞŶĐǇƐƚĂŶĚĂƌĚƐ
          x    WƌŽǀŝĚŝŶŐƌĞĂƐŽŶĂďůĞŶŽƚŝĐĞŽĨƚŚĞƐƚĂŶĚĂƌĚƐďǇǁŚŝĐŚĐŽŶĚƵĐƚǁŝůůďĞũƵĚŐĞĚĂŶĚƚŚĞůŝŬĞůǇĐŽŶƐĞƋƵĞŶĐĞƐŽĨ
               ƚŚĞĨĂŝůƵƌĞƚŽĂĚŚĞƌĞƚŽĞƉĂƌƚŵĞŶƚƌƵůĞƐĂŶĚƉŽůŝĐŝĞƐ
          x    ZĞƐŽůǀŝŶŐĚŝƐĐŝƉůŝŶĂƌǇŵĂƚƚĞƌƐŝŵƉĂƌƚŝĂůůǇĂŶĚŝŶĂƉƌŽŵƉƚĂŶĚĞĨĨŝĐŝĞŶƚŵĂŶŶĞƌ
          x    ZĞƚƌĂŝŶŝŶŐƉĞƌƐŽŶŶĞůǁŚŽĞǆŚŝďŝƚĂůĂĐŬŽĨƵŶĚĞƌƐƚĂŶĚŝŶŐŽĨĞƉĂƌƚŵĞŶƚƉŽůŝĐŝĞƐĂŶĚƉƌŽĐĞĚƵƌĞƐ
          x    ĚĚƌĞƐƐŝŶŐƚŚĞŚĂƌŵ͕ŽƌƌŝƐŬŽĨŚĂƌŵ͕ĂƌŝƐŝŶŐĨƌŽŵŵŝƐĐŽŶĚƵĐƚĂŶĚƚŚĞĞĨĨĞĐƚƐŽĨŵŝƐĐŽŶĚƵĐƚďŽƚŚŝŶƐŝĚĞĂŶĚ
               ŽƵƚƐŝĚĞƚŚĞĞƉĂƌƚŵĞŶƚ
          x    ĞƚĞƌƌŝŶŐĨƵƚƵƌĞŵŝƐĐŽŶĚƵĐƚ
          x    /ŵƉŽƐŝŶŐĂƉƉƌŽƉƌŝĂƚĞƉĞŶĂůƚŝĞƐƚŚĂƚĂƌĞĨĂŝƌ͕ƉƌŽƉŽƌƚŝŽŶĂůĂŶĚƌĂƚŝŽŶĂů
          x    ŶƐƵƌŝŶŐƚŚĞŐŽŽĚŽƌĚĞƌĂŶĚĞĨĨŝĐŝĞŶĐǇŽĨƚŚĞĞƉĂƌƚŵĞŶƚ
          x    ƐƚĂďůŝƐŚŝŶŐĂĐƵůƚƵƌĞŽĨĂĐĐŽƵŶƚĂďŝůŝƚǇĂŶĚŝŶĚŝǀŝĚƵĂůƌĞƐƉŽŶƐŝďŝůŝƚǇ
          x    >ŝƐƚĞŶŝŶŐƚŽĐŽŵŵƵŶŝƚǇĐŽŶĐĞƌŶƐĂďŽƵƚŽĨĨŝĐĞƌŵŝƐĐŽŶĚƵĐƚĂŶĚŝŵƉůĞŵĞŶƚŝŶŐŝŵƉƌŽǀĞŵĞŶƚƐƚŽĂĚĚƌĞƐƐƚŚĞŵ
     dŚĞĚĞƐŝƌĞĚƌĞƐƵůƚƐƚŽďĞĂĐŚŝĞǀĞĚďǇƚŚĞŝŵƉŽƐŝƚŝŽŶŽĨĚŝƐĐŝƉůŝŶĞŝŶĂƉĂƌƚŝĐƵůĂƌĐĂƐĞĂƌĞƉƌŽƉĞƌůǇĚĞƉĞŶĚĞŶƚŽŶĂůů
     ƚŚĞ ĨĂĐƚƐ ĂŶĚ ĐŝƌĐƵŵƐƚĂŶĐĞƐ ŽĨ ĞĂĐŚ ĐĂƐĞ͘ dŚĞ ĨŝŶĂů ŽƵƚĐŽŵĞƐ ŵĂǇ ǀĂƌǇ ĂŶĚ ĂƌĞ ďĂƐĞĚ ƵƉŽŶ Ă ĐŽŶƐŝĚĞƌĂƚŝŽŶ ŽĨ
     ŶƵŵĞƌŽƵƐĨĂĐƚŽƌƐŝŶĐůƵĚŝŶŐ͕ďƵƚŶŽƚůŝŵŝƚĞĚƚŽ͕ƚŚĞŶĂƚƵƌĞĂŶĚƐĞƌŝŽƵƐŶĞƐƐŽĨƚŚĞŵŝƐĐŽŶĚƵĐƚ͕ƚŚĞĐŝƌĐƵŵƐƚĂŶĐĞƐ
     ƵŶĚĞƌǁŚŝĐŚƚŚĞŵŝƐĐŽŶĚƵĐƚǁĂƐĐŽŵŵŝƚƚĞĚ͕ƚŚĞŚĂƌŵŽƌƉƌĞũƵĚŝĐĞĂƌŝƐŝŶŐĨƌŽŵƚŚĞŵŝƐĐŽŶĚƵĐƚ͕ĂŶĚƚŚĞĞǆŝƐƚĞŶĐĞ
     ŽĨĂŶǇƌĞůĞǀĂŶƚŵŝƚŝŐĂƚŝŶŐŽƌĂŐŐƌĂǀĂƚŝŶŐĐŝƌĐƵŵƐƚĂŶĐĞƐ͘


     ŝƐĐŝƉůŝŶĞ'ĞŶĞƌĂůůǇ
     ŝƐĐŝƉůŝŶĞŝŶƚŚĞEzWŝƐďƌŽĂĚůǇĚĞĨŝŶĞĚ͕ĞŶĐŽŵƉĂƐƐŝŶŐĂĐƚŝŽŶƐĚĞƐŝŐŶĞĚƚŽƌĞŵĞĚŝĂƚĞŝŶĂƉƉƌŽƉƌŝĂƚĞďĞŚĂǀŝŽƌ͕ĂŶĚ
     ŝŵƉŽƐĞĚ ŝŶ Ă ǀĂƌŝĞƚǇ ŽĨ ǁĂǇƐ͕ ůĂƌŐĞůǇ ĚĞƚĞƌŵŝŶĞĚ ďǇ ƚŚĞ ƐĞƌŝŽƵƐŶĞƐƐ ŽĨ ƚŚĞ ƐƵďƐƚĂŶƚŝĂƚĞĚ ŵŝƐĐŽŶĚƵĐƚ͘ dŚĞ ůĞĂƐƚ
     ƐĞƌŝŽƵƐ ƉƌŽĐĞĚƵƌĂů ǀŝŽůĂƚŝŽŶƐ ŵĂǇ ƌĞƐƵůƚ ŝŶ ͞ŝŶƐƚƌƵĐƚŝŽŶ͕͟ Ă ŵĞƚŚŽĚ ŽĨ ƌĞͲƚƌĂŝŶŝŶŐ ƚŚƌŽƵŐŚ ǁŚŝĐŚ Ă ĐŽŵŵĂŶĚŝŶŐ
     ŽĨĨŝĐĞƌŝŶƐƚƌƵĐƚƐĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŽŶƉƌŽƉĞƌƉƌŽĐĞĚƵƌĞƐ͕Žƌ͞ƌĞƉƌŝŵĂŶĚ͕͟ǁŚĞƌĞŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞĂƌĞ
     ĂĚŵŽŶŝƐŚĞĚĨŽƌůŽǁͲůĞǀĞůǀŝŽůĂƚŝŽŶƐ͘dŚĞĞƉĂƌƚŵĞŶƚŵĂǇĂůƐŽƌĞƋƵŝƌĞŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞƚŽƉĂƌƚŝĐŝƉĂƚĞŝŶŽƚŚĞƌ
     ĨŽƌŵƐŽĨƚƌĂŝŶŝŶŐƚŽĂĚĚƌĞƐƐĚĞĨŝĐŝĞŶĐŝĞƐ͕ĂƚĂŶǇƚŝŵĞ͘ĞƉĞŶĚŝŶŐƵƉŽŶƚŚĞŶĂƚƵƌĞŽĨƚŚĞŵŝƐĐŽŶĚƵĐƚ͕ƚƌĂŝŶŝŶŐǁŝůůďĞ
     ĚĞůŝǀĞƌĞĚďǇƚŚĞĂƉƉƌŽƉƌŝĂƚĞƐƵďũĞĐƚŵĂƚƚĞƌĞǆƉĞƌƚ;ƐͿĂŶĚŝŶĂƐƵŝƚĂďůĞǀĞŶƵĞ͘ǆĂŵƉůĞƐŝŶĐůƵĚĞƚƌĂŝŶŝŶŐĚĞůŝǀĞƌĞĚ
     ĂƚƚŚĞĐŽŵŵĂŶĚďǇƚŚĞdƌĂŝŶŝŶŐ^ĞƌŐĞĂŶƚ͕ŽƌĂƚƚŚĞ&ŝƌĞĂƌŵƐĂŶĚdĂĐƚŝĐƐ^ĞĐƚŝŽŶ͕>ĞŐĂůƵƌĞĂƵ͕WŽůŝĐĞĐĂĚĞŵǇ͕Žƌ
     ZŝƐŬ DĂŶĂŐĞŵĞŶƚ ƵƌĞĂƵ͘ ^ƵĐĐĞƐƐĨƵů ĐŽŵƉůĞƚŝŽŶ ŽĨ ƚŚĞ ƚƌĂŝŶŝŶŐ ŝƐ ŵĞŵŽƌŝĂůŝǌĞĚ ĂƐ ƉĂƌƚ ŽĨ ƚŚĞ ĚŝƐĐŝƉůŝŶĂƌǇ ĐĂƐĞ
     ƌĞĐŽƌĚ͘
     dĞĐŚŶŝĐĂůǀŝŽůĂƚŝŽŶƐŽĨĞƉĂƌƚŵĞŶƚƉƌŽĐĞĚƵƌĞƐŵĂǇďĞĂĚĚƌĞƐƐĞĚƚŚƌŽƵŐŚĚŝƐĐŝƉůŝŶĞŝŵƉŽƐĞĚĂƚƚŚĞĐŽŵŵĂŶĚůĞǀĞů͕
     ƚŚƌŽƵŐŚĂƉƌŽĐĞƐƐƌĞĨĞƌƌĞĚƚŽĂƐ͞ŽŵŵĂŶĚŝƐĐŝƉůŝŶĞ͘͟dŚĞŽŵŵĂŶĚŝƐĐŝƉůŝŶĞƉƌŽĐĞĚƵƌĞĂůůŽǁƐĐŽŵŵĂŶĚŝŶŐ
     ŽĨĨŝĐĞƌƐƚŽŵĂŝŶƚĂŝŶŽƌĚĞƌŝŶƚŚĞŝƌĐŽŵŵĂŶĚƐĂŶĚŝŵƉŽƐĞĚŝƐĐŝƉůŝŶĞǁŝƚŚŽƵƚŝŶŝƚŝĂƚŝŶŐĂĚŝƐĐŝƉůŝŶĂƌǇŚĞĂƌŝŶŐďǇŵĞĂŶƐ
     ŽĨƐĞƌǀŝŶŐ͞ŚĂƌŐĞƐĂŶĚ^ƉĞĐŝĨŝĐĂƚŝŽŶƐ͘͟
     dŚĞƚǇƉĞƐŽĨǀŝŽůĂƚŝŽŶƐƐƵďũĞĐƚƚŽƉƵŶŝƐŚŵĞŶƚďǇŽŵŵĂŶĚŝƐĐŝƉůŝŶĞĂƌĞŽƵƚůŝŶĞĚŝŶWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϬϲͲ
     Ϭϯ͕ ĂŶĚ ŝŶĐůƵĚĞ ďĞŚĂǀŝŽƌ ƐƵĐŚ ĂƐ ŝŵƉƌŽƉĞƌ ƵŶŝĨŽƌŵ͕ ƌĞƉŽƌƚŝŶŐ ůĂƚĞ ĨŽƌ ĚƵƚǇ͕ ĂŶĚ ůŽƐƐ ŽĨ ĞƉĂƌƚŵĞŶƚ ƉƌŽƉĞƌƚǇ͘
     ĞƉĞŶĚŝŶŐ ƵƉŽŶ ƚŚĞ ƐĞǀĞƌŝƚǇ ŽĨ ƚŚĞ ǀŝŽůĂƚŝŽŶ͕ ĐŽŵŵĂŶĚŝŶŐ ŽĨĨŝĐĞƌƐ ŵĂǇ ŝŵƉŽƐĞ ƉĞŶĂůƚŝĞƐ ƌĂŶŐŝŶŐ ĨƌŽŵ ŽƌĂů
     ƌĞƉƌŝŵĂŶĚƚŽĨŽƌĨĞŝƚƵƌĞŽĨƵƉƚŽϭϬǀĂĐĂƚŝŽŶĚĂǇƐŽƌĂĐĐƌƵĞĚĐŽŵƉĞŶƐĂƚŽƌǇƚŝŵĞ͘ ϯ^ƵďƐƚĂŶƚŝĂƚĞĚĂůůĞŐĂƚŝŽŶƐŽĨƐĞƌŝŽƵƐ
     ŵŝƐĐŽŶĚƵĐƚĂƌĞŚĂŶĚůĞĚďǇƚŚĞĞƉĂƌƚŵĞŶƚĚǀŽĐĂƚĞ͛ƐKĨĨŝĐĞ;͞K͟Ϳ͘^ƚĂĨĨĞĚďǇĐŝǀŝůŝĂŶĂƚƚŽƌŶĞǇƐ͕ĂŶĚĂƵŐŵĞŶƚĞĚ
     ďǇĂĐŽŵƉůĞŵĞŶƚŽĨƵŶŝĨŽƌŵĞĚĂŶĚĐŝǀŝůŝĂŶƉĞƌƐŽŶŶĞů͕ƚŚĞKĞǀĂůƵĂƚĞƐƐƵďƐƚĂŶƚŝĂƚĞĚĂůůĞŐĂƚŝŽŶƐŽĨ

     ϯ dŚĞƌĞŝƐĂůƐŽĂƉƌŽǀŝƐŝŽŶƚŚĂƚĂůůŽǁƐĨŽƌĂŽŵŵĂŶĚŝƐĐŝƉůŝŶĞƚŽďĞƌĞƐŽůǀĞĚǁŝƚŚĂƉĞŶĂůƚǇŽĨƵƉƚŽƚŚĞůŽƐƐŽĨϮϬǀĂĐĂƚŝŽŶĚĂǇƐ͕

     ŚŽǁĞǀĞƌ͕ƚŚĂƚƉƌŽĐĞĚƵƌĞŝŶǀŽůǀĞƐĂĨŽƌŵĂůĚŝƐĐŝƉůŝŶĂƌǇƌĞǀŝĞǁŽĨƚŚĞŵĂƚƚĞƌĂŶĚƚŚĞŽŵŵĂŶĚŝƐĐŝƉůŝŶĞŵĂǇŽŶůǇďĞŝƐƐƵĞĚďǇ
     ƚŚĞĞƉĂƌƚŵĞŶƚĚǀŽĐĂƚĞ͛ƐKĨĨŝĐĞ͘
                                                                                                                                      ϯ




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    ƐĞƌŝŽƵƐŵŝƐĐŽŶĚƵĐƚ͕ƐĞƌǀĞƐĚŝƐĐŝƉůŝŶĂƌǇ͞ŚĂƌŐĞƐĂŶĚ^ƉĞĐŝĨŝĐĂƚŝŽŶƐ͟ĂŐĂŝŶƐƚŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞ͕ƌĞĐŽŵŵĞŶĚƐ
    ĂƉƉƌŽƉƌŝĂƚĞĚŝƐĐŝƉůŝŶĂƌǇƉĞŶĂůƚŝĞƐ͕ĂŶĚƉƌŽƐĞĐƵƚĞƐĚŝƐĐŝƉůŝŶĂƌǇĐĂƐĞƐŝŶƚŚĞĞƉĂƌƚŵĞŶƚ͛ƐdƌŝĂůZŽŽŵ͘
    /Ŷ ŽƌĚĞƌ ƚŽ ĞŶŚĂŶĐĞ ƚƌĂŶƐƉĂƌĞŶĐǇ ĂŶĚ ĞŶƐƵƌĞ ƚŚĞ ŝŶƚĞŐƌŝƚǇ ŽĨ ŝŶƚĞƌŶĂů ŝŶǀĞƐƚŝŐĂƚŝŽŶƐ ĂŶĚ ĂĚũƵĚŝĐĂƚŝŽŶƐ ŽĨ
    ĞƉĂƌƚŵĞŶƚĂůĚŝƐĐŝƉůŝŶĂƌǇƉƌŽĐĞĞĚŝŶŐƐ͕ƚŚĞĞƉĂƌƚŵĞŶƚŚĂƐŝƐƐƵĞĚŐƵŝĚĞůŝŶĞƐƚŽŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞƌĞŐĂƌĚŝŶŐ
    ƌĞĐƵƐĂůĨƌŽŵŝŶǀŽůǀĞŵĞŶƚŝŶĚŝƐĐŝƉůŝŶĂƌǇƉƌŽĐĞĞĚŝŶŐƐŽƌŝŶǀĞƐƚŝŐĂƚŝŽŶƐǁŚĞŶƚŚĞƌĞŝƐĂŶĂĐƚƵĂůŽƌƉĞƌĐĞŝǀĞĚĐŽŶĨůŝĐƚ
    ŽĨŝŶƚĞƌĞƐƚďĂƐĞĚŽŶĂƉĞƌƐŽŶĂůŽƌĨĂŵŝůŝĂůƌĞůĂƚŝŽŶƐŚŝƉǁŝƚŚĂƐƵďũĞĐƚ͘ ϰ

    dŚĞ/ŶǀĞƐƚŝŐĂƚŝǀĞWƌŽĐĞƐƐ
    ĞƉĞŶĚŝŶŐŽŶƚŚĞŶĂƚƵƌĞŽĨĂŵŝƐĐŽŶĚƵĐƚĂůůĞŐĂƚŝŽŶ͕ƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶŽĨƐƵĐŚĂůůĞŐĂƚŝŽŶŵĂǇďĞŝŶǀĞƐƚŝŐĂƚĞĚďǇ
    ĞŝƚŚĞƌƚŚĞĞƉĂƌƚŵĞŶƚŽƌƚŚĞŝǀŝůŝĂŶŽŵƉůĂŝŶƚZĞǀŝĞǁŽĂƌĚ;͞Z͟Ϳ͘
    ŝǀŝůŝĂŶĐŽŵƉůĂŝŶƚƐĂŐĂŝŶƐƚƉŽůŝĐĞŽĨĨŝĐĞƌƐƌĞŐĂƌĚŝŶŐĞǆĐĞƐƐŝǀĞ&ŽƌĐĞ͕ďƵƐĞŽĨƵƚŚŽƌŝƚǇ͕ŝƐĐŽƵƌƚĞƐǇ͕ĂŶĚKĨĨĞŶƐŝǀĞ
    >ĂŶŐƵĂŐĞ;ŬŶŽǁŶĐŽůůĞĐƚŝǀĞůǇĂƐ͞&K͟ĐŽŵƉůĂŝŶƚƐͿĂƌĞŝŶǀĞƐƚŝŐĂƚĞĚďǇƚŚĞZ͘dŚĞZŝƐĂŶŝŶĚĞƉĞŶĚĞŶƚĐŝƚǇ
    ĂŐĞŶĐǇϱĂƵƚŚŽƌŝǌĞĚƵŶĚĞƌƚŚĞEĞǁzŽƌŬŝƚǇŚĂƌƚĞƌ ϲƚŽŝŶǀĞƐƚŝŐĂƚĞ&KĐŽŵƉůĂŝŶƚƐǁŝƚŚƚŚĞĐŽŽƉĞƌĂƚŝŽŶŽĨƚŚĞ
    EzW͘ dŚĞ Z ƐƵďŵŝƚƐ ŝƚƐ ĨŝŶĚŝŶŐƐ ƌĞŐĂƌĚŝŶŐ ĞĂĐŚ ĂůůĞŐĂƚŝŽŶ ŽĨ ŵŝƐĐŽŶĚƵĐƚ͕ ĂƐ ǁĞůů ĂƐ ŝƚƐ ĚŝƐĐŝƉůŝŶĂƌǇ
    ƌĞĐŽŵŵĞŶĚĂƚŝŽŶƐ ĨŽƌ ƐƵďƐƚĂŶƚŝĂƚĞĚ ĐŽŵƉůĂŝŶƚƐ͕ ƚŽ ƚŚĞ ĞƉĂƌƚŵĞŶƚ͘ hŶĚĞƌ ƚŚĞ ƚĞƌŵƐ ŽĨ Ă DĞŵŽƌĂŶĚƵŵ ŽĨ
    hŶĚĞƌƐƚĂŶĚŝŶŐϳ ďĞƚǁĞĞŶ ƚŚĞ EzW ĂŶĚ ƚŚĞ Z͕ ƉƌŽƐĞĐƵƚŝŽŶƐ ĨŽƌ ƚŚĞ ŵŽƐƚ ƐĞƌŝŽƵƐ ǀŝŽůĂƚŝŽŶƐ ǁŝƚŚŝŶ ƚŚĞƐĞ
    ĐĂƚĞŐŽƌŝĞƐƌĞƐƵůƚŝŶƚŚĞĨŝůŝŶŐŽĨĨŽƌŵĂůĚŝƐĐŝƉůŝŶĂƌǇĐŚĂƌŐĞƐ͕ŬŶŽǁŶĂƐ͞ŚĂƌŐĞƐĂŶĚ^ƉĞĐŝĨŝĐĂƚŝŽŶƐ͕͟ĂŶĚĂƌĞŚĂŶĚůĞĚ
    ĂŶĚƉƌŽƐĞĐƵƚĞĚďǇZĂƚƚŽƌŶĞǇƐĂƐƐŝŐŶĞĚƚŽZ͛ƐĚŵŝŶŝƐƚƌĂƚŝǀĞWƌŽƐĞĐƵƚŝŽŶhŶŝƚ;͞Wh͟Ϳ͘dŚĞZŵĂǇĂůƐŽ
    ƌĞĐŽŵŵĞŶĚĂĚũƵĚŝĐĂƚŝŽŶŽĨƐŽŵĞƐƵďƐƚĂŶƚŝĂƚĞĚ&KĂůůĞŐĂƚŝŽŶƐ͕ďĂƐĞĚƵƉŽŶƚŚĞŝƌƉƌŽƉŽƐĞĚƉĞŶĂůƚǇ͕ďǇŵĞĂŶƐŽĨ
    ĂŽŵŵĂŶĚŝƐĐŝƉůŝŶĞ͘
    dŚĞĞƉĂƌƚŵĞŶƚŝŶǀĞƐƚŝŐĂƚĞƐĂůůĞŐĂƚŝŽŶƐŽĨĐŽƌƌƵƉƚŝŽŶĂŶĚŵŝƐĐŽŶĚƵĐƚ͕ĂƐǁĞůůĂƐŶŽŶͲ&KĐŽŵƉůĂŝŶƚƐƌĞůĂƚĞĚƚŽ
    ƉƵďůŝĐ ĐŽŶƚĂĐƚ͕ ĂŐĂŝŶƐƚ ŵĞŵďĞƌƐ ŽĨ ƚŚĞ ƐĞƌǀŝĐĞ ƌĞŐĂƌĚŝŶŐ Ă ǁŝĚĞ ǀĂƌŝĞƚǇ ŽĨ ĞŵƉůŽǇĞĞ ďĞŚĂǀŝŽƌƐ͘ ŽŵƉůĂŝŶƚƐ ĂƌĞ
    ƌĞĐĞŝǀĞĚĨƌŽŵƚŚĞƉƵďůŝĐ͕ĂƐǁĞůůĂƐĨƌŽŵĞƉĂƌƚŵĞŶƚƉĞƌƐŽŶŶĞůǁŚŽŚĂǀĞĂŶŽďůŝŐĂƚŝŽŶƚŽƌĞƉŽƌƚĐŽƌƌƵƉƚŝŽŶŽƌŽƚŚĞƌ
    ŵŝƐĐŽŶĚƵĐƚŽĨǁŚŝĐŚƚŚĞǇďĞĐŽŵĞĂǁĂƌĞ͘
    /ŶǀĞƐƚŝŐĂƚŝŽŶƐŵĂǇĂůƐŽƌĞƐƵůƚĨƌŽŵŵĞĚŝĂŽƌƐŽĐŝĂůŵĞĚŝĂĞǆƉŽƐƵƌĞĂŶĚƉƌŽĂĐƚŝǀĞŵĞĂƐƵƌĞƐďǇǀĂƌŝŽƵƐŝŶǀĞƐƚŝŐĂƚŝǀĞ
    ĞŶƚŝƚŝĞƐ ǁŝƚŚŝŶ ƚŚĞ ĞƉĂƌƚŵĞŶƚ ŝƚƐĞůĨ͘ ŽŵƉůĂŝŶƚƐ ĐĂŶ ƌĂŶŐĞ ĨƌŽŵ ƐŝŵƉůĞ ǀŝŽůĂƚŝŽŶƐ ŽĨ ĞƉĂƌƚŵĞŶƚ ƉŽůŝĐŝĞƐ ĂŶĚ
    ƉƌŽĐĞĚƵƌĞƐƚŽŵŽƌĞƐĞƌŝŽƵƐĂůůĞŐĂƚŝŽŶƐŽĨŵŝƐĐŽŶĚƵĐƚ͘dŚĞŵŽƐƚƐĞƌŝŽƵƐŝŶǀĞƐƚŝŐĂƚŝŽŶƐŝŶǀŽůǀĞĂůůĞŐĂƚŝŽŶƐŽĨƵŶůĂǁĨƵů
    ďĞŚĂǀŝŽƌŽƌĐƌŝŵŝŶĂůĐŽŶĚƵĐƚ͘dŚĞĞƉĂƌƚŵĞŶƚŝŶǀĞƐƚŝŐĂƚĞƐĂůůĞŐĂƚŝŽŶƐŽĨĐƌŝŵŝŶĂůĐŽŶĚƵĐƚŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚƚŚĞ
    ĂƉƉƌŽƉƌŝĂƚĞƉƌŽƐĞĐƵƚŽƌ͛ƐŽĨĨŝĐĞŚĂǀŝŶŐũƵƌŝƐĚŝĐƚŝŽŶŽǀĞƌƚŚĞŝŶĐŝĚĞŶƚ͘/ŶƚŚĞƐĞĐĂƐĞƐ͕ŝŶƚĞƌŶĂůĚŝƐĐŝƉůŝŶĂƌǇĐŚĂƌŐĞƐŵĂǇ
    ďĞůĞǀŝĞĚďĞĐĂƵƐĞƚŚĞĐŽŵŵŝƐƐŝŽŶŽĨĂĐƌŝŵŝŶĂůŽĨĨĞŶƐĞĂůƐŽĐŽŶƐƚŝƚƵƚĞƐĂǀŝŽůĂƚŝŽŶŽĨĞƉĂƌƚŵĞŶƚƉŽůŝĐǇ͘
    dŚĞĞƉĂƌƚŵĞŶƚǁŝůůůĂƵŶĐŚĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶŝŵŵĞĚŝĂƚĞůǇƵƉŽŶďĞĐŽŵŝŶŐĂǁĂƌĞŽĨŵŝƐĐŽŶĚƵĐƚŽƌĂŶĂůůĞŐĂƚŝŽŶŽĨ
    ŵŝƐĐŽŶĚƵĐƚ͘DĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞŵĂǇďĞƐƵƐƉĞŶĚĞĚĚƵƌŝŶŐƚŚĞĐŽƵƌƐĞŽĨĂĞƉĂƌƚŵĞŶƚŝŶǀĞƐƚŝŐĂƚŝŽŶƉƌŝŽƌƚŽĂ
    ŚĞĂƌŝŶŐĂŶĚĨŝŶĂůĚĞƚĞƌŵŝŶĂƚŝŽŶŽĨƚŚĞĐŚĂƌŐĞƐ͘ϴƌĂŶŬŝŶŐŽĨĨŝĐĞƌŵĂǇƐƵƐƉĞŶĚĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŽƌƉůĂĐĞĂ
    ƵŶŝĨŽƌŵĞĚŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŽŶŵŽĚŝĨŝĞĚĂƐƐŝŐŶŵĞŶƚ;ǁŚŝĐŚĞŶƚĂŝůƐƚŚĞƌĞŵŽǀĂůŽĨĨŝƌĞĂƌŵƐĂŶĚĂƐƐŝŐŶŵĞŶƚƚŽ
    ĂŶŽŶͲĞŶĨŽƌĐĞŵĞŶƚĨƵŶĐƚŝŽŶͿǁŚĞŶŚĞŽƌƐŚĞĚĞĞŵƐŝƚŶĞĐĞƐƐĂƌǇŐŝǀĞŶƚŚĞŶĂƚƵƌĞŽĨƚŚĞŵŝƐĐŽŶĚƵĐƚĂůůĞŐĞĚĂŶĚ


    ϰ
     ^ĞĞ/ŶƚĞƌŝŵKƌĚĞƌϭϭŽĨϮϬϮϬ͘
    ϱdŚĞŽŶĨůŝĐƚƐŽĨ/ŶƚĞƌĞƐƚŽĂƌĚŝƐĂŶŽƚŚĞƌŝŶĚĞƉĞŶĚĞŶƚŝƚǇĂŐĞŶĐǇƚŚĂƚĞŶĨŽƌĐĞƐǀŝŽůĂƚŝŽŶƐŽĨŚĂƉƚĞƌϲϴŽĨƚŚĞEĞǁzŽƌŬŝƚǇ

    ŚĂƌƚĞƌ͕ƚŚĞŝƚǇΖƐŽŶĨůŝĐƚƐŽĨ/ŶƚĞƌĞƐƚ>Ăǁ͕ĂŶĚΑϭϮͲϭϭϬŽĨƚŚĞĚŵŝŶŝƐƚƌĂƚŝǀĞŽĚĞ͕ƚŚĞŝƚǇΖƐŶŶƵĂůŝƐĐůŽƐƵƌĞ>Ăǁ͘dŚĞEĞǁ
    zŽƌŬŝƚǇĞƉĂƌƚŵĞŶƚŽĨ/ŶǀĞƐƚŝŐĂƚŝŽŶĐŽŶĚƵĐƚƐŝŶǀĞƐƚŝŐĂƚŝŽŶƐŝŶƚŽƉŽƚĞŶƚŝĂůǀŝŽůĂƚŝŽŶƐĨŽƌƚŚĞŽĂƌĚ͘EƵŵĞƌŽƵƐŽƵƚƐŝĚĞĞŶƚŝƚŝĞƐ
    ĂůƐŽĞǆĂŵŝŶĞƉŽůŝĐŝĞƐĂŶĚƉƌŽĐĞĚƵƌĞƐŽĨƚŚĞĞƉĂƌƚŵĞŶƚƌĞŐĂƌĚŝŶŐŵŝƐĐŽŶĚƵĐƚĂŶĚĚŝƐĐŝƉůŝŶĞ͘dŚĞŽŵŵŝƐƐŝŽŶƚŽŽŵďĂƚWŽůŝĐĞ
    ŽƌƌƵƉƚŝŽŶƉĞƌĨŽƌŵƐĂƵĚŝƚƐ͕ƐƚƵĚŝĞƐ͕ĂŶĚĂŶĂůǇƐĞƐŽĨƚŚĞĞƉĂƌƚŵĞŶƚ͛ƐĐŽƌƌƵƉƚŝŽŶĐŽŶƚƌŽůƐĂŶĚĚŝƐĐŝƉůŝŶĂƌǇĐĂƐĞƐ͘dŚĞ/ŶƐƉĞĐƚŽƌ
    'ĞŶĞƌĂůĨŽƌƚŚĞEĞǁzŽƌŬŝƚǇWŽůŝĐĞĞƉĂƌƚŵĞŶƚŝŶǀĞƐƚŝŐĂƚĞƐĂŶĚŵĂŬĞƐƌĞĐŽŵŵĞŶĚĂƚŝŽŶƐƌĞŐĂƌĚŝŶŐƚŚĞŽƉĞƌĂƚŝŽŶƐ͕ƉŽůŝĐŝĞƐ͕
    ƉƌŽŐƌĂŵƐ͕ĂŶĚƉƌĂĐƚŝĐĞƐŽĨƚŚĞĞƉĂƌƚŵĞŶƚ͘
    ϲ
       ^ĞĞEĞǁzŽƌŬŝƚǇŚĂƌƚĞƌŚ͘ϭϴͲΑϰϰϬ͘
    ϳ
       ǀĂŝůĂďůĞĂƚ͗ŚƚƚƉƐ͗ͬͬǁǁǁϭ͘ŶǇĐ͘ŐŽǀͬĂƐƐĞƚƐͬĐĐƌďͬĚŽǁŶůŽĂĚƐͬƉĚĨͬĂďŽƵƚͺƉĚĨͬĂƉƵͺŵŽƵ͘ƉĚĨ
    ϴ ^ĞĞEĞǁzŽƌŬŝǀŝů^ĞƌǀŝĐĞ>ĂǁΑϳϱ;ϯͿ͘ŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ͞ŵĂǇďĞƐƵƐƉĞŶĚĞĚǁŝƚŚŽƵƚƉĂǇĨŽƌĂƉĞƌŝŽĚŶŽƚĞǆĐĞĞĚŝŶŐ

    ƚŚŝƌƚǇĚĂǇƐ͘͟^ĞĞĂůƐŽ͕EĞǁzŽƌŬŝƚǇĚŵŝŶŝƐƚƌĂƚŝǀĞŽĚĞΑϭϰͲϭϮϯ͘/ŶĐĂƐĞƐŽĨĐƌŝŵŝŶĂůĂůůĞŐĂƚŝŽŶƐŽƌŽƚŚĞƌƐĞƌŝŽƵƐĂůůĞŐĂƚŝŽŶƐŽĨ
    ŵŝƐĐŽŶĚƵĐƚ͕ĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŵĂǇĂůƐŽďĞƐƵƐƉĞŶĚĞĚǁŝƚŚƉĂǇĚƵƌŝŶŐƚŚĞƉĞŶĚĞŶĐǇŽĨƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶĂŶĚĚŝƐĐŝƉůŝŶĂƌǇ
    ƉƌŽĐĞƐƐ͘
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          ďĞĐĂƵƐĞ ĚŝƐĐŝƉůŝŶĂƌǇ ĂĐƚŝŽŶ ŝƐ ďĞŝŶŐ ƚĂŬĞŶ Žƌ ĐŽŶƚĞŵƉůĂƚĞĚ͘ ϵ dŚĞ ƌĂŶŬŝŶŐ ŽĨĨŝĐĞƌ ŝŶ ĐŚĂƌŐĞ ǁŝůů ŵĂŬĞ ĂŶ ŝŶŝƚŝĂů
          ĚĞƚĞƌŵŝŶĂƚŝŽŶ ĂƐ ƚŽ ƚŚĞ ŵĞŵďĞƌ͛Ɛ ĚƵƚǇ ƐƚĂƚƵƐ ƵƉŽŶ ĐŽŵƉůĞƚŝŽŶ ŽĨ ƚŚĞ ƉƌĞůŝŵŝŶĂƌǇ ŝŶǀĞƐƚŝŐĂƚŝŽŶ ǁŚŝĐŚ ƚǇƉŝĐĂůůǇ
          ŽĐĐƵƌƐ ǁŝƚŚŝŶ Ϯϰ ŚŽƵƌƐ ŽĨ ƚŚĞ ĞƉĂƌƚŵĞŶƚ ďĞĐŽŵŝŶŐ ĂǁĂƌĞ ŽĨ ƚŚĞ ŝŶĐŝĚĞŶƚ͘ 'ŝǀĞŶ ƚŚĞ ĐŽŵƉůĞǆŝƚǇ ŽĨ ƐŽŵĞ
          ŝŶǀĞƐƚŝŐĂƚŝŽŶƐ͕ Ă ĚƵƚǇ ƐƚĂƚƵƐ ĚĞƚĞƌŵŝŶĂƚŝŽŶ ŵĂǇ ďĞ ĚĞĨĞƌƌĞĚ ƵŶƚŝů ƐƵĐŚ ƚŝŵĞ ĂƐ ƐƵĨĨŝĐŝĞŶƚ ĞǀŝĚĞŶĐĞ ŝƐ ŐĂƚŚĞƌĞĚ
          ƐƵƉƉŽƌƚŝŶŐƚŚĞĐŽŶĐůƵƐŝŽŶƚŽƐƵƐƉĞŶĚŽƌŵŽĚŝĨǇƚŚĞŵĞŵďĞƌĐŽŶĐĞƌŶĞĚ͘
          dŚĞ/ŶƚĞƌŶĂůĨĨĂŝƌƐƵƌĞĂƵ;͞/͟ͿĐŽŶĚƵĐƚƐĐŽŵƉƌĞŚĞŶƐŝǀĞŝŶǀĞƐƚŝŐĂƚŝŽŶƐŽĨĐŽƌƌƵƉƚŝŽŶĂŶĚŵŝƐĐŽŶĚƵĐƚĐŽŵƉůĂŝŶƚƐ͕
          ŝŶĐůƵĚŝŶŐĐƌŝŵŝŶĂůĐŽŶĚƵĐƚ͕ĂƐǁĞůůĂƐŽƚŚĞƌŵĂƚƚĞƌƐĂƚƚŚĞĚŝƌĞĐƚŝŽŶŽĨƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͘/ƵƐĞƐĂůůĂǀĂŝůĂďůĞ
          ŝŶǀĞƐƚŝŐĂƚŝǀĞƚŽŽůƐ͕ŝŶĐůƵĚŝŶŐƉĂƚƚĞƌŶĂŶĂůǇƐŝƐ͕ƐƵƌǀĞŝůůĂŶĐĞ͕ŝŶƚĞŐƌŝƚǇƚĞƐƚƐ͕ĚƌƵŐƚĞƐƚŝŶŐ͕ĐŽŶĨŝĚĞŶƚŝĂůŝŶĨŽƌŵĂŶƚƐ͕ĂŶĚ
          ƵŶĚĞƌĐŽǀĞƌŽĨĨŝĐĞƌƐƚŽŝŶǀĞƐƚŝŐĂƚĞŝŶĐŽŵŝŶŐĐŽŵƉůĂŝŶƚƐĂŶĚƚŽĐŽŶĚƵĐƚƉƌŽͲĂĐƚŝǀĞŝŶǀĞƐƚŝŐĂƚŝŽŶƐŝŶǀŽůǀŝŶŐŽĨĨŝĐĞƌ
          ŵŝƐĐŽŶĚƵĐƚ͘ / ŵĂǇ ĂƐƐŝŐŶ ƐŽŵĞ ŵŝƐĐŽŶĚƵĐƚ ŝŶǀĞƐƚŝŐĂƚŝŽŶƐ ƚŽ ƚŚĞ ďƵƌĞĂƵͬďŽƌŽƵŐŚ ŝŶǀĞƐƚŝŐĂƚŝŽŶ ƵŶŝƚƐ͕ ǁŚŝĐŚ
          ĨƵŶĐƚŝŽŶ ĂƐ ƐĂƚĞůůŝƚĞƐ ŽĨ / ĂŶĚ ĂƌĞ ƌĞƐƉŽŶƐŝďůĞ ĨŽƌ ƚŚĞ ŝŶƚĞŐƌŝƚǇ ĐŽŶƚƌŽůƐ ǁŝƚŚŝŶ ƚŚĞŝƌ ƌĞƐƉĞĐƚŝǀĞ ƵŶŝƚƐ͘ dŚĞƐĞ
          ŝŶǀĞƐƚŝŐĂƚŝŽŶƵŶŝƚƐƌĞƉŽƌƚƚŚĞŝƌĨŝŶĚŝŶŐƐƚŚƌŽƵŐŚ/͕ǁŚŝĐŚƌĞƚĂŝŶƐŽǀĞƌƐŝŐŚƚŽǀĞƌƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶƐ͘
          dŚĞƋƵĂůŵƉůŽǇŵĞŶƚKƉƉŽƌƚƵŶŝƚǇŝǀŝƐŝŽŶ͕ǁŝƚŚŝŶƚŚĞĞƉĂƌƚŵĞŶƚ͛ƐKĨĨŝĐĞŽĨƋƵŝƚǇĂŶĚ/ŶĐůƵƐŝŽŶ͕ŝŶǀĞƐƚŝŐĂƚĞƐ
          ĂůůĞŐĂƚŝŽŶƐ ŽĨ ĞŵƉůŽǇŵĞŶƚ ĚŝƐĐƌŝŵŝŶĂƚŝŽŶ ĂŶĚ ŚĂƌĂƐƐŵĞŶƚ͕ ĂƐ ǁĞůů ĂƐ ƉƌŽĂĐƚŝǀĞůǇ ƚƌĂŝŶƐ ĂŶĚ ĂĚǀŝƐĞƐ ĞƉĂƌƚŵĞŶƚ
          ĞŵƉůŽǇĞĞƐŽŶŝƐƐƵĞƐŽĨĞƋƵĂůŝƚǇĂŶĚĨĂŝƌŶĞƐƐŝŶƚŚĞǁŽƌŬƉůĂĐĞ͘
          tŚĞŶĂŶĂůůĞŐĂƚŝŽŶ;ƐͿŽĨŵŝƐĐŽŶĚƵĐƚĂŐĂŝŶƐƚĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝƐŝŶǀĞƐƚŝŐĂƚĞĚĂŶĚĞǀŝĚĞŶĐĞŝƐĨŽƵŶĚƚŽƐŚŽǁ
          ƚŚĂƚƚŚĞĞǀĞŶƚĚŝĚŽĐĐƵƌ͕ƚŚĂƚƚŚĞŵĞŵďĞƌŝŶƋƵĞƐƚŝŽŶĞŶŐĂŐĞĚŝŶƚŚĞĂĐƚŝŽŶ͕ĂŶĚƚŚĂƚƚŚĞĂĐƚŝƚƐĞůĨǁĂƐĂǀŝŽůĂƚŝŽŶ
          ŽĨ ĞƉĂƌƚŵĞŶƚ ŐƵŝĚĞůŝŶĞƐ͕ ƚŚĞ ĂůůĞŐĂƚŝŽŶ ŝƐ ĚĞĞŵĞĚ ďǇ ƚŚĞ ŝŶǀĞƐƚŝŐĂƚŽƌ ƚŽ ďĞ ͞ƐƵďƐƚĂŶƚŝĂƚĞĚ͘͟ ^ƵďƐƚĂŶƚŝĂƚĞĚ
          ĂůůĞŐĂƚŝŽŶƐŽĨŵŝƐĐŽŶĚƵĐƚƌĞƐƵůƚŝŶƌĞŵĞĚŝĂůĂĐƚŝŽŶĂůŽŶŐĂĚŝƐĐŝƉůŝŶĂƌǇĐŽŶƚŝŶƵƵŵ͘
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          /ŶƚĞƌƐĞĐƚŝŽŶǁŝƚŚƚŚĞƌŝŵŝŶĂů:ƵƐƚŝĐĞ^ǇƐƚĞŵ
          dŽƚŚĞĞǆƚĞŶƚĂŶǇĐŽŶĚƵĐƚďǇĞƉĂƌƚŵĞŶƚĞŵƉůŽǇĞĞƐŝƐ ĐƌŝŵŝŶĂů ŝŶŶĂƚƵƌĞ͕EĞǁzŽƌŬŝƚǇŝƐƚƌŝĐƚ ƚƚŽƌŶĞǇƐ͕ ƚŚĞ
          ůŽĐĂů ƉƌŽƐĞĐƵƚŽƌ ǁŝƚŚ ũƵƌŝƐĚŝĐƚŝŽŶ ŽǀĞƌ ĂŶ ĞǀĞŶƚ ŽĐĐƵƌƌŝŶŐ ŽƵƚƐŝĚĞ ƚŚĞ ĐŝƚǇ͕ ƚŚĞ hŶŝƚĞĚ ^ƚĂƚĞƐ ƚƚŽƌŶĞǇƐ͛ KĨĨŝĐĞƐ
          ĂŶĚͬŽƌƚŚĞEĞǁzŽƌŬ^ƚĂƚĞƚƚŽƌŶĞǇ'ĞŶĞƌĂůŵĂǇĂůƐŽĐŽŶĚƵĐƚŝŶǀĞƐƚŝŐĂƚŝŽŶƐ͘KŶĐĞŝƚŝƐĂƐĐĞƌƚĂŝŶĞĚƚŚĂƚĂŵĞŵďĞƌ
          ŽĨ ƚŚĞ ƐĞƌǀŝĐĞ ŚĂƐ ĞŶŐĂŐĞĚ ŝŶ ƉŽƐƐŝďůĞ ĐƌŝŵŝŶĂů ďĞŚĂǀŝŽƌ͕ ƚŚĞ ĞƉĂƌƚŵĞŶƚ ǁŽƌŬƐ ĐůŽƐĞůǇ ǁŝƚŚ ƚŚĞ ƌĞůĞǀĂŶƚ
          ƉƌŽƐĞĐƵƚŽƌŝĂů ĂŐĞŶĐŝĞƐ ƚŽ ĐŽŽƌĚŝŶĂƚĞ ŝŶǀĞƐƚŝŐĂƚŝǀĞ ĞĨĨŽƌƚƐ͘ dŚŝƐ ŵĂǇ ƌĞƐƵůƚ ŝŶ ďŽƚŚ Ă ĐƌŝŵŝŶĂů ƉƌŽƐĞĐƵƚŝŽŶ ĂŶĚ ĂŶ
          ŝŶƚĞƌŶĂůĚŝƐĐŝƉůŝŶĂƌǇƉƌŽĐĞĞĚŝŶŐ͕ƌĞŐĂƌĚůĞƐƐŽĨƚŚĞŽƵƚĐŽŵĞŽĨƚŚĞĐƌŝŵŝŶĂůŵĂƚƚĞƌ͘
          dŚĞĞƉĂƌƚŵĞŶƚ͛ƐĚŝƐĐŝƉůŝŶĂƌǇƉƌŽĐĞƐƐŝƐŶŽƚĂƐƵďƐƚŝƚƵƚĞĨŽƌƚŚĞĐƌŝŵŝŶĂůŽƌĐŝǀŝůũƵƐƚŝĐĞƐǇƐƚĞŵƐ͘tŚĞŶĂŵĞŵďĞƌŽĨ
          ƚŚĞ ƐĞƌǀŝĐĞ ŝƐ ĂƌƌĞƐƚĞĚ ĂŶĚ ĐŚĂƌŐĞĚ ǁŝƚŚ Ă ĐƌŝŵĞ͕ ŚĞ Žƌ ƐŚĞ ŝƐ ƐƵďũĞĐƚ ƚŽ ĐƌŝŵŝŶĂů ƌĞƐƉŽŶƐŝďŝůŝƚǇ ĂŶĚ ƉŽƚĞŶƚŝĂů
          ƉƌŽƐĞĐƵƚŝŽŶŝŶĂĐĐŽƌĚĂŶĐĞǁŝƚŚĂƉƉůŝĐĂďůĞ&ĞĚĞƌĂů͕ƐƚĂƚĞ͕ŽƌůŽĐĂůůĂǁ͘dŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŵĂǇĂůƐŽďĞƐƵďũĞĐƚ
          ƚŽůŝĂďŝůŝƚǇŝŶĂĐŝǀŝůƉƌŽĐĞĞĚŝŶŐ͘dŚĞĚŝƐĐŝƉůŝŶĂƌǇƐǇƐƚĞŵŝƐ ĂŶŝŶƚĞƌŶĂůĂĚŵŝŶŝƐƚƌĂƚŝǀĞƉƌŽĐĞƐƐĚĞƐŝŐŶĞĚƚŽĂĚĚƌĞƐƐ
          ŵŝƐĐŽŶĚƵĐƚǁŝƚŚƌĞŐĂƌĚƚŽƚŚĞŝŶĚŝǀŝĚƵĂů͛ƐƐƚĂƚƵƐĂƐĂEzWĞŵƉůŽǇĞĞĂŶĚŽƉĞƌĂƚĞƐŽŶĂƚƌĂĐŬŝŶĚĞƉĞŶĚĞŶƚŽĨĂŶǇ
          ĐƌŝŵŝŶĂůĂŶĚĐŝǀŝůƉƌŽĐĞĞĚŝŶŐƐ͘
          tŚĞŶĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝƐĐŚĂƌŐĞĚǁŝƚŚĂĐƌŝŵĞ͕ƚŚĞĞƉĂƌƚŵĞŶƚĂůƐŽĨŝůĞƐŝŶƚĞƌŶĂůĚŝƐĐŝƉůŝŶĂƌǇĐŚĂƌŐĞƐĂŐĂŝŶƐƚ
          ƚŚĞ ŵĞŵďĞƌ ďĞĐĂƵƐĞ ĐƌŝŵŝŶĂů ĐŽŶĚƵĐƚ ĂůǁĂǇƐ ĐŽŶƐƚŝƚƵƚĞƐ Ă ǀŝŽůĂƚŝŽŶ ŽĨ ĞƉĂƌƚŵĞŶƚ ƉŽůŝĐǇ͘ hŶĚĞƌ ĂƉƉƌŽƉƌŝĂƚĞ
          ĐŝƌĐƵŵƐƚĂŶĐĞƐ͕ ƚŚĞ ĞƉĂƌƚŵĞŶƚ͛Ɛ ŝŶƚĞƌŶĂů ĚŝƐĐŝƉůŝŶĂƌǇ ĐĂƐĞ ŵĂǇ ƉƌŽĐĞĞĚ ŽŶ Ă ƉĂƌĂůůĞů ƚƌĂĐŬ ƚŽ ƚŚĞ ĐƌŝŵŝŶĂů ĐĂƐĞ͘
          ,ŽǁĞǀĞƌ͕ŝŶƐŽŵĞĐĂƐĞƐ͕ƚŚĞĚŝƐĐŝƉůŝŶĂƌǇĐĂƐĞŵĂǇďĞĚĞĨĞƌƌĞĚƵŶƚŝůĂĨƚĞƌƚŚĞĐƌŝŵŝŶĂůƉƌŽƐĞĐƵƚŝŽŶŚĂƐďĞĞŶĨƵůůǇ
          ƌĞƐŽůǀĞĚ͘
          dŚĞ ĚĞƚĞƌŵŝŶĂƚŝŽŶ ƚŽ ŵŽǀĞ ĂŚĞĂĚ ǁŝƚŚ Ă ĚŝƐĐŝƉůŝŶĂƌǇ ƉƌŽĐĞĞĚŝŶŐ ŝƐ ĨĂĐƚͲƐƉĞĐŝĨŝĐ ĂŶĚ ǁŝůů ďĞ ƵŶĚĞƌƚĂŬĞŶ ŝĨ ƚŚĞ
          ĚŝƐĐŝƉůŝŶĂƌǇƉƌŽĐĞĞĚŝŶŐĐĂŶďĞĂĐĐŽŵƉůŝƐŚĞĚǁŝƚŚŽƵƚĐŽŵƉƌŽŵŝƐŝŶŐƚŚĞĐƌŝŵŝŶĂůƉƌŽƐĞĐƵƚŝŽŶ͘/ŶŵĂŬŝŶŐƚŚĞĚĞĐŝƐŝŽŶ͕
          ƚŚĞĞƉĂƌƚŵĞŶƚǁŝůůĂůǁĂǇƐĐŽŶƐƵůƚǁŝƚŚ͕ďƵƚŶŽƚŶĞĐĞƐƐĂƌŝůǇĚĞĨĞƌƚŽ͕ƚŚĞĂƉƉƌŽƉƌŝĂƚĞƉƌŽƐĞĐƵƚŽƌŝĂůĂƵƚŚŽƌŝƚǇĂŶĚ
          ǁŝůůĐŽŶƐŝĚĞƌĂŶǇŝƐƐƵĞƐŽƌĐŽŶĐĞƌŶƐƉƌĞƐĞŶƚĞĚ͘
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          ϵ^ĞĞWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϬϲͲϬϳ͕ĂƵƐĞĨŽƌ^ƵƐƉĞŶƐŝŽŶŽƌDŽĚŝĨŝĞĚƐƐŝŐŶŵĞŶƚ͘

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    ^ƚĂƚƵƚĞŽĨ>ŝŵŝƚĂƚŝŽŶƐ
    dŚĞƐƚĂƚƵƚĞŽĨůŝŵŝƚĂƚŝŽŶƐ;͞^K>͟ͿĂƉƉůŝĐĂďůĞƚŽĚŝƐĐŝƉůŝŶĂƌǇƉƌŽĐĞĞĚŝŶŐƐŝƐĚĞƐĐƌŝďĞĚŝŶƐĞĐƚŝŽŶϳϱŽĨƚŚĞEĞǁzŽƌŬ
    ŝǀŝů^ĞƌǀŝĐĞ>Ăǁ͘ ŝƐĐŝƉůŝŶĂƌǇĂĐƚŝŽŶŵƵƐƚďĞĐŽŵŵĞŶĐĞĚ;Ğ͘Ő͘ƐĞƌǀŝĐĞŽĨĐŚĂƌŐĞƐĂŶĚƐƉĞĐŝĨŝĐĂƚŝŽŶƐ͕ĂĚũƵĚŝĐĂƚŝŽŶŽĨ
    ĂŽŵŵĂŶĚŝƐĐŝƉůŝŶĞ͕ĞƚĐ͘ͿǁŝƚŚŝŶϭϴŵŽŶƚŚƐŽĨƚŚĞĚĂƚĞŽĨŽĐĐƵƌƌĞŶĐĞŽĨƚŚĞŵŝƐĐŽŶĚƵĐƚ͘dŚĞ^K>ĚŽĞƐŶŽƚĂƉƉůǇ
    ŝĨƚŚĞŵŝƐĐŽŶĚƵĐƚǁŽƵůĚ͕ŝĨƉƌŽǀĞĚŝŶĂĐŽƵƌƚŽĨĂƉƉƌŽƉƌŝĂƚĞũƵƌŝƐĚŝĐƚŝŽŶ͕ĐŽŶƐƚŝƚƵƚĞĂĐƌŝŵĞ͘ϭϬ
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    ZĞƐŽůƵƚŝŽŶŽĨŝƐĐŝƉůŝŶĂƌǇŚĂƌŐĞƐ
    WŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͛ƐƵƚŚŽƌŝƚǇ
    dŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͕ďǇůĂǁ͕ŚĂƐƚŚĞƐŽůĞĚŝƐĐƌĞƚŝŽŶƚŽĚĞƚĞƌŵŝŶĞƚŚĞĨŝŶĂůĚŝƐĐŝƉůŝŶĂƌǇĚŝƐƉŽƐŝƚŝŽŶĂŶĚƉĞŶĂůƚǇ
    ŝŵƉŽƐĞĚ͘ϭϭdŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌƌĞǀŝĞǁƐƌĞĐŽŵŵĞŶĚĂƚŝŽŶƐƌĞŐĂƌĚŝŶŐĚŝƐĐŝƉůŝŶĞĨƌŽŵƚŚĞƉƌŽƐĞĐƵƚŝŶŐĂƵƚŚŽƌŝƚǇ
    ;ĞŝƚŚĞƌKŽƌZͿĂŶĚƚŚĞĂĚŵŝŶŝƐƚƌĂƚŝǀĞƚƌŝĂůũƵĚŐĞ͕ǁŚĞŶĂƉƉůŝĐĂďůĞ͘tŚĞŶƚŚĞĨŝŶĂůĚŝƐĐŝƉůŝŶĂƌǇĚĞĐŝƐŝŽŶĚĞǀŝĂƚĞƐ
    ĨƌŽŵĂŶǇŽŶĞŽĨƚŚĞƐĞƌĞĐŽŵŵĞŶĚĂƚŝŽŶƐ͕ƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌƉƌĞƉĂƌĞƐĂŵĞŵŽƌĂŶĚƵŵƚŽĚŽĐƵŵĞŶƚƚŚĞĨĂĐƚŽƌƐ
    ƚŚĂƚǁĞƌĞĐŽŶƐŝĚĞƌĞĚŝŶƐƵƉƉŽƌƚŽĨƚŚĂƚĚĞĐŝƐŝŽŶĂŶĚƚŚĞŝƌĂƉƉůŝĐĂƚŝŽŶũƵƐƚŝĨǇŝŶŐƚŚĞĨŝŶĂůĚĞƚĞƌŵŝŶĂƚŝŽŶ͘ϭϮŶǇĚĞǀŝĂƚŝŽŶ
    ĨƌŽŵĂƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇĞŶƵŵĞƌĂƚĞĚďĞůŽǁŝƐƐŝŵŝůĂƌůǇĚĞƐĐƌŝďĞĚŝŶƚŚĞŵĞŵŽƌĂŶĚƵŵ͘

    ^ĞƚƚůĞŵĞŶƚŐƌĞĞŵĞŶƚƐ
    DĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞǁŚŽĨĂĐĞĚŝƐĐŝƉůŝŶĂƌǇĐŚĂƌŐĞƐĂŶĚƐƉĞĐŝĨŝĐĂƚŝŽŶƐĨŽƌƐƵďƐƚĂŶƚŝĂƚĞĚĂůůĞŐĂƚŝŽŶƐŽĨŵŝƐĐŽŶĚƵĐƚŽƌ
    ǀŝŽůĂƚŝŽŶƐŽĨĞƉĂƌƚŵĞŶƚƌƵůĞƐ͕ŵĂǇĂŐƌĞĞƚŽƚĂŬĞƌĞƐƉŽŶƐŝďŝůŝƚǇĨŽƌƚŚĞĐŚĂƌŐĞĚŵŝƐĐŽŶĚƵĐƚĂŶĚĂĐĐĞƉƚĂƉĞŶĂůƚǇďǇ
    ĞŶƚĞƌŝŶŐŝŶƚŽĂƐĞƚƚůĞŵĞŶƚĂŐƌĞĞŵĞŶƚŶĞŐŽƚŝĂƚĞĚǁŝƚŚƚŚĞĞƉĂƌƚŵĞŶƚ͘
    dŚĞƐƚĂƌƚŝŶŐƉŽŝŶƚĨŽƌĂŶǇƐĞƚƚůĞŵĞŶƚŶĞŐŽƚŝĂƚŝŽŶŝƐƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇͬƉĞŶĂůƚǇƌĂŶŐĞĨŽƌĞĂĐŚĞŶƵŵĞƌĂƚĞĚĂĐƚŽĨ
    ŵŝƐĐŽŶĚƵĐƚĚĞƐĐƌŝďĞĚŝŶƚŚĞƐĞ'ƵŝĚĞůŝŶĞƐ͘&ĂĐƚŽƌƐƚŚĂƚĂƌĞůŝŬĞůǇƚŽŝŵƉĂĐƚƚŚĞĂďŝůŝƚǇƚŽƐƵƐƚĂŝŶĂǀŝŽůĂƚŝŽŶŽŶƚŚĞŵĞƌŝƚƐ
    ŽĨƚŚĞĐĂƐĞĚƵƌŝŶŐĂŶĂĚŵŝŶŝƐƚƌĂƚŝǀĞƚƌŝĂů ŵĂǇďĞĐŽŶƐŝĚĞƌĞĚǁŚĞŶƚŚĞĞƉĂƌƚŵĞŶƚŝƐĐŽŶƚĞŵƉůĂƚŝŶŐĂŶĞŐŽƚŝĂƚĞĚ
    ƐĞƚƚůĞŵĞŶƚŝŶĂĐĂƐĞ͘^ĞƚƚůĞŵĞŶƚĂŐƌĞĞŵĞŶƚƐƉƌŽƉĞƌůǇƚĂŬĞŝŶƚŽĂĐĐŽƵŶƚƐƵĐŚŵĂƚƚĞƌƐĂƐƚŚĞĂǀĂŝůĂďŝůŝƚǇŽĨǁŝƚŶĞƐƐĞƐ
    ĂŶĚŽƚŚĞƌĞǀŝĚĞŶĐĞ͕ƚŚĞƐƚƌĞŶŐƚŚŽĨƚŚĞĂǀĂŝůĂďůĞƉƌŽŽĨ͕ĂŶĚƚŚĞǀŝĂďŝůŝƚǇŽĨĂǀĂŝůĂďůĞĚĞĨĞŶƐĞƐ͘,ŽǁĞǀĞƌ͕ŝŶŶĞŐŽƚŝĂƚŝŶŐ
    ƐĞƚƚůĞŵĞŶƚƐ͕ ƚŚĞ ĞƉĂƌƚŵĞŶƚ ǁŝůů ŶŽƚ ďĂƌŐĂŝŶ ĂǁĂǇ ƌĞĂĚŝůǇ ƉƌŽǀĂďůĞ ŵŝƐĐŽŶĚƵĐƚ ŵĞƌĞůǇ ƚŽ ĚŝƐƉŽƐĞ ŽĨ Ă ŵĂƚƚĞƌ
    ƉƌŽŵƉƚůǇ͕ƚŽĂůůŽǁĨŽƌĂŵŽƌĞůĞŶŝĞŶƚƉĞŶĂůƚǇƚŚĂŶǁŽƵůĚďĞĐĂůůĞĚĨŽƌƵŶĚĞƌƚŚĞƐĞ'ƵŝĚĞůŝŶĞƐ͕ŽƌƚŽĂĐŚŝĞǀĞĂŶǇŽƚŚĞƌ
    ƌĞƐƵůƚƚŚĂƚƐĞƌǀĞƐƚŽƵŶĚĞƌŵŝŶĞƚŚĞŐŽĂůƐĂŶĚƉƵƌƉŽƐĞƐŽĨƚŚĞƐĞ'ƵŝĚĞůŝŶĞƐ͘ĂƐĞƐĨĂůůŝŶŐƵŶĚĞƌƚŚĞũƵƌŝƐĚŝĐƚŝŽŶŽĨƚŚĞ
    ZŵĂǇďĞƌĞƐŽůǀĞĚďǇĂƐŝŵŝůĂƌƐĞƚƚůĞŵĞŶƚƉƌŽĐĞƐƐ͘

    ĞƉĂƌƚŵĞŶƚdƌŝĂůƐ
    /ĨĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĐŽŶƚĞƐƚƐƚŚĞĐŚĂƌŐĞƐ͕ŽƌĚŽĞƐŶŽƚĂŐƌĞĞƚŽƚŚĞƉƌŽƉŽƐĞĚƉĞŶĂůƚǇ͕ŚĞŽƌƐŚĞŚĂƐƚŚĞůĞŐĂůƌŝŐŚƚ
    ƚŽĂĨƵůůĚĞŶŽǀŽĂĚŵŝŶŝƐƚƌĂƚŝǀĞŚĞĂƌŝŶŐϭϯŬŶŽǁŶĂƐĂĞƉĂƌƚŵĞŶƚdƌŝĂů͕ĂƉƌŽĐĞƐƐŽǀĞƌƐĞĞŶďǇƚŚĞĞƉƵƚǇŽŵŵŝƐƐŝŽŶĞƌ
    ŽĨdƌŝĂůƐ͘ůůŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞĂƌĞĞŶƚŝƚůĞĚƚŽďĞƌĞƉƌĞƐĞŶƚĞĚďǇĐŽƵŶƐĞů͕ĂŶĚƚŚĞƚƌŝĂůƉƌŽĐĞĞĚŝŶŐƐĂƌĞŽƉĞŶƚŽ
    ƚŚĞ ƉƵďůŝĐ͘ ƚ ƚƌŝĂů͕ ƚŚĞ K͕ Žƌ ǁŚĞƌĞ ĂƉƉůŝĐĂďůĞ͕ ƚŚĞ Z Wh͕ ŚĂƐ ƚŚĞ ďƵƌĚĞŶ ŽĨ ƉƌŽǀŝŶŐ ƚŚĞ ĐŚĂƌŐĞƐ ďǇ Ă
    ƉƌĞƉŽŶĚĞƌĂŶĐĞŽĨƚŚĞĞǀŝĚĞŶĐĞĂŶĚŝƐƌĞƋƵŝƌĞĚƚŽƉƌĞƐĞŶƚĞǀŝĚĞŶĐĞĂŐĂŝŶƐƚƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ͘ϭϰ
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    ϭϬ^ĞĞEĞǁzŽƌŬŝǀŝů^ĞƌǀŝĐĞ>ĂǁΑϳϱ;ϰͿ͘
    ϭϭ^ĞĞEĞǁzŽƌŬŝƚǇŚĂƌƚĞƌΑϰϯϰĂŶĚEĞǁzŽƌŬŝƚǇĚŵŝŶŝƐƚƌĂƚŝǀĞŽĚĞΑϭϰͲϭϭϱ͘
    ϭϮdŚŝƐĨŝŶĂůĚŝƐĐŝƉůŝŶĂƌǇĂƵƚŚŽƌŝƚǇŝƐŶŽƚƵŶŝƋƵĞĂŵŽŶŐŝƚǇŽŵŵŝƐƐŝŽŶĞƌƐ͘ŽŵƉĂƌĞEĞǁzŽƌŬŝƚǇŚĂƌƚĞƌΑϰϯϰǁŝƚŚΑϯϴϳ;ĂͿ

    ǁŚŝĐŚƐƚĂƚĞƐ͕͞΀ƚ΁ŚĞŚĞĂĚƐŽĨŵĂǇŽƌĂůĂŐĞŶĐŝĞƐƐŚĂůůƐƵƉĞƌǀŝƐĞƚŚĞĞǆĞĐƵƚŝŽŶĂŶĚŵĂŶĂŐĞŵĞŶƚŽĨĂůůƉƌŽŐƌĂŵƐĂŶĚĂĐƚŝǀŝƚŝĞƐŽĨ
    ƚŚĞŝƌ ƌĞƐƉĞĐƚŝǀĞ ĂŐĞŶĐŝĞƐ ĂŶĚ ƐŚĂůů ŚĂǀĞ ĐŽŐŶŝǌĂŶĐĞ ĂŶĚ ĐŽŶƚƌŽů ŽĨ ƚŚĞ ŐŽǀĞƌŶŵĞŶƚ͕ ĂĚŵŝŶŝƐƚƌĂƚŝŽŶ͕ ĂŶĚ ĚŝƐĐŝƉůŝŶĞ ŽĨ ƚŚĞŝƌ
    ĂŐĞŶĐŝĞƐ͘͟
    ϭϯ^ĞĞEĞǁzŽƌŬŝǀŝů^ĞƌǀŝĐĞ>ĂǁΑϳϱ;ϭͿ͘
    ϭϰ dŽ ƐƵƐƚĂŝŶ Ă ĐŚĂƌŐĞ ŽĨ ŵŝƐĐŽŶĚƵĐƚ͕ ƚŚĞ K Žƌ Wh ƉƌŽƐĞĐƵƚŽƌ ŵƵƐƚ ĞƐƚĂďůŝƐŚ ƚŚĂƚ ƚŚĞ ŵĞŵďĞƌ ŽĨ ƚŚĞ ƐĞƌǀŝĐĞ ĂĐƚĞĚ

    ŝŶƚĞŶƚŝŽŶĂůůǇ͕ƌĞĐŬůĞƐƐůǇŽƌŶĞŐůŝŐĞŶƚůǇǁŝƚŚƌĞƐƉĞĐƚƚŽĞŶŐĂŐŝŶŐŝŶƚŚĞƉƌŽƐĐƌŝďĞĚĐŽŶĚƵĐƚ͘ƉĞƌƐŽŶĂĐƚƐŝŶƚĞŶƚŝŽŶĂůůǇǁŝƚŚƌĞƐƉĞĐƚ
    ƚŽĂƌĞƐƵůƚŽƌƚŽĐŽŶĚƵĐƚǁŚĞŶŚŝƐŽƌŚĞƌĐŽŶƐĐŝŽƵƐŽďũĞĐƚŝǀĞŝƐƚŽĐĂƵƐĞƐƵĐŚƌĞƐƵůƚŽƌƚŽĞŶŐĂŐĞŝŶƐƵĐŚĐŽŶĚƵĐƚ͘ƉĞƌƐŽŶĂĐƚƐ
    ƌĞĐŬůĞƐƐůǇǁŝƚŚƌĞƐƉĞĐƚƚŽĂƌĞƐƵůƚŽƌƚŽĂĐŝƌĐƵŵƐƚĂŶĐĞǁŚĞŶŚĞŽƌƐŚĞŝƐĂǁĂƌĞŽĨĂŶĚĐŽŶƐĐŝŽƵƐůǇĚŝƐƌĞŐĂƌĚƐĂƐƵďƐƚĂŶƚŝĂůĂŶĚ
    ƵŶũƵƐƚŝĨŝĂďůĞƌŝƐŬƚŚĂƚƐƵĐŚƌĞƐƵůƚǁŝůůŽĐĐƵƌŽƌƚŚĂƚƐƵĐŚĐŝƌĐƵŵƐƚĂŶĐĞĞǆŝƐƚƐ͘dŚĞƌŝƐŬŵƵƐƚďĞŽĨƐƵĐŚŶĂƚƵƌĞĂŶĚĚĞŐƌĞĞƚŚĂƚ
    ĚŝƐƌĞŐĂƌĚƚŚĞƌĞŽĨĐŽŶƐƚŝƚƵƚĞƐĂŐƌŽƐƐĚĞǀŝĂƚŝŽŶĨƌŽŵƚŚĞ ƐƚĂŶĚĂƌĚŽĨĐŽŶĚƵĐƚƚŚĂƚĂ ƌĞĂƐŽŶĂďůĞ ƉĞƌƐŽŶǁŽƵůĚŽďƐĞƌǀĞ ŝŶ ƚŚĞ
    ƐŝƚƵĂƚŝŽŶ͘ ƉĞƌƐŽŶĂĐƚƐǁŝƚŚŶĞŐůŝŐĞŶĐĞǁŝƚŚƌĞƐƉĞĐƚƚŽĂƌĞƐƵůƚŽƌƚŽĂĐŝƌĐƵŵƐƚĂŶĐĞǁŚĞŶŚĞŽƌƐŚĞĨĂŝůƐƚŽƉĞƌĐĞŝǀĞĂƐƵďƐƚĂŶƚŝĂů
    ĂŶĚƵŶũƵƐƚŝĨŝĂďůĞƌŝƐŬƚŚĂƚƐƵĐŚƌĞƐƵůƚǁŝůůŽĐĐƵƌŽƌƚŚĂƚƐƵĐŚĐŝƌĐƵŵƐƚĂŶĐĞĞǆŝƐƚƐ͘dŚĞƌŝƐŬŵƵƐƚďĞŽĨƐƵĐŚŶĂƚƵƌĞĂŶĚĚĞŐƌĞĞƚŚĂƚ
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          dŚĞŵĞŵďĞƌŝƐĞŶƚŝƚůĞĚƚŽĐƌŽƐƐͲĞǆĂŵŝŶĞƉƌŽƐĞĐƵƚŝŽŶǁŝƚŶĞƐƐĞƐ͕ƉƌĞƐĞŶƚĂĚĞĨĞŶƐĞƚŽƚŚĞĐŚĂƌŐĞƐ͕ĂŶĚͬŽƌƉƌĞƐĞŶƚ
          ĞǀŝĚĞŶĐĞŝŶŵŝƚŝŐĂƚŝŽŶŽĨƚŚĞƉƌŽƉŽƐĞĚƉĞŶĂůƚǇ͘ϭϱĂĐŚŵŽŶƚŚ͕ƚŚĞƚƌŝĂůĐĂůĞŶĚĂƌĨŽƌƚŚĞƵƉĐŽŵŝŶŐŵŽŶƚŚŝƐƉƵďůŝƐŚĞĚ
          ŽŶƚŚĞĞƉĂƌƚŵĞŶƚ͛ƐǁĞďƐŝƚĞ͘ϭϲ
          dŚĞKĨĨŝĐĞŽĨƚŚĞĞƉƵƚǇŽŵŵŝƐƐŝŽŶĞƌŽĨdƌŝĂůƐĐŽŶĚƵĐƚƐĞƉĂƌƚŵĞŶƚƚƌŝĂůƐŝŶĂĨĂŝƌĂŶĚŝŵƉĂƌƚŝĂůŵĂŶŶĞƌ͕ĐŽŶƐŝƐƚĞŶƚ
          ǁŝƚŚ ƚŚĞ ƌƵůĞƐ ĂŶĚ ƌĞŐƵůĂƚŝŽŶƐ ŐŽǀĞƌŶŝŶŐ ĂĚŵŝŶŝƐƚƌĂƚŝǀĞ ŚĞĂƌŝŶŐƐ͕ ĂƐ ǁĞůů ĂƐ ƚŚĞ ĚƵĞ ƉƌŽĐĞƐƐ ƌŝŐŚƚƐ ŽĨ ƚŚĞ
          ĞƉĂƌƚŵĞŶƚ͛ƐŵĞŵďĞƌƐ͘dŚŝƐŝŶĐůƵĚĞƐĂƉƌŽŚŝďŝƚŝŽŶĂŐĂŝŶƐƚĞǆƉĂƌƚĞĐŽŵŵƵŶŝĐĂƚŝŽŶƐǁŝƚŚƚŚĞũƵĚŐĞƐ͕ĞǀĞŶďǇƚŚĞ
          WŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͘ϭϳƚƚŚĞĐŽŶĐůƵƐŝŽŶŽĨĂƚƌŝĂů͕ƚŚĞdƌŝĂůŽŵŵŝƐƐŝŽŶĞƌŝƐƐƵĞƐĂƌĞƉŽƌƚƚŚĂƚŝŶĐůƵĚĞƐĂŶĂŶĂůǇƐŝƐ
          ŽĨƚŚĞĞǀŝĚĞŶĐĞƉƌĞƐĞŶƚĞĚ͕Ă ĚĞƚĞƌŵŝŶĂƚŝŽŶŽŶǁŝƚŶĞƐƐĐƌĞĚŝďŝůŝƚǇĂŶĚĂƌĞĐŽŵŵĞŶĚĂƚŝŽŶĂƐƚŽĨŝŶĚŝŶŐƐŽŶĞĂĐŚ
          ĐŚĂƌŐĞ͘tŚĞƌĞƚŚĞƌĞŝƐĂĨŝŶĚŝŶŐŽĨŐƵŝůƚ͕ƚŚĞdƌŝĂůŽŵŵŝƐƐŝŽŶĞƌƌĞĐŽŵŵĞŶĚƐĂŶĂƉƉƌŽƉƌŝĂƚĞƉĞŶĂůƚǇ͘ůůƉĂƌƚŝĞƐ
          ƌĞǀŝĞǁ ƚŚĞ dƌŝĂů ŽŵŵŝƐƐŝŽŶĞƌ͛Ɛ ƌĞƉŽƌƚ ĂŶĚ ĂƌĞ ŐŝǀĞŶ ĂŶ ŽƉƉŽƌƚƵŶŝƚǇ ƚŽ ƐƵďŵŝƚ ǁƌŝƚƚĞŶ ĐŽŵŵĞŶƚƐ͘ ϭϴ dŚĞ dƌŝĂů
          ŽŵŵŝƐƐŝŽŶĞƌ͛ƐƌĞƉŽƌƚĂŶĚƚŚĞǁƌŝƚƚĞŶĐŽŵŵĞŶƚƐŽĨƚŚĞƉĂƌƚŝĞƐĂƌĞƚŚĞŶƐƵďŵŝƚƚĞĚĨŽƌƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͛Ɛ
          ƌĞǀŝĞǁĂŶĚĨŝŶĂůĚĞĐŝƐŝŽŶ͘
          ZĞŐĂƌĚůĞƐƐŽĨƚŚĞŵĂŶŶĞƌŝŶǁŚŝĐŚĂĞƉĂƌƚŵĞŶƚĚŝƐĐŝƉůŝŶĂƌǇĐĂƐĞŝƐƌĞƐŽůǀĞĚ͕ǁŚĞƚŚĞƌďǇƐĞƚƚůĞŵĞŶƚĂŐƌĞĞŵĞŶƚŽƌ
          ĞƉĂƌƚŵĞŶƚƚƌŝĂů͕ƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͕ďǇůĂǁ͕ŵĂŬĞƐƚŚĞĨŝŶĂůĚŝƐĐŝƉůŝŶĂƌǇĚĞƚĞƌŵŝŶĂƚŝŽŶĂŶĚƉĞŶĂůƚǇĨŝŶĚŝŶŐ͘
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          ƚŚĞĨĂŝůƵƌĞƚŽƉĞƌĐĞŝǀĞŝƚĐŽŶƐƚŝƚƵƚĞƐĂĐĂƌĞůĞƐƐĚĞǀŝĂƚŝŽŶĨƌŽŵƚŚĞƐƚĂŶĚĂƌĚŽĨĐĂƌĞƚŚĂƚĂƌĞĂƐŽŶĂďůĞƉŽůŝĐĞŽĨĨŝĐĞƌǁŽƵůĚŽďƐĞƌǀĞ
          ŝŶƚŚĞƐŝƚƵĂƚŝŽŶ͘
          ϭϱΑΑϳϱʹϳϲŽĨƚŚĞEĞǁzŽƌŬŝǀŝů^ĞƌǀŝĐĞ>ĂǁŵĂŶĚĂƚĞƚŚĂƚƉĞƌŵĂŶĞŶƚ͕ĐŽŵƉĞƚŝƚŝǀĞͲĐůĂƐƐĞŵƉůŽǇĞĞƐ͕ŝŶĐůƵĚŝŶŐƉŽůŝĐĞŽĨĨŝĐĞƌƐ͕

          ĂƌĞ ĞŶƚŝƚůĞĚ ƚŽ ĐĞƌƚĂŝŶ ƌŝŐŚƚƐ ƉƌŝŽƌ ƚŽ ƚŚĞ ŝŵƉŽƐŝƚŝŽŶ ŽĨ ĂŶǇ ĚŝƐĐŝƉůŝŶĂƌǇ ĂĐƚŝŽŶ͘ dŚĞƐĞ ƌŝŐŚƚƐ ŝŶĐůƵĚĞ ŶŽƚŝĐĞ ŽĨ ƚŚĞ ĐŚĂƌŐĞƐ͕ ĂŶ
          ŽƉƉŽƌƚƵŶŝƚǇƚŽĂŶƐǁĞƌƚŚĞĐŚĂƌŐĞƐ;ĂƚĂŚĞĂƌŝŶŐŽƌŽƚŚĞƌǁŝƐĞͿ͕ƌĞƉƌĞƐĞŶƚĂƚŝŽŶĂƚŽĨĨŝĐŝĂůŝŶƚĞƌǀŝĞǁƐŽƌĚŝƐĐŝƉůŝŶĂƌǇŚĞĂƌŝŶŐƐ͕ĂŶĚ
          ƚŚĞƌŝŐŚƚƚŽƐƵŵŵŽŶǁŝƚŶĞƐƐĞƐŽŶƚŚĞĂĐĐƵƐĞĚŽĨĨŝĐĞƌ͛ƐďĞŚĂůĨ͘^ĞĞĂůƐŽ͕dŝƚůĞϯϴ͕ŚĂƉƚĞƌϭϱŽĨƚŚĞZƵůĞƐŽĨƚŚĞŝƚǇŽĨEĞǁzŽƌŬ
          ĂŶĚΑϭϰͲϭϭϱŽĨƚŚĞĚŵŝŶŝƐƚƌĂƚŝǀĞŽĚĞŽĨƚŚĞŝƚǇŽĨEĞǁzŽƌŬ͘
          ϭϲ^ĞĞŚƚƚƉƐ͗ͬͬǁǁǁϭ͘ŶǇĐ͘ŐŽǀͬƐŝƚĞͬŶǇƉĚͬďƵƌĞĂƵƐͬĂĚŵŝŶŝƐƚƌĂƚŝǀĞͬƚƌŝĂůƐ͘ƉĂŐĞ͘
          ϭϳdŝƚůĞϯϴ͕ŚĂƉƚĞƌϭϱ͕ΑϭϱͲϬϰ;ĞͿ;ϰͿZƵůĞƐŽĨƚŚĞŝƚǇŽĨEĞǁzŽƌŬƐƚĂƚĞƐĂƐĨŽůůŽǁƐ͗

          ͞ǆĐĞƉƚĨŽƌŵŝŶŝƐƚĞƌŝĂůŵĂƚƚĞƌƐ͕ĂŶĚĞǆĐĞƉƚŽŶĐŽŶƐĞŶƚ͕ŽƌŝŶĂŶĞŵĞƌŐĞŶĐǇ͕ĐŽŵŵƵŶŝĐĂƚŝŽŶƐǁŝƚŚƚŚĞĞƉƵƚǇŽŵŵŝƐƐŝŽŶĞƌŽĨ
          dƌŝĂůƐ ĐŽŶĐĞƌŶŝŶŐ Ă ĐĂƐĞ ƐŚĂůů ŽŶůǇ ŽĐĐƵƌ ǁŝƚŚ Ăůů ƉĂƌƚŝĞƐ ƉƌĞƐĞŶƚ͘ /Ĩ ƚŚĞ ĞƉƵƚǇ ŽŵŵŝƐƐŝŽŶĞƌ ŽĨ dƌŝĂůƐ ƌĞĐĞŝǀĞƐ ĂŶ Ğǆ ƉĂƌƚĞ
          ĐŽŵŵƵŶŝĐĂƚŝŽŶ ĐŽŶĐĞƌŶŝŶŐ ƚŚĞ ŵĞƌŝƚƐ ŽĨ Ă ĐĂƐĞ ƚŽ ǁŚŝĐŚ ŚĞ Žƌ ƐŚĞ ŝƐ ĂƐƐŝŐŶĞĚ͕ ƚŚĞŶ ŚĞ Žƌ ƐŚĞ ƐŚĂůů ƉƌŽŵƉƚůǇ ĚŝƐĐůŽƐĞ ƚŚĞ
          ĐŽŵŵƵŶŝĐĂƚŝŽŶďǇƉůĂĐŝŶŐŝƚŽŶƚŚĞƌĞĐŽƌĚ͕ŝŶĚĞƚĂŝů͕ŝŶĐůƵĚŝŶŐĂůůǁƌŝƚƚĞŶĂŶĚŽƌĂůĐŽŵŵƵŶŝĐĂƚŝŽŶƐĂŶĚŝĚĞŶƚŝĨǇŝŶŐĂůůŝŶĚŝǀŝĚƵĂůƐ
          ǁŝƚŚǁŚŽŵŚĞŽƌƐŚĞŚĂƐĐŽŵŵƵŶŝĐĂƚĞĚ͘ƉĂƌƚǇĚĞƐŝƌŝŶŐƚŽƌĞďƵƚƚŚĞĞǆƉĂƌƚĞĐŽŵŵƵŶŝĐĂƚŝŽŶƐŚĂůůďĞĂůůŽǁĞĚƚŽĚŽƐŽƵƉŽŶ
          ƌĞƋƵĞƐƚ͘͟
          ϭϴ^ĞĞ&ŽŐĞůǀ͘ŽĂƌĚŽĨĚƵĐĂƚŝŽŶ͕ϰϴ͘͘ϮĚϵϮϱ;ϭϵϳϱͿ͘

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    WĞŶĂůƚǇ'ƵŝĚĞůŝŶĞƐ
    dŚĞWĞŶĂůƚǇ'ƵŝĚĞůŝŶĞƐǆƉůĂŝŶĞĚ
    dŚĞ'ƵŝĚĞůŝŶĞƐĂƌĞƉƵďůŝƐŚĞĚĂŶĚŵĂǇďĞƉĞƌŝŽĚŝĐĂůůǇƵƉĚĂƚĞĚŝŶŽƌĚĞƌƚŽďĞƚƚĞƌŝŶĨŽƌŵŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞĂŶĚ
    ƚŚĞƉƵďůŝĐĂƐƚŽƚŚĞĞǆƉĞĐƚĂƚŝŽŶƐƉůĂĐĞĚƵƉŽŶŵĞŵďĞƌƐŽĨƚŚĞĞƉĂƌƚŵĞŶƚ ĂŶĚƚŽƉƌŽǀŝĚĞŐƌĞĂƚĞƌƚƌĂŶƐƉĂƌĞŶĐǇ
    ƌĞŐĂƌĚŝŶŐƚŚĞĚŝƐĐŝƉůŝŶĂƌǇƉƌŽĐĞƐƐ͘ϭϵǁĂƌĞŶĞƐƐŽĨƚŚĞůŝŬĞůǇĐŽŶƐĞƋƵĞŶĐĞƐĂƐƐŽĐŝĂƚĞĚǁŝƚŚǀŝŽůĂƚŝŽŶƐŽĨĞƉĂƌƚŵĞŶƚ
    ƉŽůŝĐǇƉƌŽŵŽƚĞƐŐƌĞĂƚĞƌĞĨĨŝĐŝĞŶĐǇĂŶĚĨĂĐŝůŝƚĂƚĞƐƚŚĞĨĂŝƌĂŶĚƌĂƚŝŽŶĂůĂƉƉůŝĐĂƚŝŽŶŽĨƉĞŶĂůƚŝĞƐĂŶĚƚŚĞĂĚŚĞƌĞŶĐĞƚŽ
    ďĞŚĂǀŝŽƌĂů ƐƚĂŶĚĂƌĚƐ͘ dŚĞ 'ƵŝĚĞůŝŶĞƐ ĂƌĞ ĚĞƐŝŐŶĞĚ ƚŽ ƉƌŽǀŝĚĞ ŶŽƚŝĐĞ ŽĨ ƚŚĞ ƐƚĂŶĚĂƌĚƐ ƵƉŽŶ ǁŚŝĐŚ ĚŝƐĐŝƉůŝŶĂƌǇ
    ŽƵƚĐŽŵĞƐĂƌĞďĂƐĞĚĂŶĚƚŽĞƐƚĂďůŝƐŚĞǆƉĞĐƚĂƚŝŽŶƐĨŽƌĂůůŝŶǀŽůǀĞĚ͘dŚĞ'ƵŝĚĞůŝŶĞƐĂƌĞŽƌŐĂŶŝǌĞĚƚŚĞŵĂƚŝĐĂůůǇŝŶƚŽϭϭ
    ĚŝĨĨĞƌĞŶƚĐĂƚĞŐŽƌŝĞƐ͗ƌŝŵŝŶĂůŽŶĚƵĐƚ͖ǆĐĞƐƐŝǀĞ&ŽƌĐĞ͖ďƵƐĞŽĨƵƚŚŽƌŝƚǇͬŝƐĐŽƵƌƚĞƐǇͬKĨĨĞŶƐŝǀĞ>ĂŶŐƵĂŐĞ͖&ĂůƐĞ
    ^ƚĂƚĞŵĞŶƚƐ͖ ŽŵĞƐƚŝĐ sŝŽůĞŶĐĞ͖ ƌŝǀŝŶŐ tŚŝůĞ /ŵƉĂŝƌĞĚͬ/ŶƚŽǆŝĐĂƚĞĚ͖ &ŝƌĞĂƌŵͲZĞůĂƚĞĚ /ŶĐŝĚĞŶƚƐ͖ ŽŶƚƌŽůůĞĚ
    ^ƵďƐƚĂŶĐĞͬDĂƌŝũƵĂŶĂͬĂŶŶĞĚ ^ƵďƐƚĂŶĐĞ hƐĞ͖ ĞƉĂƌƚŵĞŶƚ ZƵůĞ sŝŽůĂƚŝŽŶƐ͖ KĨĨͲĚƵƚǇ Θ WƌŽŚŝďŝƚĞĚ ŽŶĚƵĐƚ͖ ĂŶĚ
    ŵƉůŽǇŵĞŶƚŝƐĐƌŝŵŝŶĂƚŝŽŶ͘dŚĞƐĞĐĂƚĞŐŽƌŝĞƐĂƌĞŶŽƚŵƵƚƵĂůůǇĞǆĐůƵƐŝǀĞ͕ĂŶĚƉƌŽƐĐƌŝďĞĚĐŽŶĚƵĐƚŵĂǇĨĂůůŝŶƚŽŵŽƌĞ
    ƚŚĂŶŽŶĞĐĂƚĞŐŽƌǇ͘
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    WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐ
    dŚĞ 'ƵŝĚĞůŝŶĞƐ ƐĞƚ ĨŽƌƚŚ ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚŝĞƐ ĨŽƌ ĂĐƚƐ ŽĨ ŵŝƐĐŽŶĚƵĐƚ ĂŶĚ ǀŝŽůĂƚŝŽŶƐ ŽĨ ĞƉĂƌƚŵĞŶƚ ƉŽůŝĐǇ͘ 
    ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚǇ ŝƐ ƚŚĞ ĂƐƐƵŵĞĚ ƉĞŶĂůƚǇ ŐĞŶĞƌĂůůǇ ĚĞĞŵĞĚ ĂƉƉƌŽƉƌŝĂƚĞ ĨŽƌ ƚŚĞ ĨŝƌƐƚ ŝŶƐƚĂŶĐĞ ŽĨ Ă ƐƉĞĐŝĨŝĐ
    ƉƌŽƐĐƌŝďĞĚ ĂĐƚ ĂŶĚ ĚŽĞƐ ŶŽƚ ĐŽŶƐƚŝƚƵƚĞ Ă ŵĂŶĚĂƚŽƌǇ ŵŝŶŝŵƵŵ ƉĞŶĂůƚǇ͘ dŚĞ ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚǇ ƐĞƌǀĞƐ ĂƐ ƚŚĞ
    ƐƚĂƌƚŝŶŐƉŽŝŶƚĨŽƌĂŶĂůǇƐŝƐĚƵƌŝŶŐƚŚĞƉĞŶĂůƚǇƉŚĂƐĞŽĨĂĐĂƐĞ͕ǁŚŝĐŚŵƵƐƚŝŶĐůƵĚĞĐŽŶƐŝĚĞƌĂƚŝŽŶŽĨƚŚĞƚŽƚĂůŝƚǇŽĨƚŚĞ
    ĐŝƌĐƵŵƐƚĂŶĐĞƐĂŶĚĂŶǇĂŐŐƌĂǀĂƚŝŶŐĂŶĚͬŽƌŵŝƚŝŐĂƚŝŶŐĨĂĐƚŽƌƐƚŚĂƚŵĂǇďĞƌĞůĞǀĂŶƚ͘dŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͕ǁŚŽŝƐ
    ƐƚĂƚƵƚŽƌŝůǇ ĞŵƉŽǁĞƌĞĚ ƚŽ ĂĚũƵĚŝĐĂƚĞ ĚŝƐĐŝƉůŝŶĞ͕ ŵĂŬĞƐ ƚŚĞ ĨŝŶĂů ĚĞƚĞƌŵŝŶĂƚŝŽŶ ĂŶĚ ŵĂǇ ĚĞǀŝĂƚĞ ĨƌŽŵ ƚŚĞ
    ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚŝĞƐ͘dŚĂƚƉĞŶĂůƚǇĚĞƚĞƌŵŝŶĂƚŝŽŶ͕ŝŶĐůƵĚŝŶŐƚŚĞƌĂƚŝŽŶĂůĞĨŽƌĂŶǇĚĞǀŝĂƚŝŽŶĨƌŽŵƚŚĞƉƌĞƐƵŵƉƚŝǀĞ
    ƉĞŶĂůƚǇĂŶĚͬŽƌƚŚĞƌĞĐŽŵŵĞŶĚĂƚŝŽŶŽĨĞŝƚŚĞƌĂƚƌŝĂůũƵĚŐĞŽƌZ͕ŝƐŵĞŵŽƌŝĂůŝǌĞĚŝŶĂŵĞŵŽƌĂŶĚƵŵ͕ĂƐƉĂƌƚŽĨ
    ƚŚĞĨŝŶĂůĂĚũƵĚŝĐĂƚŝŽŶŽĨƚŚĞĐĂƐĞ͘
    'ŝǀĞŶƚŚĞĐŽŵƉůĞǆŝƚǇŽĨƐŽŵĞĞǀĞŶƚƐĂŶĚƐŝŐŶŝĨŝĐĂŶƚǀĂƌŝĂŶĐĞƐŝŶƚŚĞƵŶĚĞƌůǇŝŶŐĨĂĐƚƐŽĨĞĂĐŚĐĂƐĞ͕ŝƚŝƐŶŽƚƉŽƐƐŝďůĞ
    ƚŽ ƉƌĞĚĞƚĞƌŵŝŶĞ ƚŚĞ ŽƵƚĐŽŵĞ Žƌ ƚŚĞ ƌĞůĂƚŝǀĞ ǁĞŝŐŚƚƐ ŽĨ ƉŽƚĞŶƚŝĂů ĂŐŐƌĂǀĂƚŝŶŐ ĂŶĚ ŵŝƚŝŐĂƚŝŶŐ ĨĂĐƚŽƌƐ ĨŽƌ ĞǀĞƌǇ
    ĚŝƐĐŝƉůŝŶĂƌǇ ŵĂƚƚĞƌ͘ /Ŷ ƐĞůĞĐƚ ĂƌĞĂƐ ŽĨ ŵŝƐĐŽŶĚƵĐƚ͕ ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚŝĞƐ ĨŽƌ ĐŽŵŵŽŶ ĂŐŐƌĂǀĂƚŝŶŐ ĨĂĐƚŽƌƐ ĂƌĞ
    ĚĞůŝŶĞĂƚĞĚ͕ďƵƚĞǀĞŶŝŶƚŚĞƐĞĐĂƐĞƐ͕ƚŚĞƌĞŵĂǇďĞĂĚĚŝƚŝŽŶĂůĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌƐŽƌŵŝƚŝŐĂƚŝŶŐĨĂĐƚŽƌƐƚŚĂƚďĞĂƌƵƉŽŶ
    ƚŚĞ ƵůƚŝŵĂƚĞ ƉĞŶĂůƚǇ ƌĞĐŽŵŵĞŶĚĂƚŝŽŶ͘ WƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚŝĞƐ͕ ĂƐ ǁĞůů ĂƐ ďŽƚŚ ĂŐŐƌĂǀĂƚŝŶŐ ĂŶĚ ŵŝƚŝŐĂƚŝŶŐ
    ĐŝƌĐƵŵƐƚĂŶĐĞƐ͕ĂůƐŽĂƉƉůǇƚŽŶĞŐŽƚŝĂƚĞĚƐĞƚƚůĞŵĞŶƚƐŽĨĚŝƐĐŝƉůŝŶĂƌǇŵĂƚƚĞƌƐ͘
    ůůĚŝƐĐŝƉůŝŶĂƌǇŵĂƚƚĞƌƐŵƵƐƚďĞĞǀĂůƵĂƚĞĚŽŶĂĐĂƐĞͲďǇͲĐĂƐĞďĂƐŝƐ͕ĐŽŶƐŝĚĞƌŝŶŐĂůůƌĞůĞǀĂŶƚĨĂĐƚŽƌƐĂŶĚƵƐŝŶŐƚŚŝƐ
    ƌƵďƌŝĐĂƐĂŐƵŝĚĞ͘ƐĂŐĞŶĞƌĂůƌƵůĞ͕ĞƉĂƌƚŵĞŶƚƉŽůŝĐŝĞƐ͕ŝŶĐůƵĚŝŶŐƚŚĞƐĞ'ƵŝĚĞůŝŶĞƐ͕ƐŚŽƵůĚŶŽƚďĞŝŶƚĞƌƉƌĞƚĞĚŽƌ
    ĂƉƉůŝĞĚ ŝŶ Ă ŵĂŶŶĞƌ ƚŚĂƚ ůĞĂĚƐ ƚŽ ĂŶƵŶũƵƐƚ Žƌ ƵŶƌĞĂƐŽŶĂďůĞ ƌĞƐƵůƚ͕ Žƌ ŝƐ ŽƚŚĞƌǁŝƐĞ ĐŽŶƚƌĂƌǇ ƚŽ ƚŚĞ ŐŽĂůƐ ŽĨ ƚŚĞ
    ĚŝƐĐŝƉůŝŶĂƌǇƐǇƐƚĞŵŽƵƚůŝŶĞĚĂďŽǀĞ͘
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      EĞǁzŽƌŬŝƚǇĚŵŝŶŝƐƚƌĂƚŝǀĞŽĚĞΑϭϰͲϭϴϲƌĞƋƵŝƌĞƐƚŚĞĞƉĂƌƚŵĞŶƚƚŽƉƵďůŝƐŚŝƚ͛Ɛ͞ŝŶƚĞƌŶĂůĚŝƐĐŝƉůŝŶĂƌǇŵĂƚƌŝǆ͕͟ĂŶǇ
    ƐƵďƐĞƋƵĞŶƚƌĞǀŝƐŝŽŶƐƚŽƚŚĞŵĂƚƌŝǆĂŶĚĂŶĂŶŶƵĂůƌĞƉŽƌƚĞŶƵŵĞƌĂƚŝŶŐƉĞŶĂůƚŝĞƐƚŚĂƚĚĞǀŝĂƚĞĨƌŽŵƚŚĞŵĂƚƌŝǆ͘
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         dŚĞ'ƵŝĚĞůŝŶĞƐĨĂĐŝůŝƚĂƚĞƉĞŶĂůƚŝĞƐĚĞƐŝŐŶĞĚƚŽĞŶƐƵƌĞĐŽŶƐŝƐƚĞŶĐǇĂŵŽŶŐƐŝŵŝůĂƌůǇƐŝƚƵĂƚĞĚŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞ
         ǁŚŝůĞĂůůŽǁŝŶŐĨŽƌƌĞĂƐŽŶĂďůĞĚĞŐƌĞĞƐŽĨŵŝƚŝŐĂƚŝŽŶĂŶĚĂŐŐƌĂǀĂƚŝŽŶďĂƐĞĚƵƉŽŶƚŚĞƐƉĞĐŝĨŝĐĨĂĐƚƐĂŶĚĐŝƌĐƵŵƐƚĂŶĐĞƐ
         ŽĨ ĞĂĐŚ ŝŶĐŝĚĞŶƚ͘ dŚĞ ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚǇ ŝĚĞŶƚŝĨŝĞĚ ĨŽƌ ĞĂĐŚ ĂĐƚ ŽĨ ŵŝƐĐŽŶĚƵĐƚ ŵĂǇ ďĞ ŝŶĐƌĞĂƐĞĚ Žƌ ĚĞĐƌĞĂƐĞĚ
         ĚĞƉĞŶĚŝŶŐ ƵƉŽŶ ƚŚĞ ƉƌĞƐĞŶĐĞ ŽĨ ƚŚĞƐĞ ŝŶĚŝǀŝĚƵĂůŝǌĞĚ ĨĂĐƚŽƌƐ͘ ůƚŚŽƵŐŚ ŝƚ ŝƐ ŝŵƉŽƐƐŝďůĞ ƚŽ ƉƌĞͲĚĞƚĞƌŵŝŶĞ Ăůů ƚŚĞ
         ŵŝƚŝŐĂƚŝŶŐĂŶĚĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌƐƚŚĂƚĐŽƵůĚĂƌŝƐĞŝŶĞĂĐŚĐĂƐĞ͕ƚŚĞŐƵŝĚĂŶĐĞďĞůŽǁŝŶĐůƵĚĞƐƵŶŝǀĞƌƐĂůĨĂĐƚŽƌƐƚŽďĞ
         ƚĂŬĞŶŝŶƚŽĂĐĐŽƵŶƚǁŚĞŶĂƐƐĞƐƐŝŶŐƚŚĞĨĂŝƌŶĞƐƐĂŶĚƉƌŽƉŽƌƚŝŽŶĂůŝƚǇŽĨĂƉĞŶĂůƚǇ͘
         dŚĞƉƌĞƐĞŶĐĞŽĨŵŝƚŝŐĂƚŝŶŐŽƌĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌƐĚŽĞƐŶŽƚĂƵƚŽŵĂƚŝĐĂůůǇůĞĂĚƚŽƚŚĞĐŽŶĐůƵƐŝŽŶƚŚĂƚĂĚĞƉĂƌƚƵƌĞ
         ĨƌŽŵ ƚŚĞ ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚǇ ŝƐ ũƵƐƚŝĨŝĞĚ͘ dŚĞ ĨĂĐƚŽƌƐ ŵƵƐƚ ďĞ ǁĞŝŐŚĞĚ ĂŐĂŝŶƐƚ ĞĂĐŚ ŽƚŚĞƌ ĂŶĚ ƚŚĞ ĨĂĐƚƐ ĂŶĚ
         ĐŝƌĐƵŵƐƚĂŶĐĞƐŽĨƚŚĞŵŝƐĐŽŶĚƵĐƚŝƚƐĞůĨ͘dŚĞƉƌĞƐĞŶĐĞŽĨŽŶĞŽƌŵŽƌĞŵŝƚŝŐĂƚŝŶŐĐŝƌĐƵŵƐƚĂŶĐĞƐ͕ĂůŽŶŐǁŝƚŚŽŶĞŽƌ
         ŵŽƌĞĂŐŐƌĂǀĂƚŝŶŐĐŝƌĐƵŵƐƚĂŶĐĞƐ͕ŵĂǇŽƌŵĂǇŶŽƚŽĨĨƐĞƚĞĂĐŚŽƚŚĞƌ͘
         &Žƌ ƐŽŵĞ ĂĐƚƐ ŽĨ ŵŝƐĐŽŶĚƵĐƚ͕ ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚǇ ĞŶŚĂŶĐĞŵĞŶƚƐ ŚĂǀĞ ĂůƌĞĂĚǇ ďĞĞŶ ŝĚĞŶƚŝĨŝĞĚ ĨŽƌ ƐƉĞĐŝĨŝĐ
         ĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌƐĞŶƵŵĞƌĂƚĞĚŝŶƚŚĞ'ƵŝĚĞůŝŶĞƐ͘/ŶŽƚŚĞƌĐĂƚĞŐŽƌŝĞƐŽĨŵŝƐĐŽŶĚƵĐƚ͕ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇƌĂŶŐĞƐ
         ĨŽƌĂŐŐƌĂǀĂƚŝŽŶĂŶĚŵŝƚŝŐĂƚŝŽŶĂƌĞƉƌŽǀŝĚĞĚ͘ĚĚŝƚŝŽŶĂůůǇ͕ƐŽŵĞďĞŚĂǀŝŽƌƚŚĂƚŝƐĚĞĞŵĞĚĂŶĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌ͕ŝĨ
         ĐŚĂƌŐĞĚĂŶĚƐƵƐƚĂŝŶĞĚŽŶƚŚĞŵĞƌŝƚƐ͕ŵĂǇďĞĂĚũƵĚŝĐĂƚĞĚĂƐĂƐĞƉĂƌĂƚĞĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚŝŶĂŶĚŽĨŝƚƐĞůĨ͘
         /Ĩ ƚŚĞ ĚĞƚĞƌŵŝŶĂƚŝŽŶ ŝƐ ŵĂĚĞ ƚŚĂƚ ƚŚĞ ŵŝƐĐŽŶĚƵĐƚ ŝƐ ĂƉƉƌŽƉƌŝĂƚĞůǇ ŵŝƚŝŐĂƚĞĚ Žƌ ĂŐŐƌĂǀĂƚĞĚ͕ ƚŚĞ ƌĞůĞǀĂŶƚ ĨĂĐƚŽƌƐ͕
         ŝŶĐůƵĚŝŶŐ Ă ĚĞƐĐƌŝƉƚŝŽŶ ŽĨ ŚŽǁ ƚŚĞ ĨĂĐƚŽƌƐ ǁĞƌĞ ĂƉƉůŝĞĚ͕ ǁŝůů ďĞ ĚŽĐƵŵĞŶƚĞĚ ĂƐ ƉĂƌƚ ŽĨ ĂŶǇ ƌĞĐŽŵŵĞŶĚĂƚŝŽŶƐ
         ƐƵďŵŝƚƚĞĚƚŽƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͘dŚĞƵůƚŝŵĂƚĞƉĞŶĂůƚǇĂƐƐŝŐŶĞĚŝƐŐƵŝĚĞĚďǇƚŚĞƉĞŶĂůƚǇƌĂŶŐĞƐďĞƚǁĞĞŶƚŚĞ
         ŵŝƚŝŐĂƚĞĚĂŶĚĂŐŐƌĂǀĂƚĞĚƉĞŶĂůƚŝĞƐ͕ĂƐĚĞĨŝŶĞĚŝŶƚŚĞƐĞ'ƵŝĚĞůŝŶĞƐ͘dŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌƵůƚŝŵĂƚĞůǇĚĞƚĞƌŵŝŶĞƐ
         ǁŚĞƚŚĞƌƚŚĞĨĂĐƚŽƌƐĂƌĞƐƵĨĨŝĐŝĞŶƚůǇƐŝŐŶŝĨŝĐĂŶƚƚŽũƵƐƚŝĨǇĂĚĞĐƌĞĂƐĞŽƌŝŶĐƌĞĂƐĞŝŶƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇͬƉĞŶĂůƚǇ
         ƌĂŶŐĞĂŶĚĚŽĐƵŵĞŶƚƐƐƵĐŚŝŶƚŚĞŵĞŵŽƌĂŶĚƵŵƉƌĞƉĂƌĞĚǁŚĞŶĂĚũƵĚŝĐĂƚŝŶŐƚŚĞĐĂƐĞ͘

         WŽƚĞŶƚŝĂůDŝƚŝŐĂƚŝŶŐ&ĂĐƚŽƌƐ
         /ŶĐŽŶƐŝĚĞƌŝŶŐƚŚĞƚŽƚĂůŝƚǇŽĨƚŚĞĐŝƌĐƵŵƐƚĂŶĐĞƐ͕ƉŽƚĞŶƚŝĂůŵŝƚŝŐĂƚŝŶŐĨĂĐƚŽƌƐŵĂǇŝŶĐůƵĚĞ͕ďƵƚĂƌĞŶŽƚůŝŵŝƚĞĚƚŽ͕ƚŚĞĨŽůůŽǁŝŶŐ͗

              x   dŚĞƌĞĂƐŽŶĂďůǇůŝŵŝƚĞĚŽƌůĂĐŬŽĨŬŶŽǁůĞĚŐĞ͕ƚƌĂŝŶŝŶŐĂŶĚĞǆƉĞƌŝĞŶĐĞŽĨƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝŶǀŽůǀĞĚ
                  ƚŚĂƚŝƐŐĞƌŵĂŶĞƚŽƚŚĞŝŶĐŝĚĞŶƚ
              x   dŚĞŶĂƚƵƌĞŽĨƚŚĞĞǀĞŶƚǁĂƐƐƵĐŚƚŚĂƚŝƚǁĂƐƵŶƉƌĞĚŝĐƚĂďůĞ͕ǀŽůĂƚŝůĞŽƌƵŶĨŽůĚĞĚƌĂƉŝĚůǇŶŽƚĂůůŽǁŝŶŐƚŝŵĞ
                  ĨŽƌĚĞůŝďĞƌĂƚĞƌĞĨůĞĐƚŝŽŶ
              x   dŚĞĂƌĞĂŽĨůĂǁŽƌƉŽůŝĐǇŝŵƉůŝĐĂƚĞĚŝŶƚŚĞŵĂƚƚĞƌŝƐŶŽǀĞůŽƌĐŽŵƉůĞǆ
              x   dŚĞƐƚĂƚĞŽĨŵŝŶĚŽĨƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ͕ŝŶĐůƵĚŝŶŐƚŚĞĂďƐĞŶĐĞŽĨŝŶƚĞŶƚ
              x   dŚĞƉƌŝŵĂƌǇŵŽƚŝǀĂƚŝŽŶĨŽƌƚŚĞĂĐƚŝŽŶŝƐƉƌĞŵŝƐĞĚƵƉŽŶĞŵĞƌŐĞŶĐǇƌĞƐƉŽŶƐĞŽƌƐĞƌǀŝĐĞ
              x   dŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĞŶĚĞĂǀŽƌĞĚƚŽĚĞͲĞƐĐĂůĂƚĞƚŚĞĞŶĐŽƵŶƚĞƌ
              x   dŚĞǀŽůƵŶƚĂƌǇĐĂŶĚŽƌĂŶĚĂƐƐŝƐƚĂŶĐĞŽĨƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ͕ǁŚŝĐŚŐŽĞƐďĞǇŽŶĚƚŚĞŵĂŶĚĂƚĞƐŽĨ
                  ĐŽŽƉĞƌĂƚŝŽŶĂŶĚƚƌƵƚŚĨƵůŶĞƐƐ͕ĂŶĚĂŝĚƐƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶ
              x   dŚĞĂĐĐĞƉƚĂŶĐĞŽĨƌĞƐƉŽŶƐŝďŝůŝƚǇĂŶĚĂŶǇŵŝƚŝŐĂƚŝŶŐŽƌƌĞŵĞĚŝĂůĂĐƚŝŽŶƐƚĂŬĞŶďǇƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ
              x   WŽƐŝƚŝǀĞĞŵƉůŽǇŵĞŶƚŚŝƐƚŽƌǇŝŶĐůƵĚŝŶŐĂŶǇŶŽƚĂďůĞĂĐĐŽŵƉůŝƐŚŵĞŶƚƐ͕ĞƉĂƌƚŵĞŶƚĂůƌĞĐŽŐŶŝƚŝŽŶĂŶĚ
                  ƉŽƐŝƚŝǀĞƉƵďůŝĐƌĞĐŽŐŶŝƚŝŽŶ
              x   dŚĞůŝŵŝƚĞĚŶĂƚƵƌĞĂŶĚĞǆƚĞŶƚŽĨƚŚĞĐŽŶƐĞƋƵĞŶĐĞƐŽƌŚĂƌŵĐĂƵƐĞĚďǇƚŚĞǀŝŽůĂƚŝŽŶ
              x   dŚĞůŝŵŝƚĞĚŝŵƉĂĐƚŽĨƚŚĞǀŝŽůĂƚŝŽŶƵƉŽŶƚŚĞĞƉĂƌƚŵĞŶƚĂŶĚŝƚƐŵŝƐƐŝŽŶ
              x   dŚĞƌŽůĞŽĨƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝŶƚŚĞƉĂƌƚŝĐƵůĂƌĞǀĞŶƚ;Ğ͘Ő͘ŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝƐĂƐƵďŽƌĚŝŶĂƚĞ
                  ĂŶĚĂƐƵƉĞƌǀŝƐŽƌǁĂƐŽŶƚŚĞƐĐĞŶĞͿ
              x   ŶǇĞǆƚƌĂŽƌĚŝŶĂƌǇĐŝƌĐƵŵƐƚĂŶĐĞƐŽƌŚĂƌĚƐŚŝƉƐƚŚĂƚŵĂǇďĞƌĞůĞǀĂŶƚ
              x   dŚĞƉŽƚĞŶƚŝĂůĨŽƌƌĞŚĂďŝůŝƚĂƚŝŽŶ




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    WŽƚĞŶƚŝĂůŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐ
    /ŶĐŽŶƐŝĚĞƌŝŶŐƚŚĞƚŽƚĂůŝƚǇŽĨƚŚĞĐŝƌĐƵŵƐƚĂŶĐĞƐ͕ƉŽƚĞŶƚŝĂůĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌƐŵĂǇŝŶĐůƵĚĞ͕ďƵƚĂƌĞŶŽƚůŝŵŝƚĞĚƚŽ͕
    ƚŚĞĨŽůůŽǁŝŶŐ͗

        x    dŚĞƉƌĞƐĞŶĐĞŽƌƌĞĂƐŽŶĂďůĞĂǀĂŝůĂďŝůŝƚǇŽĨŬŶŽǁůĞĚŐĞ͕ƚƌĂŝŶŝŶŐĂŶĚĞǆƉĞƌŝĞŶĐĞŽĨƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ
             ŝŶǀŽůǀĞĚƚŚĂƚŝƐŐĞƌŵĂŶĞƚŽƚŚĞŝŶĐŝĚĞŶƚ
        x    dŚĞŶĂƚƵƌĞŽĨƚŚĞĞǀĞŶƚŝƐƐƵĐŚƚŚĂƚŝƚĂůůŽǁĞĚƚŝŵĞĨŽƌĚĞůŝďĞƌĂƚĞƌĞĨůĞĐƚŝŽŶŽƌĂĐƚŝŽŶ
        x    dŚĞĐƵůƉĂďůĞŵĞŶƚĂůƐƚĂƚĞŽĨƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ͕ƉĂƌƚŝĐƵůĂƌůǇŝĨƚŚĞĂĐƚŝŽŶƐĞǀŝŶĐĞĂŶŝŶƚĞŶƚƚŽĞŶŐĂŐĞ
             ŝŶ ƉƌŽƐĐƌŝďĞĚ ĐŽŶĚƵĐƚ͕ ĐŝƌĐƵŵǀĞŶƚ Ă ƉŽůŝĐǇ͕ ĞǆŚŝďŝƚ Ă ƌĞĐŬůĞƐƐ ĚŝƐƌĞŐĂƌĚ ŽĨ ĂŶ ŝŶĚŝǀŝĚƵĂů͛Ɛ ǁĞůůďĞŝŶŐ͕
             ĚĞŵŽŶƐƚƌĂƚĞďŝĂƐŽƌƉƌĞũƵĚŝĐĞ͕ŽƌĐŽŶƐƚŝƚƵƚĞŚĂƌĂƐƐŵĞŶƚŽƌƌĞƚĂůŝĂƚŽƌǇĐŽŶĚƵĐƚ
        x    dŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝƐŵŽƚŝǀĂƚĞĚďǇƉĞƌƐŽŶĂůŝŶƚĞƌĞƐƚŽƌŐĂŝŶ͕ŽƌƌĞĐĞŝǀĞƐĂƉĞƌƐŽŶĂůďĞŶĞĨŝƚĨƌŽŵ
             ƚŚĞŵŝƐĐŽŶĚƵĐƚ
        x    dŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĨĂŝůĞĚŽƌĚĞĐůŝŶĞĚƚŽĂƚƚĞŵƉƚƚŽĚĞͲĞƐĐĂůĂƚĞƚŚĞĞŶĐŽƵŶƚĞƌĞǀĞŶƚŚŽƵŐŚĨĞĂƐŝďůĞ
             ƚŽĚŽƐŽ
        x    ŝƐƉƌŽƉŽƌƚŝŽŶĂůŝƚǇŽĨŵŝƐĐŽŶĚƵĐƚĂŶĚŚĂƌŵƚŽƚŚĞĐŽŵŵƵŶŝƚǇ
        x    dŚĞůĂĐŬŽĨĐĂŶĚŽƌŽĨƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĂŶĚĨĂŝůƵƌĞƚŽĐŽŽƉĞƌĂƚĞǁŝƚŚƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶ
        x    ĐƚŝŽŶƐďǇƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞƚŽŝŶƚĞƌĨĞƌĞǁŝƚŚƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶŽƌƚŽŝŶĨůƵĞŶĐĞŽƚŚĞƌƐƚŽƉĂƌƚŝĐŝƉĂƚĞ
             ŝŶŵŝƐĐŽŶĚƵĐƚŝŶĐůƵĚŝŶŐƚŽĂŝĚŝŶŚŝŶĚĞƌŝŶŐĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶ
        x    dŚĞŶĂƚƵƌĞĂŶĚĞǆƚĞŶƚŽĨŝŶũƵƌǇŽƌĞŶĚĂŶŐĞƌŵĞŶƚƚŽĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŽƌĐŝǀŝůŝĂŶ
        x    dŚĞŶĂƚƵƌĞĂŶĚĞǆƚĞŶƚŽĨƉƌŽƉĞƌƚǇĚĂŵĂŐĞ
        x    dŚĞĂĚǀĞƌƐĞŝŵƉĂĐƚƵƉŽŶƚŚĞĞƉĂƌƚŵĞŶƚǁŝƚŚƌĞŐĂƌĚƚŽŝƚƐŵŝƐƐŝŽŶ͕ƌĞƉƵƚĂƚŝŽŶ͕ĐƌĞĚŝďŝůŝƚǇĂŶĚƌĞůĂƚŝŽŶƐŚŝƉ
             ǁŝƚŚƚŚĞĐŽŵŵƵŶŝƚǇ͕ĂŶĚƚŚĞŝŵƉĂĐƚŽŶƉƵďůŝĐƚƌƵƐƚ
        x    ŶǇĂĐƚƵĂůŽƌĚĞŵŽŶƐƚƌĂďůĞůĞŐĂůŽƌĨŝŶĂŶĐŝĂůƌŝƐŬƚŽƚŚĞĞƉĂƌƚŵĞŶƚ
        x    dŚĞĂĚǀĞƌƐĞƌĞƐƵůƚŽĨĂĐƌŝŵŝŶĂů͕ĂĚŵŝŶŝƐƚƌĂƚŝǀĞŽƌĐŝǀŝůƉƌŽĐĞĞĚŝŶŐƌĞůĂƚĞĚƚŽƚŚĞƵŶĚĞƌůǇŝŶŐĐŽŶĚƵĐƚ
        x    ŶǇŶĞŐĂƚŝǀĞĞŵƉůŽǇŵĞŶƚŚŝƐƚŽƌǇŝŶĐůƵĚŝŶŐƉƌŝŽƌĚŝƐĐŝƉůŝŶĞŽƌƉĞƌĨŽƌŵĂŶĐĞĚĞĨŝĐŝĞŶĐŝĞƐ
        x    ŽŶĚƵĐƚĚĞŵŽŶƐƚƌĂƚŝŶŐĂƉĂƚƚĞƌŶŽĨďĞŚĂǀŝŽƌƚŚĂƚŝŶĚŝĐĂƚĞƐĂŶŝŶĂďŝůŝƚǇƚŽĂĚŚĞƌĞƚŽĞƉĂƌƚŵĞŶƚƌƵůĞƐ
             ĂŶĚƐƚĂŶĚĂƌĚƐ
        x    >ŽǁƉƌŽďĂďŝůŝƚǇŽƌůŝŵŝƚĞĚƉŽƚĞŶƚŝĂůĨŽƌƌĞŚĂďŝůŝƚĂƚŝŽŶ
        x    dŚĞƌŽůĞŽĨƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝŶƚŚĞƉĂƌƚŝĐƵůĂƌĞǀĞŶƚ;Ğ͘Ő͘ŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝƐĂƐƵƉĞƌǀŝƐŽƌŽŶ
             ƚŚĞƐĐĞŶĞŽĨƚŚĞŝŶĐŝĚĞŶƚͿ
        x    sŝĐƚŝŵ͛ƐǀƵůŶĞƌĂďŝůŝƚǇƚŚĂƚŝƐƌĞůĂƚĞĚƚŽƚŚĞĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ;Ğ͘Ő͘ĞǆĐĞƐƐŝǀĞƵƐĞĨŽƌĐĞĂŐĂŝŶƐƚĂŶĞůĚĞƌůǇƉĞƌƐŽŶͿ
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    dŚĞĨĨĞĐƚŽĨZĂŶŬŽŶŝƐĐŝƉůŝŶĞ
    ŶŝŶĚŝǀŝĚƵĂůŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ͛ƐƌĂŶŬĂŶĚƚŚĞŝƌƉĂƌƚŝĐƵůĂƌƌŽůĞŝŶĂŶĞǀĞŶƚĂƌĞĨĂĐƚŽƌƐƚŽďĞĐŽŶƐŝĚĞƌĞĚǁŚĞŶ
    ĂƐƐĞƐƐŝŶŐ ĂŶ ĂƉƉƌŽƉƌŝĂƚĞ ĚŝƐĐŝƉůŝŶĂƌǇ ƉĞŶĂůƚǇ͘ Ŷ ŝŶĚŝǀŝĚƵĂů ŵĞŵďĞƌ ŽĨ ƚŚĞ ƐĞƌǀŝĐĞ͛Ɛ ƐƚĂƚƵƐ ĂƐ Ă ƐƵƉĞƌǀŝƐŽƌ ǁŝůů
    ŐĞŶĞƌĂůůǇ ďĞ ǀŝĞǁĞĚ ĂƐ ĂŶ ĂŐŐƌĂǀĂƚŝŶŐ ĨĂĐƚŽƌ͕ ƉĂƌƚŝĐƵůĂƌůǇ ĨŽƌ ŽŶͲĚƵƚǇ ŵŝƐĐŽŶĚƵĐƚ͕ ǁŚŝĐŚ ŵĂǇ ǁĂƌƌĂŶƚ Ă ƉĞŶĂůƚǇ
    ŚŝŐŚĞƌƚŚĂŶƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇĨŽƌƚŚĞƉĂƌƚŝĐƵůĂƌǀŝŽůĂƚŝŽŶ͘^ƵƉĞƌǀŝƐŽƌƐĂƌĞĞǆƉĞĐƚĞĚƚŽůĞĂĚďǇĞǆĂŵƉůĞĂŶĚ
    ƚŚĞǇ ĂƌĞ ƌĞƐƉŽŶƐŝďůĞ ĨŽƌ ŚŽůĚŝŶŐ ƚŚĞŝƌ ƐƵďŽƌĚŝŶĂƚĞƐ ĂĐĐŽƵŶƚĂďůĞ͘ dŚĞ ĞƉĂƌƚŵĞŶƚ ŚĂƐ ŚŝŐŚĞƌ ĞǆƉĞĐƚĂƚŝŽŶƐ ĨŽƌ
    ƐƵƉĞƌǀŝƐŽƌƐ͕ ŝŶĐůƵĚŝŶŐ ƚŚĞŝƌ ĂďŝůŝƚǇ ƚŽ ĞǆĞƌĐŝƐĞ ƐŽƵŶĚ ũƵĚŐŵĞŶƚ ĂŶĚ ƚŽ ďĞ ŵŽƌĞ ĚĞůŝďĞƌĂƚĞ ŝŶ ƚŚĞŝƌ ĂĐƚŝŽŶƐ ƚŚĂŶ
    ƐƵďŽƌĚŝŶĂƚĞŵĞŵďĞƌƐ͘WŽƚĞŶƚŝĂůŵŝƚŝŐĂƚŝŶŐĨĂĐƚŽƌƐĚĞƐĐƌŝďĞĚĂďŽǀĞƐŚŽƵůĚďĞĐŽŶƐŝĚĞƌĞĚĂƐǁĞůů͘
    ŽŶƐŝƐƚĞŶƚǁŝƚŚƚŚŝƐƉŚŝůŽƐŽƉŚǇ͕ƚŚĞƉƌĞƐĞŶĐĞŽƌƉĂƌƚŝĐŝƉĂƚŝŽŶŽĨĂƐƵƉĞƌǀŝƐŽƌŝŶĂŶĞǀĞŶƚŵĂǇďĞĂŵŝƚŝŐĂƚŝŶŐĨĂĐƚŽƌ
    ǁŚĞŶ ĞǀĂůƵĂƚŝŶŐ ƚŚĞ ĐƵůƉĂďŝůŝƚǇ ŽĨ Ă ƐƵďŽƌĚŝŶĂƚĞ͘  ĚŽǁŶǁĂƌĚ ĚĞƉĂƌƚƵƌĞ ĨƌŽŵ Ă ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚǇ ŵĂǇ ďĞ
    ǁĂƌƌĂŶƚĞĚǁŚĞŶĂƐƵďŽƌĚŝŶĂƚĞŝƐĂĐƚŝŶŐƵŶĚĞƌƚŚĞĐůŽƐĞƐƵƉĞƌǀŝƐŝŽŶŽƌĚŝƌĞĐƚŝŽŶŽĨĂƐƵƉĞƌŝŽƌĂŶĚƚŚĞƐƵƉĞƌǀŝƐŽƌŝƐ
    ƐƵďũĞĐƚƚŽĚŝƐĐŝƉůŝŶĞĨŽƌĂŶǇŵŝƐĐŽŶĚƵĐƚƌĞůĂƚĞĚƚŽƚŚĞĞǀĞŶƚ͘




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           WƌŝŽƌŝƐĐŝƉůŝŶĂƌǇ,ŝƐƚŽƌǇ
           'ĞŶĞƌĂůůǇ͕ ĂŶ ŝŶĚŝǀŝĚƵĂů ŵĞŵďĞƌ ŽĨ ƚŚĞ ƐĞƌǀŝĐĞ͛Ɛ ƉƌŝŽƌ ĚŝƐĐŝƉůŝŶĂƌǇ ŚŝƐƚŽƌǇ ǁŝůů ďĞ ĐŽŶƐŝĚĞƌĞĚ ǁŚĞŶ ĂƐƐĞƐƐŝŶŐ ĂŶ
           ĂƉƉƌŽƉƌŝĂƚĞƉĞŶĂůƚǇ͕ƉŽƚĞŶƚŝĂůůǇƐĞƌǀŝŶŐĂƐĂŶĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌƚŽĂƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇ͘&ĂĐƚŽƌƐƚŽďĞĐŽŶƐŝĚĞƌĞĚ
           ǁŚĞŶĚĞƚĞƌŵŝŶŝŶŐǁŚĞƚŚĞƌƉƌŝŽƌĚŝƐĐŝƉůŝŶĂƌǇŚŝƐƚŽƌǇƐŚŽƵůĚďĞĐŽŶƐŝĚĞƌĞĚĂŶĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌŝŶĐůƵĚĞ͗

                x    dŚĞŶƵŵďĞƌŽĨƉƌŝŽƌĚŝƐĐŝƉůŝŶĂƌǇĞǀĞŶƚƐ
                x    dŚĞŶĂƚƵƌĞĂŶĚƐĞƌŝŽƵƐŶĞƐƐŽĨƚŚĞƉƌŝŽƌĞǀĞŶƚ;ƐͿ
                x    ŶǇƐŝŵŝůĂƌŝƚŝĞƐďĞƚǁĞĞŶƉƌŝŽƌĂŶĚĐƵƌƌĞŶƚĂĐƚƐŽĨŵŝƐĐŽŶĚƵĐƚ
                x    ŶǇĚŝƐĐŝƉůŝŶĂƌǇŚŝƐƚŽƌǇĚĞŵŽŶƐƚƌĂƚŝŶŐĂŶŝŶĂďŝůŝƚǇŽƌƵŶǁŝůůŝŶŐŶĞƐƐƚŽĐŽŶĨŽƌŵƚŽƚŚĞĞƉĂƌƚŵĞŶƚ͛Ɛ
                     ĞǆƉĞĐƚĂƚŝŽŶƐĨŽƌƚŚĞƉŽƐŝƚŝŽŶŽƌƐƵĐĐĞƐƐĨƵůůǇƌĞŚĂďŝůŝƚĂƚĞ

           ,ŽǁĞǀĞƌ͕ĂŶĞǁĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚƚŚĂƚŝƐƚŚĞƐĂŵĞĂƐĂƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕ŽƌĐĂƌƌŝĞƐĂƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇ
           ƚŚĂƚŝƐĞƋƵĂůƚŽŽƌŐƌĞĂƚĞƌƚŚĂŶƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇŽĨĂƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕ŵĂǇŝŶƐƚĞĂĚƌĞƐƵůƚŝŶĂŶŝŶĐƌĞĂƐĞ
           ŝŶƚŚĞĚŝƐĐŝƉůŝŶĂƌǇƉĞŶĂůƚǇĨŽƌƚŚĞĐƵƌƌĞŶƚǀŝŽůĂƚŝŽŶƚŚƌŽƵŐŚƚŚĞĂƉƉůŝĐĂƚŝŽŶŽĨƉƌŽŐƌĞƐƐŝǀĞĚŝƐĐŝƉůŝŶĞ͘

           WƌŽŐƌĞƐƐŝǀĞŝƐĐŝƉůŝŶĞ
           WƌŽŐƌĞƐƐŝǀĞĚŝƐĐŝƉůŝŶĞŵĂǇďĞ ŝŵƉŽƐĞĚĨŽƌ ƌĞƉĞĂƚĞĚĂĐƚƐŽĨĂƉƉůŝĐĂďůĞŵŝƐĐŽŶĚƵĐƚǁŝƚŚŝŶƚŚĞƚŝŵĞĨƌĂŵĞƐ ƐƉĞĐŝĨŝĞĚ
           ďĞůŽǁ͘/ŶĚĞƚĞƌŵŝŶŝŶŐǁŚĞƚŚĞƌĂĐƵƌƌĞŶƚĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚƐŚŽƵůĚďĞƚŚĞƐƵďũĞĐƚŽĨƉƌŽŐƌĞƐƐŝǀĞĚŝƐĐŝƉůŝŶĞ͕ƚŚĞĨŽůůŽǁŝŶŐ
           ĨƌĂŵĞǁŽƌŬĂƉƉůŝĞƐ͗

                x    dŚĞĐƵƌƌĞŶƚĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚŝƐƚŚĞƐĂŵĞĂƐĂƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕Žƌ
                x    dŚĞĐƵƌƌĞŶƚĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚŝƐƐƵďũĞĐƚƚŽĂƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇƚŚĂƚŝƐĞƋƵĂůƚŽŽƌŐƌĞĂƚĞƌƚŚĂŶƚŚĞ
                     ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇŽĨƚŚĞƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ
                x    /ĨƚŚĞƉƌŝŽƌĂĐƚŝŶǀŽůǀĞĚŵƵůƚŝƉůĞǀŝŽůĂƚŝŽŶƐĂƌŝƐŝŶŐĨƌŽŵĂƐŝŶŐůĞŝŶĐŝĚĞŶƚ͕ŝƚǁŝůůďĞĐŽŶƐŝĚĞƌĞĚŽŶĞƉƌŝŽƌĂĐƚ
                     ŽĨŵŝƐĐŽŶĚƵĐƚ
                          R dŚĞŵŽƐƚƐĞǀĞƌĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇĂƐƐŽĐŝĂƚĞĚǁŝƚŚƚŚĞƉƌŝŽƌǀŝŽůĂƚŝŽŶƐǁŝůůďĞƵƐĞĚƚŽĚĞƚĞƌŵŝŶĞ
                               ƚŚĞƚŝŵĞůŝŵŝƚĂƚŝŽŶĂŶĚƚŚĞĐŽŵŵĞŶƐƵƌĂƚĞƉĞŶĂůƚǇŝŶĐƌĞĂƐĞƌĞůĂƚŝǀĞƚŽƚŚĞĐƵƌƌĞŶƚĂĐƚ
                x    dŚĞĐƵƌƌĞŶƚĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚŵƵƐƚďĞĐŽŵŵŝƚƚĞĚďĞĨŽƌĞƚŚĞĞŶĚŽĨƚŚĞƚŝŵĞĨƌĂŵĞďĞůŽǁƚŽďĞĐŽŶƐŝĚĞƌĞĚ
                          R /ĨƚŚĞĐƵƌƌĞŶƚĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚŝŶǀŽůǀĞƐŵƵůƚŝƉůĞǀŝŽůĂƚŝŽŶƐŽŶƐĞƉĂƌĂƚĞĚĂƚĞƐ͕ƚŚĞĚĂƚĞŽĨƚŚĞĨŝƌƐƚ
                               ǀŝŽůĂƚŝŽŶĐŚƌŽŶŽůŽŐŝĐĂůůǇƐŚĂůůďĞƚŚĞĚĂƚĞƵƉŽŶǁŚŝĐŚƚŚĞƉƌŽŐƌĞƐƐŝǀĞƉĞŶĂůƚǇĞƐĐĂůĂƚŝŽŶŝƐĐŽŵƉƵƚĞĚ
                x    ĐƚƐŽĨŵŝƐĐŽŶĚƵĐƚĐŽŵŵŝƚƚĞĚƉƌŝŽƌƚŽƚŚĞƚŝŵĞĨƌĂŵĞŽƌĂĚũƵĚŝĐĂƚĞĚƚŚƌŽƵŐŚŽŵŵĂŶĚŝƐĐŝƉůŝŶĞŵĂǇƐƚŝůů
                     ďĞĐŽŶƐŝĚĞƌĞĚĂŶĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌŝŶƚŚĞĐĂůĐƵůĂƚŝŽŶŽĨƉĞŶĂůƚŝĞƐĨŽƌƚŚĞĐƵƌƌĞŶƚĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ
           dŚĞƉƌĞƐƵŵƉƚŝǀĞƚŝŵĞůŝŵŝƚĂƚŝŽŶƐ ϮϬĂŶĚƉĞŶĂůƚǇƉƌŽŐƌĞƐƐŝŽŶƐ ϮϭĂƌĞĂƐĨŽůůŽǁƐ͗

                x    /ĨƚŚĞƉƌŝŽƌŵŝƐĐŽŶĚƵĐƚƌĞƐƵůƚĞĚŝŶƚƌĂŝŶŝŶŐŽƌŝŶƐƚƌƵĐƚŝŽŶƐ͗
                          R dŚĞƚŝŵĞůŝŵŝƚĂƚŝŽŶŝƐϯǇĞĂƌƐ
                          R dŚĞƐĞĐŽŶĚŝŶĐŝĚĞŶƚŝŶǀŽůǀŝŶŐƚŚĞƐĂŵĞŵŝƐĐŽŶĚƵĐƚŽƌŵŝƐĐŽŶĚƵĐƚĐĂƌƌǇŝŶŐĂŶĞƋƵĂůŽƌŐƌĞĂƚĞƌ
                               ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇƚŚĂŶƚŚĞƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕ƐŚĂůůƌĞƐƵůƚŝŶĂƉĞŶĂůƚǇŝŶĐƌĞĂƐĞƚŽϭͲϯĚĂǇƐ
                          R dŚĞƚŚŝƌĚŝŶĐŝĚĞŶƚŝŶǀŽůǀŝŶŐƚŚĞƐĂŵĞŵŝƐĐŽŶĚƵĐƚŽƌŵŝƐĐŽŶĚƵĐƚĐĂƌƌǇŝŶŐĂŶĞƋƵĂůŽƌŐƌĞĂƚĞƌ
                               ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇƚŚĂŶƚŚĞƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕ƐŚĂůůƌĞƐƵůƚŝŶĂƉĞŶĂůƚǇŝŶĐƌĞĂƐĞƚŽϱĚĂǇƐ
                x    /ĨƚŚĞƉƌŝŽƌŵŝƐĐŽŶĚƵĐƚƌĞƐƵůƚĞĚŝŶϭƚŚƌŽƵŐŚϱƉĞŶĂůƚǇĚĂǇƐ͗
                          R dŚĞƚŝŵĞůŝŵŝƚĂƚŝŽŶǁŝůůďĞϯǇĞĂƌƐ
                          R dŚĞƐĞĐŽŶĚŝŶĐŝĚĞŶƚŝŶǀŽůǀŝŶŐƚŚĞƐĂŵĞŵŝƐĐŽŶĚƵĐƚŽƌŵŝƐĐŽŶĚƵĐƚĐĂƌƌǇŝŶŐĂŶĞƋƵĂůŽƌŐƌĞĂƚĞƌ
                               ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇƚŚĂŶƚŚĞƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕ƐŚĂůůƌĞƐƵůƚŝŶĂƉĞŶĂůƚǇŝŶĐƌĞĂƐĞƚŽϱͲϭϬĚĂǇƐ
                          R dŚĞƚŚŝƌĚŝŶĐŝĚĞŶƚŝŶǀŽůǀŝŶŐƚŚĞƐĂŵĞŵŝƐĐŽŶĚƵĐƚŽƌŵŝƐĐŽŶĚƵĐƚĐĂƌƌǇŝŶŐĂŶĞƋƵĂůŽƌŐƌĞĂƚĞƌ
                               ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇƚŚĂŶƚŚĞƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕ƐŚĂůůƌĞƐƵůƚŝŶĂƉĞŶĂůƚǇŝŶĐƌĞĂƐĞƚŽϭϬͲϭϱĚĂǇƐ
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           ϮϬĂůĐƵůĂƚĞĚĨƌŽŵƚŚĞĚĂƚĞƚŚĂƚƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌĂƉƉƌŽǀĞĚƚŚĞŝŵƉŽƐŝƚŝŽŶŽĨƚŚĞĨŝŶĂůƉĞŶĂůƚǇĨŽƌƚŚĞƉƌŝŽƌĂĐƚ;ƐͿŽĨ

           ŵŝƐĐŽŶĚƵĐƚ͘
           ϮϭdŚĞĨŽƵƌƚŚŽƌƐƵďƐĞƋƵĞŶƚŝŶĐŝĚĞŶƚƐŽĨƚŚĞƐĂŵĞŵŝƐĐŽŶĚƵĐƚŝŶƚŚĞƐƉĞĐŝĨŝĞĚƚŝŵĞĨƌĂŵĞŵĂǇƌĞƐƵůƚŝŶŵŽƌĞƐĞǀĞƌĞĚŝƐĐŝƉůŝŶĂƌǇ

           ƉĞŶĂůƚŝĞƐ͕ƵƉƚŽĂŶĚŝŶĐůƵĚŝŶŐƚĞƌŵŝŶĂƚŝŽŶ͘
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         x    /ĨƚŚĞƉƌŝŽƌŵŝƐĐŽŶĚƵĐƚƌĞƐƵůƚĞĚŝŶϱƚŚƌŽƵŐŚϭϱƉĞŶĂůƚǇĚĂǇƐ͗
                   R dŚĞƚŝŵĞůŝŵŝƚĂƚŝŽŶǁŝůůďĞϱǇĞĂƌƐ
                   R dŚĞ ƐĞĐŽŶĚ ŝŶĐŝĚĞŶƚ ŝŶǀŽůǀŝŶŐ ƚŚĞ ƐĂŵĞ ŵŝƐĐŽŶĚƵĐƚ Žƌ ŵŝƐĐŽŶĚƵĐƚ ĐĂƌƌǇŝŶŐ ĂŶ ĞƋƵĂů Žƌ ŐƌĞĂƚĞƌ
                        ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇƚŚĂŶƚŚĞƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕ƐŚĂůůƌĞƐƵůƚŝŶĂƉĞŶĂůƚǇŝŶĐƌĞĂƐĞƚŽϭϬͲϮϬĚĂǇƐ
                   R dŚĞ ƚŚŝƌĚ ŝŶĐŝĚĞŶƚ ŝŶǀŽůǀŝŶŐ ƚŚĞ ƐĂŵĞ ŵŝƐĐŽŶĚƵĐƚ Žƌ ŵŝƐĐŽŶĚƵĐƚ ĐĂƌƌǇŝŶŐ ĂŶ ĞƋƵĂů Žƌ ŐƌĞĂƚĞƌ
                        ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇƚŚĂŶƚŚĞƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕ƐŚĂůůƌĞƐƵůƚŝŶĂƉĞŶĂůƚǇŝŶĐƌĞĂƐĞƚŽϭϱͲϯϬĚĂǇƐ
         x    /ĨƚŚĞƉƌŝŽƌŵŝƐĐŽŶĚƵĐƚƌĞƐƵůƚĞĚŝŶŵŽƌĞƚŚĂŶϭϱƉĞŶĂůƚǇĚĂǇƐ͗
                   R dŚĞƚŝŵĞůŝŵŝƚĂƚŝŽŶǁŝůůďĞϭϬǇĞĂƌƐ
                   R dŚĞ ƐĞĐŽŶĚ ŝŶĐŝĚĞŶƚ ŝŶǀŽůǀŝŶŐ ƚŚĞ ƐĂŵĞ ŵŝƐĐŽŶĚƵĐƚ Žƌ ŵŝƐĐŽŶĚƵĐƚ ĐĂƌƌǇŝŶŐ ĂŶ ĞƋƵĂů Žƌ ŐƌĞĂƚĞƌ
                        ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇƚŚĂŶƚŚĞƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕ƐŚĂůůƌĞƐƵůƚŝŶĂƉĞŶĂůƚǇŝŶĐƌĞĂƐĞƚŽϮϬͲϯϬĚĂǇƐ
                        ĂŶĚŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ
                   R dŚĞ ƚŚŝƌĚ ŝŶĐŝĚĞŶƚ ŝŶǀŽůǀŝŶŐ ƚŚĞ ƐĂŵĞ ŵŝƐĐŽŶĚƵĐƚ Žƌ ŵŝƐĐŽŶĚƵĐƚ ĐĂƌƌǇŝŶŐ ĂŶ ĞƋƵĂů Žƌ ŐƌĞĂƚĞƌ
                        ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇƚŚĂŶƚŚĞƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕ƐŚĂůůƌĞƐƵůƚŝŶƚĞƌŵŝŶĂƚŝŽŶŽƌĨŽƌĐĞĚƐĞƉĂƌĂƚŝŽŶ
         x    /ĨƚŚĞƉƌŝŽƌŵŝƐĐŽŶĚƵĐƚŚĂĚĂƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇŽĨƚĞƌŵŝŶĂƚŝŽŶŽƌƐĞƉĂƌĂƚŝŽŶďƵƚŵŝƚŝŐĂƚŝŶŐĨĂĐƚŽƌƐůĞĚƚŽ
              ƚŚĞŝŵƉŽƐŝƚŝŽŶŽĨĂƉĞŶĂůƚǇůĞƐƐƚŚĂŶƐĞƉĂƌĂƚŝŽŶĂŶĚͬŽƌƚŚĞƉƌŝŽƌŵŝƐĐŽŶĚƵĐƚƌĞƐƵůƚĞĚŝŶƚŚĞŝŵƉŽƐŝƚŝŽŶŽĨ
              ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ͗
                   R dŚĞƌĞǁŝůůďĞŶŽƚŝŵĞůŝŵŝƚĂƚŝŽŶ
                   R dŚĞ ƐĞĐŽŶĚ ŝŶĐŝĚĞŶƚŝŶǀŽůǀŝŶŐ ƚŚĞ ƐĂŵĞ ŵŝƐĐŽŶĚƵĐƚ Žƌ ŵŝƐĐŽŶĚƵĐƚ ĐĂƌƌǇŝŶŐ ĂŶ ĞƋƵĂů Žƌ ŐƌĞĂƚĞƌ
                        ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇƚŚĂŶƚŚĞƉƌŝŽƌĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕ƐŚĂůůƌĞƐƵůƚŝŶĨŽƌĐĞĚƐĞƉĂƌĂƚŝŽŶŽƌƚĞƌŵŝŶĂƚŝŽŶ
    dŚĞĂďŽǀĞƚŝŵĞůŝŵŝƚĂƚŝŽŶƐĚŽŶŽƚĂƉƉůǇƚŽƉƌŝŽƌĚŝƐĐŝƉůŝŶĂƌǇŚŝƐƚŽƌǇĞƐƚĂďůŝƐŚŝŶŐƉĂƚƚĞƌŶƐŽĨŵŝƐĐŽŶĚƵĐƚŽƌƐĞƌŝŽƵƐ
    ŵŝƐĐŽŶĚƵĐƚ͕ŝŶĐůƵĚŝŶŐďƵƚŶŽƚůŝŵŝƚĞĚ͕ƚŽ&ĂůƐĞ^ƚĂƚĞŵĞŶƚƐ͕ƌŝǀŝŶŐtŚŝůĞ/ŶƚŽǆŝĐĂƚĞĚ͕ŽŵĞƐƚŝĐsŝŽůĞŶĐĞ͕ǆĐĞƐƐŝǀĞ
    &ŽƌĐĞŽƌĂĐƚƐĐŽŶƐƚŝƚƵƚŝŶŐĐƌŝŵŝŶĂůĐŽŶĚƵĐƚ͘/ŶĂĚĚŝƚŝŽŶ͕ĂƚŚŝƌĚƐƵďƐƚĂŶƚŝĂƚĞĚŝŶĐŝĚĞŶƚŽĨĞǆĐĞƐƐŝǀĞĨŽƌĐĞǁŝůůŚĂǀĞĂ
    ƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇŽĨƚĞƌŵŝŶĂƚŝŽŶƌĞŐĂƌĚůĞƐƐŽĨƚŚĞƉĞŶĂůƚŝĞƐŝŵƉŽƐĞĚŝŶƚŚĞĨŝƌƐƚƚǁŽŝŶƐƚĂŶĐĞƐ͘
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    ŽŶƐĞƋƵĞŶĐĞƐŽĨŝƐĐŝƉůŝŶĂƌǇĐƚŝŽŶ
    DĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞƐŚŽƵůĚďĞĂǁĂƌĞƚŚĂƚƚŚĞŝŵƉŽƐŝƚŝŽŶŽĨĚŝƐĐŝƉůŝŶĂƌǇƐĂŶĐƚŝŽŶƐŵĂǇĂůƐŽŚĂǀĞĂŶŝŵƉĂĐƚŽŶ
    ƚŚĞŝƌĨƵƚƵƌĞƐƚĂƚƵƐ͕ŝŶĐůƵĚŝŶŐďƵƚŶŽƚůŝŵŝƚĞĚƚŽ͕ĂƐƐŝŐŶŵĞŶƚƐĂŶĚƉƌŽŵŽƚŝŽŶƐ͕ǁŚŝĐŚŵĂǇƌĞƐƵůƚŝŶĂĚŝŵŝŶƵƚŝŽŶŝŶ
    ĐŽŵƉĞŶƐĂƚŝŽŶϮϮ͘dŚĞŝŵƉŽƐŝƚŝŽŶŽĨĚŝƐĐŝƉůŝŶĞŵĂǇŚĂǀĞĂŶĐŝůůĂƌǇĐŽŶƐĞƋƵĞŶĐĞƐƚŚĂƚĂƌĞŶŽƚƌĞŐĂƌĚĞĚĂƐƉĂƌƚŽĨƚŚĞ
    ĚŝƐĐŝƉůŝŶĂƌǇƐǇƐƚĞŵŽƌĐĂůĐƵůĂƚĞĚǁŝƚŚŝŶƚŚĞĐŽŶƚĞǆƚŽĨƚŚĞƐĞ'ƵŝĚĞůŝŶĞƐĂƐŝŶĐůƵĚĞĚŝŶĂŶǇĚŝƐĐŝƉůŝŶĂƌǇƐĂŶĐƚŝŽŶ͘dŚĞ
    ƉŽƚĞŶƚŝĂůĨƵƚƵƌĞŝŵƉĂĐƚŽĨĂĚŝƐĐŝƉůŝŶĂƌǇƉĞŶĂůƚǇǁŝůůŐĞŶĞƌĂůůǇŶŽƚďĞĐŽŶƐŝĚĞƌĞĚŝŶĚĞƚĞƌŵŝŶŝŶŐǁŚĂƚƚŚĞĂƉƉƌŽƉƌŝĂƚĞ
    ƉĞŶĂůƚǇƐŚŽƵůĚďĞĂƚƚŚĞƚŝŵĞŽĨŝŵƉŽƐŝƚŝŽŶ͘
    dŚĞ EĞǁ zŽƌŬ ^ƚĂƚĞ ŝǀŝƐŝŽŶ ŽĨ ƌŝŵŝŶĂů :ƵƐƚŝĐĞ ^ĞƌǀŝĐĞƐ ;͞:^͟Ϳ ŵĂŝŶƚĂŝŶƐ Ă ͞WŽůŝĐĞ KĨĨŝĐĞƌ ĂŶĚ WĞĂĐĞ KĨĨŝĐĞƌ
    ZĞŐŝƐƚƌǇ͘͟dŚŝƐƌĞŐŝƐƚƌǇŝŶĐůƵĚĞƐƚŚĞŝĚĞŶƚŝƚŝĞƐŽĨƉŽůŝĐĞŽĨĨŝĐĞƌƐǁŚŽǁĞƌĞƚĞƌŵŝŶĂƚĞĚďǇƚŚĞĞƉĂƌƚŵĞŶƚĂƐǁĞůůĂƐ
    ƚŚŽƐĞ ǁŚŽ ƐĞƉĂƌĂƚĞĚ ĨƌŽŵ ƚŚĞ ĞƉĂƌƚŵĞŶƚ ĂƐ Ă ƌĞƐƵůƚ ŽĨ Ă ĚŝƐĐŝƉůŝŶĂƌǇ ƉƌŽĐĞĞĚŝŶŐ Žƌ ǁŝƚŚ Ă ĚŝƐĐŝƉůŝŶĂƌǇ ŵĂƚƚĞƌ
    ƉĞŶĚŝŶŐ͘ϮϯŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞǁŚŽƌĞƐŝŐŶƐŽƌƌĞƚŝƌĞƐǁŝƚŚĐŚĂƌŐĞƐƉĞŶĚŝŶŐĨŽƌĐŽŶĚƵĐƚƚŚĂƚ͕ŝĨĨŽƵŶĚŐƵŝůƚǇ͕
    ǁŽƵůĚ ůŝŬĞůǇ ƌĞƐƵůƚ ŝŶ Ă ƉƌĞƐƵŵĞĚ ƉĞŶĂůƚǇ ŽĨ ƚĞƌŵŝŶĂƚŝŽŶ͕ ĨŽƌĐĞĚ ƐĞƉĂƌĂƚŝŽŶ Žƌ ŝƐŵŝƐƐĂů WƌŽďĂƚŝŽŶ ƵŶĚĞƌ ƚŚĞƐĞ
    'ƵŝĚĞůŝŶĞƐ͕ǁŝůůďĞƐƵďŵŝƚƚĞĚƚŽƚŚĞƌĞŐŝƐƚƌǇĂƐĂ͞ƌĞŵŽǀĂůĨŽƌĐĂƵƐĞ͟ĂŶĚŵĂǇďĞĚĞĐĞƌƚŝĨŝĞĚďǇ:^͘
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    ĂůĐƵůĂƚŝŽŶŽĨWĞŶĂůƚŝĞƐ
    ^ĞƉĂƌĂƚĞ ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚŝĞƐ͕ ĂĚũƵƐƚĞĚ ĨŽƌ ƌĞůĞǀĂŶƚ ĂŐŐƌĂǀĂƚŝŶŐ ĂŶĚ ŵŝƚŝŐĂƚŝŶŐ ĨĂĐƚŽƌƐ͕ ĂƌĞ ĂƉƉůŝĞĚ ƚŽ ĞĂĐŚ
    ƐƵďƐƚĂŶƚŝĂƚĞĚ ĂĐƚ ŽĨ ŵŝƐĐŽŶĚƵĐƚ ĨŽƌ ǁŚŝĐŚ ƚŚĞƌĞ ŚĂƐ ďĞĞŶ Ă ĨŝŶĚŝŶŐ Žƌ ĂĐĐĞƉƚĂŶĐĞ ŽĨ ŐƵŝůƚ͘ dŚĞƐĞ ƉƌĞƐƵŵƉƚŝǀĞ
    ƉĞŶĂůƚŝĞƐĂƌĞƚŚĞŶĂŐŐƌĞŐĂƚĞĚƚŽĂĚĚƌĞƐƐĞĂĐŚĚŝƐƚŝŶĐƚĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͘/ĨƚŚĞƐĂŵĞƵŶĚĞƌůǇŝŶŐĂĐƚ;ƐͿŽĨŵŝƐĐŽŶĚƵĐƚ
    ƐƵƉƉŽƌƚ ŵƵůƚŝƉůĞ ĚĞĨŝŶŝƚŝŽŶƐ ŽĨ ƉƌŽƐĐƌŝďĞĚ ĐŽŶĚƵĐƚ Žƌ ƐƵƉƉŽƌƚ ĂůƚĞƌŶĂƚŝǀĞ ƚŚĞŽƌŝĞƐ ŽĨ ƉƌŽƐĞĐƵƚŝŽŶ͕ ƚŚĞŶ Ă ƐŝŶŐůĞ
    ƉĞŶĂůƚǇ ǁŝůů ďĞ ĂƉƉůŝĞĚ͘ ŽŶĐƵƌƌĞŶƚ ƉĞŶĂůƚŝĞƐ ŵĂǇ ďĞ ĂƉƉƌŽƉƌŝĂƚĞ ǁŚĞŶ ŵŝƐĐŽŶĚƵĐƚ ŝŶĐůƵĚĞƐ ŵŝŶŽƌ ƚĞĐŚŶŝĐĂů
    ŝŶĨƌĂĐƚŝŽŶƐ͕ŽƌǁŚĞŶƚŚĞĞĨĨŽƌƚƚŽŵĂŝŶƚĂŝŶĂďĂůĂŶĐĞďĞƚǁĞĞŶƉƵŶŝƐŚŵĞŶƚ͕ĚĞƚĞƌƌĞŶĐĞĂŶĚƌĞŵĞĚŝĂƚŝŽŶŝƐ
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    ϮϮ^ĞĞĞ͘Ő͕͘ĚŵŝŶŝƐƚƌĂƚŝǀĞ'ƵŝĚĞƉƌŽĐĞĚƵƌĞϯϮϬͲϰϴ͕ĂƌĞĞƌĚǀĂŶĐĞŵĞŶƚZĞǀŝĞǁŽĂƌĚ͘DĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞŵĂǇďĞĚĞŶŝĞĚ

    ĐŝǀŝůƐĞƌǀŝĐĞƉƌŽŵŽƚŝŽŶĂƐĂƌĞƐƵůƚŽĨĐĞƌƚĂŝŶĚŝƐĐŝƉůŝŶĂƌǇƉƌŽĐĞĞĚŝŶŐƐ͘
    Ϯϯ^ĞĞEĞǁzŽƌŬǆĞĐƵƚŝǀĞ>ĂǁΑϴϰϱ͘


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          ƵŶĚĞƌŵŝŶĞĚďǇĐŽŶƐĞĐƵƚŝǀĞƉĞŶĂůƚŝĞƐ͘dŚĞƚŽƚĂůŝƚǇŽĨƚŚĞĐŝƌĐƵŵƐƚĂŶĐĞƐǁŝůůďĞĐŽŶƐŝĚĞƌĞĚŝŶŽƌĚĞƌƚŽŵĂŝŶƚĂŝŶƚŚĞ
          ĞĨĨŝĐŝĞŶĐǇŽĨƚŚĞĚŝƐĐŝƉůŝŶĂƌǇƐǇƐƚĞŵĂŶĚƚŽĞŶƐƵƌĞĂũƵƐƚŽƵƚĐŽŵĞ͘
          &ŽƌĞǆĂŵƉůĞ͕ĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞǁŚŽŚĂƐďĞĞŶĚĞƚĞƌŵŝŶĞĚƚŽŚĂǀĞŽƉĞƌĂƚĞĚĂŵŽƚŽƌǀĞŚŝĐůĞǁŚŝůĞŝŶƚŽǆŝĐĂƚĞĚ
          ǁĂƐ ďǇ ĚĞĨŝŶŝƚŝŽŶ ŶĞĐĞƐƐĂƌŝůǇ ƵŶĨŝƚ ĨŽƌ ĚƵƚǇ͘ ĞĐĂƵƐĞ ƚŚĞƐĞ ƉŽƚĞŶƚŝĂů ƐĞƉĂƌĂƚĞ ĐŚĂƌŐĞƐ ƌĞƐƵůƚ ĨƌŽŵ ƚŚĞ ƐĂŵĞ
          ƵŶĚĞƌůǇŝŶŐĐŽƵƌƐĞŽĨĐŽŶĚƵĐƚ͕ĂƐŝŶŐůĞƉĞŶĂůƚǇǁŝůůďĞĂƉƉůŝĞĚ͘
          WĞŶĂůƚŝĞƐŝŵƉŽƐĞĚƉƌŝŽƌƚŽĨŝŶĂůĂĚũƵĚŝĐĂƚŝŽŶ;Ğ͘Ő͘ĚĂǇƐĨŽƌĨĞŝƚĞĚĚƵƌŝŶŐƉƌĞͲĂĚũƵĚŝĐĂƚŝŽŶƐƵƐƉĞŶƐŝŽŶͿŵĂǇďĞĂƉƉůŝĞĚ
          ƚŽĂŶǇĨŝŶĂůƉĞŶĂůƚǇĚĞƚĞƌŵŝŶĂƚŝŽŶ͘
          /ŶƚŚĞĞǀĞŶƚƚŚĂƚƚŚĞƚŽƚĂůŶƵŵďĞƌŽĨƉĞŶĂůƚǇĚĂǇƐŝƐĐĂůĐƵůĂƚĞĚĂƚŐƌĞĂƚĞƌƚŚĂŶϵϬĚĂǇƐ͕ƚŚĞƉƌĞƐƵŵĞĚƉĞŶĂůƚǇƐŚĂůů
          ďĞƚĞƌŵŝŶĂƚŝŽŶŽƌĨŽƌĐĞĚƐĞƉĂƌĂƚŝŽŶ͘
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          WƌŽďĂƚŝŽŶĂƌǇ^ƚĂƚƵƐ
          dŚĞƌĞĂƌĞĚŝĨĨĞƌĞŶƚƚǇƉĞƐŽĨƉƌŽďĂƚŝŽŶĂƌǇƐƚĂƚƵƐƚŚĂƚŵĂǇĂĨĨĞĐƚĚŝƐĐŝƉůŝŶĂƌǇƉĞŶĂůƚŝĞƐ͗
          ŶƚƌǇͲ>ĞǀĞůWƌŽďĂƚŝŽŶʹtŚĞŶŚŝƌĞĚ͕ƉŽůŝĐĞŽĨĨŝĐĞƌƐĂƌĞŽŶĞŶƚƌǇͲůĞǀĞůƉƌŽďĂƚŝŽŶĨŽƌĂϮͲǇĞĂƌƉĞƌŝŽĚ͘dŚĞŵĞŵďĞƌŽĨ
          ƚŚĞƐĞƌǀŝĐĞŵƵƐƚĐŽŵƉůĞƚĞϮǇĞĂƌƐŽĨĨƵůůͲĚƵƚǇƐƚĂƚƵƐŝŶŽƌĚĞƌƚŽĐŽŵƉůĞƚĞƚŚŝƐƉƌŽďĂƚŝŽŶĂƌǇƉĞƌŝŽĚ͘DĞŵďĞƌƐŽŶ
          ĞŶƚƌǇͲůĞǀĞů ƉƌŽďĂƚŝŽŶ ǁŚŽ ĂƌĞ ƚŚĞ ƐƵďũĞĐƚ ŽĨ Ă ĚŝƐĐŝƉůŝŶĂƌǇ ŵĂƚƚĞƌ ĐĂŶ ďĞ ƚĞƌŵŝŶĂƚĞĚ ĂŶĚ ƚŚĞ ĞƉĂƌƚŵĞŶƚ ŵĂǇ
          ƐƵŵŵĂƌŝůǇĚŝƐŵŝƐƐƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞǁŝƚŚŽƵƚĂĨŽƌŵĂůŚĞĂƌŝŶŐ͘/ĨƚĞƌŵŝŶĂƚŝŽŶŝƐƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇ
          ĨŽƌĂŶĞŶƵŵĞƌĂƚĞĚĂĐƚŽĨŵŝƐĐŽŶĚƵĐƚ͕ƚŚĞŶŵĞŵďĞƌƐŽŶĞŶƚƌǇͲůĞǀĞůƉƌŽďĂƚŝŽŶǁŝůůďĞĚŝƐŵŝƐƐĞĚ͘DĞŵďĞƌƐŽŶĞŶƚƌǇͲ
          ůĞǀĞůƉƌŽďĂƚŝŽŶŵĂǇĂůƐŽďĞƚĞƌŵŝŶĂƚĞĚĨŽƌŽĨĨĞŶƐĞƐƚŚĂƚǁŽƵůĚ ŶŽƚŐĞŶĞƌĂůůǇƌĞƐƵůƚŝŶƚĞƌŵŝŶĂƚŝŽŶĨŽƌĂƚĞŶƵƌĞĚ
          ĞŵƉůŽǇĞĞ͘ƌĞĐŽŵŵĞŶĚĂƚŝŽŶƌĞůĂƚŝǀĞƚŽƚĞƌŵŝŶĂƚŝŽŶŽƌƌĞƚĞŶƚŝŽŶŽĨƚŝƚůĞĂŶĚƐĞƌǀŝĐĞŽĨŚĂƌŐĞƐĂŶĚ^ƉĞĐŝĨŝĐĂƚŝŽŶƐ
          ƵŶĚĞƌƚŚĞƐĞĐŝƌĐƵŵƐƚĂŶĐĞƐŝƐŵĂĚĞƚŽƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌďǇƚŚĞZŝƐŬDĂŶĂŐĞŵĞŶƚƵƌĞĂƵ͘
          WƌŽŵŽƚŝŽŶWƌŽďĂƚŝŽŶʹhŶŝĨŽƌŵĞĚŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞǁŚŽĂĐŚŝĞǀĞĂĐŝǀŝůƐĞƌǀŝĐĞƉƌŽŵŽƚŝŽŶŝŶƌĂŶŬǁŝůůďĞŽŶ
          ƉƌŽŵŽƚŝŽŶ ƉƌŽďĂƚŝŽŶ͘ WƵƌƐƵĂŶƚ ƚŽ ĐŽůůĞĐƚŝǀĞ ďĂƌŐĂŝŶŝŶŐ͕ Ă ŵĞŵďĞƌ ƉƌŽŵŽƚĞĚ ƚŽ ƚŚĞ ƌĂŶŬ ŽĨ ĞƚĞĐƚŝǀĞ ŝƐ ŽŶ
          ƉƌŽŵŽƚŝŽŶ ƉƌŽďĂƚŝŽŶ ĨŽƌ Ă ϯͲǇĞĂƌ ƉĞƌŝŽĚ ƌĞŐĂƌĚůĞƐƐ ŽĨ ĚƵƚǇ ƐƚĂƚƵƐ͘ DĞŵďĞƌƐ ƉƌŽŵŽƚĞĚ ƚŽ ƚŚĞ ƌĂŶŬ ŽĨ ^ĞƌŐĞĂŶƚ͕
          >ŝĞƵƚĞŶĂŶƚ͕ŽƌĂƉƚĂŝŶĂƌĞŽŶƉƌŽŵŽƚŝŽŶƉƌŽďĂƚŝŽŶĨŽƌĂϭͲǇĞĂƌƉĞƌŝŽĚ͘ŵĞŵďĞƌŵƵƐƚĐŽŵƉůĞƚĞϭǇĞĂƌŽĨĨƵůůͲĚƵƚǇ
          ƐƚĂƚƵƐ ŝŶ ŽƌĚĞƌ ƚŽ ĐŽŵƉůĞƚĞ ƚŚŝƐ ƉƌŽďĂƚŝŽŶĂƌǇ ƉĞƌŝŽĚ͘ ^ŚŽƵůĚ Ă ŵĞŵďĞƌ͕ ǁŚŝůĞ ŽŶ ƉƌŽŵŽƚŝŽŶ ƉƌŽďĂƚŝŽŶ͕ ďĞ ƚŚĞ
          ƐƵďũĞĐƚŽĨĂĚŝƐĐŝƉůŝŶĂƌǇŵĂƚƚĞƌ͕ƚŚĞǇĂƌĞƐƵďũĞĐƚƚŽĚĞŵŽƚŝŽŶƚŽƚŚĞŝƌĨŽƌŵĞƌŝǀŝů^ĞƌǀŝĐĞƌĂŶŬĂƚƚŚĞĚŝƐĐƌĞƚŝŽŶŽĨ
          ƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͘ƌĞĐŽŵŵĞŶĚĂƚŝŽŶƌĞůĂƚŝǀĞƚŽĚĞŵŽƚŝŽŶŽƌƌĞƚĞŶƚŝŽŶŽĨƌĂŶŬƵŶĚĞƌƚŚĞƐĞĐŝƌĐƵŵƐƚĂŶĐĞƐ
          ŝƐŵĂĚĞƚŽƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌďǇƚŚĞZŝƐŬDĂŶĂŐĞŵĞŶƚƵƌĞĂƵ͘DĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞƐĞƌǀŝŶŐŝŶƚŚĞƌĂŶŬƐ
          ŽĨ ĞƉƵƚǇ /ŶƐƉĞĐƚŽƌ ƚŚƌŽƵŐŚ ŚŝĞĨ ŽĨ ĞƉĂƌƚŵĞŶƚ ĂƌĞ ĚĞƐŝŐŶĂƚĞĚ ďǇ ƚŚĞ WŽůŝĐĞ ŽŵŵŝƐƐŝŽŶĞƌ͘ Ɛ ƐƵĐŚ͕ ƚŚĞƐĞ
          ŵĞŵďĞƌƐŵĂǇďĞĚĞŵŽƚĞĚƚŽƚŚĞŝƌĐŝǀŝůƐĞƌǀŝĐĞƌĂŶŬŽĨĂƉƚĂŝŶĂƚĂŶǇƚŝŵĞ͘
          ŝƐŵŝƐƐĂů WƌŽďĂƚŝŽŶ ʹ tŚĞŶ Ă ŵĞŵďĞƌ ŽĨ ƚŚĞ ƐĞƌǀŝĐĞ ŝƐ ƉůĂĐĞĚ ŽŶ ŝƐŵŝƐƐĂů WƌŽďĂƚŝŽŶ ĂƐ ƉĂƌƚ ŽĨ Ă ĚŝƐĐŝƉůŝŶĂƌǇ
          ƉĞŶĂůƚǇ͕ƚŚĞŵĞŵďĞƌŝƐĚŝƐŵŝƐƐĞĚĨƌŽŵƚŚĞWŽůŝĐĞĞƉĂƌƚŵĞŶƚ͕ĂŶĚŚĞŽƌƐŚĞĂĐŬŶŽǁůĞĚŐĞƐƚŚĞĚŝƐŵŝƐƐĂůŝŶǁƌŝƚŝŶŐ͘
          dŚĞĞƉĂƌƚŵĞŶƚĚĞůĂǇƐƚŚĞŝŵƉŽƐŝƚŝŽŶŽĨƚŚĞĚŝƐŵŝƐƐĂůĨŽƌĂϭͲǇĞĂƌƉĞƌŝŽĚ͕ĚƵƌŝŶŐǁŚŝĐŚƚŚĞŵĞŵďĞƌŵƵƐƚĐŽŵƉůĞƚĞ
          ϭǇĞĂƌŽĨĨƵůůͲĚƵƚǇƐƚĂƚƵƐŝŶŽƌĚĞƌƚŽĐŽŵƉůĞƚĞƚŚĞƉƌŽďĂƚŝŽŶĂƌǇƉĞƌŝŽĚ͘/ĨƚŚĞƌĞŝƐĨƵƌƚŚĞƌŵŝƐĐŽŶĚƵĐƚĚƵƌŝŶŐƚŚĞ
          ƉƌŽďĂƚŝŽŶĂƌǇƉĞƌŝŽĚ͕ƚŚĞĞƉĂƌƚŵĞŶƚŵĂǇƐƵŵŵĂƌŝůǇĚŝƐŵŝƐƐƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞǁŝƚŚŽƵƚĂĨŽƌŵĂůŚĞĂƌŝŶŐ͕
          ŝŶĐůƵĚŝŶŐĨŽƌŽĨĨĞŶƐĞƐƚŚĂƚǁŽƵůĚŶŽƚŽƌĚŝŶĂƌŝůǇƌĞƐƵůƚŝŶƚĞƌŵŝŶĂƚŝŽŶĨŽƌĂŵĞŵďĞƌŶŽƚŽŶŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ͘
          ǆƚĞŶƐŝŽŶŽĨƉƌŽďĂƚŝŽŶʹDĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞŽŶĞŶƚƌǇͲůĞǀĞůŽƌƉƌŽŵŽƚŝŽŶƉƌŽďĂƚŝŽŶ ŵĂǇƌĞĐĞŝǀĞĂϲͲŵŽŶƚŚ
          ĞǆƚĞŶƐŝŽŶŽĨƚŚĞŝƌƉƌŽďĂƚŝŽŶŝĨƚŚĞǇĂƌĞƚŚĞƐƵďũĞĐƚŽĨĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶŽƌĚŝƐĐŝƉůŝŶĂƌǇŵĂƚƚĞƌ͕ŽƌĨŽƌƉŽŽƌƉĞƌĨŽƌŵĂŶĐĞ
          ĚƵƌŝŶŐƐƵĐŚƉƌŽďĂƚŝŽŶƉĞƌŝŽĚ͘ϮϰŵĞŵďĞƌŵƵƐƚĐŽŵƉůĞƚĞƚŚŝƐĞǆƚĞŶƐŝŽŶĂƚĨƵůůͲĚƵƚǇƐƚĂƚƵƐŝŶŽƌĚĞƌƚŽƐƵĐĐĞƐƐĨƵůůǇ
          ĐŽŵƉůĞƚĞƚŚŝƐƉƌŽďĂƚŝŽŶĂƌǇƉĞƌŝŽĚ͘
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          ϮϰDĞŵďĞƌƐŝŶƚŚĞƌĂŶŬŽĨĞƚĞĐƚŝǀĞĐĂŶŶŽƚŚĂǀĞƚŚĞŝƌƉƌŽŵŽƚŝŽŶƉƌŽďĂƚŝŽŶĂƌǇƉĞƌŝŽĚĞǆƚĞŶĚĞĚ͘

                                                                                                                                    ϭϯ
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    ĨĨĞĐƚŽĨWƌĞĐĞĚĞŶƚ
    ^ŝƚƵĂƚŝŽŶƐŵĂǇĂƌŝƐĞƚŚĂƚĂƌĞŶŽƚŝŶĐůƵĚĞĚŝŶŽƌĂĚĞƋƵĂƚĞůǇĂĚĚƌĞƐƐĞĚďǇƚŚĞ'ƵŝĚĞůŝŶĞƐ͘/ĨƐŽ͕ĂƉĞŶĂůƚǇĞǀĂůƵĂƚŝŽŶ
    ǁŝůůďĞŵĂĚĞďĂƐĞĚƵƉŽŶƚŚĞĨĂĐƚƐĂŶĚĐŝƌĐƵŵƐƚĂŶĐĞƐŽĨƚŚĞƉƌĞƐĞŶƚĐĂƐĞĐŽŶƐŝĚĞƌŝŶŐƌĞůĞǀĂŶƚƌĞĐĞŶƚŽƌĂŶĂůŽŐŽƵƐ
    ĐĂƐĞƐ͘tŚĞŶĐŽŶƐŝĚĞƌŝŶŐƉƌĞĐĞĚĞŶƚ͕ƐŝŵŝůĂƌĐŝƌĐƵŵƐƚĂŶĐĞƐŵĂǇďĞĚĞƚĞƌŵŝŶĞĚďĂƐĞĚƵƉŽŶĂŶĂƐƐĞƐƐŵĞŶƚŽĨ ƚŚĞ
    ƌĞůĂƚŝǀĞĚĞŐƌĞĞƚŽǁŚŝĐŚƚŚĞƉƌĞƐĞŶƚĐĂƐĞĂŶĚĂŶǇƉƌŝŽƌĐĂƐĞƐĐŽŶƚĂŝŶƚŚĞĨŽůůŽǁŝŶŐĨĂĐƚŽƌƐ͗

          x   ^ŝŵŝůĂƌĨĂĐƚƵĂůƐŝƚƵĂƚŝŽŶƐ
          x   ^ŝŵŝůĂƌĚŝƐĐŝƉůŝŶĂƌǇŚŝƐƚŽƌŝĞƐ
          x   ^ĂŵĞŽƌƐŝŵŝůĂƌĂŐŐƌĂǀĂƚŝŶŐĂŶĚͬŽƌŵŝƚŝŐĂƚŝŶŐĨĂĐƚŽƌƐ
          x   ^ĂŵĞŽƌƐƵďƐƚĂŶƚŝĂůůǇƐŝŵŝůĂƌƉƌŽƐĐƌŝďĞĚĐŽŶĚƵĐƚ

    ^ĞƚƚůĞŵĞŶƚŶĞŐŽƚŝĂƚŝŽŶƐŵĂǇŶŽƚďĞĂĐĐŽƌĚĞĚƚŚĞƐĂŵĞƉƌĞĐĞĚĞŶƚŝĂůǁĞŝŐŚƚĂƐƉĞŶĂůƚŝĞƐŝŵƉŽƐĞĚĨŽůůŽǁŝŶŐƚƌŝĂůƐ
    ďĞĐĂƵƐĞĨĂĐƚŽƌƐƐƵĐŚĂƐƚŚĞƐƚƌĞŶŐƚŚŽĨƚŚĞĞǀŝĚĞŶĐĞŵĂǇĂĨĨĞĐƚƚŚĞĐĂůĐƵůĂƚŝŽŶĂŶĚǁĂƌƌĂŶƚĂůĞƐƐĞƌƉĞŶĂůƚǇ͘

    dŚĞƐĞ 'ƵŝĚĞůŝŶĞƐ͕ ǁŚŝůĞ ŚĂǀŝŶŐ ƚĂŬĞŶ ƉƌĞĐĞĚĞŶƚ ŝŶƚŽ ĂĐĐŽƵŶƚ͕ ŚĂǀĞ ŶŽƚ ďĞĞŶ ďůŝŶĚůǇ ǁĞĚĚĞĚ ƚŽ ƉƌŝŽƌ ƉĞŶĂůƚŝĞƐ
    ŝŵƉŽƐĞĚ͘ĂƐĞƐĚĞĐŝĚĞĚƉƌŝŽƌƚŽƚŚĞƉƵďůŝĐĂƚŝŽŶŽĨƚŚĞƐĞ'ƵŝĚĞůŝŶĞƐǁŝůůŶŽƚ ďĞĐŽŶƐŝĚĞƌĞĚƚŽŚĂǀĞƉƌĞĐĞĚĞŶƚŝĂů
    ǀĂůƵĞ ƚŽ ƚŚĞ ĞǆƚĞŶƚ ƚŚĂƚ ƚŚĞƐĞ 'ƵŝĚĞůŝŶĞƐ ŚĂǀĞ ŝŶƚĞŶƚŝŽŶĂůůǇ ĞůĞǀĂƚĞĚ ƚŚĞ ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚŝĞƐ Žƌ ĂŐŐƌĂǀĂƚŝŶŐ
    ƉƌĞƐƵŵƉƚŝǀĞĞŶŚĂŶĐĞŵĞŶƚƐ͘


    ĞĨŝŶŝƚŝŽŶƐ
    WƌĞƐƵŵƉƚŝǀĞ WĞŶĂůƚǇ ʹ  ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚǇ ŝƐ ƚŚĞ ĂƐƐƵŵĞĚ ƉĞŶĂůƚǇ Žƌ ƉĞŶĂůƚǇ ƌĂŶŐĞ ŐĞŶĞƌĂůůǇ ĚĞĞŵĞĚ
    ĂƉƉƌŽƉƌŝĂƚĞĨŽƌĂƐƉĞĐŝĨŝĐƉƌŽƐĐƌŝďĞĚĂĐƚ͘dŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇƐĞƌǀĞƐĂƐƚŚĞƐƚĂƌƚŝŶŐƉŽŝŶƚĨŽƌĂŶĂůǇƐŝƐĚƵƌŝŶŐƚŚĞ
    ƉĞŶĂůƚǇƉŚĂƐĞŽĨĂĐĂƐĞ͕ǁŚŝĐŚŵƵƐƚŝŶĐůƵĚĞĐŽŶƐŝĚĞƌĂƚŝŽŶŽĨƚŚĞƚŽƚĂůŝƚǇŽĨƚŚĞĐŝƌĐƵŵƐƚĂŶĐĞƐĂŶĚĂŶǇĂŐŐƌĂǀĂƚŝŶŐ
    ĂŶĚͬŽƌŵŝƚŝŐĂƚŝŶŐĨĂĐƚŽƌƐ͘dŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͕ǁŚŽŝƐƐƚĂƚƵƚŽƌŝůǇĞŵƉŽǁĞƌĞĚƚŽĂĚũƵĚŝĐĂƚĞĚŝƐĐŝƉůŝŶĞ͕ŵĂŬĞƐ
    ƚŚĞĨŝŶĂůĚĞƚĞƌŵŝŶĂƚŝŽŶĂŶĚŵĂǇĚĞǀŝĂƚĞĨƌŽŵƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚŝĞƐ͘dŚĞƉĞŶĂůƚǇĚĞƚĞƌŵŝŶĂƚŝŽŶĂŶĚƚŚĞďĂƐĞƐ
    ĨŽƌĚĞǀŝĂƚŝŽŶƐĂƌĞŵĞŵŽƌŝĂůŝǌĞĚĂƐƉĂƌƚŽĨƚŚĞĨŝŶĂůĂĚũƵĚŝĐĂƚŝŽŶŽĨƚŚĞĐĂƐĞ͘
    WĞŶĂůƚǇĂǇƐʹdŚĞƚĞƌŵƉĞŶĂůƚǇĚĂǇƐƌĞĨĞƌƐƚŽƚŚĞĨŽƌĨĞŝƚƵƌĞŽĨǀĂĐĂƚŝŽŶĚĂǇƐĂŶĚͬŽƌƚŚĞŝŵƉŽƐŝƚŝŽŶŽĨƐƵƐƉĞŶƐŝŽŶ
    ǁŝƚŚŽƵƚƉĂǇĨŽƌĂƐƉĞĐŝĨŝĞĚƚŝŵĞƉĞƌŝŽĚ Ϯϱ͘dŚĞĚĞĐŝƐŝŽŶƚŽƐƵƐƉĞŶĚ͕ĚĞĚƵĐƚǀĂĐĂƚŝŽŶĚĂǇƐ͕ŽƌŝŵƉŽƐĞĂĐŽŵďŝŶĂƚŝŽŶ
    ŽĨďŽƚŚ͕ŝƐďĂƐĞĚƵƉŽŶƚŚĞƐĞǀĞƌŝƚǇŽĨƚŚĞŵŝƐĐŽŶĚƵĐƚĂůŽŶŐǁŝƚŚĂŶǇƌĞůĞǀĂŶƚĂŐŐƌĂǀĂƚŝŶŐĂŶĚŵŝƚŝŐĂƚŝŶŐĨĂĐƚŽƌƐ͘&Žƌ
    ƐŽŵĞŽĨƚŚĞŵŽƐƚƐĞƌŝŽƵƐĐĂƚĞŐŽƌŝĞƐŽĨŵŝƐĐŽŶĚƵĐƚŝŶƚŚĞƐĞ'ƵŝĚĞůŝŶĞƐ͕ƐƵƐƉĞŶƐŝŽŶŚĂƐďĞĞŶŝĚĞŶƚŝĨŝĞĚ͕ŝŶǁŚŽůĞŽƌ
    ŝŶƉĂƌƚ͕ĂƐƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇ͘ŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞǁŚŽŝƐĨŽƵŶĚŐƵŝůƚǇĂĨƚĞƌĂŶĂĚŵŝŶŝƐƚƌĂƚŝǀĞŚĞĂƌŝŶŐŵĂǇ
    ďĞƐƵƐƉĞŶĚĞĚǁŝƚŚŽƵƚƉĂǇĨŽƌĂƉĞƌŝŽĚŶŽƚĞǆĐĞĞĚŝŶŐϯϬĚĂǇƐĨŽƌĂŶǇŽĨĨĞŶƐĞ͘ϮϲŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŵĂǇĂŐƌĞĞ
    ƚŽ Ă ůŽŶŐĞƌ ƚĞƌŵ ŽĨ ƐƵƐƉĞŶƐŝŽŶ ĂƐ ƉĂƌƚ ŽĨ Ă ŶĞŐŽƚŝĂƚĞĚ ƐĞƚƚůĞŵĞŶƚ ĂŐƌĞĞŵĞŶƚ͘ /Ĩ Ă ŵĞŵďĞƌ ŽĨ ƚŚĞ ƐĞƌǀŝĐĞ ǁĂƐ
    ŝŵŵĞĚŝĂƚĞůǇ ƐƵƐƉĞŶĚĞĚ ĨƌŽŵ ĚƵƚǇ ĚƵƌŝŶŐ ƚŚĞ ƉĞŶĚĞŶĐǇ ŽĨ ĂŶ ŝŶǀĞƐƚŝŐĂƚŝŽŶ͕ ƚŚĞ ĨŽƌĨĞŝƚƵƌĞ ŽĨ ƐƵƐƉĞŶƐŝŽŶ ĚĂǇƐ͕
    ŝŵƉŽƐĞĚ ƉƌŝŽƌ ƚŽ ƚŚĞ ĚŝƐƉŽƐŝƚŝŽŶ ŽĨ ƚŚĞ ĐĂƐĞ͕ ŵĂǇ ďĞ ĂƉƉůŝĞĚ ĂƐ ƉĂƌƚ ŽĨ ƚŚĞ ĨŝŶĂů ĚŝƐĐŝƉůŝŶĂƌǇ ƉĞŶĂůƚǇ͘ tŚĞŶ ƚŚĞ
    ĚĞĚƵĐƚŝŽŶŽĨǀĂĐĂƚŝŽŶĚĂǇƐŝƐƚŚĞŝŵƉŽƐĞĚƉĞŶĂůƚǇ͕ĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŵĂǇĞůĞĐƚƐƵƐƉĞŶƐŝŽŶŝŶůŝĞƵŽĨǀĂĐĂƚŝŽŶ
    ĚĂǇƐŝĨĐŽŶƐŝƐƚĞŶƚǁŝƚŚƚŚĞŶĞĞĚƐŽĨƚŚĞĞƉĂƌƚŵĞŶƚ͘
    ŝƐŵŝƐƐĂů WƌŽďĂƚŝŽŶϮϳ ʹ Ɛ ƉĂƌƚ ŽĨ Ă ĚŝƐĐŝƉůŝŶĂƌǇ ƉĞŶĂůƚǇ ƚŚĂƚ ŝŶĐůƵĚĞƐ ƚŚĞ ŝŵƉŽƐŝƚŝŽŶ ŽĨ ƉĞŶĂůƚǇ ĚĂǇƐ͕ ŝƐŵŝƐƐĂů
    WƌŽďĂƚŝŽŶƌĞƋƵŝƌĞƐƚŚĂƚƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĐŽŶĐĞƌŶĞĚďĞĚŝƐŵŝƐƐĞĚĨƌŽŵƚŚĞWŽůŝĐĞĞƉĂƌƚŵĞŶƚ͕ĂŶĚŚĞŽƌ
    ƐŚĞĂĐŬŶŽǁůĞĚŐĞƐƚŚĂƚĚŝƐŵŝƐƐĂůŝŶǁƌŝƚŝŶŐ͘dŚĞĞƉĂƌƚŵĞŶƚƚŚĞŶĚĞůĂǇƐƚŚĞŝŵƉŽƐŝƚŝŽŶŽĨƚŚĞĚŝƐŵŝƐƐĂůĨŽƌĂϭͲǇĞĂƌ
    ƉĞƌŝŽĚ ĚƵƌŝŶŐ ǁŚŝĐŚ ƚŚĞ ŵĞŵďĞƌ ŝƐ ƉůĂĐĞĚ ŽŶ ŝƐŵŝƐƐĂů WƌŽďĂƚŝŽŶ͘ ƵƌŝŶŐ ƚŚĞ ϭͲǇĞĂƌ ƉƌŽďĂƚŝŽŶĂƌǇ ƉĞƌŝŽĚ͕ ƚŚĞ
    ŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝƐƐƵďũĞĐƚƚŽDŽŶŝƚŽƌŝŶŐĂŶĚƚŚĞŝƌĐŽŶĚƵĐƚŝƐĞǀĂůƵĂƚĞĚŽŶĂŶŽŶŐŽŝŶŐďĂƐŝƐ͘/ŶĂĚĚŝƚŝŽŶ͕ƚŚĞ
    ŵĞŵďĞƌ͛ƐĐŽŵŵĂŶĚŝŶŐŽĨĨŝĐĞƌŝƐƌĞƋƵŝƌĞĚƚŽƐƵďŵŝƚŵŽŶƚŚůǇƌĞƉŽƌƚƐĂƐƐĞƐƐŝŶŐƚŚĞŵĞŵďĞƌ͛ƐĐŽŶĚƵĐƚ͘ /ĨƚŚĞƌĞŝƐ

    Ϯϱ
       WĂŝĚ ǀĂĐĂƚŝŽŶ ƌĞƉƌĞƐĞŶƚƐ Ă ƉĂƌƚ ŽĨ Ă ŵĞŵďĞƌ ŽĨ ƚŚĞ ƐĞƌǀŝĐĞ͛Ɛ ƚŽƚĂů ĐŽŵƉĞŶƐĂƚŝŽŶ ƉĂĐŬĂŐĞ ŽĨ ƐĂůĂƌǇ ĂŶĚ ďĞŶĞĨŝƚƐ ǁŚŝĐŚ ŝƐ
    ĐŽůůĞĐƚŝǀĞůǇďĂƌŐĂŝŶĞĚĨŽƌďĞƚǁĞĞŶƚŚĞƌĞƐƉĞĐƚŝǀĞƉŽůŝĐĞƵŶŝŽŶƐĂŶĚƚŚĞEĞǁzŽƌŬŝƚǇKĨĨŝĐĞŽĨ>ĂďŽƌZĞůĂƚŝŽŶƐ͘ĚĚŝƚŝŽŶĂůůǇ͕
    ƉŽůŝĐĞŽĨĨŝĐĞƌƐƉĞƌĨŽƌŵƐŚŝĨƚǁŽƌŬĂŶĚĂƌĞŶŽƚĞŶƚŝƚůĞĚƚŽŚŽůŝĚĂǇƐŽƌǁĞĞŬĞŶĚƐŽĨĨƌĞůǇŝŶŐŝŶƐƚĞĂĚŽŶƚŚĞŝƌĂĐĐƌƵĞĚǀĂĐĂƚŝŽŶĚĂǇƐ
    ƚŽƚĂŬĞƚŝŵĞŽĨĨ͘ŽŶƚƌĂƐƚƐƵƐƉĞŶƐŝŽŶǁŚŝĐŚƌĞƐƵůƚƐŝŶĂŶŝŶĐƌĞĂƐĞĚĨŝŶĂŶĐŝĂůƉĞŶĂůƚǇŝŵƉŽƐĞĚƵƉŽŶƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞďƵƚ
    ƐŝŵƵůƚĂŶĞŽƵƐůǇƌĞĚƵĐĞƐĞƉĂƌƚŵĞŶƚƐƚĂĨĨŝŶŐĚƵƌŝŶŐƚŚĞƉĞƌŝŽĚŽĨƐƵƐƉĞŶƐŝŽŶ͘
    ϮϲEĞǁzŽƌŬŝǀŝů^ĞƌǀŝĐĞ>ĂǁΑϳϱ;ϯͲĂͿĂŶĚEĞǁzŽƌŬŝƚǇĚŵŝŶŝƐƚƌĂƚŝǀĞŽĚĞΑϭϰͲϭϭϱ͘
    ϮϳŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶƉĞƌŝŽĚǁŝůůŶŽƚĐŽŶĐůƵĚĞƵŶƚŝůĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĐŽŵƉůĞƚĞĚϭϮŵŽŶƚŚƐŽŶĨƵůůͲĚƵƚǇƐƚĂƚƵƐ͘

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          ĨƵƌƚŚĞƌ ŵŝƐĐŽŶĚƵĐƚ ǁŝƚŚŝŶ ƚŚĞ ƉƌŽďĂƚŝŽŶĂƌǇ ƉĞƌŝŽĚ͕ ƚŚĞ ĞƉĂƌƚŵĞŶƚ ŵĂǇ ƐƵŵŵĂƌŝůǇ ĚŝƐŵŝƐƐ ƚŚĞ ŵĞŵďĞƌ ŽĨ ƚŚĞ
          ƐĞƌǀŝĐĞǁŝƚŚŽƵƚĂĨŽƌŵĂůŚĞĂƌŝŶŐ͕ŝŶĐůƵĚŝŶŐĨŽƌŽĨĨĞŶƐĞƐƚŚĂƚǁŽƵůĚŶŽƚŽƌĚŝŶĂƌŝůǇƌĞƐƵůƚŝŶƚĞƌŵŝŶĂƚŝŽŶĨŽƌĂŵĞŵďĞƌ
          ŶŽƚŽŶŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ͘ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶŝƐĂůƐŽƵƐĞĚƚŽĞŶĨŽƌĐĞŽƚŚĞƌĐŽŶĚŝƚŝŽŶƐŝŶĚŝƐĐŝƉůŝŶĂƌǇƉĞŶĂůƚŝĞƐ͘&Žƌ
          ĞǆĂŵƉůĞ͕ǁŚĞŶĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŚĂƐĂĚŵŝƚƚĞĚƚŽ͕ŽƌďĞĞŶĨŽƵŶĚŐƵŝůƚǇŽĨ͕ĂĚŽŵĞƐƚŝĐǀŝŽůĞŶĐĞŽĨĨĞŶƐĞ͕ƚŚĞ
          ŵĞŵďĞƌŵĂǇďĞƌĞƋƵŝƌĞĚƚŽƉĂƌƚŝĐŝƉĂƚĞŝŶĐŽƵŶƐĞůŝŶŐƐĞƌǀŝĐĞƐ͘dŚĞĨĂŝůƵƌĞƚŽĂďŝĚĞďǇĂŶǇĐŽŶĚŝƚŝŽŶĂƚƚĂĐŚĞĚƚŽƚŚĞ
          ĚŝƐƉŽƐŝƚŝŽŶŽĨĂĐĂƐĞŵĂǇďĞĐŽŶƐŝĚĞƌĞĚĐĂƵƐĞƚŽŝŶǀŽŬĞƚŚĞƉƌŽǀŝƐŝŽŶƐŽĨŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ͘/ĨĂŵĞŵďĞƌŽĨƚŚĞ
          ƐĞƌǀŝĐĞƐƵĐĐĞƐƐĨƵůůǇĐŽŵƉůĞƚĞƐƚŚĞǇĞĂƌŽŶƉƌŽďĂƚŝŽŶ͕ƚŚĞĚŝƐŵŝƐƐĂůƉĞŶĂůƚǇǁŝůůďĞǁĂŝǀĞĚ͕ĂŶĚƚŚĞŵĞŵďĞƌƌĞƚƵƌŶĞĚ
          ƚŽĂŶŽŶͲƉƌŽďĂƚŝŽŶĂƌǇƐƚĂƚƵƐ͘
          dĞƌŵŝŶĂƚŝŽŶϮϴʹdŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͕ƵƉŽŶĂĨŝŶĚŝŶŐŽƌĂĚŵŝƐƐŝŽŶŽĨǁƌŽŶŐĚŽŝŶŐŝŶĂĚŝƐĐŝƉůŝŶĂƌǇŵĂƚƚĞƌ͕ŚĂƐƚŚĞ
          ĂƵƚŚŽƌŝƚǇƚŽĚŝƐŵŝƐƐĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĨƌŽŵƚŚĞŝƌĞŵƉůŽǇŵĞŶƚǁŝƚŚƚŚĞĞƉĂƌƚŵĞŶƚϮϵ͘ĚĚŝƚŝŽŶĂůůǇ͕ƵƉŽŶĐƌŝŵŝŶĂů
          ĐŽŶǀŝĐƚŝŽŶŽĨĂĨĞůŽŶǇ͕ŽƌĂŵŝƐĚĞŵĞĂŶŽƌƚŚĂƚĐŽŶƐƚŝƚƵƚĞƐĂǀŝŽůĂƚŝŽŶŽĨĂŵĞŵďĞƌ͛ƐŽĂƚŚŽĨŽĨĨŝĐĞ͕ƚŚĞŵĞŵďĞƌǀĂĐĂƚĞƐ
          ƚŚĞŝƌĐŝǀŝůƐĞƌǀŝĐĞƚŝƚůĞĂŶĚŝƐƚĞƌŵŝŶĂƚĞĚĂƐĂŵĂƚƚĞƌŽĨůĂǁϯϬ͘ŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŵĂǇďĞĞŶƚŝƚůĞĚƚŽĂůůŽƌƉĂƌƚŽĨ
          ƚŚĞŝƌĂĐĐƌƵĞĚƉĞŶƐŝŽŶďĞŶĞĨŝƚƐŝŶĂĐĐŽƌĚĂŶĐĞǁŝƚŚůŽĐĂůůĂǁĂŶĚEĞǁzŽƌŬ^ƚĂƚĞƉĞŶƐŝŽŶůĂǁƐϯϭ͘
          &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶʹdŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͕ƵƉŽŶĂĨŝŶĚŝŶŐŽƌĂĚŵŝƐƐŝŽŶŽĨǁƌŽŶŐĚŽŝŶŐŝŶĂĚŝƐĐŝƉůŝŶĂƌǇŵĂƚƚĞƌ͕
          ŵĂǇƌĞƋƵŝƌĞƚŚĂƚĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞƐĞƉĂƌĂƚĞ;ƌĞƐŝŐŶĂƚŝŽŶ͕ƌĞƚŝƌĞŵĞŶƚŽƌǀĞƐƚĞĚŝŶƚĞƌĞƐƚƌĞƚŝƌĞŵĞŶƚͿĨƌŽŵƚŚĞ
          ĞƉĂƌƚŵĞŶƚ͕ ŝŶ ůŝĞƵ ŽĨ ƚĞƌŵŝŶĂƚŝŽŶ͕ ĂƐ ƉĂƌƚ ŽĨ Ă ŶĞŐŽƚŝĂƚĞĚ ƐĞƚƚůĞŵĞŶƚ ĂŐƌĞĞŵĞŶƚ͘ &ŽƌĐĞĚ ƐĞƉĂƌĂƚŝŽŶ ŵĂǇ ĂůƐŽ
          ŝŶĐůƵĚĞƚŚĞĨŽƌĨĞŝƚƵƌĞŽĨƉĞŶĂůƚǇĚĂǇƐ͕ĂůůƚŝŵĞĂŶĚůĞĂǀĞďĂůĂŶĐĞƐĂŶĚĂŶǇƚĞƌŵŝŶĂůůĞĂǀĞƚŽǁŚŝĐŚƚŚĞŵĞŵďĞƌŽĨ
          ƚŚĞƐĞƌǀŝĐĞŵĂǇďĞĞŶƚŝƚůĞĚ͘ŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞǁŚŽƌĞƚŝƌĞƐŵĂǇďĞĞŶƚŝƚůĞĚƚŽĂůůŽƌƉĂƌƚŽĨƚŚĞŝƌĂĐĐƌƵĞĚ
          ƉĞŶƐŝŽŶďĞŶĞĨŝƚƐŝŶĂĐĐŽƌĚĂŶĐĞǁŝƚŚůŽĐĂůůĂǁĂŶĚEĞǁzŽƌŬ^ƚĂƚĞƉĞŶƐŝŽŶůĂǁƐϯϮ͘
          KĂƚŚŽĨKĨĨŝĐĞsŝŽůĂƚŝŽŶʹŶKĂƚŚŽĨKĨĨŝĐĞǀŝŽůĂƚŝŽŶ ϯϯŝŶĐůƵĚĞƐĂĐŽŶǀŝĐƚŝŽŶĨŽƌĂŶǇĨĞůŽŶǇŽĨĨĞŶƐĞƵŶĚĞƌ^ƚĂƚĞŽƌ
          &ĞĚĞƌĂů>Ăǁ͕ŽƌĂĐŽŶǀŝĐƚŝŽŶĨŽƌĂŵŝƐĚĞŵĞĂŶŽƌǁŚĞŶƚŚĞĐƌŝŵĞŝŶǀŽůǀĞƐŬŶŽǁŝŶŐĂŶĚŝŶƚĞŶƚŝŽŶĂůĐŽŶĚƵĐƚĞǀŝĚĞŶĐŝŶŐ
          ǁŝůůĨƵůĚĞĐĞŝƚ͕ĂĐĂůĐƵůĂƚĞĚĚŝƐƌĞŐĂƌĚĨŽƌŚŽŶĞƐƚĚĞĂůŝŶŐƐ͕ŽƌŝŶƚĞŶƚŝŽŶĂůĚŝƐŚŽŶĞƐƚǇŽƌĐŽƌƌƵƉƚŝŽŶŽĨƉƵƌƉŽƐĞ͘ ϯϰdŚŝƐ
          ƉƌŽǀŝƐŝŽŶĂƉƉůŝĞƐƚŽĐƌŝŵĞƐĐŽŵŵŝƚƚĞĚŽŶŽƌŽĨĨͲĚƵƚǇ͘KĂƚŚŽĨKĨĨŝĐĞŽĨĨĞŶƐĞƐŝŶĐůƵĚĞ͕ďƵƚĂƌĞŶŽƚŶĞĐĞƐƐĂƌŝůǇůŝŵŝƚĞĚ
          ƚŽ͕KĨĨŝĐŝĂůDŝƐĐŽŶĚƵĐƚĂŶĚWĞƌũƵƌǇĂŵŽŶŐŽƚŚĞƌĐƌŝŵĞƐ͘ϯϱ
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          ĚĚŝƚŝŽŶĂůZĞƋƵŝƌĞŵĞŶƚƐ
          /ŶĂĚĚŝƚŝŽŶƚŽƚŚĞƉĞŶĂůƚŝĞƐŽƵƚůŝŶĞĚĂďŽǀĞ͕ƚŚĞĞƉĂƌƚŵĞŶƚŵĂǇƌĞƋƵŝƌĞĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞƚŽƉĂƌƚŝĐŝƉĂƚĞŝŶ
          ĐŽƵŶƐĞůŝŶŐŽƌŵŽŶŝƚŽƌŝŶŐƉƌŽŐƌĂŵƐ͕ĚĞƐŝŐŶĞĚƚŽƉƌĞǀĞŶƚĂŶǇĨƵƚƵƌĞŵŝƐĐŽŶĚƵĐƚĨƌŽŵŽĐĐƵƌƌŝŶŐďǇĂĚĚƌĞƐƐŝŶŐƚŚŽƐĞ
          ŝƐƐƵĞƐƚŚĂƚƐƵƌĨĂĐĞĚŝŶƚŚĞĂĚũƵĚŝĐĂƚŝŽŶŽĨƚŚĞŵŝƐĐŽŶĚƵĐƚ͘
          DŽŶŝƚŽƌŝŶŐʹŶĂƐƐĞƐƐŵĞŶƚǁŝůůďĞŵĂĚĞďǇƚŚĞZŝƐŬDĂŶĂŐĞŵĞŶƚƵƌĞĂƵƚŽĚĞƚĞƌŵŝŶĞǁŚĞƚŚĞƌƚŚĞŵĞŵďĞƌŽĨ
          ƚŚĞƐĞƌǀŝĐĞǁŽƵůĚďĞŶĞĨŝƚĨƌŽŵŵŽŶŝƚŽƌŝŶŐŐĞĂƌĞĚƚŽǁĂƌĚĂƐƐƵƌŝŶŐƚŚĂƚĂĚĚŝƚŝŽŶĂůŵŝƐĐŽŶĚƵĐƚǁŝůůďĞĂǀŽŝĚĞĚ͘
          KƌĚĞƌĞĚ ƌĞĂƚŚ dĞƐƚŝŶŐ WƌŽŐƌĂŵ ʹ ŶǇ ŶĞŐŽƚŝĂƚĞĚ ƉĞŶĂůƚǇ ŝŶ Ă ĞƉĂƌƚŵĞŶƚ ĚŝƐĐŝƉůŝŶĂƌǇ ƉƌŽĐĞĞĚŝŶŐ ŝŶǀŽůǀŝŶŐ Ă
          ŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞǁŚŽŝƐĚĞƚĞƌŵŝŶĞĚƚŽŚĂǀĞĐŽŵŵŝƚƚĞĚĂt/ŽĨĨĞŶƐĞ͕ĞŝƚŚĞƌďǇŽƉĞƌĂƚŝŶŐĂŵŽƚŽƌǀĞŚŝĐůĞ
          ǁŚŝůĞŝŶƚŽǆŝĐĂƚĞĚŽƌǁŚŝůĞƚŚĞŝƌĂďŝůŝƚǇƚŽŽƉĞƌĂƚĞĂǀĞŚŝĐůĞŝƐŝŵƉĂŝƌĞĚďǇƚŚĞĐŽŶƐƵŵƉƚŝŽŶŽĨĂůĐŽŚŽůŽƌĂŶŽƚŚĞƌ
          ƐƵďƐƚĂŶĐĞ͕ Žƌ ŽƚŚĞƌ ĂůĐŽŚŽůͲƌĞůĂƚĞĚ ŵŝƐĐŽŶĚƵĐƚ͕ ƐŚĂůů ŝŶĐůƵĚĞ Ă ƉĞƌŝŽĚ ŽĨ ŝƐŵŝƐƐĂů WƌŽďĂƚŝŽŶ͘ &ƵƌƚŚĞƌ͕ ĂŶǇ ƐƵĐŚ
          ŶĞŐŽƚŝĂƚŝŽŶƐŚĂůůŝŶĐůƵĚĞƚŚĞŵĞŵďĞƌ͛ƐĂŐƌĞĞŵĞŶƚƚŽƐƵďŵŝƚƚŽŽƌĚĞƌĞĚďƌĞĂƚŚƚĞƐƚŝŶŐĨŽƌƚŚĞƉƌĞƐĞŶĐĞŽĨĂůĐŽŚŽů
          ǁŚŝůĞŽŶŽƌŽĨĨͲĚƵƚǇ͕ĚƵƌŝŶŐƚŚĞƉĞƌŝŽĚŽĨƉƌŽďĂƚŝŽŶ͕ŽƌŽƚŚĞƌĂŐƌĞĞĚͲƵƉŽŶƚŝŵĞƉĞƌŝŽĚ͘^ŚŽƵůĚƚŚĞŵĞŵďĞƌďĞĨŽƵŶĚ
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          Ϯϴ^ĞĞƵĨĨǇǀ͘tĂƌĚ͕ϴϭEzϮĚϭϮϳ;ϭϵϵϯͿĂŶĚ&ŽůĞǇǀ͘ƌĂƚƚŽŶ͕ϵϮEzϮĚϳϴϭĂŶĚϳϴϵ;ϭϵϵϵͿ͘
          Ϯϵ
              ^ĞĞEĞǁzŽƌŬŝǀŝů^ĞƌǀŝĐĞ>ĂǁΑϳϱ;ϯͿ͘
          ϯϬ
              EĞǁzŽƌŬWƵďůŝĐKĨĨŝĐĞƌƐ>ĂǁΑϯϬ;ϭͿ;ĞͿ͘
          ϯϭ^ĞĞEĞǁzŽƌŬZĞƚŝƌĞŵĞŶƚĂŶĚ^ŽĐŝĂů^ĞĐƵƌŝƚǇ>Ăǁƌƚ͘ϴĂŶĚƌĞůĂƚĞĚĐĂƐĞůĂǁ͘^ĞĞĂůƐŽ͕EĞǁzŽƌŬŝƚǇĚŵŝŶŝƐƚƌĂƚŝǀĞŽĚĞΑ

          ϭϯͲϮϱϲ;ϭͿ͘
          ϯϮ/ďŝĚ͘
          ϯϯEĞǁzŽƌŬWƵďůŝĐKĨĨŝĐĞƌƐ>ĂǁΑϯϬ;ϭͿ;ĞͿ͘
          ϯϰ^ĞĞƵĨĨǇǀ͘tĂƌĚ͘
          ϯϱ
             dŚĞĐŽƵƌƚƐŚĂǀĞŚĞůĚƚŚĂƚƚŚĞĐŽŵŵŝƐƐŝŽŶŽĨƚŚĞĨŽůůŽǁŝŶŐĐƌŝŵĞƐ͕ǁŚŝůĞŶŽƚĞǆŚĂƵƐƚŝǀĞ͕ĐŽŶƐƚŝƚƵƚĞƐĂǀŝŽůĂƚŝŽŶŽĨĂƉƵďůŝĐ
          ŽĨĨŝĐĞƌ͛ƐŽĂƚŚŽĨŽĨĨŝĐĞ͗WĞƌũƵƌǇ͕KĨĨŝĐŝĂůDŝƐĐŽŶĚƵĐƚ͕ƌŝďĞƌǇĂŶĚƌĞůĂƚĞĚŽĨĨĞŶƐĞƐ͕ŐŐƌĂǀĂƚĞĚ,ĂƌĂƐƐŵĞŶƚ͕DĞŶĂĐŝŶŐ͕ƐƐĂƵůƚ͕
          ZĞĐŬůĞƐƐŶĚĂŶŐĞƌŵĞŶƚ͕^ƚĂůŬŝŶŐ͕^ĞǆďƵƐĞϯƌĚĞŐƌĞĞ͕&ĂůƐŝĨǇŝŶŐƵƐŝŶĞƐƐZĞĐŽƌĚƐ͕KĨĨĞƌŝŶŐĂ&ĂůƐĞ/ŶƐƚƌƵŵĞŶƚĨŽƌ&ŝůŝŶŐ͕ĂŶĚ
          ŶĚĂŶŐĞƌŝŶŐƚŚĞtĞůĨĂƌĞŽĨĂŚŝůĚ͘
                                                                                                                                     ϭϱ
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    ƚŽďĞŝŶǀŝŽůĂƚŝŽŶŽĨƚŚĞƚĞƌŵƐŽĨƚŚĞŽƌĚĞƌĞĚďƌĞĂƚŚƚĞƐƚŝŶŐĂŐƌĞĞŵĞŶƚ͕ŽƌƐŚŽƵůĚƚŚĞŵĞŵďĞƌƌĞĨƵƐĞƚŽƐƵďŵŝƚƚŽ
    ŽƌĚĞƌĞĚďƌĞĂƚŚƚĞƐƚŝŶŐ͕ƐƵĐŚƌĞĨƵƐĂůǁŝůůƌĞƐƵůƚŝŶĂĚĚŝƚŝŽŶĂůĚŝƐĐŝƉůŝŶĂƌǇĂĐƚŝŽŶĂŐĂŝŶƐƚƚŚĞŵĞŵďĞƌƚŚĂƚŵĂǇŝŶĐůƵĚĞ
    ƚĞƌŵŝŶĂƚŝŽŶ͘
    ŽŽƉĞƌĂƚŝŽŶǁŝƚŚŽƵŶƐĞůŝŶŐʹDĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞĂƌĞƌĞƋƵŝƌĞĚƚŽĐŽŽƉĞƌĂƚĞǁŝƚŚĂůůĐŽƵŶƐĞůŝŶŐĂƐĚĞƚĞƌŵŝŶĞĚ
    ďǇƚŚĞĞƉĂƌƚŵĞŶƚ͛ƐŽƵŶƐĞůŝŶŐ^ĞƌǀŝĐĞƐhŶŝƚ͘
    KƌĚĞƌĞĚƌƵŐ^ĐƌĞĞŶŝŶŐdĞƐƚʹtŚĞŶƌĞĂƐŽŶĂďůĞƐƵƐƉŝĐŝŽŶĞǆŝƐƚƐƚŚĂƚĂŵĞŵďĞƌŽĨƚŚĞĞƉĂƌƚŵĞŶƚŝƐŝůůĞŐĂůůǇƵƐŝŶŐ
    ĚƌƵŐƐŽƌĐŽŶƚƌŽůůĞĚͬďĂŶŶĞĚƐƵďƐƚĂŶĐĞƐ͕ŚĞŽƌƐŚĞǁŝůůďĞĚŝƌĞĐƚĞĚƚŽƐƵďŵŝƚƚŽƚĞƐƚŝŶŐŝŶǁŚŝĐŚŚĂŝƌĂŶĚͬŽƌƵƌŝŶĞĂƌĞ
    ĐŽůůĞĐƚĞĚĂŶĚƚĞƐƚĞĚ͘
    &ŽƌĨĞŝƚƵƌĞ ŽĨ dŝŵĞ ĂŶĚ >ĞĂǀĞ ĂůĂŶĐĞ ʹ Ɛ ƉĂƌƚ ŽĨ ƐĞƚƚůĞŵĞŶƚ ĂŐƌĞĞŵĞŶƚƐ ƚŚĂƚ ŝŶĐůƵĚĞ ƐĞƉĂƌĂƚŝŽŶ ĨƌŽŵ ƚŚĞ
    ĞƉĂƌƚŵĞŶƚ͕ƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞƐŚĂůůďĞƌĞƋƵŝƌĞĚƚŽĨŽƌĨĞŝƚĂŶǇƚŝŵĞĂŶĚůĞĂǀĞďĂůĂŶĐĞƐ͘ /ŶĂĚĚŝƚŝŽŶ͕ŝŶĐĂƐĞƐ
    ŝŶǁŚŝĐŚĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝƐĨŽƵŶĚƚŽŚĂǀĞƌĞĐĞŝǀĞĚĐŽŵƉĞŶƐĂƚŝŽŶĨŽƌĚƵƚŝĞƐŶŽƚĂĐƚƵĂůůǇƉĞƌĨŽƌŵĞĚ͕ƚŚĞ
    ŵĞŵďĞƌǁŝůůďĞƌĞƋƵŝƌĞĚƚŽĨŽƌĨĞŝƚƚŚĞĂŵŽƵŶƚŽĨƚŝŵĞĨƌŽŵŚŝƐŽƌŚĞƌƚŝŵĞĂŶĚůĞĂǀĞďĂůĂŶĐĞ͘
    ZĞƐƚŝƚƵƚŝŽŶʹ/ŶĐĂƐĞƐŝŶǁŚŝĐŚĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝƐĨŽƵŶĚƚŽŚĂǀĞŝŵƉƌŽƉĞƌůǇƌĞĐĞŝǀĞĚĐŽŵƉĞŶƐĂƚŝŽŶ͕ƐƵĐŚĂƐ
    ĨŽƌĚƵƚŝĞƐƚŚĂƚǁĞƌĞŶŽƚƉĞƌĨŽƌŵĞĚ͕ƌĞƚƵƌŶŽƌƌĞƉĂǇŵĞŶƚŽĨƚŚĞĐŽŵƉĞŶƐĂƚŝŽŶŵĂǇďĞƌĞƋƵŝƌĞĚ͘ ZĞƐƚŝƚƵƚŝŽŶŝƐŵĂĚĞ
    ƉĂǇĂďůĞƚŽƚŚĞEĞǁzŽƌŬŝƚǇŽŵŵŝƐƐŝŽŶĞƌŽĨ&ŝŶĂŶĐĞ͘
    &ŝŶĞʹĨŝŶĞŶŽƚƚŽĞǆĐĞĞĚΨϭϬϬƉĞƌĐŚĂƌŐĞŵĂǇďĞĚĞĚƵĐƚĞĚĨƌŽŵƚŚĞƐĂůĂƌǇŽƌǁĂŐĞƐŽĨĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ͘ϯϲ
    ĚĚŝƚŝŽŶĂůdĞƌŵƐʹŶǇƚĞƌŵƐŶŽƚĞǆƉƌĞƐƐůǇĚĞĨŝŶĞĚŚĞƌĞŝŶƐŚĂůůŚĂǀĞƚŚĞŝƌƐĂŵĞŵĞĂŶŝŶŐƐĂƐŝŶEĞǁzŽƌŬ^ƚĂƚĞ
    >Ăǁ͕ĞƉĂƌƚŵĞŶƚĂůƉƌŽĐĞĚƵƌĞŽƌŝŶĐŽŵŵŽŶƉĂƌůĂŶĐĞ͘
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          ^ĞĞEĞǁzŽƌŬŝǀŝů^ĞƌǀŝĐĞ>ĂǁΑϳϱ;ϯͿ͘
                                                                                                                       ϭϲ
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           ^ƉĞĐŝĨŝĐWĞŶĂůƚǇ'ƵŝĚĞůŝŶĞƐďǇĂƚĞŐŽƌǇ
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           ŽŶĚƵĐƚŽŶƐƚŝƚƵƚŝŶŐĂƌŝŵĞWƌŽƐĐƌŝďĞĚďǇ^ƚĂƚĞŽƌ&ĞĚĞƌĂů>Ăǁϯϳ
           ŽŶĚƵĐƚ ƚŚĂƚ ŝƐ ƉƌŽŚŝďŝƚĞĚ ďǇ ĐƌŝŵŝŶĂů ƐƚĂƚƵƚĞƐ Žƌ ŽƚŚĞƌ ĂƉƉůŝĐĂďůĞ ůĂǁƐ ŝƐ ĂůƐŽ ƉƌŽŚŝďŝƚĞĚ ďǇ ƚŚĞ ĞƉĂƌƚŵĞŶƚ
           ƌĞŐĂƌĚůĞƐƐŽĨǁŚĞƚŚĞƌƚŚĞƌĞŝƐĂƉƌŽĐĞĚƵƌĂůĐŽƌŽůůĂƌǇĐŽĚŝĨŝĞĚŝŶĂĞƉĂƌƚŵĞŶƚƉŽůŝĐǇŽƌƉƌŽĐĞĚƵƌĞ͘ϯϴ^ƵĐŚĐŽŶĚƵĐƚ͕
           ŝŶĂĚĚŝƚŝŽŶƚŽǀŝŽůĂƚŝŶŐĞƉĂƌƚŵĞŶƚƐƚĂŶĚĂƌĚƐŽĨĐŽŶĚƵĐƚ͕ŵĂǇŶĞŐĂƚŝǀĞůǇĂĨĨĞĐƚĂŶŽĨĨŝĐĞƌ͛ƐĂďŝůŝƚǇƚŽƉĞƌĨŽƌŵŚŝƐͬŚĞƌ
           ũŽďĨƵŶĐƚŝŽŶƐ͘tŚĞŶŵŝƐĐŽŶĚƵĐƚďǇĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĂůƐŽĐŽŶƐƚŝƚƵƚĞƐĂĐƌŝŵĞ͕ŚĞŽƌƐŚĞŝƐƐƵďũĞĐƚƚŽƚŚĞ
           ĐƌŝŵŝŶĂůũƵƐƚŝĐĞƉƌŽĐĞƐƐŝŶĂĚĚŝƚŝŽŶƚŽƚŚĞĂĚŵŝŶŝƐƚƌĂƚŝǀĞĚŝƐĐŝƉůŝŶĞƉƌŽĐĞƐƐĚĞƐĐƌŝďĞĚŚĞƌĞŝŶ͘
           ŶĂƌƌĞƐƚ͕ĐŚĂƌŐŝŶŐ͕ŽƌĐŽŶǀŝĐƚŝŽŶŽĨĂĐƌŝŵŝŶĂůŽĨĨĞŶƐĞŝƐŶŽƚƌĞƋƵŝƌĞĚƚŽĨŝŶĚƚŚĂƚƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŚĂƐ
           ĞŶŐĂŐĞĚŝŶĐŽŶĚƵĐƚƚŚĂƚŝƐƉƌŽŚŝďŝƚĞĚďǇůĂǁĂŶĚͬŽƌĞƉĂƌƚŵĞŶƚƉŽůŝĐǇ͘^ŝŵŝůĂƌůǇ͕ĂĞĐůŝŶĂƚŝŽŶƚŽWƌŽƐĞĐƵƚĞďǇĂ
           ƉƌŽƐĞĐƵƚŽƌ͕ĂǀŽƚĞŽĨ͞ŶŽƚƌƵĞďŝůů͟ďǇĂŐƌĂŶĚũƵƌǇ͕ŽƌĂ͞ŶŽƚŐƵŝůƚǇ͟ĚĞƚĞƌŵŝŶĂƚŝŽŶďǇĂũƵĚŐĞŽƌũƵƌǇŝƐŶŽƚĚŝƐƉŽƐŝƚŝǀĞ
           ŝŶƚŚĞƐĞŵĂƚƚĞƌƐ͕ĂƐƚŚĞƐƚĂŶĚĂƌĚŽĨƉƌŽŽĨĨŽƌĐƌŝŵŝŶĂůƉƌŽĐĞĞĚŝŶŐƐ;͞ďĞǇŽŶĚĂƌĞĂƐŽŶĂďůĞĚŽƵďƚ͟ͿŝƐĂŵƵĐŚŚŝŐŚĞƌ
           ďƵƌĚĞŶŽĨƉƌŽŽĨƚŚĂŶƚŚĂƚƌĞƋƵŝƌĞĚŝŶĂĚŝƐĐŝƉůŝŶĂƌǇƉƌŽĐĞĞĚŝŶŐ;͞ƉƌĞƉŽŶĚĞƌĂŶĐĞŽĨƚŚĞĞǀŝĚĞŶĐĞ͟Ϳ͘

           tŚĞŶĂĐƌŝŵŝŶĂůĐĂƐĞŚĂƐďĞĞŶďƌŽƵŐŚƚϯϵ͕ƚŚĞĞƉĂƌƚŵĞŶƚŵĂǇŽƉƚƚŽƉƌŽĐĞĞĚǁŝƚŚƚŚĞĂĚŵŝŶŝƐƚƌĂƚŝǀĞĚŝƐĐŝƉůŝŶĂƌǇ
           ĐĂƐĞǁŚŝůĞƐƵĐŚĐƌŝŵŝŶĂůĐĂƐĞŝƐƉĞŶĚŝŶŐŽƌŵĂǇĂǁĂŝƚƚŚĞĚŝƐƉŽƐŝƚŝŽŶŽĨƚŚĞĐƌŝŵŝŶĂůŵĂƚƚĞƌďĞĨŽƌĞƉƌŽĐĞĞĚŝŶŐ͘/Ŷ
           ĐĂƐĞƐ ǁŚĞŶ ƚŚĞ ĞƉĂƌƚŵĞŶƚ ĐŚŽŽƐĞƐ ƚŽ ƉƌŽĐĞĞĚ ďĞĨŽƌĞ ƚŚĞ ŽƵƚĐŽŵĞ ŽĨ Ă ĐƌŝŵŝŶĂů ĐĂƐĞ͕ ŝƚ ǁŝůů ĞŶƐƵƌĞ ƚŚĂƚ
           ĐŽŶƐƚŝƚƵƚŝŽŶĂů ƐĂĨĞŐƵĂƌĚƐ ĂƐ ŽƵƚůŝŶĞĚ ŝŶ 'ĂƌƌŝƚǇ ǀ͘ EĞǁ :ĞƌƐĞǇϰϬ͕ ĂƌĞ ĨŽůůŽǁĞĚ͘ DĂŶǇ ĨĂĐƚŽƌƐ ŵĂǇ ŝŶĨůƵĞŶĐĞ ƚŚĞ
           ĚĞĐŝƐŝŽŶƚŽƉƌŽĐĞĞĚƉƌŝŽƌƚŽƚŚĞŽƵƚĐŽŵĞŽĨĂĐƌŝŵŝŶĂůĐĂƐĞ͘dŚŝƐĚĞĐŝƐŝŽŶǁŝůůŐĞŶĞƌĂůůǇďĞŵĂĚĞŝŶĐŽŶƐƵůƚĂƚŝŽŶǁŝƚŚ
           ƚŚĞƉƌŽƐĞĐƵƚŽƌ͛ƐŽĨĨŝĐĞ͘dŚĞĨĂĐƚŽƌƐĨŽƌĐŽŶƐŝĚĞƌĂƚŝŽŶŝŶĐůƵĚĞ͕ďƵƚĂƌĞŶŽƚůŝŵŝƚĞĚƚŽ͗
                 x   dŚĞƐĞƌŝŽƵƐŶĞƐƐŽĨƚŚĞŽĨĨŝĐĞƌ͛ƐĂůůĞŐĞĚĐŽŶĚƵĐƚĂŶĚͬŽƌƚŚĞŶĂƚƵƌĞŽĨĐŚĂƌŐĞƐ
                 x   dŚĞƐƚƌĞŶŐƚŚŽĨƚŚĞĞǀŝĚĞŶĐĞ
                 x   dŚĞĂŵŽƵŶƚŽĨĂĚĚŝƚŝŽŶĂůŝŶǀĞƐƚŝŐĂƚŝŽŶŶĞĐĞƐƐĂƌǇ
                 x   dŚĞůĞŶŐƚŚŽĨƚŚĞĐƌŝŵŝŶĂůƉƌŽĐĞƐƐ
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                 x   dŚĞƉŽƚĞŶƚŝĂůŝŵƉĂĐƚŽŶƚŚĞĞƉĂƌƚŵĞŶƚĂŶĚĐŽŵŵƵŶŝƚǇ
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              dŚĞĐŽŶĚƵĐƚĚĞƐĐƌŝďĞĚŝŶƚŚŝƐƐĞĐƚŝŽŶŝŶĐůƵĚĞƐǀŝŽůĂƚŝŽŶŽĨĐƌŝŵŝŶĂůƐƚĂƚƵĞƐƉƌŽƐĐƌŝďĞĚďǇEĞǁzŽƌŬ^ƚĂƚĞ>Ăǁ͕&ĞĚĞƌĂů>Ăǁ͕Žƌ
           ĂŶĂŶĂůŽŐŽƵƐƐƚĂƚƵĞŽĨĂŶŽƚŚĞƌƐƚĂƚĞ͘
           ϯϴ^ŽŵĞĂĐƚƐĚĞƐĐƌŝďĞĚŝŶƚŚĞŽƚŚĞƌŵŝƐĐŽŶĚƵĐƚĐĂƚĞŐŽƌŝĞƐŽĨƚŚĞƐĞŐƵŝĚĞůŝŶĞƐŵĂǇĂůƐŽƐĂƚŝƐĨǇƚŚĞĞůĞŵĞŶƚƐŽĨĐƌŝŵŝŶĂůůǇ

           ƉƌŽƐĐƌŝďĞĚĐŽŶĚƵĐƚ͘
           ϯϵŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞǁŚŽŝƐĂƌƌĞƐƚĞĚƐŚŽƵůĚďĞƐƵƐƉĞŶĚĞĚĨƌŽŵĚƵƚǇĂďƐĞŶƚĞǆŝŐĞŶƚĐŝƌĐƵŵƐƚĂŶĐĞƐ͘^ĞĞWĂƚƌŽů'ƵŝĚĞ

           ƉƌŽĐĞĚƵƌĞϮϬϲͲϬϳ͕ĂƵƐĞĨŽƌ^ƵƐƉĞŶƐŝŽŶŽƌDŽĚŝĨŝĞĚƐƐŝŐŶŵĞŶƚ͘
           ϰϬϯϴϱh͘^͘ϰϵϯ;ϭϵϲϳͿ͘

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    WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌsŝŽůĂƚŝŽŶŽĨƌŝŵŝŶĂů^ƚĂƚƵƚĞƐϰϭ
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               DŝƐĐŽŶĚƵĐƚ                      DŝƚŝŐĂƚĞĚWĞŶĂůƚǇ WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚǇ                            ŐŐƌĂǀĂƚĞĚWĞŶĂůƚǇ
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        ĂŶŽƚŚĞƌƐƚĂƚĞͿŽƌ&ĞĚĞƌĂů                       Eͬ                         dĞƌŵŝŶĂƚŝŽŶ                             Eͬ
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          ŶƚƌǇͲůĞǀĞůWƌŽďĂƚŝŽŶ
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          ƚŚĞDĞŵďĞƌ͛ƐKĂƚŚŽĨ
                 KĨĨŝĐĞϰϮ
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         ŽŶǀŝĐƚŝŽŶŽĨEz^WĞŶĂů
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       >ĂǁƌŝŵĞŽĨWĞƚŝƚ>ĂƌĐĞŶǇ
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       ŽƌdŚĞĨƚZĞůĂƚĞĚKĨĨĞŶƐĞƐ
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        ;ŽƌĂŶĂůŽŐŽƵƐƐƚĂƚƵƚĞŽĨ
        ĂŶŽƚŚĞƌƐƚĂƚĞͿŽƌ&ĞĚĞƌĂů
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           ŶŐĂŐŝŶŐŝŶŽŶĚƵĐƚ
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        ĂŶŽƚŚĞƌƐƚĂƚĞͿŽƌ&ĞĚĞƌĂů
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    ĞƉĂƌƚŵĞŶƚĂůƉƌŽĐĞĚƵƌĞŽƌƉůĂŝŶůĂŶŐƵĂŐĞͬĐŽŵŵŽŶƉĂƌůĂŶĐĞ͘
    ϰϮ ^ĞĞ EĞǁ zŽƌŬ WƵďůŝĐ KĨĨŝĐĞƌƐ >Ăǁ Α ϯϬ;ϭͿ;ĞͿ͘dŚĞ ĐŽƵƌƚƐ ŚĂǀĞ ŚĞůĚ ƚŚĂƚ ƚŚĞ ĐŽŵŵŝƐƐŝŽŶ ŽĨ ƚŚĞ ĨŽůůŽǁŝŶŐ ĐƌŝŵĞƐ͕ ǁŚŝůĞ ŶŽƚ

    ĞǆŚĂƵƐƚŝǀĞ͕ĐŽŶƐƚŝƚƵƚĞƐĂǀŝŽůĂƚŝŽŶŽĨĂƉƵďůŝĐŽĨĨŝĐĞƌ͛ƐŽĂƚŚŽĨŽĨĨŝĐĞ͗WĞƌũƵƌǇ͕KĨĨŝĐŝĂůDŝƐĐŽŶĚƵĐƚ͕ƌŝďĞƌǇĂŶĚƌĞůĂƚĞĚŽĨĨĞŶƐĞƐ͕
    ŐŐƌĂǀĂƚĞĚ,ĂƌĂƐƐŵĞŶƚ͕DĞŶĂĐŝŶŐ͕ƐƐĂƵůƚ͕ZĞĐŬůĞƐƐŶĚĂŶŐĞƌŵĞŶƚ͕^ƚĂůŬŝŶŐ͕^ĞǆďƵƐĞϯƌĚĞŐƌĞĞ͕&ĂůƐŝĨǇŝŶŐƵƐŝŶĞƐƐZĞĐŽƌĚƐ͕
    KĨĨĞƌŝŶŐĂ&ĂůƐĞ/ŶƐƚƌƵŵĞŶƚĨŽƌ&ŝůŝŶŐ͕ĂŶĚŶĚĂŶŐĞƌŝŶŐƚŚĞtĞůĨĂƌĞŽĨĂŚŝůĚ͘
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                  ŶŐĂŐŝŶŐŝŶŽŶĚƵĐƚ
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               >ĂǁƚŚĂƚŝƐůĂƐƐŝĨŝĞĚĂƐĂ
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    hƐĞŽĨǆĐĞƐƐŝǀĞ&ŽƌĐĞ
    dŚĞƵƐĞŽƌĂƉƉůŝĐĂƚŝŽŶŽĨĞǆĐĞƐƐŝǀĞĨŽƌĐĞŝƐƐƚƌŝĐƚůǇƉƌŽŚŝďŝƚĞĚďǇƚŚĞĞƉĂƌƚŵĞŶƚ͘ŶǇǀŝŽůĂƚŝŽŶŽĨƚŚĞEzWhƐĞͲŽĨͲ
    &ŽƌĐĞƉŽůŝĐǇŝƐƐƵďũĞĐƚƚŽŵĂǆŝŵƵŵƐĐƌƵƚŝŶǇ͕ƌĞĐŽŐŶŝǌŝŶŐƚŚĞŐƌĂǀĞŝŵƉĂĐƚƚŚĂƚĞǆĐĞƐƐŝǀĞĨŽƌĐĞŚĂƐŽŶƚŚĞƉƵďůŝĐ͛Ɛ
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    dŚĞƉƵďůŝĐŚĂƐĞǀĞƌǇƌŝŐŚƚƚŽĞǆƉĞĐƚĂŶĚĚĞŵĂŶĚƚŚĂƚƚŚĞĞƉĂƌƚŵĞŶƚĂŶĚŝŶĚŝǀŝĚƵĂůŽĨĨŝĐĞƌƐďĞŚĞůĚĂĐĐŽƵŶƚĂďůĞ
    ĨŽƌĂŶǇĂŶĚĞǀĞƌǇǀŝŽůĂƚŝŽŶŽĨĞƉĂƌƚŵĞŶƚƉŽůŝĐǇ͘dŚŝƐŝƐĞƐƉĞĐŝĂůůǇŝŵƉŽƌƚĂŶƚĨŽƌĂŶǇǀŝŽůĂƚŝŽŶŽĨƚŚĞhƐĞͲŽĨͲ&ŽƌĐĞ
    ƉŽůŝĐǇ͘KĨĨŝĐĞƌƐƐŚŽƵůĚďĞĂǁĂƌĞƚŚĂƚ͕ŝĨƚŚĞǇĂƌĞĨŽƵŶĚƚŽŚĂǀĞƵƐĞĚĞǆĐĞƐƐŝǀĞĨŽƌĐĞĂĨƚĞƌĂĐŽŵƉůĞƚĞŝŶǀĞƐƚŝŐĂƚŝŽŶ
    ĂŶĚĨĂŝƌƚƌŝĂůŽƌĂĚŵŝƐƐŝŽŶŽĨŐƵŝůƚ͕ƚŚĞǇǁŝůůďĞƐƵďũĞĐƚƚŽĂƉƉƌŽƉƌŝĂƚĞĚŝƐĐŝƉůŝŶĞĐŽŵŵĞŶƐƵƌĂƚĞǁŝƚŚƚŚĞŝƌůĞǀĞůŽĨ
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    ƉƌŽƐĞĐƵƚŝŽŶĂŶĚĐŝǀŝůůŝƚŝŐĂƚŝŽŶĂŐĂŝŶƐƚƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝŶĂĐĐŽƌĚĂŶĐĞǁŝƚŚ&ĞĚĞƌĂů͕ƐƚĂƚĞ͕ĂŶĚůŽĐĂůůĂǁƐ͘
    dŚĞƉƌŝŵĂƌǇĚƵƚǇŽĨĂůůŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞŝƐƚŽƉƌŽƚĞĐƚŚƵŵĂŶůŝĨĞ͕ŝŶĐůƵĚŝŶŐƚŚĞůŝǀĞƐŽĨŝŶĚŝǀŝĚƵĂůƐďĞŝŶŐƉůĂĐĞĚ
    ŝŶƉŽůŝĐĞĐƵƐƚŽĚǇ͘dŚŝƐƉƌŝŵĂƌǇĚƵƚǇŝƐƌĞĨůĞĐƚĞĚŝŶWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϮϭͲϬϭ͕ǁŚŝĐŚĚĞĨŝŶĞƐƚŚĞĐŝƌĐƵŵƐƚĂŶĐĞƐ
    ƵŶĚĞƌǁŚŝĐŚĨŽƌĐĞŵĂǇďĞƵƐĞĚ͗͞&ŽƌĐĞŵĂǇďĞƵƐĞĚǁŚĞŶŝƚŝƐƌĞĂƐŽŶĂďůĞƚŽĞŶƐƵƌĞƚŚĞƐĂĨĞƚǇŽĨĂŵĞŵďĞƌŽĨƚŚĞ
    ƐĞƌǀŝĐĞŽƌĂƚŚŝƌĚƉĞƌƐŽŶ͕ŽƌŽƚŚĞƌǁŝƐĞƉƌŽƚĞĐƚůŝĨĞ͕ŽƌǁŚĞŶŝƚŝƐƌĞĂƐŽŶĂďůĞƚŽƉůĂĐĞĂƉĞƌƐŽŶŝŶĐƵƐƚŽĚǇŽƌƚŽƉƌĞǀĞŶƚ
    ĞƐĐĂƉĞĨƌŽŵĐƵƐƚŽĚǇ͘͟ dŚĞƌĞĂƐŽŶĂďůĞŶĞƐƐŽĨƚŚĞƵƐĞŽĨĨŽƌĐĞŝƐďĂƐĞĚƵƉŽŶƚŚĞƚŽƚĂůŝƚǇŽĨƚŚĞĐŝƌĐƵŵƐƚĂŶĐĞƐŬŶŽǁŶ
    ďǇƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĂƚƚŚĞƚŝŵĞŽĨƚŚĞƵƐĞŽĨĨŽƌĐĞ͘dŚĞĞƉĂƌƚŵĞŶƚĂƐƐĞƐƐĞƐƚŚĞƌĞĂƐŽŶĂďůĞŶĞƐƐŽĨĨŽƌĐĞ
    ǀŝĞǁĞĚĨƌŽŵƚŚĞƉĞƌƐƉĞĐƚŝǀĞŽĨĂŵĞŵďĞƌǁŝƚŚƐŝŵŝůĂƌƚƌĂŝŶŝŶŐĂŶĚĞǆƉĞƌŝĞŶĐĞƉůĂĐĞĚŝŶƚŽƚŚĞƐĂŵĞĐŝƌĐƵŵƐƚĂŶĐĞƐ
    ĂƐƚŚĞŝŶĐŝĚĞŶƚƵŶĚĞƌŝŶǀĞƐƚŝŐĂƚŝŽŶ͘/ĨƚŚĞĨŽƌĐĞƵƐĞĚŝƐƵŶƌĞĂƐŽŶĂďůĞƵŶĚĞƌƚŚĞĐŝƌĐƵŵƐƚĂŶĐĞƐ͕ŝƚǁŝůůďĞĚĞĞŵĞĚ
    ĞǆĐĞƐƐŝǀĞĂŶĚŝŶǀŝŽůĂƚŝŽŶŽĨĞƉĂƌƚŵĞŶƚƉŽůŝĐǇ͘
    tŚĞŶĂƉƉƌŽƉƌŝĂƚĞĂŶĚĐŽŶƐŝƐƚĞŶƚǁŝƚŚƉĞƌƐŽŶĂůƐĂĨĞƚǇ͕ŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞǁŝůůƵƐĞĚĞͲĞƐĐĂůĂƚŝŽŶƚĞĐŚŶŝƋƵĞƐƚŽ
    ƐĂĨĞůǇŐĂŝŶǀŽůƵŶƚĂƌǇĐŽŵƉůŝĂŶĐĞĨƌŽŵĂƐƵďũĞĐƚƚŽƌĞĚƵĐĞŽƌĞůŝŵŝŶĂƚĞƚŚĞŶĞĐĞƐƐŝƚǇƚŽƵƐĞĨŽƌĐĞ͘/ŶƐŝƚƵĂƚŝŽŶƐŝŶ
    ǁŚŝĐŚƚŚŝƐŝƐŶŽƚƐĂĨĞĂŶĚͬŽƌĂƉƉƌŽƉƌŝĂƚĞ͕ŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞǁŝůůƵƐĞŽŶůǇƚŚĞƌĞĂƐŽŶĂďůĞĨŽƌĐĞŶĞĐĞƐƐĂƌǇƚŽ
    ŐĂŝŶĐŽŶƚƌŽůŽƌĐƵƐƚŽĚǇŽĨĂƐƵďũĞĐƚ͘ůůŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞĂƌĞƌĞƐƉŽŶƐŝďůĞĂŶĚĂĐĐŽƵŶƚĂďůĞĨŽƌƚŚĞƉƌŽƉĞƌƵƐĞ
    ŽĨ ĨŽƌĐĞ͘ dŚĞ ĂƉƉůŝĐĂƚŝŽŶ ŽĨ ĨŽƌĐĞ ŵƵƐƚ ďĞ ĐŽŶƐŝƐƚĞŶƚ ǁŝƚŚ ĞǆŝƐƚŝŶŐ ůĂǁ ĂŶĚ ǁŝƚŚƚŚĞ EzW͛Ɛ ƉŽůŝĐŝĞƐ͕ ĞǀĞŶ ǁŚĞŶ
    ĞƉĂƌƚŵĞŶƚƉŽůŝĐǇŝƐŵŽƌĞƌĞƐƚƌŝĐƚŝǀĞƚŚĂŶůŽĐĂů͕ƐƚĂƚĞŽƌ&ĞĚĞƌĂůůĂǁ͘
    &ĂŝůƵƌĞƚŽŝŶƚĞƌǀĞŶĞŝŶƚŚĞƵƐĞŽĨĞǆĐĞƐƐŝǀĞĨŽƌĐĞ͕ƌĞƉŽƌƚĞǆĐĞƐƐŝǀĞĨŽƌĐĞ͕ŽƌƚŽƌĞƋƵĞƐƚĂŶĚͬŽƌĞŶƐƵƌĞƚŝŵĞůǇŵĞĚŝĐĂů
    ƚƌĞĂƚŵĞŶƚ ĨŽƌ ĂŶ ŝŶĚŝǀŝĚƵĂů ŝƐ ƐĞƌŝŽƵƐ ŵŝƐĐŽŶĚƵĐƚ ƚŚĂƚ ŵĂǇ ƌĞƐƵůƚ ŝŶ ĐƌŝŵŝŶĂů ĂŶĚ Đŝǀŝů ůŝĂďŝůŝƚǇ ĂŶĚ ǁŝůů ƌĞƐƵůƚ ŝŶ
    ĞƉĂƌƚŵĞŶƚ ĚŝƐĐŝƉůŝŶĞ͕ ƵƉ ƚŽ ĂŶĚ ŝŶĐůƵĚŝŶŐ ƚĞƌŵŝŶĂƚŝŽŶ͘ /Ĩ Ă ŵĞŵďĞƌ ŽĨ ƚŚĞ ƐĞƌǀŝĐĞ ďĞĐŽŵĞƐ ĂǁĂƌĞ ŽĨ Ă ƵƐĞ ŽĨ
    ĞǆĐĞƐƐŝǀĞĨŽƌĐĞŽƌĂĨĂŝůƵƌĞƚŽƌĞƋƵĞƐƚŽƌĞŶƐƵƌĞƚŝŵĞůǇŵĞĚŝĐĂůƚƌĞĂƚŵĞŶƚĨŽƌĂŶŝŶĚŝǀŝĚƵĂů͕ƚŚĞŵĞŵďĞƌŵƵƐƚƌĞƉŽƌƚ
    ƐƵĐŚŵŝƐĐŽŶĚƵĐƚƚŽƚŚĞ/ŽŵŵĂŶĚĞŶƚĞƌ͘dŚŝƐƌĞƉŽƌƚĐĂŶďĞŵĂĚĞĂŶŽŶǇŵŽƵƐůǇ͘
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    ĚĚŝƚŝŽŶĂůĞĨŝŶŝƚŝŽŶƐWĞƌƚĂŝŶŝŶŐƚŽhƐĞŽĨ&ŽƌĐĞ
    sŝŽůĂƚŝŽŶŽĨĞƉĂƌƚŵĞŶƚhƐĞͲŽĨͲ&ŽƌĐĞWŽůŝĐŝĞƐΘWƌŽĐĞĚƵƌĞƐʹŶǇĂĐƚďǇĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞƚŚĂƚǀŝŽůĂƚĞƐƚŚĞ
    ĞƉĂƌƚŵĞŶƚDĂŶƵĂů͕ƚƌĂŝŶŝŶŐ͕ŽƌĂŶǇŽƚŚĞƌƉŽůŝĐǇŽƌƌƵůĞŽĨƚŚĞEzWƌĞůĂƚŝŶŐƚŽhƐĞͲŽĨͲ&ŽƌĐĞ͘
    ĞͲƐĐĂůĂƚŝŽŶϰϰʹdĂŬŝŶŐĂĐƚŝŽŶŝŶŽƌĚĞƌƚŽƐƚĂďŝůŝǌĞĂƐŝƚƵĂƚŝŽŶĂŶĚƌĞĚƵĐĞƚŚĞŝŵŵĞĚŝĂĐǇŽĨƚŚĞƚŚƌĞĂƚƐŽƚŚĂƚŵŽƌĞ
    ƚŝŵĞ͕ŽƉƚŝŽŶƐ͕ĂŶĚͬŽƌƌĞƐŽƵƌĐĞƐďĞĐŽŵĞĂǀĂŝůĂďůĞ;Ğ͘Ő͘ƚĂĐƚŝĐĂůĐŽŵŵƵŶŝĐĂƚŝŽŶ͕ƌĞƋƵĞƐƚŝŶŐĂƐƵƉĞƌǀŝƐŽƌ͕ĂĚĚŝƚŝŽŶĂů
    ŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞĂŶĚͬŽƌƌĞƐŽƵƌĐĞƐƐƵĐŚĂƐŵĞƌŐĞŶĐǇ^ĞƌǀŝĐĞhŶŝƚŽƌ,ŽƐƚĂŐĞEĞŐŽƚŝĂƚŝŽŶdĞĂŵ͕ĞƚĐ͘Ϳ͘dŚĞ
    ŐŽĂůŝƐƚŽŐĂŝŶƚŚĞǀŽůƵŶƚĂƌǇĐŽŵƉůŝĂŶĐĞŽĨƚŚĞƐƵďũĞĐƚ͕ǁŚĞŶĂƉƉƌŽƉƌŝĂƚĞĂŶĚĐŽŶƐŝƐƚĞŶƚǁŝƚŚƉĞƌƐŽŶĂůƐĂĨĞƚǇ͕ŝŶ
    ŽƌĚĞƌƚŽƌĞĚƵĐĞŽƌĞůŝŵŝŶĂƚĞƚŚĞŶĞĐĞƐƐŝƚǇƚŽƵƐĞĨŽƌĐĞ͘
    ĐƚŝǀĞZĞƐŝƐƚŝŶŐϰϱʹ/ŶĐůƵĚĞƐƉŚǇƐŝĐĂůůǇĞǀĂƐŝǀĞŵŽǀĞŵĞŶƚƐƚŽĚĞĨĞĂƚĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ͛ƐĂƚƚĞŵƉƚĂƚĐŽŶƚƌŽů͕ŝŶĐůƵĚŝŶŐ
    ďƌĂĐŝŶŐ͕ƚĞŶƐŝŶŐ͕ƉƵƐŚŝŶŐŽƌǀĞƌďĂůůǇƐŝŐŶĂůŝŶŐĂŶŝŶƚĞŶƚŝŽŶƚŽĂǀŽŝĚŽƌƉƌĞǀĞŶƚďĞŝŶŐƚĂŬĞŶŝŶƚŽŽƌƌĞƚĂŝŶĞĚŝŶĐƵƐƚŽĚǇ͘
    ĐƚŝǀĞŐŐƌĞƐƐŝŽŶϰϲʹdŚƌĞĂƚŽƌŽǀĞƌƚĂĐƚŽĨĂŶĂƐƐĂƵůƚ;ƚŚƌŽƵŐŚƉŚǇƐŝĐĂůŽƌǀŽĐĂůŵĞĂŶƐͿ͕ĐŽƵƉůĞĚǁŝƚŚƚŚĞƉƌĞƐĞŶƚ
    ĂďŝůŝƚǇƚŽĐĂƌƌǇŽƵƚƚŚĞƚŚƌĞĂƚŽƌĂƐƐĂƵůƚ͕ǁŚŝĐŚƌĞĂƐŽŶĂďůǇŝŶĚŝĐĂƚĞƐƚŚĂƚĂŶĂƐƐĂƵůƚŽƌŝŶũƵƌǇƚŽĂŶǇƉĞƌƐŽŶŝƐŝŵŵŝŶĞŶƚ͘
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    ϰϰWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϮϭͲϬϭ͕&ŽƌĐĞ'ƵŝĚĞůŝŶĞƐ͘
    ϰϱWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϮϭͲϬϮ͕hƐĞŽĨ&ŽƌĐĞ͘
    ϰϲ/ďŝĚ͘

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           ǆĐĞƐƐŝǀĞ&ŽƌĐĞϰϳʹhƐĞͲŽĨͲĨŽƌĐĞĚĞĞŵĞĚďǇƚŚĞŝŶǀĞƐƚŝŐĂƚŝŶŐƐƵƉĞƌǀŝƐŽƌĂƐŐƌĞĂƚĞƌƚŚĂŶƚŚĂƚǁŚŝĐŚĂƌĞĂƐŽŶĂďůĞ
           ŽĨĨŝĐĞƌ͕ŝŶƚŚĞƐĂŵĞƐŝƚƵĂƚŝŽŶ͕ǁŽƵůĚƵƐĞƵŶĚĞƌƚŚĞĐŝƌĐƵŵƐƚĂŶĐĞƐƚŚĂƚĞǆŝƐƚĞĚĂŶĚǁĞƌĞŬŶŽǁŶƚŽƚŚĞŵĞŵďĞƌŽĨ
           ƚŚĞƐĞƌǀŝĐĞĂƚƚŚĞƚŝŵĞĨŽƌĐĞǁĂƐƵƐĞĚ͘
           ĞĂĚůǇWŚǇƐŝĐĂů&ŽƌĐĞʹWŚǇƐŝĐĂůĨŽƌĐĞǁŚŝĐŚ͕ƵŶĚĞƌƚŚĞĐŝƌĐƵŵƐƚĂŶĐĞƐŝŶǁŚŝĐŚŝƚŝƐƵƐĞĚ͕ŝƐƌĞĂĚŝůǇĐĂƉĂďůĞŽĨĐĂƵƐŝŶŐ
           ĚĞĂƚŚ Žƌ ŽƚŚĞƌƐĞƌŝŽƵƐ ƉŚǇƐŝĐĂů ŝŶũƵƌǇ ;Ğ͘Ő͘ ƚŚĞ ƵƐĞ ŽĨ Ă ĚĞĂĚůǇ ǁĞĂƉŽŶ͕ ƐƵĐŚ ĂƐ ĚŝƐĐŚĂƌŐŝŶŐ Ă ĨŝƌĞĂƌŵ͕ ĂŐĂŝŶƐƚ Ă
           ƉĞƌƐŽŶͿ͘ϰϴ
           EŽŶͲĞĂĚůǇ&ŽƌĐĞʹ&ŽƌĐĞŶŽƚƌĞĂĚŝůǇĐĂƉĂďůĞŽĨĐĂƵƐŝŶŐĚĞĂƚŚŽƌŽƚŚĞƌƐĞƌŝŽƵƐƉŚǇƐŝĐĂůŝŶũƵƌǇ;Ğ͘Ő͘ƉŚǇƐŝĐĂůĨŽƌĐĞ
           ƐƵĐŚĂƐĞŵƉůŽǇŝŶŐĂƚĂŬĞĚŽǁŶƚĞĐŚŶŝƋƵĞ͕ĂŶĚƵƐŝŶŐŚĂŶĚƐƚƌŝŬĞƐŽƌĨŽŽƚƐƚƌŝŬĞƐĂŐĂŝŶƐƚĂƉĞƌƐŽŶͿ͘
           >ĞƐƐ>ĞƚŚĂů&ŽƌĐĞͬĞǀŝĐĞʹdŚĞĂƉƉůŝĐĂƚŝŽŶŽĨĂƐŝŐŶŝĨŝĐĂŶƚŝŶƚĞƌŵĞĚŝĂƚĞƵƐĞŽĨĨŽƌĐĞŽƉƚŝŽŶŝŶĐůƵĚŝŶŐKůĞŽƌĞƐŝŶ
           ĂƉƐŝĐƵŵ;͞K͘͘͟ͿƐƉƌĂǇ͕ĐŽŶĚƵĐƚĞĚĞůĞĐƚƌŝĐĂůǁĞĂƉŽŶ;͞t͟ͿŽƌŝŵƉĂĐƚǁĞĂƉŽŶĂŐĂŝŶƐƚĂƉĞƌƐŽŶ͘ ϰϵ
           WŚǇƐŝĐĂů/ůůŶĞƐƐͬ/ŶũƵƌǇʹ/ŵƉĂŝƌŵĞŶƚŽĨƉŚǇƐŝĐĂůĐŽŶĚŝƚŝŽŶ͕ĂŶĚͬŽƌƐƵďƐƚĂŶƚŝĂůƉƌŽƚƌĂĐƚĞĚƉĂŝŶ͕ŝŶĐůƵĚŝŶŐ͗ŵŝŶŽƌ
           ƐǁĞůůŝŶŐ͕ĐŽŶƚƵƐŝŽŶƐ͕ůĂĐĞƌĂƚŝŽŶƐŽƌĂďƌĂƐŝŽŶƐ͘ ϱϬ
           ĞĂĚůǇǁĞĂƉŽŶʹŶǇůŽĂĚĞĚǁĞĂƉŽŶĨƌŽŵǁŚŝĐŚĂƐŚŽƚ͕ƌĞĂĚŝůǇĐĂƉĂďůĞŽĨƉƌŽĚƵĐŝŶŐĚĞĂƚŚŽƌŽƚŚĞƌƐĞƌŝŽƵƐƉŚǇƐŝĐĂů
           ŝŶũƵƌǇ͕ŵĂǇďĞĚŝƐĐŚĂƌŐĞĚ͘
           ĂŶŐĞƌŽƵƐŝŶƐƚƌƵŵĞŶƚʹŶǇŝŶƐƚƌƵŵĞŶƚ͕ǁŚŝĐŚ͕ƵŶĚĞƌƚŚĞĐŝƌĐƵŵƐƚĂŶĐĞƐŝŶǁŚŝĐŚŝƚŝƐƵƐĞĚ͕ŝƐƌĞĂĚŝůǇĐĂƉĂďůĞŽĨ
           ĐĂƵƐŝŶŐĚĞĂƚŚŽƌŽƚŚĞƌƐĞƌŝŽƵƐƉŚǇƐŝĐĂůŝŶũƵƌǇ͘
           ^ĞƌŝŽƵƐWŚǇƐŝĐĂů/ŶũƵƌǇͬ/ůůŶĞƐƐʹWŚǇƐŝĐĂůŝŶũƵƌǇŽƌŝůůŶĞƐƐƚŚĂƚĐƌĞĂƚĞƐĂƐƵďƐƚĂŶƚŝĂůƌŝƐŬŽĨĚĞĂƚŚ͕ŽƌǁŚŝĐŚĐĂƵƐĞƐ
           ƐĞƌŝŽƵƐĂŶĚƉƌŽƚƌĂĐƚĞĚĚŝƐĨŝŐƵƌĞŵĞŶƚ͕ƉƌŽƚƌĂĐƚĞĚŝŵƉĂŝƌŵĞŶƚŽĨŚĞĂůƚŚ͕ŽƌƉƌŽƚƌĂĐƚĞĚůŽƐƐŽƌŝŵƉĂŝƌŵĞŶƚŽĨĨƵŶĐƚŝŽŶ
           ŽĨĂŶǇďŽĚŝůǇŽƌŐĂŶͬůŝŵď͘ϱϭ
           ŚŽŬĞŚŽůĚϱϮʹĐŚŽŬĞŚŽůĚƐŚĂůůŝŶĐůƵĚĞ͕ďƵƚŝƐŶŽƚůŝŵŝƚĞĚƚŽ͕ĂŶǇƉƌĞƐƐƵƌĞƚŽƚŚĞƚŚƌŽĂƚ͕ĐĂƌŽƚŝĚĂƌƚĞƌǇŽƌǁŝŶĚƉŝƉĞ͕
           ǁŚŝĐŚŵĂǇƉƌĞǀĞŶƚŽƌŚŝŶĚĞƌďƌĞĂƚŚŝŶŐŽƌƌĞĚƵĐĞŝŶƚĂŬĞŽĨĂŝƌŽƌďůŽŽĚĨůŽǁ͘ϱϯ
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           ϰϳWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϮϭͲϬϭ͕&ŽƌĐĞ'ƵŝĚĞůŝŶĞƐ͘
           ϰϴEĞǁzŽƌŬWĞŶĂů>ĂǁΑϭϬ͘ϬϬ;ϭϭͿ͘
           ϰϵ^ĞĞ͕Ğ͘Ő͘WĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϮϭͲϬϴ͕hƐĞŽĨŽŶĚƵĐƚĞĚůĞĐƚƌŝĐĂůtĞĂƉŽŶƐ;tͿ͘
           ϱϬWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϮϭͲϬϯ͕ZĞƉŽƌƚŝŶŐĂŶĚ/ŶǀĞƐƚŝŐĂƚŝŽŶŽĨ&ŽƌĐĞ/ŶĐŝĚĞŶƚŽƌ/ŶũƵƌǇƚŽWĞƌƐŽŶƐƵƌŝŶŐWŽůŝĐĞĐƚŝŽŶ͘
           ϱϭ/ďŝĚ͘
           ϱϮWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϮϭͲϬϭ͕&ŽƌĐĞ'ƵŝĚĞůŝŶĞƐ͘
           ϱϯ/ďŝĚ͘

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    WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌhƐĞŽĨǆĐĞƐƐŝǀĞ&ŽƌĐĞ
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               DŝƐĐŽŶĚƵĐƚ                  DŝƚŝŐĂƚĞĚWĞŶĂůƚǇϱϰ        WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚǇ ŐŐƌĂǀĂƚĞĚWĞŶĂůƚǇ

        ĞĂĚůǇWŚǇƐŝĐĂů&ŽƌĐĞ;ŝŶĐů͘
        ƵƐĞŽĨĂĞĂĚůǇtĞĂƉŽŶŽƌ
          ĂŶŐĞƌŽƵƐ/ŶƐƚƌƵŵĞŶƚͿ
            ŐĂŝŶƐƚŶŽƚŚĞƌʹ
                ZĞƐƵůƚŝŶŐŝŶ͗

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           ĞĂƚŚͬ^ĞƌŝŽƵƐWŚǇƐŝĐĂů
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                  /ŶũƵƌǇ

               WŚǇƐŝĐĂů/ŶũƵƌǇ               &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ               dĞƌŵŝŶĂƚŝŽŶ                        Eͬ
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                  EŽ/ŶũƵƌǇ                   ϯϬWĞŶĂůƚǇĂǇƐн              dĞƌŵŝŶĂƚŝŽŶ                        Eͬ
                                              ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ

          >ĞƐƐ>ĞƚŚĂů&ŽƌĐĞͬĞǀŝĐĞ
             ŐĂŝŶƐƚŶŽƚŚĞƌʹ
                ZĞƐƵůƚŝŶŐŝŶ͗

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           ĞĂƚŚͬ^ĞƌŝŽƵƐWŚǇƐŝĐĂů
                                              &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ               dĞƌŵŝŶĂƚŝŽŶ                        Eͬ
                  /ŶũƵƌǇ

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               WŚǇƐŝĐĂů/ŶũƵƌǇ              ϭϱ^ƵƐƉĞŶƐŝŽŶĂǇƐ                                              dĞƌŵŝŶĂƚŝŽŶ
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                  EŽ/ŶũƵƌǇ                   ϭϬWĞŶĂůƚǇĂǇƐ              ϮϬWĞŶĂůƚǇĂǇƐ                 dĞƌŵŝŶĂƚŝŽŶ

          EŽŶͲĞĂĚůǇ&ŽƌĐĞŐĂŝŶƐƚ
           ŶŽƚŚĞƌʹZĞƐƵůƚŝŶŐŝŶ͗

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           ĞĂƚŚͬ^ĞƌŝŽƵƐWŚǇƐŝĐĂů
                                              &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ               dĞƌŵŝŶĂƚŝŽŶ                        Eͬ
                  /ŶũƵƌǇ

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               WŚǇƐŝĐĂů/ŶũƵƌǇ              ϭϬ^ƵƐƉĞŶƐŝŽŶĂǇƐ                                              dĞƌŵŝŶĂƚŝŽŶ
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                  EŽ/ŶũƵƌǇ                    ϱWĞŶĂůƚǇĂǇƐ              ϭϬWĞŶĂůƚǇĂǇƐ                 dĞƌŵŝŶĂƚŝŽŶ

           ŽŶǀŝĐƚŝŽŶŽĨĂƌŝŵĞ͗

             /ŶǀŽůǀŝŶŐhƐĞŽĨĂ                                                                     
           ŚŽŬĞŚŽůĚŽƌhŶůĂǁĨƵů                    Eͬ                      dĞƌŵŝŶĂƚŝŽŶ                        Eͬ
           DĞƚŚŽĚŽĨZĞƐƚƌĂŝŶƚϱϱ
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    ϱϰ
       /ĨĂŵŝƚŝŐĂƚĞĚƉĞŶĂůƚǇŝƐůŝƐƚĞĚĂƐ͞Eͬ͟;EŽƚƉƉůŝĐĂďůĞͿ͕ƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇĐĂŶŶŽƚďĞŵŝƚŝŐĂƚĞĚĂďƐĞŶƚĞǆƚƌĂŽƌĚŝŶĂƌǇ
    ĐŝƌĐƵŵƐƚĂŶĐĞƐ͕ĂƐĚĞƚĞƌŵŝŶĞĚďǇƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌ͘
    ϱϱ
       /ŶĐůƵĚĞƐĐŽŶǀŝĐƚŝŽŶƐĨŽƌEĞǁzŽƌŬWĞŶĂů>ĂǁΑϭϮϭ͘ϭϯͲĂ͕ŐŐƌĂǀĂƚĞĚ^ƚƌĂŶŐƵůĂƚŝŽŶ͕EĞǁzŽƌŬŝƚǇĚŵŝŶŝƐƚƌĂƚŝǀĞŽĚĞΑϭϬͲ
    ϭϴϭ͕hŶůĂǁĨƵůDĞƚŚŽĚƐŽĨZĞƐƚƌĂŝŶƚŽƌĂŶĂůŽŐŽƵƐƐƚĂƚƵƚĞ͘
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                     ŚŽŬĞŚŽůĚƐ͗

              ƉƉůŝĐĂƚŝŽŶŽĨĂŚŽŬĞŚŽůĚ          &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ              dĞƌŵŝŶĂƚŝŽŶ                        Eͬ

             ƉƉůŝĐĂƚŝŽŶŽĨĂDĞƚŚŽĚŽĨ
              ZĞƐƚƌĂŝŶƚWƌŽŚŝďŝƚĞĚďǇ
               >Ăǁ/ŶĐůƵĚŝŶŐ^ŝƚƚŝŶŐ͕
             ^ƚĂŶĚŝŶŐŽƌ<ŶĞĞůŝŶŐŽŶĂ
             WĞƌƐŽŶ͛ƐŚĞƐƚŽƌĂĐŬϱϲʹ
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                ĞĂƚŚͬ^ĞƌŝŽƵƐ
                                                          Eͬ                      dĞƌŵŝŶĂƚŝŽŶ                       Eͬ
                       WŚǇƐŝĐĂů/ŶũƵƌǇ

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                     WŚǇƐŝĐĂů/ŶũƵƌǇ                                            ϯϬWĞŶĂůƚǇĂǇƐн               dĞƌŵŝŶĂƚŝŽŶ
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                &ĂŝůƵƌĞƚŽ/ŶƚĞƌǀĞŶĞŝŶ͗
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             hŶĂƵƚŚŽƌŝǌĞĚhƐĞŽĨĞĂĚůǇ
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               ^ĞƌŝŽƵƐWŚǇƐŝĐĂů/ŶũƵƌǇŽƌ
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              WŚǇƐŝĐĂů&ŽƌĐĞZĞƐƵůƚŝŶŐŝŶ          ϮϬWĞŶĂůƚǇĂǇƐ                                              dĞƌŵŝŶĂƚŝŽŶ
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             WŚǇƐŝĐĂů&ŽƌĐĞEŽƚZĞƐƵůƚŝŶŐ          ϭϬWĞŶĂůƚǇĂǇƐ              ϮϬWĞŶĂůƚǇĂǇƐ
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              ZĞƐƵůƚŝŶŐŝŶĞĂƚŚͬ^ĞƌŝŽƵƐ                                        ϯϬWĞŶĂůƚǇĂǇƐн               dĞƌŵŝŶĂƚŝŽŶ
                                                  ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ
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           ϱϲ^ĞĞEĞǁzŽƌŬŝƚǇĚŵŝŶŝƐƚƌĂƚŝǀĞŽĚĞΑϭϬͲϭϴϭ͕hŶůĂǁĨƵůDĞƚŚŽĚƐŽĨZĞƐƚƌĂŝŶƚ͕ĂŶĚWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϮϭͲϬϮ͕hƐĞŽĨ

           &ŽƌĐĞ͘
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      &ĂŝůƵƌĞͬZĞĨƵƐĂůƚŽKďƚĂŝŶ
         DĞĚŝĐĂůƐƐŝƐƚĂŶĐĞ͗

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     /ŶƚĞŶƚŝŽŶĂůŽƌZĞĐŬůĞƐƐ;Ğ͘Ő͘
                                                                     ϯϬWĞŶĂůƚǇĂǇƐн
        ŝŶũƵƌǇͬŝůůŶĞƐƐŝƐƌĞĂĚŝůǇ        ϮϬWĞŶĂůƚǇĂǇƐ                                           dĞƌŵŝŶĂƚŝŽŶ
                                                                    ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ
          ĂƉƉĂƌĞŶƚŽƌǀŝƐŝďůĞͿ

           EĞŐůŝŐĞŶƚ&ĂŝůƵƌĞ              ϭWĞŶĂůƚǇĂǇ             ϱWĞŶĂůƚǇĂǇƐ              ϭϬWĞŶĂůƚǇĂǇƐ
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    ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůDŝƚŝŐĂƚŝŶŐ&ĂĐƚŽƌƐ
       x    EĂƚƵƌĞĂŶĚƐĞǀĞƌŝƚǇŽĨƚŚĞĐƌŝŵĞ
       x    WŚǇƐŝĐĂůĂĐƚŝŽŶƐƚĂŬĞŶďǇƚŚĞƐƵďũĞĐƚ
       x    ƵƌĂƚŝŽŶŽĨƚŚĞĂĐƚŝŽŶʹƌĞůĂƚŝǀĞůǇďƌŝĞĨŽƌŵŽŵĞŶƚĂƌǇ
       x    /ŵŵĞĚŝĂĐǇĂŶĚĚƵƌĂƚŝŽŶŽĨƚŚĞĐƌĞĚŝďůĞƚŚƌĞĂƚŽƌŚĂƌŵƚŽƚŚĞƐƵďũĞĐƚ͕ŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞ͕ĂŶĚͬŽƌ
            ĐŝǀŝůŝĂŶƐ
       x    tŚĞƚŚĞƌƚŚĞƐƵďũĞĐƚĞŶŐĂŐĞĚŝŶĂĐƚŝǀĞƌĞƐŝƐƚĂŶĐĞŽƌĞǆŚŝďŝƚĞĚĂĐƚŝǀĞĂŐŐƌĞƐƐŝŽŶ
       x    ĐƚƵĂůŝŶũƵƌǇƚŽŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ͕ŽƚŚĞƌŽĨĨŝĐĞƌƐŽƌĐŝǀŝůŝĂŶƐ
       x    WƌŽƉŽƌƚŝŽŶĂůŝƚǇŽĨĨŽƌĐĞƵƐĞĚ
       x    WƌŽŚŝďŝƚĞĚĨŽƌĐĞǁĂƐŝŶĐŝĚĞŶƚĂůƚŽĂŶŽƚŚĞƌǁŝƐĞĂƉƉƌŽƉƌŝĂƚĞƵƐĞŽĨĨŽƌĐĞĂŶĚĚŝĚŶŽƚƌĞƐƵůƚŝŶŚĂƌŵ
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    ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐ
       x    /ŶĂƉƉƌŽƉƌŝĂƚĞƉƵƌƉŽƐĞŽƌŵŽƚŝǀĂƚŝŽŶƐƵĐŚĂƐƚŚĞƵƐĞŽĨĨŽƌĐĞƚŽƉƵŶŝƐŚ͕ƌĞƚĂůŝĂƚĞ͕ĐŽĞƌĐĞŽƌŚĂƌĂƐƐĂƐƵďũĞĐƚ
            ĨŽƌĂŶǇƌĞĂƐŽŶŝŶĐůƵĚŝŶŐŵĂŬŝŶŐĂƐƚĂƚĞŵĞŶƚ
       x    ŽŶĚƵĐƚƌĞƐƵůƚƐŝŶĐƌŝŵŝŶĂůĐŚĂƌŐĞƐ
       x    ,ĂŶĚĐƵĨĨĞĚŽƌŽƚŚĞƌǁŝƐĞƌĞƐƚƌĂŝŶĞĚƉƌŝƐŽŶĞƌ
       x    WƌŽůŽŶŐĞĚŽƌĞǆĂŐŐĞƌĂƚĞĚĚƵƌĂƚŝŽŶŽĨƚŚĞĂĐƚŝŽŶ
       x    hƐĞŽĨǁĞĂƉŽŶŽƌŝŶƐƚƌƵŵĞŶƚĂůŝƚǇŽƵƚƐŝĚĞŽĨŐƵŝĚĞůŝŶĞƐͬŝŶĐŽŶƐŝƐƚĞŶƚǁŝƚŚŝƚƐŝŶƚĞŶĚĞĚƉƵƌƉŽƐĞ
       x    EĂƚƵƌĞĂŶĚƐĞǀĞƌŝƚǇŽĨƚŚĞƉŚǇƐŝĐĂůŝůůŶĞƐƐŽƌŝŶũƵƌǇ




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          ďƵƐĞŽĨƵƚŚŽƌŝƚǇ͕ŝƐĐŽƵƌƚĞƐǇĂŶĚKĨĨĞŶƐŝǀĞ>ĂŶŐƵĂŐĞ
          dŚĞĞƉĂƌƚŵĞŶƚƉƌŽŚŝďŝƚƐŵŝƐĐŽŶĚƵĐƚŝŶǀŽůǀŝŶŐƚŚĞĂďƵƐĞŽĨĂƵƚŚŽƌŝƚǇ͕ĚŝƐĐŽƵƌƚĞƐǇŽƌƵƐĞŽĨŽĨĨĞŶƐŝǀĞůĂŶŐƵĂŐĞ͕
          ŝŶĐůƵĚŝŶŐďƵƚŶŽƚůŝŵŝƚĞĚƚŽ͕ƐůƵƌƐƌĞůĂƚŝŶŐƚŽƌĂĐĞ͕ĞƚŚŶŝĐŝƚǇ͕ƌĞůŝŐŝŽŶ͕ŐĞŶĚĞƌ͕ƐĞǆƵĂůŽƌŝĞŶƚĂƚŝŽŶĂŶĚĚŝƐĂďŝůŝƚǇ͘dŚĞ
          ĞƉĂƌƚŵĞŶƚƚĂŬĞƐĞǀĞƌǇŝŶƐƚĂŶĐĞŽĨǀŝŽůĂƚŝŶŐƚŚĞďƵƐĞŽĨƵƚŚŽƌŝƚǇ͕ŝƐĐŽƵƌƚĞƐǇĂŶĚKĨĨĞŶƐŝǀĞ>ĂŶŐƵĂŐĞŐƵŝĚĞůŝŶĞƐ
          ĂŶĚƌĞůĂƚĞĚƉƌŽĐĞĚƵƌĞƐƐĞƌŝŽƵƐůǇ͘ĞĐĂƵƐĞŽĨƚŚĞƚƌƵƐƚƉůĂĐĞĚŝŶƚŚĞŵĂŶĚ͕ƚŚĞĚŝƐĐƌĞƚŝŽŶĂŶĚĂƵƚŚŽƌŝƚǇŐƌĂŶƚĞĚƚŽ
          ŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞ͕ƚŚĞĐŽŵŵƵŶŝƚǇŚĂƐĞǀĞƌǇƌŝŐŚƚƚŽĞǆƉĞĐƚĂŶĚĚĞŵĂŶĚƚŚĞŚŝŐŚĞƐƚůĞǀĞůŽĨĂĐĐŽƵŶƚĂďŝůŝƚǇ
          ĨƌŽŵƚŚĞĞƉĂƌƚŵĞŶƚ͕ĂƐǁĞůůĂƐĨƌŽŵŝŶĚŝǀŝĚƵĂůŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞ͘dŚŝƐŝƐĞƐƉĞĐŝĂůůǇŝŵƉŽƌƚĂŶƚŝŶĂŶǇǀŝŽůĂƚŝŽŶ
          ŽĨƚŚĞĂďƵƐĞŽĨĂƵƚŚŽƌŝƚǇ͕ĚŝƐĐŽƵƌƚĞƐǇŽƌƵƐĞŽĨŽĨĨĞŶƐŝǀĞůĂŶŐƵĂŐĞŐƵŝĚĞůŝŶĞƐ͘
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          ĚĚŝƚŝŽŶĂůĞĨŝŶŝƚŝŽŶƐ
          /ŶǀĞƐƚŝŐĂƚŝǀĞŶĐŽƵŶƚĞƌƐʹ/ŶĂĐĐŽƌĚĂŶĐĞǁŝƚŚƚŚĞŝƌŽĂƚŚƚŽƵƉŚŽůĚƚŚĞůĂǁ͕ƵŶŝĨŽƌŵĞĚŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞŵƵƐƚ
          ĐŽŶĚƵĐƚŝŶǀĞƐƚŝŐĂƚŝǀĞĞŶĐŽƵŶƚĞƌƐŝŶĂůĂǁĨƵůĂŶĚƌĞƐƉĞĐƚĨƵůŵĂŶŶĞƌ͘ŶŝŶǀĞƐƚŝŐĂƚŝǀĞĞŶĐŽƵŶƚĞƌŝƐĂƉŽůŝĐĞŝŶƚĞƌĂĐƚŝŽŶ
          ǁŝƚŚĂŵĞŵďĞƌŽĨƚŚĞƉƵďůŝĐĨŽƌĂůĂǁĞŶĨŽƌĐĞŵĞŶƚŽƌŝŶǀĞƐƚŝŐĂƚŝǀĞƉƵƌƉŽƐĞ͘dŚĞh͘^͘^ƵƉƌĞŵĞŽƵƌƚ͕ŝŶ dĞƌƌǇǀ͘
          KŚŝŽ͕ĞƐƚĂďůŝƐŚĞĚƚŚĞĂƵƚŚŽƌŝƚǇŽĨƉŽůŝĐĞƚŽƐƚŽƉĂŶĚƉŽƐƐŝďůǇĨƌŝƐŬĂƉĞƌƐŽŶ͕ƵŶĚĞƌĐĞƌƚĂŝŶĐŝƌĐƵŵƐƚĂŶĐĞƐ͘dŚĞEĞǁ
          zŽƌŬ^ƚĂƚĞŽƵƌƚŽĨƉƉĞĂůƐ͕ŝŶWĞŽƉůĞǀ͘ĞŽƵƌ͕ĞƐƚĂďůŝƐŚĞĚƚŚĞůĞǀĞůƐŽĨŝŶǀĞƐƚŝŐĂƚŝǀĞĞŶĐŽƵŶƚĞƌƐĂŶĚƚŚĞĂƵƚŚŽƌŝƚǇ
          ŽĨƚŚĞƉŽůŝĐĞĂƚĞĂĐŚůĞǀĞů͕ĐŽŶƐŝƐƚĞŶƚǁŝƚŚ&ĞĚĞƌĂůĐŽŶƐƚŝƚƵƚŝŽŶĂůƐƚĂŶĚĂƌĚƐ͘
          ^ƚŽƉʹƐƚŽƉŝƐĂŶǇĞŶĐŽƵŶƚĞƌďĞƚǁĞĞŶĂĐŝǀŝůŝĂŶĂŶĚĂƵŶŝĨŽƌŵĞĚ ŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝŶǁŚŝĐŚĂƌĞĂƐŽŶĂďůĞ
          ƉĞƌƐŽŶǁŽƵůĚŶŽƚĨĞĞůĨƌĞĞƚŽĚŝƐƌĞŐĂƌĚƚŚĞŽĨĨŝĐĞƌĂŶĚǁĂůŬĂǁĂǇ͘ tŚĞƚŚĞƌĂŶĞŶĐŽƵŶƚĞƌĂŵŽƵŶƚƐƚŽĂƐƚŽƉǁŝůůďĞ
          ũƵĚŐĞĚ ďǇ ƚŚĞ ĨĂĐƚƐ ĂŶĚ ĐŝƌĐƵŵƐƚĂŶĐĞƐ ŽĨ ƚŚĞ ĞŶĐŽƵŶƚĞƌ͘  ƐƚŽƉ ŵĂǇ ďĞ ĐŽŶĚƵĐƚĞĚ ŽŶůǇ ǁŚĞŶ ĂŶ ŽĨĨŝĐĞƌ ŚĂƐ ĂŶ
          ŝŶĚŝǀŝĚƵĂůŝǌĞĚƌĞĂƐŽŶĂďůĞƐƵƐƉŝĐŝŽŶƚŚĂƚƚŚĞƉĞƌƐŽŶƐƚŽƉƉĞĚŚĂƐĐŽŵŵŝƚƚĞĚ͕ŝƐĐŽŵŵŝƚƚŝŶŐŽƌŝƐĂďŽƵƚƚŽĐŽŵŵŝƚĂ
          ĨĞůŽŶǇŽƌWĞŶĂů>ĂǁŵŝƐĚĞŵĞĂŶŽƌ͘
          &ƌŝƐŬʹĨƌŝƐŬŝƐĂĐĂƌĞĨƵůůǇůŝŵŝƚĞĚƌƵŶŶŝŶŐŽĨƚŚĞŚĂŶĚƐŽǀĞƌƚŚĞŽƵƚƐŝĚĞŽĨĂƉĞƌƐŽŶ͛ƐĐůŽƚŚŝŶŐŝŶŽƌĚĞƌƚŽĨĞĞůĨŽƌĂ
          ĚĞĂĚůǇǁĞĂƉŽŶŽƌĂŶǇŝŶƐƚƌƵŵĞŶƚ͕ĂƌƚŝĐůĞŽƌƐƵďƐƚĂŶĐĞƌĞĂĚŝůǇĐĂƉĂďůĞŽĨĐĂƵƐŝŶŐƐĞƌŝŽƵƐƉŚǇƐŝĐĂůŝŶũƵƌǇ͘ĨƌŝƐŬŝƐ
          ĂƵƚŚŽƌŝǌĞĚǁŚĞŶƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞƌĞĂƐŽŶĂďůǇƐƵƐƉĞĐƚƐƚŚĞƉĞƌƐŽŶŝƐĂƌŵĞĚĂŶĚĚĂŶŐĞƌŽƵƐ͘
          ^ĞĂƌĐŚ ʹ /Ŷ ƚŚĞ ĐŽŶƚĞǆƚ ŽĨ ŝŶǀĞƐƚŝŐĂƚŝǀĞ ĞŶĐŽƵŶƚĞƌƐ͕ Ă ƐĞĂƌĐŚ ŽĐĐƵƌƐ ǁŚĞŶ ĂŶ ŽĨĨŝĐĞƌ ƉůĂĐĞƐ ƚŚĞŝƌ ŚĂŶĚƐ ŝŶƐŝĚĞ Ă
          ƉŽĐŬĞƚŽƌŽƚŚĞƌŝŶƚĞƌŝŽƌƉŽƌƚŝŽŶƐŽĨĂƉĞƌƐŽŶ͛ƐĐůŽƚŚŝŶŐŽƌƉĞƌƐŽŶĂůƉƌŽƉĞƌƚǇ͘
          ŝƐĐŽƵƌƚĞƐǇʹŝƐĐŽƵƌƚĞƐǇŵĂǇŝŶĐůƵĚĞĨŽƵůůĂŶŐƵĂŐĞ͕ĂĐƚŝŶŐŝŶĂƌƵĚĞŽƌƵŶƉƌŽĨĞƐƐŝŽŶĂůŵĂŶŶĞƌ;ƐƵĐŚĂƐĚĞŵĞĂŶŽƌ
          Žƌ ƚŽŶĞͿ͕ ĂŶĚ ĨůĂƐŚŝŶŐ ƌƵĚĞ Žƌ ŽĨĨĞŶƐŝǀĞ ŐĞƐƚƵƌĞƐ ƚŚĂƚ ŝƐ ƵŶũƵƐƚŝĨŝĞĚ Žƌ ƵŶǁĂƌƌĂŶƚĞĚ ǁŝƚŚ ŶŽ ůĞŐŝƚŝŵĂƚĞ ůĂǁ
          ĞŶĨŽƌĐĞŵĞŶƚƉƵƌƉŽƐĞ͘
                    ǆĂŵƉůĞ͗ĂŶŽĨĨŝĐĞƌŚŽůĚŝŶŐƵƉŚŝƐŵŝĚĚůĞĨŝŶŐĞƌƚŽĂŶŝŶĚŝǀŝĚƵĂůƌĞĐŽƌĚŝŶŐƚŚĞŽĨĨŝĐĞƌŽŶĂĐĞůůƉŚŽŶĞĐĂŵĞƌĂ͕
                    ǁŝƚŚŶŽůĞŐŝƚŝŵĂƚĞůĂǁĞŶĨŽƌĐĞŵĞŶƚƉƵƌƉŽƐĞ͘
          KĨĨĞŶƐŝǀĞ >ĂŶŐƵĂŐĞ ʹ KĨĨĞŶƐŝǀĞ ůĂŶŐƵĂŐĞ ŝƐ ŵŽƌĞ ƐĞƌŝŽƵƐ ĐŽŶĚƵĐƚ ƚŚĂŶ ĚŝƐĐŽƵƌƚĞƐǇ ĂŶĚ ŝŶĐůƵĚĞƐ ƐůƵƌƐ ďĂƐĞĚ ŽŶ
          ŵĞŵďĞƌƐŚŝƉŝŶĂƉƌŽƚĞĐƚĞĚĐůĂƐƐƐƵĐŚĂƐƌĂĐĞ͕ƌĞůŝŐŝŽŶ͕ĞƚŚŶŝĐŝƚǇ͕ŐĞŶĚĞƌ͕ŐĞŶĚĞƌŝĚĞŶƚŝƚǇ͕ƐĞǆƵĂůŽƌŝĞŶƚĂƚŝŽŶ͕ĂŐĞŽƌ
          ĚŝƐĂďŝůŝƚǇ͘KĨĨĞŶƐŝǀĞůĂŶŐƵĂŐĞŝƐĚŝƐƚŝŶŐƵŝƐŚĞĚĨƌŽŵ͞,ĂƚĞ^ƉĞĞĐŚ͟;ƐĞĞďĞůŽǁͿ͘
                    ǆĂŵƉůĞ͗ĂŶŽĨĨŝĐĞƌŝƐĂǁĂƌĞƚŚĂƚĂƚƌĂŶƐŐĞŶĚĞƌĨĞŵĂůĞŝĚĞŶƚŝĨŝĞƐĂƐĂǁŽŵĂŶǇĞƚƚŚĞŽĨĨŝĐĞƌƌĞĨĞƌƌĞĚƚŽƚŚĞ
                    ĐŽŵƉůĂŝŶĂŶƚĂƐ͞ŚĞ͕͟ŶŽƚƚŚĞĐŽŵƉůĂŝŶĂŶƚ͛ƐƉƌĞĨĞƌƌĞĚŐĞŶĚĞƌƉƌŽŶŽƵŶǁŚŝůĞƐƉĞĂŬŝŶŐƚŽŚĞƌ͘




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    WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌďƵƐĞŽĨƵƚŚŽƌŝƚǇ͕ŝƐĐŽƵƌƚĞƐǇ͕KĨĨĞŶƐŝǀĞ>ĂŶŐƵĂŐĞ
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                                                                                     WƌĞƐƵŵƉƚŝǀĞ                 ŐŐƌĂǀĂƚĞĚ
                    DŝƐĐŽŶĚƵĐƚ                       DŝƚŝŐĂƚĞĚWĞŶĂůƚǇ
                                                                                       WĞŶĂůƚǇ                    WĞŶĂůƚǇ

                 ^ĞǆƵĂůDŝƐĐŽŶĚƵĐƚ͗

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            ^ĞǆƵĂůWƌŽƉŽƐŝƚŝŽŶͬhŶǁĂŶƚĞĚ                                            ϯϬWĞŶĂůƚǇĂǇƐн
                                                              Eͬ                                                 dĞƌŵŝŶĂƚŝŽŶ
               sĞƌďĂů^ĞǆƵĂůĚǀĂŶĐĞƐ                                             ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ

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           ^ĞǆƵĂůůǇDŽƚŝǀĂƚĞĚŶĨŽƌĐĞŵĞŶƚ
                                                      ϯϬ^ƵƐƉĞŶƐŝŽŶĂǇƐн
            ĐƚŝŽŶͬ^ĞǆƵĂůdŽƵĐŚŝŶŐͬ^ĞǆƵĂů                                             dĞƌŵŝŶĂƚŝŽŶ                     Eͬ
                                                       ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ
                     ^ŽůŝĐŝƚĂƚŝŽŶϱϳ

                 /ŵƉƌŽƉĞƌͬtƌŽŶŐĨƵů͗

                    ^ƚŽƉŽĨWĞƌƐŽŶ                         dƌĂŝŶŝŶŐ                 ϯWĞŶĂůƚǇĂǇƐ            ϭϱWĞŶĂůƚǇĂǇƐ

                    &ƌŝƐŬŽĨWĞƌƐŽŶ                        dƌĂŝŶŝŶŐ                 ϯWĞŶĂůƚǇĂǇƐ            ϭϱWĞŶĂůƚǇĂǇƐ

                    ^ƚŽƉŽĨsĞŚŝĐůĞ                        dƌĂŝŶŝŶŐ                 ϯWĞŶĂůƚǇĂǇƐ            ϭϱWĞŶĂůƚǇĂǇƐ

                   ^ĞĂƌĐŚŽĨsĞŚŝĐůĞ                       dƌĂŝŶŝŶŐ                 ϯWĞŶĂůƚǇĂǇƐ            ϭϱWĞŶĂůƚǇĂǇƐ

          ^ĞĂƌĐŚͬ^ĞŝǌƵƌĞŽĨWĞƌƐŽŶͬWƌŽƉĞƌƚǇ                dƌĂŝŶŝŶŐ                 ϯWĞŶĂůƚǇĂǇƐ            ϭϱWĞŶĂůƚǇĂǇƐ
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          &ĂŝůƵƌĞƚŽŽǀĞƌͬWƌŽǀŝĚĞWƌŝǀĂĐǇ;ŝŶ
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           ĂƚŝŵĞůǇŵĂŶŶĞƌͿƚŽĂŶ/ŶͲĐƵƐƚŽĚǇ
                                                         ϱWĞŶĂůƚǇĂǇƐ             ϭϬWĞŶĂůƚǇĂǇƐ            ϮϬWĞŶĂůƚǇĂǇƐ
          /ŶĚŝǀŝĚƵĂů͛ƐǆƉŽƐĞĚ/ŶƚŝŵĂƚĞŽĚǇ
                          WĂƌƚƐ

          ^ƚƌŝƉ^ĞĂƌĐŚ;ƉƌŽĐĞĚƵƌĂůǀŝŽůĂƚŝŽŶͿ           ϱWĞŶĂůƚǇĂǇƐ             ϭϬWĞŶĂůƚǇĂǇƐ            ϮϬWĞŶĂůƚǇĂǇƐ

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                     ^ƚƌŝƉ^ĞĂƌĐŚ                                                 ϮϬ^ƵƐƉĞŶƐŝŽŶĂǇƐн
                                                        ϮϬWĞŶĂůƚǇĂǇƐ                                           dĞƌŵŝŶĂƚŝŽŶ
             ;ƵŶĂƵƚŚŽƌŝǌĞĚͬƵŶǁĂƌƌĂŶƚĞĚͿ                                            ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ

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            ŶĨŽƌĐĞŵĞŶƚĐƚŝŽŶŝŶǀŽůǀŝŶŐ
                                                        ϭϬWĞŶĂůƚǇĂǇƐ             ϮϬWĞŶĂůƚǇĂǇƐ              dĞƌŵŝŶĂƚŝŽŶ
          ďƵƐĞŽĨŝƐĐƌĞƚŝŽŶŽƌƵƚŚŽƌŝƚǇϱϴ

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          hŶůĂǁĨƵůŶƚƌǇWƌĞŵŝƐĞƐ;ƉƵƌƐƵĂŶƚ
                                                              Eͬ                       dƌĂŝŶŝŶŐ                ϭWĞŶĂůƚǇĂǇ
          ƚŽĂƉƵďůŝĐƐĞƌǀŝĐĞͬƐĂĨĞƚǇĨƵŶĐƚŝŽŶͿ
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           hŶůĂǁĨƵů^ĞĂƌĐŚͬŶƚƌǇWƌĞŵŝƐĞƐ
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           ;ĞŶƚƌǇŝŶǀŽůǀĞƐŝŶĐŝĚĞŶƚĂůŽƌĚĞ
                                                            dƌĂŝŶŝŶŐ                 ϯWĞŶĂůƚǇĂǇƐ             ϱWĞŶĂůƚǇĂǇƐ
          ŵŝŶŝŵŝƐƉŚǇƐŝĐĂůƉƌĞƐĞŶĐĞĞ͘Ő͘ĨŽŽƚ
                 ŽǀĞƌƚŚĞƚŚƌĞƐŚŽůĚͿ

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    ϱϳdŚŝƐŝŶĐůƵĚĞƐĂŶǇĐŽŶĚƵĐƚŽƌƐŽůŝĐŝƚĂƚŝŽŶĨŽƌƚŚĞƉƵƌƉŽƐĞŽĨƐĞǆƵĂůŐƌĂƚŝĨŝĐĂƚŝŽŶ͕ŽƌƐĞǆƵĂůĂďƵƐĞŽƌĂŶǇƐĞǆƵĂůďĞŚĂǀŝŽƌƚŚĂƚĂ

    ƌĞĂƐŽŶĂďůĞƉĞƌƐŽŶǁŽƵůĚĐŽŶƐŝĚĞƌƚŽďĞĂŶĂďƵƐĞŽĨĂƵƚŚŽƌŝƚǇ͘
    ϱϴ
      dŚŝƐŝŶĐůƵĚĞƐĂŶĞŶĨŽƌĐĞŵĞŶƚĂĐƚŝŽŶƐƵĐŚĂƐĂŶĂƌƌĞƐƚŽƌƐƵŵŵŽŶƐĨŽƌǁŚŝĐŚƚŚĞƌĞŝƐĂůĂǁĨƵůďĂƐŝƐ͕ŚŽǁĞǀĞƌ͕ďƵƚĨŽƌƚŚĞ
    ŽĨĨŝĐĞƌ͛ƐŝŵƉƌŽƉĞƌŵŽƚŝǀĞ͕ĞŶĨŽƌĐĞŵĞŶƚĂĐƚŝŽŶǁŽƵůĚŶŽƚŚĂǀĞďĞĞŶƚĂŬĞŶ͘
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               hŶůĂǁĨƵů^ĞĂƌĐŚͬŶƚƌǇWƌĞŵŝƐĞƐ
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              ;ĞŶƚƌǇŝŶǀŽůǀĞƐƐƵďƐƚĂŶƚŝĂůƉŚǇƐŝĐĂů
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              ƉƌĞƐĞŶĐĞĂŶĚͬŽƌƌĞŵĂŝŶŝŶŐŽŶƚŚĞ
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               hŶůĂǁĨƵů^ĞĂƌĐŚͬŶƚƌǇWƌĞŵŝƐĞƐ
               ;ĞŶƚƌǇŝƐƉƌŽůŽŶŐĞĚŽƌŝŶĐůƵĚĞƐ           ϭϬWĞŶĂůƚǇĂǇƐ        ϮϬWĞŶĂůƚǇĂǇƐ          ϯϬWĞŶĂůƚǇĂǇƐ
               ĂĚĚŝƚŝŽŶĂůƉƌŽƐĐƌŝďĞĚĐŽŶĚƵĐƚͿ
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                    dŚƌĞĂƚŽĨ&ŽƌĐĞͬWŽůŝĐĞ
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                 ŶĨŽƌĐĞŵĞŶƚͬEŽƚŝĨŝĐĂƚŝŽŶƚŽ
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                 KƵƚƐŝĚĞŐĞŶĐǇͬZĞŵŽǀĂůƚŽ
                ,ŽƐƉŝƚĂůͲǁŝƚŚŽƵƚ:ƵƐƚŝĨŝĐĂƚŝŽŶ

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                   &ĂŝůƵƌĞƚŽWƌŽĐĞƐƐŝǀŝůŝĂŶ
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                           ŽŵƉůĂŝŶƚ

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              ZĞƚĂůŝĂƚŽƌǇĐƚŝŽŶŐĂŝŶƐƚŶŽƚŚĞƌ
                                                          ϮϬWĞŶĂůƚǇĂǇƐ        ϯϬWĞŶĂůƚǇĂǇƐ          ϰϬWĞŶĂůƚǇĂǇƐ
               ĨŽƌDĂŬŝŶŐĂŝǀŝůŝĂŶŽŵƉůĂŝŶƚ

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              &ĂŝůƵƌĞͬZĞĨƵƐĂůƚŽWƌŽǀŝĚĞEĂŵĞŽƌ
                                                             dƌĂŝŶŝŶŐ             ϯWĞŶĂůƚǇĂǇƐ          ϱWĞŶĂůƚǇĂǇƐ
                        ^ŚŝĞůĚEƵŵďĞƌ

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              &ĂŝůƵƌĞͬZĞĨƵƐĂůƚŽWƌŽǀŝĚĞZŝŐŚƚͲƚŽͲ
                                                             dƌĂŝŶŝŶŐ             ϯWĞŶĂůƚǇĂǇƐ          ϱWĞŶĂůƚǇĂǇƐ
                      <ŶŽǁƵƐŝŶĞƐƐĂƌĚ
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               <ŶŽǁĐƚZĞŐĂƌĚŝŶŐŽŶƐĞŶƚƚŽ                dƌĂŝŶŝŶŐ             ϯWĞŶĂůƚǇĂǇƐ          ϱWĞŶĂůƚǇĂǇƐ
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              EĞŐůŝŐĞŶƚ&ĂŝůƵƌĞƚŽKďƚĂŝŶDĞĚŝĐĂů
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                   KďƚĂŝŶDĞĚŝĐĂůƚƚĞŶƚŝŽŶ                                      ϯϬWĞŶĂůƚǇĂǇƐн
                                                          ϮϬWĞŶĂůƚǇĂǇƐ                                   dĞƌŵŝŶĂƚŝŽŶ
                ;Ğ͘Ő͘ƌĞĂĚŝůǇĂƉƉĂƌĞŶƚŽƌǀŝƐŝďůĞ                               ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ
                         ŝŶũƵƌǇͬŝůůŶĞƐƐͿ
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                ZĞŵŽǀĂůƚŽĂDĞĚŝĐĂů&ĂĐŝůŝƚǇ
               ǁŝƚŚŽƵƚŽŶƐĞŶƚŽƌWƵďůŝĐ,ĞĂůƚŚ             dƌĂŝŶŝŶŐ             ϯWĞŶĂůƚǇĂǇƐ          ϱWĞŶĂůƚǇĂǇƐ
                            EĞĞĚ

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                ĞůĞƚŝŽŶŽĨ/ŶĨŽƌŵĂƚŝŽŶĨƌŽŵĂ                                   ϯϬWĞŶĂůƚǇĂǇƐн
                                                          ϮϬWĞŶĂůƚǇĂǇƐ                                   dĞƌŵŝŶĂƚŝŽŶ
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                 ZĞĐŽƌĚŝŶŐͬZĞĐŽƌĚŝŶŐĞǀŝĐĞ

                          ŝƐĐŽƵƌƚĞƐǇ                     ϭWĞŶĂůƚǇĂǇ          ϱWĞŶĂůƚǇĂǇƐ          ϭϬWĞŶĂůƚǇĂǇƐ

                      KĨĨĞŶƐŝǀĞ>ĂŶŐƵĂŐĞ                 ϭϬWĞŶĂůƚǇĂǇƐ        ϮϬWĞŶĂůƚǇĂǇƐ           dĞƌŵŝŶĂƚŝŽŶ


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    ĚĚŝƚŝŽŶĂůĂƚĂ͗ŶǇŵŝƐĐŽŶĚƵĐƚǁŝƚŚĂƉĞŶĂůƚǇŽĨϭϬĚĂǇƐŽƌůĞƐƐŵĂǇďĞĞůŝŐŝďůĞĨŽƌƚŚĞŝƐƐƵĂŶĐĞŽĨĂ^ĐŚĞĚƵůĞ͞͟ŽŵŵĂŶĚ
    ŝƐĐŝƉůŝŶĞ͘ŶǇŵŝƐĐŽŶĚƵĐƚǁŝƚŚĂƉĞŶĂůƚǇŽĨϱĚĂǇƐŽƌůĞƐƐŵĂǇďĞĞůŝŐŝďůĞĨŽƌƚŚĞŝƐƐƵĂŶĐĞŽĨĂ^ĐŚĞĚƵůĞ͞͟ŽŵŵĂŶĚŝƐĐŝƉůŝŶĞ͘
    dƌĂŝŶŝŶŐŵĂǇďĞŝŶĐůƵĚĞĚǁŝƚŚƚŚĞŝŵƉŽƐŝƚŝŽŶŽĨĂŶǇƉĞŶĂůƚǇ͘

    ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůDŝƚŝŐĂƚŝŶŐ&ĂĐƚŽƌƐ
         x    ŽŵƉůĞǆŝƚǇŽĨůĞŐĂůĂŶĂůǇƐŝƐĂƐĂƉƉůŝĞĚƚŽƚŚĞĨĂĐƚƐ
         x    >ĞǀĞůŽĨĚĂŶŐĞƌŽƵƐŶĞƐƐŽĨƚŚĞĞŶĐŽƵŶƚĞƌŽƌƐƵƌƌŽƵŶĚŝŶŐƐͬƵƌŐĞŶĐǇŝŶǀŽůǀĞĚ
         x    'ŽŽĚĨĂŝƚŚĚĞŵŽŶƐƚƌĂƚĞĚďǇƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĂŶĚƚŚĞĂďƐĞŶĐĞŽĨĂŶŝŶƚĞŶƚƚŽǀŝŽůĂƚĞƉƌŽĐĞĚƵƌĂů
              ŽƌůĞŐĂůƐƚĂŶĚĂƌĚƐ
         x    ƐĐĂůĂƚŝŽŶĞǆŚŝďŝƚĞĚďǇƚŚĞŝŶǀŽůǀĞĚĐŝǀŝůŝĂŶ;ƐͿ
         x    DĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĂƚƚĞŵƉƚĞĚƚŽĚĞͲĞƐĐĂůĂƚĞĞŶĐŽƵŶƚĞƌ
         x    ƌŝĞĨĚƵƌĂƚŝŽŶŽĨĞŶĐŽƵŶƚĞƌŽƌůŝŵŝƚĞĚŝŵƉĂĐƚƵƉŽŶͬŝŶĐŽŶǀĞŶŝĞŶĐĞƚŽĂĐŝǀŝůŝĂŶ
         x    WŽƚĞŶƚŝĂůĨŽƌƚƌĂŝŶŝŶŐƚŽĐŽƌƌĞĐƚͬƌĞŚĂďŝůŝƚĂƚĞďĞŚĂǀŝŽƌ

    ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐ
         x    ǆƚĞŶĚĞĚĚƵƌĂƚŝŽŶŽĨĞŶĐŽƵŶƚĞƌŽƌƐŝŐŶŝĨŝĐĂŶƚŝŶƚĞƌĨĞƌĞŶĐĞǁŝƚŚĂĐŝǀŝůŝĂŶ
         x    /ŶǀĂƐŝǀĞŶĞƐƐŽĨƚŚĞĞŶĐŽƵŶƚĞƌ
         x    dŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĞǆŚŝďŝƚĞĚďĂĚĨĂŝƚŚ͕ŝŶƚĞŶƚŝŽŶĂůůǇǀŝŽůĂƚĞĚƉƌŽĐĞĚƵƌĂůŽƌůĞŐĂůƐƚĂŶĚĂƌĚƐ͕Žƌ
              ƌĞĐŬůĞƐƐůǇĚŝƐƌĞŐĂƌĚĞĚƚŚŽƐĞƐƚĂŶĚĂƌĚƐ
         x    hƐĞŽĨĂ^ƚŽƉͬYƵĞƐƚŝŽŶͬ&ƌŝƐŬƚŽŚƵŵŝůŝĂƚĞ͕ĚĞŵĞĂŶŽƌƌĞƚĂůŝĂƚĞĂŐĂŝŶƐƚĂŶŝŶĚŝǀŝĚƵĂů
         x    dŚĞŽĨĨŝĐĞƌ͛ƐĂĐƚŝŽŶǁĂƐďŝĂƐĞĚ͕ŐƌĂƚƵŝƚŽƵƐ͕ƌĞƚĂůŝĂƚŽƌǇ͕ŝŶƚĞŶƚŝŽŶĂůŽƌƌĞĐŬůĞƐƐ
         x    ŝĂƐĞĚ͕ĂďƵƐŝǀĞŽƌŽďƐĐĞŶĞůĂŶŐƵĂŐĞ
         x    ŝƐƚƌĞƐƐͬŝŶũƵƌǇĐĂƵƐĞĚƚŽƚŚĞĐŝǀŝůŝĂŶ
         x    &ĂŝůƵƌĞƚŽĞǆƉůĂŝŶƚŚĞƌĞĂƐŽŶĨŽƌĂƐƚŽƉ
         x    &ĂŝůƵƌĞƚŽƌĞƉŽƌƚŝŶĐŝĚĞŶƚŽƌŵĂŬĞƌĞƋƵŝƌĞĚĂĐƚŝǀŝƚǇůŽŐĞŶƚƌǇ
         x    WƌĞƚĞǆƚďĂƐĞĚŽŶŵĞŵďĞƌƐŚŝƉŝŶĂƉƌŽƚĞĐƚĞĚĐůĂƐƐ
         x    ͞,ĞĂƚĞĚŶĞƐƐ͟ŽƌĞƐĐĂůĂƚŝŽŶŽĨŝŶƚĞƌĂĐƚŝŽŶďǇƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ
         x    /ŵƉůŝĞĚƚŚƌĞĂƚŽĨĨŽƌĐĞŽƌǀŝŽůĞŶĐĞ;ǀŽĐĂůŽƌƉŚǇƐŝĐĂůͿ
         x    ĂŵĂŐĞƚŽƉƌŽƉĞƌƚǇ




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           &ĂůƐĞ͕DŝƐůĞĂĚŝŶŐĂŶĚ/ŶĂĐĐƵƌĂƚĞ^ƚĂƚĞŵĞŶƚƐ
           dŚĞĨŽůůŽǁŝŶŐƐĞƌǀĞƐĂƐŐƵŝĚĂŶĐĞƚŽĚĞƚĞƌŵŝŶĞƚŚĞĂƉƉůŝĐĂďůĞĐŚĂƌŐĞ;ƐͿǁŚĞŶĂƵŶŝĨŽƌŵĞĚŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ
           ŵĂŬĞƐĂĨĂůƐĞ͕ŵŝƐůĞĂĚŝŶŐŽƌŝŶĂĐĐƵƌĂƚĞƐƚĂƚĞŵĞŶƚ͕ǁƌŝƚƚĞŶ ŽƌƐƉŽŬĞŶ͕ĚƵƌŝŶŐĂŶŽĨĨŝĐŝĂůŝŶǀĞƐƚŝŐĂƚŝŽŶ͘dŚĞŐŽĂůŽĨ
           ĂŶǇŝŶƚĞƌŶĂůŝŶǀĞƐƚŝŐĂƚŝŽŶŝƐƚŽŐĞƚƚŽƚŚĞƚƌƵƚŚ͘&ĂůƐĞ͕ŵŝƐůĞĂĚŝŶŐĂŶĚŝŶĂĐĐƵƌĂƚĞŽĨĨŝĐŝĂůƐƚĂƚĞŵĞŶƚƐĂƌĞĐŽŶƚƌĂƌǇƚŽ
           ƚŚŝƐŐŽĂů͘dŚĞũƵƐƚŝĐĞƐǇƐƚĞŵƌĞůŝĞƐŽŶŵĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞƚŽƉƌŽǀŝĚĞƚƌƵƚŚĨƵůĂŶĚĂĐĐƵƌĂƚĞŝŶĨŽƌŵĂƚŝŽŶŝŶĂǁŝĚĞ
           ǀĂƌŝĞƚǇŽĨĐŽŶƚĞǆƚƐĂŶĚĐŝƌĐƵŵƐƚĂŶĐĞƐ͘dŚĞĨƵŶĐƚŝŽŶŝŶŐŽĨƚŚĂƚƐǇƐƚĞŵ͕ĂŶĚƚŚĞƉƵďůŝĐ͛ƐƚƌƵƐƚŝŶƚŚĂƚƐǇƐƚĞŵ͕ĂƌĞďŽƚŚ
           ƐĞǀĞƌĞůǇƵŶĚĞƌŵŝŶĞĚďǇĨĂůƐĞ͕ŵŝƐůĞĂĚŝŶŐĂŶĚŝŶĂĐĐƵƌĂƚĞƐƚĂƚĞŵĞŶƚƐ͘dŚĞƌĞĨŽƌĞ͕ƚŚĞƉĞŶĂůƚǇĨŽƌŵĞŵďĞƌƐŽĨƚŚĞ
           ƐĞƌǀŝĐĞ ǁŚŽ ĂƌĞ ĨŽƵŶĚ ŐƵŝůƚǇ ŽĨ ŵĂŬŝŶŐ ĨĂůƐĞ ŽĨĨŝĐŝĂů ƐƚĂƚĞŵĞŶƚƐ ǁŝůů ďĞ ƉƌĞƐƵŵĞĚ ƚŽ ďĞ ƚĞƌŵŝŶĂƚŝŽŶ͕ ĂďƐĞŶƚ
           ĞǆƚƌĂŽƌĚŝŶĂƌǇĐŝƌĐƵŵƐƚĂŶĐĞƐ͕ĂƐĚĞƚĞƌŵŝŶĞĚďǇƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌŽŶĂĐĂƐĞďǇĐĂƐĞďĂƐŝƐ͘
           ĂĐŚ ĂůůĞŐĂƚŝŽŶ ŽĨ Ă ĨĂůƐĞ͕ ŵŝƐůĞĂĚŝŶŐ Žƌ ŝŶĂĐĐƵƌĂƚĞ ƐƚĂƚĞŵĞŶƚ ƐŚĂůů ďĞ ĐŚĂƌŐĞĚ ƐĞƉĂƌĂƚĞůǇ͘ &Žƌ ĞǆĂŵƉůĞ͕ ŝĨ ƚŚĞ
           ŝŶǀĞƐƚŝŐĂƚŽƌ ďĞůŝĞǀĞƐ Ă ƐƚĂƚĞŵĞŶƚ ƚŽ ďĞ ďŽƚŚ ĨĂůƐĞ ĂŶĚ ŵŝƐůĞĂĚŝŶŐ͕ ƚŚĞ ŝŶǀĞƐƚŝŐĂƚŽƌ ǁŝůů ŵĂŬĞ Ă ĐŚĂƌŐĞ ŽĨ ĨĂůƐĞ
           ƐƚĂƚĞŵĞŶƚĂŶĚĂŶŽƚŚĞƌĐŚĂƌŐĞŽĨŵŝƐůĞĂĚŝŶŐƐƚĂƚĞŵĞŶƚ͘ůƐŽ͕ŝĨƚŚĞƐƚĂƚĞŵĞŶƚŝŶĐůƵĚĞƐŵƵůƚŝƉůĞƐĞƉĂƌĂƚĞŝŶƐƚĂŶĐĞƐ
           ŽĨ ĨĂůƐĞ ƐƚĂƚĞŵĞŶƚƐ ĂďŽƵƚ ĚŝĨĨĞƌĞŶƚ ĨĂĐƚƐ͕ ĞĂĐŚ ƐƚĂƚĞŵĞŶƚ ƐŚĂůů ďĞ ĐŚĂƌŐĞĚ ƐĞƉĂƌĂƚĞůǇ͘ /ŶƐƚĂŶĐĞƐ ŽĨ ŵƵůƚŝƉůĞ
           ƐƚĂƚĞŵĞŶƚƐĚƵƌŝŶŐƚŚĞƐĂŵĞŝŶƚĞƌǀŝĞǁĂďŽƵƚƚŚĞƐĂŵĞĨĂĐƚŵĂǇďĞĐŚĂƌŐĞĚĂƐŽŶĞ͘
           ƐƚĂƚĞŵĞŶƚŝƐĨĂůƐĞŽƌŵŝƐůĞĂĚŝŶŐǁŚĞŶƚŚĞŝŶǀĞƐƚŝŐĂƚŽƌĚĞƚĞƌŵŝŶĞƐƚŚĞĐŚĂƌŐĞŝƐƉƌŽǀĞŶďǇĂƉƌĞƉŽŶĚĞƌĂŶĐĞŽĨ
           ƚŚĞĞǀŝĚĞŶĐĞ͕ŝŶĐůƵĚŝŶŐĐƌĞĚŝďůĞǁŝƚŶĞƐƐƚĞƐƚŝŵŽŶǇ͘ůůĞǆĂŵƉůĞƐƉƌŽǀŝĚĞĚĂƌĞĨŽƌŝůůƵƐƚƌĂƚŝǀĞƉƵƌƉŽƐĞƐŽŶůǇĂŶĚ
           ĂƌĞŶŽƚĞǆŚĂƵƐƚŝǀĞ͘ĂĐŚĐĂƐĞŝƐǁĞŝŐŚĞĚŽŶŝƚƐŽǁŶŵĞƌŝƚƐĂĨƚĞƌĂƐƚƌŽŶŐĨĂĐƚͲďĂƐĞĚĂŶĂůǇƐŝƐƚŽĚĞƚĞƌŵŝŶĞƚŚĞ
           ĂƉƉƌŽƉƌŝĂƚĞĐŚĂƌŐĞ;ƐͿ͘
     
           ĚĚŝƚŝŽŶĂůĞĨŝŶŝƚŝŽŶƐĨŽƌ&ĂůƐĞ͕DŝƐůĞĂĚŝŶŐĂŶĚ/ŶĂĐĐƵƌĂƚĞ^ƚĂƚĞŵĞŶƚƐ
           &ĂůƐĞ^ƚĂƚĞŵĞŶƚʹŶŝŶƚĞŶƚŝŽŶĂůƐƚĂƚĞŵĞŶƚƚŚĂƚĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŬŶŽǁƐƚŽďĞƵŶƚƌƵĞ͕ǁŚŝĐŚŝƐŵĂƚĞƌŝĂůƚŽ
           ƚŚĞŽƵƚĐŽŵĞŽĨĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶ͕ƉƌŽĐĞĞĚŝŶŐ͕ŽƌŽƚŚĞƌŵĂƚƚĞƌŝŶĐŽŶŶĞĐƚŝŽŶǁŝƚŚǁŚŝĐŚƚŚĞƐƚĂƚĞŵĞŶƚŝƐŵĂĚĞ͘
           /ŶƚĞŶƚ ʹ  ƐƚĂƚĞŵĞŶƚ ŝƐ ĂŶ ŝŶƚĞŶƚŝŽŶĂůůǇ ĨĂůƐĞ ƐƚĂƚĞŵĞŶƚ ǁŚĞŶ ŝƚ ŝƐ ƚŚĞ ĐŽŶƐĐŝŽƵƐ ŽďũĞĐƚŝǀĞ ƚŽ ŵĂŬĞ ƚŚĞ ĨĂůƐĞ
           ƐƚĂƚĞŵĞŶƚ͘ĞƚĞƌŵŝŶŝŶŐŝŶƚĞŶƚŝŽŶĂůŝƚǇƌĞƋƵŝƌĞƐĂĐŽŶƐŝĚĞƌĂƚŝŽŶŽĨƚŚĞƌĞůĞǀĂŶƚĨĂĐƚŽƌƐ͘^ŽŵĞĨĂĐƚŽƌƐǁŚŝĐŚŵĂǇďĞ
           ĐŽŶƐŝĚĞƌĞĚŝŶĐůƵĚĞ͗

               x    tŚĞƚŚĞƌƚŚĞĨĂĐƚ;ƐͿĂƚŝƐƐƵĞŝƐͬĂƌĞŵĞŵŽƌĂďůĞ
               x    dŚĞůĞŶŐƚŚŽĨƚŝŵĞďĞƚǁĞĞŶƚŚĞĞǀĞŶƚĂŶĚƚŚĞƐƚĂƚĞŵĞŶƚ
               x    dŚĞƐŝŐŶŝĨŝĐĂŶĐĞŽĨƚŚĞĨĂĐƚ;ƐͿĂƚƚŚĞƚŝŵĞƚŚĂƚƚŚĞĞǀĞŶƚŽĐĐƵƌƌĞĚ
               x    tŚĞƚŚĞƌƚŚĞŶĂƚƵƌĞŽĨƚŚĞĞǀĞŶƚĂůůŽǁĞĚĨŽƌĂĐĐƵƌĂƚĞƉĞƌĐĞƉƚŝŽŶŽƌŵĞŵŽƌǇ
               x    dŚĞƐƵďũĞĐƚ͛ƐƉŚǇƐŝĐĂů͕ŵĞŶƚĂů͕ŽƌĞŵŽƚŝŽŶĂůĐŽŶĚŝƚŝŽŶĂƚƚŚĞƚŝŵĞƚŚĞƐƚĂƚĞŵĞŶƚŝƐŵĂĚĞϱϵ
               x    tŚĞƚŚĞƌƚŚĞŝŶǀĞƐƚŝŐĂƚŽƌŐĂǀĞƚŚĞƐƵďũĞĐƚŵĞŵŽƌǇƉƌŽŵƉƚƐŽƌĐƵĞƐ;Ğ͘Ő͕͘ŵĞŵŽďŽŽŬƐ͕ǀŝĚĞŽ͕ĂƌƌĞƐƚ
                    ƌĞƉŽƌƚƐ͕ĞƚĐ͘ͿƚŽĂƐƐŝƐƚŚŝƐͬŚĞƌƌĞĐŽůůĞĐƚŝŽŶĂŶĚǇĞƚƚŚĞƐƉĞĂŬĞƌƉĞƌƐŝƐƚĞĚŝŶŵĂŬŝŶŐƚŚĞƐƚĂƚĞŵĞŶƚ
               x    tŚĞƚŚĞƌƚŚĞƐƉĞĂŬĞƌŚĂƐĂŵŽƚŝǀĞƚŽůŝĞŽƌĚĞĐĞŝǀĞŽƌĂŶŝŶƚĞƌĞƐƚŝŶƚŚĞŽƵƚĐŽŵĞŽĨƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶ͕
                    ƉƌŽĐĞĞĚŝŶŐ͕ŽƌŽƚŚĞƌŵĂƚƚĞƌŝŶĐŽŶŶĞĐƚŝŽŶǁŝƚŚǁŚŝĐŚƚŚĞƐƚĂƚĞŵĞŶƚǁĂƐŵĂĚĞ

           DĂƚĞƌŝĂů&ĂĐƚʹƐŝŐŶŝĨŝĐĂŶƚĨĂĐƚƚŚĂƚĂƌĞĂƐŽŶĂďůĞƉĞƌƐŽŶǁŽƵůĚƌĞĐŽŐŶŝǌĞĂƐƌĞůĞǀĂŶƚƚŽ͕ŽƌĂĨĨĞĐƚŝŶŐƚŚĞƐƵďũĞĐƚ
           ŵĂƚƚĞƌŽĨƚŚĞŝƐƐƵĞĂƚŚĂŶĚ͕ŝŶĐůƵĚŝŶŐĂŶǇĨŽƌĞƐĞĞĂďůĞ ĐŽŶƐĞƋƵĞŶĐĞƐ͕ŽƌĞƐƚĂďůŝƐŚŵĞŶƚ ŽĨƚŚĞĞůĞŵĞŶƚƐŽĨƐŽŵĞ
           ƉƌŽƐĐƌŝďĞĚ ĐŽŶĚƵĐƚ͘ /ƚ ŝƐ Ă ĨĂĐƚ ƚŚĂƚ ŝƐ ĞƐƐĞŶƚŝĂů ƚŽ ƚŚĞ ĚĞƚĞƌŵŝŶĂƚŝŽŶ ŽĨ ƚŚĞ ŝƐƐƵĞ ĂŶĚ ǁŚĞƌĞ ƚŚĞ ƐƵƉƉƌĞƐƐŝŽŶ͕
           ŽŵŝƐƐŝŽŶ͕ŽƌĂůƚĞƌĂƚŝŽŶŽĨƐƵĐŚĨĂĐƚǁŽƵůĚƌĞĂƐŽŶĂďůǇƌĞƐƵůƚŝŶĂĚŝĨĨĞƌĞŶƚĚĞĐŝƐŝŽŶŽƌŽƵƚĐŽŵĞ͘
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           ϱϵ&ŽƌĞǆĂŵƉůĞ͕ĂƐƚĂƚĞŵĞŶƚŝƐŵĂĚĞŽƌĞůŝĐŝƚĞĚŝŶƚŚĞŝŵŵĞĚŝĂƚĞĂĨƚĞƌŵĂƚŚŽĨĂƐƚƌĞƐƐĨƵůŝŶĐŝĚĞŶƚƐƵĐŚĂƐĂŶĂĚǀĞƌƐĂƌŝĂůƐŚŽŽƚŝŶŐ

           ŽƌŽƚŚĞƌƚƌĂƵŵĂƚŝĐĞǀĞŶƚďĞĨŽƌĞƚŚĞŵĞŵďĞƌŚĂƐŚĂĚƐƵĨĨŝĐŝĞŶƚŽƉƉŽƌƚƵŶŝƚǇƚŽƌĞĨůĞĐƚĂŶĚƌĞĐĂůůĚĞƚĂŝůƐŽĨƚŚĞĞǀĞŶƚ͘


                                                                                                                                        Ϯϵ
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    ŵĂƚĞƌŝĂůĨĂĐƚŵĂǇďĞĚŝƐƚŝŶŐƵŝƐŚĞĚĨƌŽŵĂŶŝŶƐŝŐŶŝĨŝĐĂŶƚ͕ƚƌŝǀŝĂů͕ŽƌƵŶŝŵƉŽƌƚĂŶƚĚĞƚĂŝů͘

         x    DĂƚĞƌŝĂůŝƚǇŝƐĨĂĐƚͲƐƉĞĐŝĨŝĐĂŶĚŵƵƐƚďĞĞǀĂůƵĂƚĞĚŽŶĂĐĂƐĞͲďǇͲĐĂƐĞďĂƐŝƐ
         x    ǆĂŵƉůĞƐŽĨŵĂƚĞƌŝĂůƐƚĂƚĞŵĞŶƚƐŝŶĐůƵĚĞ͗
                   R    tŚĞŶ ƚŚĞ ǀĂůŝĚŝƚǇ ŽĨ ƚŚĞ ƐĞĂƌĐŚ ŽĨ Ă ǀĞŚŝĐůĞ ŝƐ Ăƚ ŝƐƐƵĞ ĂŶĚ ĂŶ ŽĨĨŝĐĞƌ ƐƚĂƚĞƐ ƚŚĂƚ ŚĞͬƐŚĞ ŶĞǀĞƌ
                        ŽƉĞŶĞĚĂŶĚƐĞĂƌĐŚĞĚƚŚĞƚƌƵŶŬŽĨĂĐĂƌĚƵƌŝŶŐĂĐĂƌƐƚŽƉ͕ďƵƚǀŝĚĞŽƐŚŽǁƐƚŚĂƚŚĞͬƐŚĞĚŝĚŝŶĨĂĐƚ
                        ŽƉĞŶĂŶĚƐĞĂƌĐŚƚŚĞƚƌƵŶŬ͕ƚŚĞŽĨĨŝĐĞƌ͛ƐƐƚĂƚĞŵĞŶƚĂďŽƵƚƚŚĞŝƌĂĐƚŝŽŶƐŝƐŵĂƚĞƌŝĂů
                   R    tŚĞŶĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĚĞŶŝĞƐƚŽĂŶŝŶǀĞƐƚŝŐĂƚŽƌƚŚĂƚŚĞͬƐŚĞĂƚƚĞŶĚĞĚĂŵĞĞƚŝŶŐǁŚĞƌĞ
                        ĂůůĞŐĞĚŵŝƐĐŽŶĚƵĐƚŽĐĐƵƌƌĞĚ͕ǇĞƚŝŶĚĞƉĞŶĚĞŶƚĞǀŝĚĞŶĐĞ;Ğ͘Ő͕͘ǀŝĚĞŽͿŝŶĚŝĐĂƚĞƐƚŚĞŵĞŵďĞƌǁĂƐŝŶ
                        ĨĂĐƚƉƌĞƐĞŶƚĂƚƚŚĞŵĞĞƚŝŶŐ͕ƚŚĞƐƚĂƚĞŵĞŶƚŝƐŵĂƚĞƌŝĂů

    ĞŶŝĂůʹĚŝƐƚŝŶĐƚŝŽŶŵƵƐƚďĞĚƌĂǁŶďĞƚǁĞĞŶĂƉƌŽĐĞĚƵƌĂůĚĞŶŝĂůŽĨĂĐŚĂƌŐĞŽƌĂůůĞŐĂƚŝŽŶĂŶĚĚĞŶŝĂůŽĨĨĂĐƚƐ͘ŐĞŶĞƌĂů
    ĚĞŶŝĂůŽĨĐƵůƉĂďŝůŝƚǇ͕ƐƵĐŚĂƐĂďƌŽĂĚƐƚĂƚĞŵĞŶƚŽĨ͞/ĚŝĚŶ͛ƚĚŽĂŶǇƚŚŝŶŐǁƌŽŶŐ͟ŽƌĂ͞ŶŽƚŐƵŝůƚǇ͟ƉůĞĂŝŶĂĐƌŝŵŝŶĂů͕Đŝǀŝů
    ŽƌĂĚŵŝŶŝƐƚƌĂƚŝǀĞƉƌŽĐĞĞĚŝŶŐ͕ŝƐŶŽƚƚŽďĞĐŚĂƌŐĞĚĂƐĂĨĂůƐĞƐƚĂƚĞŵĞŶƚ͘,ŽǁĞǀĞƌ͕ŝĨƚŚĞƐƉĞĂŬĞƌ͕ĂĨƚĞƌďĞŝŶŐĂĨĨŽƌĚĞĚ
    ƚŚĞŽƉƉŽƌƚƵŶŝƚǇƚŽƌĞĐŽůůĞĐƚ͕ŝŶƚĞŶƚŝŽŶĂůůǇĚĞŶŝĞƐƐƉĞĐŝĨŝĐĨĂĐƚƐƚŚĂƚĂƌĞƉƌŽǀĞŶďǇĐƌĞĚŝďůĞĞǀŝĚĞŶĐĞƚŽŚĂǀĞŽĐĐƵƌƌĞĚ͕
    ŚĞŽƌƐŚĞŚĂƐŵĂĚĞĂĨĂůƐĞƐƚĂƚĞŵĞŶƚ͘ŶĞǆĂŵƉůĞŽĨĚĞŶŝĂůŽĨƚŚĞĨĂĐƚƐƚŚĂƚǁŽƵůĚďĞĂƉƉƌŽƉƌŝĂƚĞĨŽƌĂĐŚĂƌŐĞŽĨĨĂůƐĞ
    ƐƚĂƚĞŵĞŶƚ͗ŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞƐƚĂƚĞƐ͕͞/ĚŝĚŶŽƚ ƚĂŬĞĂŶǇŵŽŶĞǇĨƌŽŵƚŚĞůŽĐĂƚŝŽŶ͕͟ďƵƚĐƌĞĚŝďůĞĞǀŝĚĞŶĐĞ
    ĐŽŶĐůƵƐŝǀĞůǇĚĞŵŽŶƐƚƌĂƚĞƐƚŚĂƚƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĚŝĚ͕ŝŶĨĂĐƚ͕ƌĞŵŽǀĞŵŽŶĞǇĨƌŽŵƚŚĞůŽĐĂƚŝŽŶ͘

    ZĞƚƌĂĐƚŝŽŶʹ/ŶĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶŽƌƉƌŽĐĞĞĚŝŶŐ͕ŝĨĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝŶƚĞŶƚŝŽŶĂůůǇŵĂŬĞƐĂĨĂůƐĞƐƚĂƚĞŵĞŶƚ͕ďƵƚƚŚĞŶ
    ƌĞƚƌĂĐƚƐƚŚĞƐƚĂƚĞŵĞŶƚĂŶĚƐƵďƐƚŝƚƵƚĞƐĂƚƌƵƚŚĨƵůƐƚĂƚĞŵĞŶƚĚƵƌŝŶŐƚŚĞƐĂŵĞŝŶƚĞƌǀŝĞǁ͕ĚĞƉŽƐŝƚŝŽŶ͕ŽƌŽƚŚĞƌƐĞƐƐŝŽŶŽĨŽƌĂů
    ƚĞƐƚŝŵŽŶǇ͕ĂĐŚĂƌŐĞŽĨĨĂůƐĞƐƚĂƚĞŵĞŶƚŝƐŶŽƚĂƉƉƌŽƉƌŝĂƚĞŝĨĞĂĐŚŽĨƚŚĞĨŽůůŽǁŝŶŐĐŝƌĐƵŵƐƚĂŶĐĞƐŝƐƉƌĞƐĞŶƚ͗
              ϭ͘   dŚĞƌĞƚƌĂĐƚŝŽŶŽĐĐƵƌƐǁŝƚŚŝŶƚŚĞƐĂŵĞŝŶƚĞƌǀŝĞǁŽƌƉƌŽĐĞĞĚŝŶŐĂƐƚŚĞĨĂůƐĞƐƚĂƚĞŵĞŶƚ ϲϬ͖ĂŶĚ
              Ϯ͘   dŚĞŵĞŵďĞƌƌĞƚƌĂĐƚƐƚŚĞĨĂůƐĞƐƚĂƚĞŵĞŶƚďĞĨŽƌĞƚŚĞĨĂĐƚͲĨŝŶĚĞƌŚĂƐďĞĞŶĚĞĐĞŝǀĞĚŽƌŵŝƐůĞĚƚŽƚŚĞ
                   ŚĂƌŵĂŶĚƉƌĞũƵĚŝĐĞŽĨƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶŽƌƉƌŽĐĞĞĚŝŶŐ;ŝ͘Ğ͕͘ƚŚĞĨĂůƐĞƐƚĂƚĞŵĞŶƚŝƐƌĞƚƌĂĐƚĞĚďĞĨŽƌĞŝƚ
                   ŚĂƐƐƵďƐƚĂŶƚŝĂůůǇĂĨĨĞĐƚĞĚƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶŽƌƉƌŽĐĞĞĚŝŶŐͿ͖ĂŶĚ
              ϯ͘   dŚĞƌĞƚƌĂĐƚŝŽŶĂŶĚƐƵďƐƚŝƚƵƚĞĚƚƌƵƚŚĨƵůƐƚĂƚĞŵĞŶƚĂƌĞŵĂĚĞďĞĨŽƌĞƚŚĞŵĞŵďĞƌŬŶŽǁƐŽƌŚĂƐƌĞĂƐŽŶ
                   ƚŽ ŬŶŽǁ ƚŚĂƚ ƚŚĞ ĨĂĐƚͲĨŝŶĚĞƌ ŝƐ Žƌ ǁŝůů ďĞ ĂǁĂƌĞ ŽĨ ƚŚĞ ĨĂůƐĞ ƐƚĂƚĞŵĞŶƚ͘ dŚĞ ƐƵďƐƚŝƚƵƚĞĚ ƚƌƵƚŚĨƵů
                   ƐƚĂƚĞŵĞŶƚŵƵƐƚŽĐĐƵƌĂƚĂƚŝŵĞǁŚĞŶŶŽƌĞĂƐŽŶĂďůĞůŝŬĞůŝŚŽŽĚĞǆŝƐƚƐƚŚĂƚƚŚĞŵĞŵďĞƌŚĂƐůĞĂƌŶĞĚƚŚĂƚ
                   ŚŝƐŽƌŚĞƌĨĂůƐĞŚŽŽĚŚĂƐďĞĐŽŵĞŬŶŽǁŶƚŽƚŚĞĨĂĐƚͲĨŝŶĚĞƌϲϭ͘

    dŚĞ ƉƵƌƉŽƐĞ ŽĨ ƚŚŝƐ ĞǆƚƌĞŵĞůǇ ŶĂƌƌŽǁ ĞǆĐĞƉƚŝŽŶ ŝƐ ƚŽ ĨŽƐƚĞƌ ƚƌƵƚŚĨƵůŶĞƐƐ ǁŚĞŶ Ă ŵĞŵďĞƌ ƉƌŽǀŝĚĞƐ ŝŶĨŽƌŵĂƚŝŽŶ
    ĚƵƌŝŶŐĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶŽƌƉƌŽĐĞĞĚŝŶŐ͘/ƚĞŶĐŽƵƌĂŐĞƐĂŶĚĂůůŽǁƐƚŚĞŵĞŵďĞƌ͕ŽŶƚŚĞŝƌŽǁŶŝŶŝƚŝĂƚŝǀĞ͕ƚŽĐŽƌƌĞĐƚĂŶĚ
    ƌĞƚƌĂĐƚĂĨĂůƐĞƐƚĂƚĞŵĞŶƚďĞĨŽƌĞŝƚŚĂƐƚŚĞƉŽƚĞŶƚŝĂůƚŽĚŽŝƌƌĞƉĂƌĂďůĞŚĂƌŵ͘
    DŝƐůĞĂĚŝŶŐ^ƚĂƚĞŵĞŶƚʹƐƚĂƚĞŵĞŶƚƚŚĂƚŝƐŝŶƚĞŶĚĞĚƚŽŵŝƐĚŝƌĞĐƚƚŚĞĨĂĐƚĨŝŶĚĞƌ͕ĂŶĚŵĂƚĞƌŝĂůůǇĂůƚĞƌƚŚĞŶĂƌƌĂƚŝǀĞďǇ͗

         x    /ŶƚĞŶƚŝŽŶĂůůǇŽŵŝƚƚŝŶŐĂŵĂƚĞƌŝĂůĨĂĐƚŽƌĨĂĐƚƐ͕Žƌ
         x    DĂŬŝŶŐƌĞƉĞĂƚĞĚĐůĂŝŵƐŽĨ͞/ĚŽŶŽƚƌĞŵĞŵďĞƌ͟Žƌ͞/ĚŽŶŽƚŬŶŽǁ͟ǁŚĞŶĂƌĞĂƐŽŶĂďůĞƉĞƌƐŽŶƵŶĚĞƌƐŝŵŝůĂƌ
              ĐŝƌĐƵŵƐƚĂŶĐĞƐǁŽƵůĚƌĞĐĂůů͕ŽƌŚĂǀĞďĞĞŶĂǁĂƌĞŽĨ͕ƐƵĐŚŵĂƚĞƌŝĂůĨĂĐƚƐ͕Žƌ
         x    ůƚĞƌŝŶŐ ĂŶĚͬŽƌ ĐŚĂŶŐŝŶŐ Ă ŵĞŵďĞƌ͛Ɛ ƉƌŝŽƌ ƐƚĂƚĞŵĞŶƚ Žƌ ĂĐĐŽƵŶƚ ǁŚĞŶ Ă ŵĞŵďĞƌ ŽĨ ƚŚĞ ƐĞƌǀŝĐĞ ŝƐ
              ĐŽŶĨƌŽŶƚĞĚ ǁŝƚŚ ŝŶĚĞƉĞŶĚĞŶƚ ĞǀŝĚĞŶĐĞ ŝŶĚŝĐĂƚŝŶŐ ƚŚĂƚ ĂŶ ĞǀĞŶƚ ĚŝĚ ŶŽƚ ŽĐĐƵƌ ĂƐ ŝŶŝƚŝĂůůǇ ĚĞƐĐƌŝďĞĚ͕ ǁŝůů
              ŐĞŶĞƌĂůůǇďĞĐŽŶƐŝĚĞƌĞĚĂŵŝƐůĞĂĚŝŶŐƐƚĂƚĞŵĞŶƚ͘
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    ϲϬdŚŝƐƉƌŽŶŐŵĂǇďĞŵĞƚŝĨƚŚĞƌĞƚƌĂĐƚŝŽŶƉĞƌƚĂŝŶƐƚŽĂƐƚĂƚĞŵĞŶƚŵĂĚĞĚƵƌŝŶŐĂŶŝŶƚĞƌǀŝĞǁĐŽŶĚƵĐƚĞĚƵŶĚĞƌƚŚĞƉƌŽǀŝƐŝŽŶƐŽĨ

    WĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϬϲͲϭϯ͕/ŶƚĞƌƌŽŐĂƚŝŽŶŽĨDĞŵďĞƌƐŽĨƚŚĞ^ĞƌǀŝĐĞ͕ĂŶĚŽĐĐƵƌƐǁŝƚŚŝŶϮϰŚŽƵƌƐŽĨƚŚĞĨĂůƐĞƐƚĂƚĞŵĞŶƚĂĨƚĞƌ
    ƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŚĂƐŚĂĚƚŚĞŽƉƉŽƌƚƵŶŝƚǇƚŽƌĞĨůĞĐƚĂŶĚĐŽŶƐƵůƚǁŝƚŚĐŽƵŶƐĞůĂŶĚͬŽƌ ĨĂŵŝůǇ͘ŶĂĚĚŝƚŝŽŶĂůĐŚĂƌŐĞŽƌ
    ŝŵƉĞĚŝŶŐĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶŵĂǇƐƚŝůůďĞĂƉƉƌŽƉƌŝĂƚĞŚŽǁĞǀĞƌ͘
    ϲϭdŚĞƌĞĨŽƌĞ͕ŝĨƚŚĞŵĞŵďĞƌƌĞƚƌĂĐƚƐƚŚĞƐƚĂƚĞŵĞŶƚĂĨƚĞƌŚĞŽƌƐŚĞŝƐĐŽŶĨƌŽŶƚĞĚǁŝƚŚĞǀŝĚĞŶĐĞƚŚĂƚĚĞŵŽŶƐƚƌĂƚĞƐŝƚƐĨĂůƐŝƚǇ͕ƚŚŝƐ

    ƚŚŝƌĚƉƌŽŶŐǁŽƵůĚŶŽƚďĞŵĞƚ͘
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            KŵŝƐƐŝŽŶƐʹŶŽŵŝƐƐŝŽŶŝƐĂĨĂĐƚŵĂƚĞƌŝĂůƚŽƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶƚŚĂƚŚĂƐďĞĞŶŝŶƚĞŶƚŝŽŶĂůůǇůĞĨƚŽƵƚŽĨƚŚĞƐƚĂƚĞŵĞŶƚ
            ŽĨƚŚĞŵĞŵďĞƌ͘EŽƚĞǀĞƌǇŽŵŝƐƐŝŽŶĐĂŶďĞĐŽŶƐŝĚĞƌĞĚŵŝƐůĞĂĚŝŶŐ͘dŚĞŽŵŝƚƚĞĚĨĂĐƚ;ƐͿŵƵƐƚďĞŵĂƚĞƌŝĂůĂŶĚƚŚĞ
            ŽŵŝƐƐŝŽŶŵƵƐƚďĞŝŶƚĞŶƚŝŽŶĂůϲϮ͘
            &ĂŝůƵƌĞ ƚŽ ZĞĐŽůůĞĐƚ ŽŶƐŝĚĞƌĂƚŝŽŶƐ ʹ &ĂĐƚŽƌƐ ƚŽ ďĞ ĐŽŶƐŝĚĞƌĞĚ ŝŶ ĚĞƚĞƌŵŝŶŝŶŐ ŝĨ Ă ƌĞĂƐŽŶĂďůĞ ƉĞƌƐŽŶ ǁŽƵůĚ
            ƌĞŵĞŵďĞƌŽƌǁŽƵůĚďĞĂǁĂƌĞŽĨƚŚĞĨĂĐƚƐŝŶĐůƵĚĞ͗
                 x    dŚĞƚŝŵĞƚŚĂƚŚĂƐĞůĂƉƐĞĚďĞƚǁĞĞŶƚŚĞĞǀĞŶƚĂŶĚƚŚĞƐƚĂƚĞŵĞŶƚ
                 x    ,ŽǁƵŶŝƋƵĞŽƌŵĞŵŽƌĂďůĞƚŚĞĞǀĞŶƚŝƐ
                 x    dŚĞŵĞŵďĞƌ͛ƐŽǀĞƌĂůůĂďŝůŝƚǇƚŽƌĞĐĂůůĞǀĞŶƚƐďĞĨŽƌĞĂŶĚĂĨƚĞƌƚŚĞĞǀĞŶƚ
                 x    dŚĞŵĞŵďĞƌ͛ƐĐŽŶƚŝŶƵĞĚůĂĐŬŽĨƌĞĐŽůůĞĐƚŝŽŶĂĨƚĞƌĞĨĨŽƌƚƐĂƌĞŵĂĚĞƚŽƌĞĨƌĞƐŚƚŚĞŝƌƌĞĐŽůůĞĐƚŝŽŶďǇƐŚŽǁŝŶŐ
                      ǀŝĚĞŽ͕ƉŚŽƚŽƐ͕ŵĞŵŽďŽŽŬĞŶƚƌŝĞƐ͕ŽƌŽƚŚĞƌƉƌŽŵƉƚƐ

            /ŶĂĐĐƵƌĂƚĞ ^ƚĂƚĞŵĞŶƚ ʹ  ƐƚĂƚĞŵĞŶƚ ƚŚĂƚ Ă ŵĞŵďĞƌ ŽĨ ƚŚĞ ƐĞƌǀŝĐĞ ŬŶŽǁƐ͕ Žƌ ƐŚŽƵůĚ ŬŶŽǁ͕ ŝŶĐůƵĚĞƐ ŝŶĐŽƌƌĞĐƚ
            ŵĂƚĞƌŝĂůŝŶĨŽƌŵĂƚŝŽŶ͘dŚĞƌĞŝƐŶŽŝŶƚĞŶƚƚŽĚĞĐĞŝǀĞ͕ďƵƚƌĂƚŚĞƌƚŚĞŵĞŵďĞƌ͛ƐĂĐƚŝŽŶƐĂƌĞŐƌŽƐƐůǇŶĞŐůŝŐĞŶƚ͘
            DŝƐƚĂŬĞƐʹDĞƌĞĐůĞƌŝĐĂůĞƌƌŽƌƐŵĂǇŶŽƚďĞĐŽŶƐŝĚĞƌĞĚŝŶĂĐĐƵƌĂƚĞƐƚĂƚĞŵĞŶƚƐǁŚĞŶƚŚĞƐƚĂƚĞŵĞŶƚĞƌƌŽƌŝƐƐŽŵŝŶŽƌ
            ƚŚĂƚŝƚŚĂƐůŝƚƚůĞ͕ŽƌŶŽĞĨĨĞĐƚ͕ŽŶƚŚĞŽǀĞƌĂůůŝŶƚĞŶƚŽĨƚŚĞƐƚĂƚĞŵĞŶƚ͘ŶĞƌƌŽƌǁŝůůďĞĐŽŶƐŝĚĞƌĞĚƚŽďĞĂŶŝŶĂĐĐƵƌĂƚĞ
            ƐƚĂƚĞŵĞŶƚǁŚĞŶĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĚŽĞƐŶŽƚŝŶƚĞŶĚƚŽ ĚĞĐĞŝǀĞ͕ďƵƚĐĂƵƐĞƐĂŵĂƚĞƌŝĂůǀĂƌŝĂƚŝŽŶ͘ƌƌŽŶĞŽƵƐ
            ƐƚĂƚĞŵĞŶƚƐ͕ůĂĐŬŝŶŐŝŶǁŝůůĨƵůŝŶƚĞŶƚ͕ĂŶĚŶŽƚƐŽƵŶƌĞĂƐŽŶĂďůĞĂƐƚŽďĞĐŽŶƐŝĚĞƌĞĚŐƌŽƐƐŶĞŐůŝŐĞŶĐĞĂƌĞŶŽƚĂďĂƐŝƐ
            ĨŽƌĨŝŶĚŝŶŐŵŝƐĐŽŶĚƵĐƚ͘
            /ŵƉĞĚŝŶŐĂŶ/ŶǀĞƐƚŝŐĂƚŝŽŶʹŶŝŶǀĞƐƚŝŐĂƚŝŽŶŝƐĐŽŶƐŝĚĞƌĞĚŝŵƉĞĚĞĚǁŚĞŶĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŵĂŬĞƐĨĂůƐĞ͕
            ŵŝƐůĞĂĚŝŶŐ͕ĂŶĚͬŽƌŝŶĂĐĐƵƌĂƚĞƐƚĂƚĞŵĞŶƚƐ͕ŽƌĞŶŐĂŐĞƐŝŶŝŵƉĞĚŝŶŐĂĐƚŝŽŶƐ͘ŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞǁŚŽŝŵƉĞĚĞƐ
            ŽƌĂƚƚĞŵƉƚƐƚŽŝŵƉĞĚĞĂŶŽĨĨŝĐŝĂůŝŶǀĞƐƚŝŐĂƚŝŽŶǁŝůůĨĂĐĞĚŝƐĐŝƉůŝŶĂƌǇĂĐƚŝŽŶĨŽƌĐŽŶĚƵĐƚƉƌĞũƵĚŝĐŝĂůƚŽƚŚĞŐŽŽĚŽƌĚĞƌ͕
            ĞĨĨŝĐŝĞŶĐǇ͕ŽƌĚŝƐĐŝƉůŝŶĞŽĨƚŚĞĞƉĂƌƚŵĞŶƚ͘
            ǆĂŵƉůĞƐŽĨĐŽŶĚƵĐƚǁŚŝĐŚŝŵƉĞĚĞƐĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶŵĂǇŝŶĐůƵĚĞ͗

                 x    &ĂŝůƵƌĞƚŽƉƌŽĚƵĐĞĚŽĐƵŵĞŶƚƐŝŶĂŵĞŵďĞƌ͛ƐƉŽƐƐĞƐƐŝŽŶŽƌĐŽŶƚƌŽůƚŚĂƚƚŚĞŵĞŵďĞƌŬŶŽǁƐŽƌŚĂƐďĞĞŶ
                      ŝŶĨŽƌŵĞĚĂƌĞŶĞĐĞƐƐĂƌǇĂŶĚƌĞůĞǀĂŶƚƚŽĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶ
                 x    /ŶƚĞŶƚŝŽŶĂůůǇŵĂŬŝŶŐƐƚĂƚĞŵĞŶƚƐƚŚĂƚŵŝƐĚŝƌĞĐƚŽƌŵŝƐŝŶĨŽƌŵƚŚĞŝŶǀĞƐƚŝŐĂƚŽƌĂŶĚͬŽƌŝŶƚĞƌĨĞƌĞǁŝƚŚŽƌ
                      ƵŶĚĞƌŵŝŶĞƚŚĞŐŽĂůƐŽĨƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶ
                 x    dĂŵƉĞƌŝŶŐǁŝƚŚĂǁŝƚŶĞƐƐďǇĂƚƚĞŵƉƚŝŶŐƚŽ͕ŽƌƐƵĐĐĞĞĚŝŶŐŝŶ͕ĐĂƵƐŝŶŐƚŚĞǁŝƚŶĞƐƐƚŽƌĞĨƵƐĞƚŽĐŽŽƉĞƌĂƚĞ
                      ǁŝƚŚĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶŽƌƉƌŽĐĞĞĚŝŶŐ
                 x    /ŵƉƌŽƉĞƌůǇŝŶĨůƵĞŶĐŝŶŐĂǁŝƚŶĞƐƐƚŽŵĂŬĞĨĂůƐĞ͕ŵŝƐůĞĂĚŝŶŐ͕ŽƌŝŶĂĐĐƵƌĂƚĞƐƚĂƚĞŵĞŶƚƐĚƵƌŝŶŐƚŚĞĐŽƵƌƐĞŽĨ
                      ĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶŽƌƉƌŽĐĞĞĚŝŶŐ

            ĐŚĂƌŐĞŽĨŝŵƉĞĚŝŶŐĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶŵĂǇďĞĂƉƉƌŽƉƌŝĂƚĞĞǀĞŶŝĨƚŚĞŵĞŵďĞƌĚŝĚŶŽƚƵůƚŝŵĂƚĞůǇƐƵĐĐĞĞĚŝŶŝŵƉĞĚŝŶŐ
            ƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶ͘&ŽƌĞǆĂŵƉůĞ͕ŝĨƚŚĞDĞŵďĞƌŝŶƚĞŶƚŝŽŶĂůůǇĂƚƚĞŵƉƚƐƚŽŝŶĨůƵĞŶĐĞĂǁŝƚŶĞƐƐ͕ďƵƚƚŚĞǁŝƚŶĞƐƐƌĞƐŝƐƚƐ
            ƚŚĞĞĨĨŽƌƚƐ͕ĂĐŚĂƌŐĞŽĨŝŵƉĞĚŝŶŐĂŶŝŶǀĞƐƚŝŐĂƚŝŽŶŵĂǇƐƚŝůůďĞĂƉƉƌŽƉƌŝĂƚĞ͘
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            ϲϮ^ĞĞƚŚĞĚŝƐĐƵƐƐŝŽŶŝŶ&ĂůƐĞ^ƚĂƚĞŵĞŶƚƐĨŽƌƚŚĞĞůĞŵĞŶƚƐ͞ŵĂƚĞƌŝĂů͟ĂŶĚ͞ŝŶƚĞŶƚŝŽŶĂů͘͟

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    WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌ&ĂůƐĞ͕DŝƐůĞĂĚŝŶŐΘ/ŶĂĐĐƵƌĂƚĞ^ƚĂƚĞŵĞŶƚƐĂŶĚ/ŵƉĞĚŝŶŐĂŶ/ŶǀĞƐƚŝŐĂƚŝŽŶ
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                                                                         WƌĞƐƵŵƉƚŝǀĞ
              DŝƐĐŽŶĚƵĐƚ                   DŝƚŝŐĂƚĞĚWĞŶĂůƚǇ                                   ŐŐƌĂǀĂƚĞĚWĞŶĂůƚǇ
                                                                           WĞŶĂůƚǇ
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        /ŶƚĞŶƚŝŽŶĂůůǇDĂŬŝŶŐĂ&ĂůƐĞ
                                             &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ            dĞƌŵŝŶĂƚŝŽŶ                     Eͬ
             KĨĨŝĐŝĂů^ƚĂƚĞŵĞŶƚ

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          /ŶƚĞŶƚŝŽŶĂůůǇDĂŬŝŶŐĂ
                                                                        ϯϬWĞŶĂůƚǇĂǇƐн
            DŝƐůĞĂĚŝŶŐKĨĨŝĐŝĂů              ϮϬWĞŶĂůƚǇĂǇƐ         ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ            dĞƌŵŝŶĂƚŝŽŶ
                ^ƚĂƚĞŵĞŶƚ

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           DĂŬŝŶŐĂŶ/ŶĂĐĐƵƌĂƚĞ
           KĨĨŝĐŝĂů^ƚĂƚĞŵĞŶƚ͕Žƌ
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                                              ϱWĞŶĂůƚǇĂǇƐ            ϭϬWĞŶĂůƚǇĂǇƐ             ϭϱWĞŶĂůƚǇĂǇƐ
         ĂƵƐŝŶŐ^ĂŵĞƚŽďĞDĂĚĞ
                 ďǇŶŽƚŚĞƌ
                                                                       ϯϬWĞŶĂůƚǇĂǇƐн
        /ŵƉĞĚŝŶŐĂŶ/ŶǀĞƐƚŝŐĂƚŝŽŶ            ϮϬWĞŶĂůƚǇĂǇƐ         ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ            dĞƌŵŝŶĂƚŝŽŶ

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    ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐ
          x    dŚĞĂĚĚŝƚŝŽŶĂůĞǆƉĞŶƐĞŝŶƚĞƌŵƐŽĨƚŝŵĞĂŶĚƌĞƐŽƵƌĐĞƐƌĞƋƵŝƌĞĚƚŽĨƵƌƚŚĞƌŝŶǀĞƐƚŝŐĂƚĞĂŵĂƚƚĞƌĂƐĂ
               ƌĞƐƵůƚŽĨĂĨĂůƐĞͬŵŝƐůĞĂĚŝŶŐͬŝŶĂĐĐƵƌĂƚĞƐƚĂƚĞŵĞŶƚĂŶĚŝŵƉĞĚŝŶŐ ĂĐƚŝŽŶƐ
          x    ĚǀĞƌƐĞŝŵƉĂĐƚƵƉŽŶƚŚĞŽƵƚĐŽŵĞŽĨƚŚĞ ŝŶǀĞƐƚŝŐĂƚŝŽŶ
          x    dŚĞŵĞŵďĞƌ͛ƐƚƌĂŝŶŝŶŐĂŶĚĞǆƉĞƌŝĞŶĐĞŵĂŬĞƐŝƚůŝŬĞůǇƚŚĂƚƚŚĞŵĞŵďĞƌŬŶŽǁƐŽƌƐŚŽƵůĚŚĂǀĞŬŶŽǁŶĂ
               ŵĂƚĞƌŝĂůĨĂĐƚ
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    ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůDŝƚŝŐĂƚŝŶŐ&ĂĐƚŽƌƐ
          x    ŽŵƉůĞǆŝƚǇĂŶĚƌĂƉŝĚůǇĐŚĂŶŐŝŶŐŶĂƚƵƌĞŽĨƚŚĞƵŶĚĞƌůǇŝŶŐŝŶĐŝĚĞŶƚ
          x    DŝƐĐŽŶĚƵĐƚŝƚƐĞůĨŝƐŶŽƚĂƉƌĞƐƵŵƉƚŝǀĞƚĞƌŵŝŶĂƚŝŽŶĂĐƚĂŶĚƚŚĞŶĂƚƵƌĞŽĨƚŚĞƐƚĂƚĞŵĞŶƚŝƐƐƵĐŚƚŚĂƚŝƚǁĂƐ
               ŵĂĚĞǁŝƚŚƚŚĞŝŶƚĞŶƚƚŽĂǀŽŝĚĞŵďĂƌƌĂƐƐŵĞŶƚ;ƉĂƌƚŝĐƵůĂƌůǇŝŶƚŚĞĐŽŶƚĞǆƚŽĨŝŶƚĞƌƉĞƌƐŽŶĂůƌĞůĂƚŝŽŶƐŚŝƉƐŽƌ
               ŚĞĂůƚŚĐŽŶĚŝƚŝŽŶƐͿ
          x    dŚĞĞǆƚĞŶĚĞĚůĞŶŐƚŚŽĨƚŝŵĞƚŚĂƚŚĂƐĞůĂƉƐĞĚďĞƚǁĞĞŶƚŚĞĞǀĞŶƚĂŶĚƚŚĞƐƚĂƚĞŵĞŶƚ
          x    dŚĞĞǀĞŶƚŝƐƌĞůĂƚŝǀĞůǇƌŽƵƚŝŶĞŽƌŶŽƚŵĞŵŽƌĂďůĞ
          x    dŚĞŵĞŵďĞƌ͛ƐŝŶĂďŝůŝƚǇƚŽƌĞĐĂůůĂĐƚŝǀŝƚŝĞƐďĞĨŽƌĞŽƌĂĨƚĞƌƚŚĞĞǀĞŶƚ
          x    ŵĞŵďĞƌ͛ƐƵŶŝƋƵĞƵŶĚĞƌůǇŝŶŐƐƚƌĞƐƐŽƌƐĂƚƚŚĞƚŝŵĞŽĨƚŚĞƐƚĂƚĞŵĞŶƚ
          x    DĂƚĞƌŝĂůĨĂĐƚƐǁŽƵůĚŶŽƚďĞĚŝƐĐŽǀĞƌĞĚďƵƚĨŽƌƚŚĞŽĨĨŝĐĞƌǀŽůƵŶƚĞĞƌŝŶŐŝŶĨŽƌŵĂƚŝŽŶ




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            ŽŵĞƐƚŝĐsŝŽůĞŶĐĞ/ŶĐŝĚĞŶƚƐ
            ĚĚŝƚŝŽŶĂůĞĨŝŶŝƚŝŽŶĨŽƌŽŵĞƐƚŝĐsŝŽůĞŶĐĞ/ŶĐŝĚĞŶƚƐ
            &ĂŵŝůǇͬ,ŽƵƐĞŚŽůĚϲϯʹ&ĂŵŝůǇͬ,ŽƵƐĞŚŽůĚŝŶĐůƵĚĞƐƉĞƌƐŽŶƐǁŚŽĂƌĞůĞŐĂůůǇŵĂƌƌŝĞĚƚŽŽŶĞĂŶŽƚŚĞƌ͕ǁĞƌĞĨŽƌŵĞƌůǇ
            ůĞŐĂůůǇ ŵĂƌƌŝĞĚ ƚŽ ŽŶĞ ĂŶŽƚŚĞƌ͕ ƌĞůĂƚĞĚ ďǇ ŵĂƌƌŝĂŐĞ ;ĂĨĨŝŶŝƚǇͿ͕ ƌĞůĂƚĞĚ ďǇ ďůŽŽĚ ;ĐŽŶƐĂŶŐƵŝŶŝƚǇͿ͕ ŚĂǀĞ Ă ĐŚŝůĚ ŝŶ
            ĐŽŵŵŽŶƌĞŐĂƌĚůĞƐƐŽĨǁŚĞƚŚĞƌƐƵĐŚƉĞƌƐŽŶƐŚĂǀĞďĞĞŶŵĂƌƌŝĞĚŽƌŚĂǀĞůŝǀĞĚƚŽŐĞƚŚĞƌĂƚĂŶǇƚŝŵĞ͕ŶŽƚƌĞůĂƚĞĚďǇ
            ĐŽŶƐĂŶŐƵŝŶŝƚǇ;ďůŽŽĚͿŽƌĂĨĨŝŶŝƚǇ;ŵĂƌƌŝĂŐĞͿĂŶĚǁŚŽĂƌĞ͕ ŽƌŚĂǀĞďĞĞŶ͕ŝŶĂŶŝŶƚŝŵĂƚĞ ƌĞůĂƚŝŽŶƐŚŝƉƌĞŐĂƌĚůĞƐƐŽĨ
            ǁŚĞƚŚĞƌ ƐƵĐŚ ƉĞƌƐŽŶƐ ŚĂǀĞ ůŝǀĞĚ ƚŽŐĞƚŚĞƌ Ăƚ ĂŶǇ ƚŝŵĞ͕ ĐƵƌƌĞŶƚůǇ ůŝǀŝŶŐ ƚŽŐĞƚŚĞƌ ŝŶ Ă ĨĂŵŝůǇͲƚǇƉĞ ƌĞůĂƚŝŽŶƐŚŝƉ͕ Žƌ
            ĨŽƌŵĞƌůǇůŝǀĞĚƚŽŐĞƚŚĞƌŝŶĂĨĂŵŝůǇͲƚǇƉĞƌĞůĂƚŝŽŶƐŚŝƉ͘

            WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌŽŵĞƐƚŝĐsŝŽůĞŶĐĞ/ŶĐŝĚĞŶƚƐ/ŶǀŽůǀŝŶŐ&ĂŵŝůǇͬ,ŽƵƐĞŚŽůĚ
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                                                                      DŝƚŝŐĂƚĞĚ                WƌĞƐƵŵƉƚŝǀĞ               ŐŐƌĂǀĂƚĞĚ
                              DŝƐĐŽŶĚƵĐƚ
                                                                       WĞŶĂůƚǇ                   WĞŶĂůƚǇ                  WĞŶĂůƚǇ

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                                                                                             ϯϬ^ƵƐƉĞŶƐŝŽŶĂǇƐн
                WŚǇƐŝĐĂůĐƚ;ƐͿŽĨŽŵĞƐƚŝĐsŝŽůĞŶĐĞͬ&ĂŵŝůǇ                                ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶн    
                                 KĨĨĞŶƐĞ ϲϰ                               Eͬ              ŽƵŶƐĞůŝŶŐʹϮϰǁĞĞŬ          dĞƌŵŝŶĂƚŝŽŶ
                                                                                               K^^ƉƌŽŐƌĂŵϲϱ
                                                                                                                     
                WŚǇƐŝĐĂůĐƚ;ƐͿŽĨŽŵĞƐƚŝĐsŝŽůĞŶĐĞͬ&ĂŵŝůǇ
                                              ϲϲ                                                                     
                              KĨĨĞŶƐĞǁŝƚŚ ͗
                                                                                                                     
                x WƌĞǀŝŽƵƐĚĞƚĞƌŵŝŶĂƚŝŽŶďǇƚŚĞ                                                                     
                  ĞƉĂƌƚŵĞŶƚƚŚĂƚƚŚĞŵĞŵďĞƌĐŽŵŵŝƚƚĞĚ                                                              
                  ƉŚǇƐŝĐĂůĂĐƚ;ƐͿŽĨĚŽŵĞƐƚŝĐǀŝŽůĞŶĐĞϲϳ͖Žƌ                                                        
                x ůĞĂƌĂŶĚĐŽŶǀŝŶĐŝŶŐĞǀŝĚĞŶĐĞ                                                                     
                  ĚĞŵŽŶƐƚƌĂƚĞƐƚŚĂƚƚŚĞŵĞŵďĞƌŽĨƚŚĞ                                                               
                  ƐĞƌǀŝĐĞƉƌĞǀŝŽƵƐůǇĐŽŵŵŝƚƚĞĚƉŚǇƐŝĐĂů                                                             
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                  ĂĐƚ;ƐͿŽĨĚŽŵĞƐƚŝĐǀŝŽůĞŶĐĞǁŚĞƚŚĞƌŽƌ
                                                                         &ŽƌĐĞĚ
                                                                                                                      
                  ŶŽƚƉƌĞǀŝŽƵƐůǇƌĞƉŽƌƚĞĚĂŶĚͬŽƌ                                                dĞƌŵŝŶĂƚŝŽŶ                    Eͬ
                  ƐƵďƐƚĂŶƚŝĂƚĞĚϲϴ͖Žƌ                                 ^ĞƉĂƌĂƚŝŽŶ
                x &ŽƵŶĚŐƵŝůƚǇŝŶĂĐƌŝŵŝŶĂůƉƌŽĐĞĞĚŝŶŐĨŽƌ
                  ĂĚŽŵĞƐƚŝĐǀŝŽůĞŶĐĞĐƌŝŵĞϲϵ͖Žƌ
                x dŚĞĂĐƚƌĞƐƵůƚƐŝŶĂƐĞƌŝŽƵƐƉŚǇƐŝĐĂů
                  ŝŶũƵƌǇ͖Žƌ
                x dŚĞĂĐƚƌĞƐƵůƚƐŝŶƐŝŐŶŝĨŝĐĂŶƚƉŚǇƐŝĐĂů
                  ŝŶũƵƌŝĞƐĂŶĚͬŽƌŝŶũƵƌŝĞƐŐĞŶĞƌĂůůǇ
                  ŝŶĚŝĐĂƚŝǀĞŽĨƐƵƐƚĂŝŶĞĚŽƌƉƌŽůŽŶŐĞĚ
                  ƉŚǇƐŝĐĂůĂĐƚƐ͕Žƌ
                x KƌĚĞƌŽĨWƌŽƚĞĐƚŝŽŶǀŝŽůĂƚĞĚ͘

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            ϲϯ^ĞĞWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϬϴͲϯϲ͕&ĂŵŝůǇKĨĨĞŶƐĞƐͬŽŵĞƐƚŝĐsŝŽůĞŶĐĞ͘
            ϲϰ^ĞĞŽŵŵŝƐƐŝŽŶƚŽŽŵďĂƚWŽůŝĐĞŽƌƌƵƉƚŝŽŶ͕ŝŐŚƚĞĞŶƚŚŶŶƵĂůZĞƉŽƌƚŽĨƚŚĞŽŵŵŝƐƐŝŽŶ͕ƵŐƵƐƚϮϬϭϳĂƚƉ͘ϳϯ͘
            ϲϱdŚĞϮϰͲǁĞĞŬĐŽƵŶƐĞůŝŶŐƉƌŽŐƌĂŵŵĂǇďĞŝŵƉŽƐĞĚĂƐĂĐŽŶĚŝƚŝŽŶŽĨƉƌŽďĂƚŝŽŶĞǀĞŶŝĨƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞƉƌĞǀŝŽƵƐůǇ

            ĐŽŵƉůĞƚĞĚƚŚĞϰͲǁĞĞŬŽƌϴͲǁĞĞŬŽŵĞƐƚŝĐ/ŶĐŝĚĞŶƚĚƵĐĂƚŝŽŶWƌŽŐƌĂŵĂĚŵŝŶŝƐƚĞƌĞĚďǇƚŚĞEzWDĞĚŝĐĂůŝǀŝƐŝŽŶ͘
            ϲϲǀŝĚĞŶĐĞŽĨĚŝƐĐŝƉůŝŶĞĨŽƌƉƌŝŽƌĚŽŵĞƐƚŝĐǀŝŽůĞŶĐĞĞǀĞŶƚ;ƐͿǁŝůůĂůǁĂǇƐďĞĐŽŶƐŝĚĞƌĞĚĂƌĞůĞǀĂŶƚĨĂĐƚŽƌƌĞŐĂƌĚůĞƐƐŽĨƚŚĞůĞŶŐƚŚ

            ŽĨƚŝŵĞĞůĂƉƐĞĚďĞƚǁĞĞŶƚŚĞŝŶĐŝĚĞŶƚƐ͘
            ϲϳ^ĞĞŝŐŚƚĞĞŶƚŚŶŶƵĂůZĞƉŽƌƚĂƚƉ͘ϳϭ͘
            ϲϴ ^ĞĞŽŵŵŝƐƐŝŽŶƚŽŽŵďĂƚWŽůŝĐĞŽƌƌƵƉƚŝŽŶ͕^ŝǆƚĞĞŶƚŚŶŶƵĂůZĞƉŽƌƚŽĨƚŚĞŽŵŵŝƐƐŝŽŶ͕KĐƚŽďĞƌϮϬϭϰĂƚƉ͘ϱϯ͖^ĞĞĂůƐŽ

            ,ŽŶ͘DĂƌǇ:ŽtŚŝƚĞ͕,ŽŶ͘ZŽďĞƌƚ>͘ĂƉĞƌƐĂŶĚ,ŽŶ͘ĂƌďĂƌĂ^͘:ŽŶĞƐ͕dŚĞZĞƉŽƌƚŽĨƚŚĞ/ŶĚĞƉĞŶĚĞŶƚWĂŶĞůŽŶƚŚĞŝƐĐŝƉůŝŶĂƌǇ
            ^ǇƐƚĞŵŽĨƚŚĞEĞǁzŽƌŬŝƚǇWŽůŝĐĞĞƉĂƌƚŵĞŶƚ͕:ĂŶƵĂƌǇϮϬϭϵĂƚƉ͘ϱϱ͘
            ϲϵ^ĞĞŝŐŚƚĞĞŶƚŚŶŶƵĂůZĞƉŽƌƚĂƚƉ͘ϱϯ͘

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                                                            ϮϬWĞŶĂůƚǇĂǇƐн 
                                                                                  ϯϬWĞŶĂůƚǇĂǇƐн    
                                                            KƚŚĞƌŽŶĚŝƚŝŽŶƐ                            
              EŽŶͲƉŚǇƐŝĐĂůĐƚ;ƐͿŽĨŽŵĞƐƚŝĐ                                   KƚŚĞƌŽŶĚŝƚŝŽŶƐ;Ğ͘Ő͘
                                                             ;Ğ͘Ő͘ĐŽƵŶƐĞůŝŶŐ͕                                     dĞƌŵŝŶĂƚŝŽŶ
                sŝŽůĞŶĐĞͬ&ĂŵŝůǇKĨĨĞŶƐĞϳϬ                                       ĐŽƵŶƐĞůŝŶŐ͕ĂƐĚĞĞŵĞĚ
                                                                ĂƐĚĞĞŵĞĚ
                                                               ĂƉƉƌŽƉƌŝĂƚĞͿ         ĂƉƉƌŽƉƌŝĂƚĞͿ

                                                                                                              
              EŽŶͲƉŚǇƐŝĐĂůĐƚ;ƐͿŽĨŽŵĞƐƚŝĐ
                                                                                                              
               sŝŽůĞŶĐĞͬ&ĂŵŝůǇKĨĨĞŶƐĞǁŝƚŚ͗                                                                 
        x WƌĞǀŝŽƵƐĚĞƚĞƌŵŝŶĂƚŝŽŶďǇƚŚĞ                                                                      
          ĞƉĂƌƚŵĞŶƚƚŚĂƚƚŚĞŵĞŵďĞƌ                                                                         
          ĐŽŵŵŝƚƚĞĚĂŶĂĐƚŽĨĚŽŵĞƐƚŝĐǀŝŽůĞŶĐĞ͖                                                               
                                                            ϯϬWĞŶĂůƚǇĂǇƐн           ϯϬWĞŶĂůƚǇĂǇƐн
                                                                                                                
          Žƌ                                               KƚŚĞƌŽŶĚŝƚŝŽŶƐ          ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶн
        x ůĐŽŚŽůƌĞůĂƚĞĚͬŝŶǀŽůǀĞĚ͖Žƌ                      ;Ğ͘Ő͘ĐŽƵŶƐĞůŝŶŐ͕       KƚŚĞƌŽŶĚŝƚŝŽŶƐ;Ğ͘Ő͘       dĞƌŵŝŶĂƚŝŽŶ
        x tĞĂƉŽŶŽĨĂŶǇƚǇƉĞ;ŽƚŚĞƌƚŚĂŶ                       ĂƐĚĞĞŵĞĚ            ĐŽƵŶƐĞůŝŶŐ͕ĂƐĚĞĞŵĞĚ
          ĨŝƌĞĂƌŵͿƵƐĞĚŽƌƚŚƌĞĂƚĞŶĞĚ͖Žƌ                     ĂƉƉƌŽƉƌŝĂƚĞͿ               ĂƉƉƌŽƉƌŝĂƚĞͿ
        x ŶĚĂŶŐĞƌŝŶŐƚŚĞǁĞůĨĂƌĞŽĨĂĐŚŝůĚ͖Žƌ
        x KƚŚĞƌƐŝƚƵĂƚŝŽŶƐĚĞĞŵĞĚĂƉƉƌŽƉƌŝĂƚĞ
          ďĂƐĞĚƵƉŽŶƚŚĞĨĂĐƚƐĂŶĚĐŝƌĐƵŵƐƚĂŶĐĞƐ
          ;Ğ͘Ő͘ƚŚƌĞĂƚƐ͕ƐƚĂůŬŝŶŐ͕ĞƚĐ͘Ϳ͘

                                                                                                               
        hƐĞ͕dŚƌĞĂƚĞŶĞĚhƐĞ͕ŽƌDĞŶĂĐŝŶŐǁŝƚŚĂ                 &ŽƌĐĞĚ
                                                                                           dĞƌŵŝŶĂƚŝŽŶ                Eͬ
                       &ŝƌĞĂƌŵ                                ^ĞƉĂƌĂƚŝŽŶ
                                                                                                            
                                                            ϮϬWĞŶĂůƚǇĂǇƐн         ϯϬ^ƵƐƉĞŶƐŝŽŶĂǇƐн
             sŝŽůĂƚŝŽŶŽĨĂŶKƌĚĞƌŽĨWƌŽƚĞĐƚŝŽŶ           KƚŚĞƌŽŶĚŝƚŝŽŶƐ         KƚŚĞƌŽŶĚŝƚŝŽŶƐ;Ğ͘Ő͘ 
                        ;ĨŝƌƐƚŽĨĨĞŶƐĞͿ                     ;Ğ͘Ő͘ĐŽƵŶƐĞůŝŶŐ͕       ĐŽƵŶƐĞůŝŶŐ͕ĂƐĚĞĞŵĞĚ        dĞƌŵŝŶĂƚŝŽŶ
                                                                ĂƐĚĞĞŵĞĚ                 ĂƉƉƌŽƉƌŝĂƚĞͿ
                                                               ĂƉƉƌŽƉƌŝĂƚĞͿ
                                                                                                               
             sŝŽůĂƚŝŽŶŽĨĂŶKƌĚĞƌŽĨWƌŽƚĞĐƚŝŽŶ                &ŽƌĐĞĚ
                                                                                           dĞƌŵŝŶĂƚŝŽŶ                Eͬ
                      ;ƐĞĐŽŶĚŽĨĨĞŶƐĞͿ                        ^ĞƉĂƌĂƚŝŽŶ
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
    ĚĚŝƚŝŽŶĂůŽŶƐŝĚĞƌĂƚŝŽŶƐĨŽƌŽŵĞƐƚŝĐsŝŽůĞŶĐĞ/ŶĐŝĚĞŶƚƐ
         x     ^ĞƚƚůĞŵĞŶƚĂŐƌĞĞŵĞŶƚƐĨŽƌĐĂƐĞƐŝŶǀŽůǀŝŶŐĂƉŚǇƐŝĐĂůĂĐƚŽĨĚŽŵĞƐƚŝĐǀŝŽůĞŶĐĞƐŚĂůůŝŶĐůƵĚĞƚŚĞƐƉĞĐŝĨŝĐĂĐƚƐ
               ĨŽƌǁŚŝĐŚƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝƐĂĚŵŝƚƚŝŶŐƌĞƐƉŽŶƐŝďŝůŝƚǇĂŶĚĂĐĐĞƉƚŝŶŐĚŝƐĐŝƉůŝŶĞϳϭ
         x     /Ŷ ƌĞĂĐŚŝŶŐ ƐĞƚƚůĞŵĞŶƚ ĂŐƌĞĞŵĞŶƚƐ͕ ĨĂĐƚŽƌƐ ƐƵĐŚ ĂƐ ĞǀŝĚĞŶƚŝĂƌǇ ŝƐƐƵĞƐ͕ ƚŚĞ ůŝŬĞůŝŚŽŽĚ ŽĨ Ă ƐƵĐĐĞƐƐĨƵů
               ƉƌŽƐĞĐƵƚŝŽŶ͕ ĐŽŽƉĞƌĂƚŝŽŶ ŽĨ ƚŚĞ ǀŝĐƚŝŵͬǁŝƚŶĞƐƐĞƐ͕ ƚŝŵĞůŝŶĞƐƐ ŽĨ ƌĞƐŽůƵƚŝŽŶ͕ ƚŚĞ ƐĞǀĞƌŝƚǇ ŽĨ ĂŶǇ ĨŽƌĐĞ
               ĞŵƉůŽǇĞĚ͕ƚŚĞŶĂƚƵƌĞŽĨƚŚĞƌĞƐƚƌŝĐƚŝŽŶƐĞŶƵŵĞƌĂƚĞĚŝŶĂŶŽƌĚĞƌŽĨƉƌŽƚĞĐƚŝŽŶĂŶĚƚŚĞŶĂƚƵƌĞŽĨƚŚĞĞǆĂĐƚ
               ĐŝƌĐƵŵƐƚĂŶĐĞƐŽĨƚŚĞĂůƚĞƌĐĂƚŝŽŶƐŚĂůůďĞĐŽŶƐŝĚĞƌĞĚǁŚĞŶĚĞƚĞƌŵŝŶŝŶŐƚŚĞĂƉƉƌŽƉƌŝĂƚĞƉĞŶĂůƚǇŝŶĐůƵĚŝŶŐ
               ĂŶǇĚĞǀŝĂƚŝŽŶƐĨƌŽŵƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚŝĞƐ
         x     dŚĞůŝŬĞůŝŚŽŽĚŽĨƌĞĐƵƌƌĞŶĐĞ͕ƚŚĞŵĞŵďĞƌ͛ƐƌŽůĞŝŶƚŚĞĂůƚĞƌĐĂƚŝŽŶ;Ğ͘Ő͘ƉƌŝŵĂƌǇ͕ŽŶůǇ͕ŽƌĐŽͲĂŐŐƌĞƐƐŽƌͿĂŶĚ
               ĂŶǇŽƚŚĞƌƌĞůĞǀĂŶƚĨĂĐƚŽƌƐǁŝůůĂůƐŽďĞĐŽŶƐŝĚĞƌĞĚϳϮ

    ϳϬEŽŶͲƉŚǇƐŝĐĂůĂĐƚƐŽĨĚŽŵĞƐƚŝĐǀŝŽůĞŶĐĞͬĨĂŵŝůǇŽĨĨĞŶƐĞƐ/ŶĐůƵĚĞ͕ďƵƚĂƌĞŶŽƚůŝŵŝƚĞĚƚŽ͕ǀĞƌďĂůƚŚƌĞĂƚƐ͕ƐƚĂůŬŝŶŐ͕ŚĂƌĂƐƐŵĞŶƚ͕

    ĐŽĞƌĐŝŽŶ͕ĂŶĚĚĞƐƚƌƵĐƚŝŽŶŽĨƉƌŽƉĞƌƚǇ͘
    ϳϭdŚŝƐƌĞƋƵŝƌĞŵĞŶƚŵĂǇďĞǁĂŝǀĞĚŝĨƚŚĞƌĞŝƐĂŶŽŶŐŽŝŶŐƉƌŽĐĞĞĚŝŶŐŝŶƌŝŵŝŶĂůĂŶĚŽƌ&ĂŵŝůǇŽƵƌƚ͕ŽƌĂĐƌŝŵŝŶĂůŝŶǀĞƐƚŝŐĂƚŝŽŶ

    ƌĞůĂƚĞĚƚŽƚŚĞĂĐƚƐƵŶĚĞƌůǇŝŶŐƚŚĞŵŝƐĐŽŶĚƵĐƚďĞŝŶŐĂĚũƵĚŝĐĂƚĞĚ͘
    ϳϮ dŚĞŽŵŵŝƐƐŝŽŶƚŽŽŵďĂƚWŽůŝĐĞŽƌƌƵƉƚŝŽŶŶŽƚĞĚƚŚĂƚ͕͞ƐƵďũĞĐƚŽĨĨŝĐĞƌƐǁŚŽĐŽŵŵŝƚŽŶĞĚŽŵĞƐƚŝĐǀŝŽůĞŶĐĞŽĨĨĞŶƐĞ͕ŝŶŵŽƐƚ

    ĐŝƌĐƵŵƐƚĂŶĐĞƐ͕ƐŚŽƵůĚďĞŐŝǀĞŶƚŚĞŽƉƉŽƌƚƵŶŝƚǇƚŽƌĞŚĂďŝůŝƚĂƚĞƚŚĞŵƐĞůǀĞƐĂŶĚĐŽŶĨŽƌŵƚŚĞŝƌďĞŚĂǀŝŽƌƚŽƚŚĞƐƚĂŶĚĂƌĚƐƌĞƋƵŝƌĞĚ
    ŽĨůĂǁĞŶĨŽƌĐĞŵĞŶƚŽĨĨŝĐĞƌƐ͘͟ŝŐŚƚĞĞŶƚŚŶŶƵĂůZĞƉŽƌƚĂƚƉ͘ϳϬ͘
                                                                                                                               ϯϰ





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               x     DĞĚŝĐĂůŝǀŝƐŝŽŶƐƐĞƐƐŵĞŶƚϳϯ
                        R dŚĞ ŝƌĞĐƚŽƌ ŽĨ ƚŚĞ WƐǇĐŚŽůŽŐŝĐĂů ǀĂůƵĂƚŝŽŶ ^ĞĐƚŝŽŶ ǁŝůů͕ ŝŶ ĞĂĐŚ ĐĂƐĞ ŽĨ Ă ĚŽŵĞƐƚŝĐ ǀŝŽůĞŶĐĞ
                             ĂůůĞŐĂƚŝŽŶ͕ĐŽŶĚƵĐƚĂŶĂƐƐĞƐƐŵĞŶƚŽĨƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĐŽŶĐĞƌŶĞĚƚŽĚĞƚĞƌŵŝŶĞǁŚĞƚŚĞƌ
                             ƐĞƉĂƌĂƚŝŽŶŽŶŵĞĚŝĐĂůĂŶĚͬŽƌĨŝƚŶĞƐƐĨŽƌĚƵƚǇŐƌŽƵŶĚƐƐŚŽƵůĚďĞĐŽŶƐŝĚĞƌĞĚ
                        R dŚĞ ŝƌĞĐƚŽƌ ŽĨ ƚŚĞ ŽƵŶƐĞůŝŶŐ ^ĞƌǀŝĐĞƐ hŶŝƚ ǁŝůů ĞǀĂůƵĂƚĞ ĞĂĐŚ ĐĂƐĞ ŽĨ ĚŽŵĞƐƚŝĐ ǀŝŽůĞŶĐĞ Ăƚ
                             ŝŶĐĞƉƚŝŽŶƚŽĚĞƚĞƌŵŝŶĞǁŚĞƚŚĞƌƚŚĞŵĞŵďĞƌǁŽƵůĚďĞŶĞĨŝƚĨƌŽŵĂƉĂƌƚŝĐƵůĂƌĐŽƵŶƐĞůŝŶŐƉƌŽŐƌĂŵ
                             ĨŽĐƵƐŝŶŐŽŶĚŽŵĞƐƚŝĐǀŝŽůĞŶĐĞƉƌĞǀĞŶƚŝŽŶĂŶĚͬŽƌĂŶŐĞƌŵĂŶĂŐĞŵĞŶƚ
     
          hŶŝƋƵĞŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐĂŶĚĚĚŝƚŝŽŶĂůWƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌDŝƐĐŽŶĚƵĐƚ
          /ŶǀŽůǀŝŶŐ&ĂŵŝůǇͬ,ŽƵƐĞŚŽůĚ
          tŚŝůĞ ƚŚĞ ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚŝĞƐ ŽƵƚůŝŶĞĚ ĂďŽǀĞ ĂƌĞ ƐŝŐŶŝĨŝĐĂŶƚ ĂŶĚ ƌĞĨůĞĐƚ ƚŚĞ ƐĞƌŝŽƵƐŶĞƐƐ ŽĨ ĚŽŵĞƐƚŝĐ ǀŝŽůĞŶĐĞ
          ŽĨĨĞŶƐĞƐ͕ĐĞƌƚĂŝŶĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌƐŵĂǇůĞĂĚƚŽĂĚĚŝƚŝŽŶĂůƉĞŶĂůƚŝĞƐ͕ŽǀĞƌĂŶĚĂďŽǀĞƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚŝĞƐ͘
          dŚĞ ĨŽůůŽǁŝŶŐ ĂŐŐƌĂǀĂƚŝŶŐ ĨĂĐƚŽƌƐ ŵĂǇ ŝŵƉĂĐƚ ĚŽŵĞƐƚŝĐ ǀŝŽůĞŶĐĞ ƉĞŶĂůƚŝĞƐ ĂŶĚ ƌĞƐƵůƚ ŝŶ ĂŶ ŝŶĐƌĞĂƐĞ ŝŶ ƚŚĞ ƚŽƚĂů
          ŶƵŵďĞƌŽĨƉĞŶĂůƚǇĚĂǇƐĨŽƌĨĞŝƚĞĚ͘dŚĞƐĞŝŶĐƌĞĂƐĞĚƉĞŶĂůƚŝĞƐŵĂǇďĞŝŵƉŽƐĞĚƵƉŽŶĂŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞǁŚŽŝƐ
          ĚĞƚĞƌŵŝŶĞĚƚŽŚĂǀĞĐŽŵŵŝƚƚĞĚĂĐƚ;ƐͿŽĨĚŽŵĞƐƚŝĐ ǀŝŽůĞŶĐĞǁŚĞƚŚĞƌŽƌŶŽƚƐƵĐŚŝŶĐŝĚĞŶƚŝŶĐůƵĚĞĚĂƉŚǇƐŝĐĂůĂĐƚ͘
          dŚĞƐĞ ĨĂĐƚŽƌƐ ĂŶĚ ĐŽƌƌĞƐƉŽŶĚŝŶŐ ƉĞŶĂůƚǇ ĞŶŚĂŶĐĞŵĞŶƚƐ ĂƌĞ ŽŶůǇ Ă ŐƵŝĚĞ͘ ĞƉĞŶĚŝŶŐ ƵƉŽŶ ƚŚĞ ĨĂĐƚƐ ĂŶĚ
          ĐŝƌĐƵŵƐƚĂŶĐĞƐŽĨƚŚĞĐĂƐĞ͕ĂĐƚƵĂůƉĞŶĂůƚŝĞƐŵĂǇǀĂƌǇ͘
     



                                    ŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌ                                  WƌĞƐƵŵƉƚŝǀĞĚĚŝƚŝŽŶĂůWĞŶĂůƚǇ

                               ůĐŽŚŽůĂ&ĂĐƚŽƌŝŶƚŚĞ/ŶĐŝĚĞŶƚ                                      ϭϬWĞŶĂůƚǇĂǇƐΎ

               ĂůůŝŶŐŽƌ^ŚŽǁŝŶŐhƉĂƚƚŚĞsŝĐƚŝŵ͛ƐWůĂĐĞŽĨŵƉůŽǇŵĞŶƚ                             ϭϬWĞŶĂůƚǇĂǇƐ

                                       ŚŝůĚƌĞŶWƌĞƐĞŶƚ                                              ϭϬWĞŶĂůƚǇĂǇƐ

                   ŚŝůĚƌĞŶWƌĞƐĞŶƚǁͬZĞĂƐŽŶĂďůĞZŝƐŬŽĨ,ĂƌŵƚŽŚŝůĚ                               ϭϱWĞŶĂůƚǇĂǇƐ

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               ŽĞƌĐĞͬdŚƌĞĂƚĞŶͬ/ŶƚŝŵŝĚĂƚĞtŝƚŶĞƐƐĂŶĚͬŽƌͬt;ŝŶĐůƵĚŝŶŐ
                                                                                                      ϭϬWĞŶĂůƚǇĂǇƐ
                              ƚŚƌĞĂƚĞŶŝŶŐƚŚŝƌĚƉĂƌƚŝĞƐͿ

                           ŽŶĨŝƐĐĂƚŝŶŐͬĂŵĂŐŝŶŐsŝĐƚŝŵ͛ƐWŚŽŶĞ                                      ϭϱWĞŶĂůƚǇĂǇƐ

                                       ĂŵĂŐĞWƌŽƉĞƌƚǇ                                               ϭϱWĞŶĂůƚǇĂǇƐ

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              ŶƚĞƌͬZĞŵĂŝŶtŝƚŚŽƵƚWĞƌŵŝƐƐŝŽŶŝŶsŝĐƚŝŵ͛Ɛ,ŽŵĞͬWůĂĐĞŽĨ
                                                                                                      ϭϬWĞŶĂůƚǇĂǇƐ
                                      ZĞĨƵŐĞ

                                            ǀŝĐƚŝŽŶ                                                 ϭϱWĞŶĂůƚǇĂǇƐ

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                   &ĂŝůƵƌĞƚŽ/ĚĞŶƚŝĨǇ^ĞůĨƚŽZĞƐƉŽŶĚŝŶŐ>ĂǁŶĨŽƌĐĞŵĞŶƚ
                                                                                                      ϭϬWĞŶĂůƚǇĂǇƐ
                                            WĞƌƐŽŶŶĞů

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              &ĂŝůƵƌĞƚŽEŽƚŝĨǇƌĞ^ĞƌǀŝĐĞŽĨKƌĚĞƌŽĨWƌŽƚĞĐƚŝŽŶ;ŵĞŵďĞƌŝƐ
                                                                                                      ϭϬWĞŶĂůƚǇĂǇƐ
                           ƚŚĞŶĂŵĞĚŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞͿ

                                   &ĂŝůƵƌĞƚŽZĞƉŽƌƚͬEŽƚŝĨǇ                                           ϱWĞŶĂůƚǇĂǇƐ
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          ϳϯ dŚĞƐĞĂƐƐĞƐƐŵĞŶƚƐŽĐĐƵƌĨŽůůŽǁŝŶŐƚŚĞŝŶĐŝĚĞŶƚĂŶĚĚŽŶŽƚƉƌĞĐůƵĚĞƚŚĞůĂƚĞƌŝŵƉŽƐŝƚŝŽŶŽĨƚŚĞϮϰͲǁĞĞŬĐŽƵŶƐĞůŝŶŐƉƌŽŐƌĂŵ

          ĂƐĂĐŽŶĚŝƚŝŽŶŽĨĚŝƐŵŝƐƐĂůƉƌŽďĂƚŝŽŶ͘
                                                                                                                                    ϯϱ
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               &ĂŝůƵƌĞƚŽ^ĂĨĞŐƵĂƌĚ&ŝƌĞĂƌŵƵƌŝŶŐĂs/ŶĐŝĚĞŶƚ                            ϭϱWĞŶĂůƚǇĂǇƐ

                          ,ĂƌĂƐƐŝŶŐƚŚĞsŝĐƚŝŵͬtŝƚŶĞƐƐ                                      ϭϬWĞŶĂůƚǇĂǇƐ

                           ,ĂƌŵŝŶŐŶŝŵĂůͬ&ĂŵŝůǇWĞƚ                                        ϭϱWĞŶĂůƚǇĂǇƐ

                             /ŶĐŝĚĞŶƚtŚŝůĞKŶͲƵƚǇ                                         ϭϬWĞŶĂůƚǇĂǇƐ

                       >ĞĂǀŝŶŐƚŚĞ^ĐĞŶĞ;ĂďƐĞŶƚĞǆŝŐĞŶĐǇͿ                                  ϱWĞŶĂůƚǇĂǇƐ

                                    DĞŶĂĐŝŶŐ                                                ϭϬWĞŶĂůƚǇĂǇƐ

    
                                                                                 ϭϬ^ƵƐƉĞŶƐŝŽŶĂǇƐʹdĞƌŵŝŶĂƚŝŽŶ;ƐĞĞ
             WŚǇƐŝĐĂů/ŶũƵƌǇ;ŶŽƚĐŽŶƐƚŝƚƵƚŝŶŐ^ĞƌŝŽƵƐWŚǇƐŝĐĂů/ŶũƵƌǇͿ
                                                                                            &ŽƌĐĞ^ĞĐƚŝŽŶͿ

              WƌĞǀĞŶƚŝŶŐϵϭϭĂůůƐͬKďƐƚƌƵĐƚŝŶŐ^ĞĞŬŝŶŐƐƐŝƐƚĂŶĐĞ                           ϭϱWĞŶĂůƚǇĂǇƐ

                WƌĞǀĞŶƚŝŶŐsŝĐƚŝŵĨƌŽŵ>ĞĂǀŝŶŐWƌĞŵŝƐĞƐͬsĞŚŝĐůĞ                             ϭϬWĞŶĂůƚǇĂǇƐ

                                      ^ƚĂůŬŝŶŐ                                              ϮϬWĞŶĂůƚǇĂǇƐ

                 sƵůŶĞƌĂďůĞsŝĐƚŝŵ;ĞůĚĞƌůǇ͕ŝŶĐĂƉĂĐŝƚĂƚĞĚ͕ĞƚĐ͘Ϳ                           ϭϱWĞŶĂůƚǇĂǇƐ

                 tĞĂƉŽŶͬ/ŶƐƚƌƵŵĞŶƚhƐĞĚ;ŽƚŚĞƌƚŚĂŶĨŝƌĞĂƌŵͿ                                ϭϬWĞŶĂůƚǇĂǇƐ

    ΎůƐŽŝŶĐůƵĚĞƐĂůĐŽŚŽůĐŽƵŶƐĞůŝŶŐĂŶĚŽƌĚĞƌĞĚďƌĞĂƚŚƚĞƐƚŝŶŐ͘
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    ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůDŝƚŝŐĂƚŝŶŐ&ĂĐƚŽƌƐ
         x     dŚĞŽƚŚĞƌƉĂƌƚǇŝƐƚŚĞƉƌŝŵĂƌǇĂŐŐƌĞƐƐŽƌŝŶĂƉŚǇƐŝĐĂůĂůƚĞƌĐĂƚŝŽŶ
         x     ^ƵďũĞĐƚŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝƐƚŚĞǀŝĐƚŝŵŽŶůǇĂŶĚƚŚĞĚŝƐĐŝƉůŝŶĂƌǇŝƐƐƵĞŝƐƌĞůĂƚĞĚƚŽŽƚŚĞƌŵŝƐĐŽŶĚƵĐƚ
               ;Ğ͘Ő͘ĨĂŝůƵƌĞƚŽƌĞƉŽƌƚŽƌĂůĐŽŚŽůͲƌĞůĂƚĞĚŝŶĨƌĂĐƚŝŽŶͿ




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           ƌŝǀŝŶŐtŚŝůĞďŝůŝƚǇ/ŵƉĂŝƌĞĚͬ/ŶƚŽǆŝĐĂƚĞĚ/ŶĐŝĚĞŶƚƐ
           WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌƌŝǀŝŶŐtŚŝůĞ/ŵƉĂŝƌĞĚͬ/ŶƚŽǆŝĐĂƚĞĚ
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                                                                              DŝƚŝŐĂƚĞĚ           WƌĞƐƵŵƉƚŝǀĞ             ŐŐƌĂǀĂƚĞĚ
                                    DŝƐĐŽŶĚƵĐƚ
                                                                               WĞŶĂůƚǇ              WĞŶĂůƚǇ                WĞŶĂůƚǇ
                                                                                                                       
                                                                                                 ϯϬ^ƵƐƉĞŶƐŝŽŶĂǇƐн
                                                                                                                       
                                                                                                   ϮϬWĞŶĂůƚǇĂǇƐн
                   ƌŝǀŝŶŐtŚŝůĞďŝůŝƚǇ/ŵƉĂŝƌĞĚͬƌŝǀŝŶŐtŚŝůĞ                                ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶн 
                                  /ŶƚŽǆŝĐĂƚĞĚϳϰ                                 Eͬ               ŽŽƉĞƌĂƚŝŽŶǁͬ       dĞƌŵŝŶĂƚŝŽŶ
                                                                                                     ŽƵŶƐĞůŝŶŐн
                                                                                                KƌĚĞƌĞĚƌĞĂƚŚdĞƐƚŝŶŐ
                                                                                                                      
                  ƌŝǀŝŶŐtŚŝůĞďŝůŝƚǇ/ŵƉĂŝƌĞĚͬƌŝǀŝŶŐtŚŝůĞ
                                                                                                                      
                      /ŶƚŽǆŝĐĂƚĞĚǁŝƚŚĂŶǇŽĨƚŚĞĨŽůůŽǁŝŶŐ͗
                                                                                                                      
                 x DĞŵďĞƌŽŶŶƚƌǇͲ>ĞǀĞůWƌŽďĂƚŝŽŶ͖Žƌ
                                                                                                                      
                 x &ĞůŽŶǇƌŝŵŝŶĂůŽŶǀŝĐƚŝŽŶŽƌŽŶǀŝĐƚŝŽŶŽĨ
                                                                                                                      
                   ĂŶKĂƚŚŽĨKĨĨŝĐĞsŝŽůĂƚŝŽŶ͖Žƌ                                                                   
                 x t/ŝŶǀŽůǀŝŶŐĞĂƚŚŽƌ^ĞƌŝŽƵƐWŚǇƐŝĐĂů/ŶũƵƌǇ                                                    
                   ƚŽĂŶŽƚŚĞƌƉĞƌƐŽŶ͖Žƌ                                                                             
                 x >ĞĂǀŝŶŐƚŚĞƐĐĞŶĞŽĨĂĐŽůůŝƐŝŽŶŝŶǀŽůǀŝŶŐĂŶ                                                     
                   ŝŶũƵƌǇƚŽĂŶŽƚŚĞƌƉĞƌƐŽŶ͖Žƌ                                                                      
                 x t/ǁŚŝůĞKŶͲƵƚǇ͖Žƌ                           
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                 x t/ǁŝƚŚ^ĞƌŝŽƵƐdƌĂĨĨŝĐsŝŽůĂƚŝŽŶ͕ŽƌDƵůƚŝƉůĞ     &ŽƌĐĞĚ
                                                                                                     dĞƌŵŝŶĂƚŝŽŶ              Eͬ
                   dƌĂĨĨŝĐsŝŽůĂƚŝŽŶƐ͖Žƌ                            ^ĞƉĂƌĂƚŝŽŶ
                 x WƌŝŽƌt/,ŝƐƚŽƌǇ͖Žƌ
                 x t/ǁŚŝůĞŽŶŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ͖Žƌ
                 x &ĂŝůƵƌĞƚŽĐŽŵƉůǇǁŝƚŚƚŚĞĞƉĂƌƚŵĞŶƚ͛Ɛ
                   KƌĚĞƌĞĚƌĞĂƚŚdĞƐƚŝŶŐWƌŽŐƌĂŵ͖Žƌ
                 x &ĂŝůĞĚƚĞƐƚĂƐƉĂƌƚŽĨKƌĚĞƌĞĚƌĞĂƚŚdĞƐƚŝŶŐ͖
                   Žƌ
                 x ŶǇŽƚŚĞƌĐŽŶĚƵĐƚĚĞĞŵĞĚďǇƚŚĞWŽůŝĐĞ
                   ŽŵŵŝƐƐŝŽŶĞƌƚŽďĞĂŶĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌ
                   ǁĂƌƌĂŶƚŝŶŐŝƐŵŝƐƐĂůͬ&ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ

                                                                                                                        
                    ZĞĨƵƐĂůƚŽ^ƵďŵŝƚƚŽƌĞĂƚŚĂůǇǌĞƌŽƌKƚŚĞƌ               ϭϱWĞŶĂůƚǇ       ϯϬ^ƵƐƉĞŶƐŝŽŶĂǇƐн
                                                                                                                            dĞƌŵŝŶĂƚŝŽŶ
                                 ƉƉƌŽƉƌŝĂƚĞdĞƐƚ                               ĂǇƐ           ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ

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           ĚĚŝƚŝŽŶĂůŽŶƐŝĚĞƌĂƚŝŽŶƐĨŽƌt//ŶĐŝĚĞŶƚƐ
                   x    ǀŝĚĞŶĐĞŽĨĚŝƐĐŝƉůŝŶĞĨŽƌƉƌŝŽƌt/ĞǀĞŶƚ;ƐͿǁŝůůĂůǁĂǇƐďĞĐŽŶƐŝĚĞƌĞĚĂƌĞůĞǀĂŶƚĨĂĐƚŽƌƌĞŐĂƌĚůĞƐƐŽĨƚŚĞ
                        ůĞŶŐƚŚŽĨƚŝŵĞĞůĂƉƐĞĚďĞƚǁĞĞŶƚŚĞŝŶĐŝĚĞŶƚƐ
                   x    tŚĞŶĐŽŶƐŝĚĞƌŝŶŐƚŚĞƉĞŶĂůƚǇƌĂŶŐĞĨŽƌƌĞĨƵƐĂůŽƌĨĂŝůƵƌĞƚŽƐƵďŵŝƚƚŽĂƌĞĂƚŚĂůǇǌĞƌŽƌŽƚŚĞƌĂƉƉƌŽƉƌŝĂƚĞ
                        ƚĞƐƚ͕ƚŚĞŝŵƉĂĐƚƵƉŽŶƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶ͕ĞƉĂƌƚŵĞŶƚĂůŽƉĞƌĂƚŝŽŶƐĂŶĚĂŶǇŝŵƉĂĐƚƵƉŽŶĐŝǀŝůŝĂŶǀŝĐƚŝŵƐǁŝůů
                        ďĞĐŽŶƐŝĚĞƌĞĚ
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           ϳϰ
                 ^ĞĞEĞǁzŽƌŬsĞŚŝĐůĞĂŶĚdƌĂĨĨŝĐ>Ăǁ͕ƌƚ͘ϯϭΑϭϭϵϮ͘
                                                                                                                                      ϯϳ
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        x     dŚĞŝƌĞĐƚŽƌŽĨƚŚĞWƐǇĐŚŽůŽŐŝĐĂůǀĂůƵĂƚŝŽŶ^ĞĐƚŝŽŶ͕ŝŶĞĂĐŚĐĂƐĞŽĨĂt/ĂůůĞŐĂƚŝŽŶ͕ĐŽŶĚƵĐƚƐĂŶ
              ĂƐƐĞƐƐŵĞŶƚŽĨƚŚĞŵĞŵďĞƌĐŽŶĐĞƌŶĞĚƚŽĚĞƚĞƌŵŝŶĞǁŚĞƚŚĞƌƐĞƉĂƌĂƚŝŽŶŽŶŵĞĚŝĐĂůĂŶĚͬŽƌĨŝƚŶĞƐƐĨŽƌ
              ĚƵƚǇŐƌŽƵŶĚƐƐŚŽƵůĚďĞĐŽŶƐŝĚĞƌĞĚ
        x     dŚĞŝƌĞĐƚŽƌŽĨƚŚĞŽƵŶƐĞůŝŶŐ^ĞƌǀŝĐĞƐhŶŝƚĞǀĂůƵĂƚĞƐĞĂĐŚĐĂƐĞŽĨt/ĂƚŝŶĐĞƉƚŝŽŶŝŶŽƌĚĞƌƚŽ
              ĚĞƚĞƌŵŝŶĞǁŚŝĐŚƚǇƉĞŽĨĐŽƵŶƐĞůŝŶŐ;ŝŶƉĂƚŝĞŶƚǀĞƌƐƵƐŽƵƚƉĂƚŝĞŶƚͿǁŝůůŵŽƐƚďĞŶĞĨŝƚƚŚĞŵĞŵďĞƌĂŶĚͬŽƌ
              ǁŚĞƚŚĞƌĂŶǇŽƚŚĞƌƚǇƉĞŽĨĐŽƵŶƐĞůŝŶŐƐŚŽƵůĚďĞŵĂŶĚĂƚĞĚ

    hŶŝƋƵĞŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐĂŶĚĚĚŝƚŝŽŶĂůWƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐ
    tŚŝůĞƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚŝĞƐŽƵƚůŝŶĞĚĂďŽǀĞĂƌĞƐŝŐŶŝĨŝĐĂŶƚĂŶĚƌĞĨůĞĐƚƚŚĞƐĞƌŝŽƵƐŶĞƐƐŽĨƌŝǀŝŶŐtŚŝůĞďŝůŝƚǇ
    /ŵƉĂŝƌĞĚͬ/ŶƚŽǆŝĐĂƚĞĚ͕ĐĞƌƚĂŝŶĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌƐŵĂǇůĞĂĚƚŽĂĚĚŝƚŝŽŶĂůƉĞŶĂůƚŝĞƐ͕ŽǀĞƌĂŶĚĂďŽǀĞƚŚĞƉƌĞƐƵŵƉƚŝǀĞ
    ƉĞŶĂůƚŝĞƐ͘dŚĞĨŽůůŽǁŝŶŐĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌƐŵĂǇŝŵƉĂĐƚƌŝǀŝŶŐtŚŝůĞďŝůŝƚǇ/ŵƉĂŝƌĞĚͬ/ŶƚŽǆŝĐĂƚĞĚƉĞŶĂůƚŝĞƐĂŶĚ
    ƌĞƐƵůƚŝŶĂŶŝŶĐƌĞĂƐĞŝŶƚŚĞƚŽƚĂůŶƵŵďĞƌŽĨƉĞŶĂůƚǇĚĂǇƐ͘dŚĞƐĞĨĂĐƚŽƌƐĂŶĚĐŽƌƌĞƐƉŽŶĚŝŶŐƉĞŶĂůƚǇĞŶŚĂŶĐĞŵĞŶƚƐ
    ĂƌĞŽŶůǇĂŐƵŝĚĞ͘ĞƉĞŶĚŝŶŐƵƉŽŶƚŚĞĨĂĐƚƐĂŶĚĐŝƌĐƵŵƐƚĂŶĐĞƐŽĨƚŚĞĐĂƐĞ͕ĂĐƚƵĂůƉĞŶĂůƚŝĞƐŵĂǇǀĂƌǇ͘
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                         ŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌ                                 WƌĞƐƵŵƉƚŝǀĞĚĚŝƚŝŽŶĂůWĞŶĂůƚǇ

               ŶǇEŽŶͲ^ĞƌŝŽƵƐWŚǇƐŝĐĂů/ŶũƵƌǇƚŽŶŽƚŚĞƌ                             ϱ^ƵƐƉĞŶƐŝŽŶĂǇƐ

                          ŽůůŝƐŝŽŶǁŝƚŚKďũĞĐƚ                                         ϱWĞŶĂůƚǇĂǇƐ

                      ŽůůŝƐŝŽŶǁŝƚŚKƚŚĞƌsĞŚŝĐůĞƐ                                     ϱWĞŶĂůƚǇĂǇƐ

                                                                           ϭϬ^ƵƐƉĞŶƐŝŽŶĂǇƐĂŶĚZĞƐƚŝƚƵƚŝŽŶĨŽƌĂŶǇ
        t/ǁŚŝůĞKĨĨͲƵƚǇĂŶĚƌŝǀŝŶŐĂĞƉĂƌƚŵĞŶƚsĞŚŝĐůĞ
                                                                                    ĂŵĂŐĞƚŽƚŚĞsĞŚŝĐůĞ

                     t/ǁŝƚŚĂŶǇdƌĂĨĨŝĐ/ŶĨƌĂĐƚŝŽŶ                                    ϱWĞŶĂůƚǇĂǇƐ

                        t/ǁŝƚŚŚŝůĚŝŶsĞŚŝĐůĞ                                     ϭϬ^ƵƐƉĞŶƐŝŽŶĂǇƐ

             t/ǁŝƚŚKƉĞŶŽŶƚĂŝŶĞƌŽĨůĐŽŚŽůŝŶsĞŚŝĐůĞ                              ϭϬWĞŶĂůƚǇĂǇƐ

                     t/ǁŝƚŚWĂƐƐĞŶŐĞƌŝŶsĞŚŝĐůĞ                                      ϱWĞŶĂůƚǇĂǇƐ

                              &ŝƌĞĂƌŵ>ŽƐƚ                                              ϮϬWĞŶĂůƚǇĂǇƐ

                           &ŝƌĞĂƌŵŽŶWĞƌƐŽŶ                                            ϱWĞŶĂůƚǇĂǇƐ

                      &ŝƌĞĂƌŵhŶƐĞĐƵƌĞĚŝŶsĞŚŝĐůĞ                                      ϭϬWĞŶĂůƚǇĂǇƐ

                     >ĞĂǀŝŶŐƚŚĞ^ĐĞŶĞŽĨĂĐŽůůŝƐŝŽŶ                                   ϱWĞŶĂůƚǇĂǇƐ
                                                                     
       WƌŝŽƌůĐŽŚŽůKĨĨĞŶƐĞƐ;ǁŚŝĐŚŽĐĐƵƌƌĞĚǁŝƚŚŝŶƚŚĞƉĂƐƚ
       ϱǇĞĂƌƐŽƌĨŽƌǁŚŝĐŚƉĞŶĂůƚǇǁĂƐŝŵƉŽƐĞĚŝŶƚŚĞƉĂƐƚϱ                         ϭϬ^ƵƐƉĞŶƐŝŽŶĂǇƐ
                               ǇĞĂƌƐͿ

            ZĞƐŝƐƚŝŶŐƌƌĞƐƚͬŐŐƌĞƐƐŝŽŶǁŝƚŚƌƌĞƐƚŝŶŐKĨĨŝĐĞƌ                        ϭϬ^ƵƐƉĞŶƐŝŽŶĂǇƐ




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            &ŝƌĞĂƌŵͲZĞůĂƚĞĚ/ŶĐŝĚĞŶƚƐ
            WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌ&ŝƌĞĂƌŵͲZĞůĂƚĞĚ/ŶĐŝĚĞŶƚƐ
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                     DŝƐĐŽŶĚƵĐƚ                  DŝƚŝŐĂƚĞĚWĞŶĂůƚǇ WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚǇ              ŐŐƌĂǀĂƚĞĚWĞŶĂůƚǇ
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                  ĐĐŝĚĞŶƚĂů&ŝƌĞĂƌŵ
               ŝƐĐŚĂƌŐĞͬEĞŐůŝŐĞŶĐĞŽŶ                                  ϯϬ^ƵƐƉĞŶƐŝŽŶĂǇƐΎн   
               ƚŚĞWĂƌƚŽĨƚŚĞDĞŵďĞƌ                  Eͬ               ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ            dĞƌŵŝŶĂƚŝŽŶ
               ;ǁŝƚŚŝŶũƵƌǇƚŽĂŶŽƚŚĞƌͿ
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                  ĐĐŝĚĞŶƚĂů&ŝƌĞĂƌŵ
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                ŝƐĐŚĂƌŐĞ;ƐĞůĨͲŝŶĨůŝĐƚĞĚ
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                  ŝŶũƵƌǇŽƌƐŝŐŶŝĨŝĐĂŶƚ
                   ƉƌŽƉĞƌƚǇĚĂŵĂŐĞͿ
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                  ĐĐŝĚĞŶƚĂů&ŝƌĞĂƌŵ
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              ŝƐĐŚĂƌŐĞ;ŶŽŝŶũƵƌǇĂŶĚͬŽƌ              Eͬ                 ϭϱWĞŶĂůƚǇĂǇƐ
                                                                                                        ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ
               ŵŝŶŽƌƉƌŽƉĞƌƚǇĚĂŵĂŐĞͿ
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                  ůůŽǁŝŶŐĂŝǀŝůŝĂŶƚŽ
                                                        Eͬ                 ϭϱWĞŶĂůƚǇĂǇƐ             ϯϬWĞŶĂůƚǇĂǇƐ
                     ŚĂŶĚůĞ&ŝƌĞĂƌŵ
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                    &ĂŝůƚŽEŽƚŝĨǇƚŚĞ
                   ĞƉĂƌƚŵĞŶƚďŽƵƚ                    Eͬ                 ϱWĞŶĂůƚǇĂǇƐ              ϭϬWĞŶĂůƚǇĂǇƐ
                   &ŝƌĞĂƌŵĐƋƵŝƐŝƚŝŽŶ
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                &ĂŝůƚŽ^ĂĨĞŐƵĂƌĚ&ŝƌĞĂƌŵ
                                                        Eͬ                 ϭϱWĞŶĂůƚǇĂǇƐ             ϯϬWĞŶĂůƚǇĂǇƐ
                  ;ŶŽƚƌĞƐƵůƚŝŶŐŝŶůŽƐƐͿ
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                &ĂŝůƚŽ^ĂĨĞŐƵĂƌĚ&ŝƌĞĂƌŵ                                                             ϯϬWĞŶĂůƚǇĂǇƐн
                   ;ƌĞƐƵůƚŝŶŐŝŶůŽƐƐŽƌ               Eͬ                 ϮϬWĞŶĂůƚǇĂǇƐ
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                 ƉŽƐƐĞƐƐŝŽŶďǇĂŶŽƚŚĞƌͿ
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                   &ĂŝůƵƌĞƚŽZĞƉŽƌƚ
                                                        Eͬ                 ϭϬWĞŶĂůƚǇĂǇƐ             ϮϬWĞŶĂůƚǇĂǇƐ
                  /ŵƉƌŽƉĞƌŝƐĐŚĂƌŐĞ

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                  &ĂŝůƵƌĞƚŽZĞƉŽƌƚ>ŽƐƚ
                                                        Eͬ                 ϭϬWĞŶĂůƚǇĂǇƐ             ϮϬWĞŶĂůƚǇĂǇƐ
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                 &ŝƌĞĂƌŵŝƐĐŚĂƌŐĞĂƚŽƌ
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                 ĨƌŽŵĂDŽǀŝŶŐsĞŚŝĐůĞ͕
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                   KƵƚƐŝĚĞĞƉĂƌƚŵĞŶƚ                  Eͬ                 ϮϬWĞŶĂůƚǇĂǇƐ
                                                                                                        ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ
                'ƵŝĚĞůŝŶĞƐŶŽƚZĞƐƵůƚŝŶŐ
                ŝŶ^ĞƌŝŽƵƐWŚǇƐŝĐĂů/ŶũƵƌǇ

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                  &ŝƌĞĂƌŵDŝƐĐŽŶĚƵĐƚ
                                                        Eͬ                 ϯϬWĞŶĂůƚǇĂǇƐ              dĞƌŵŝŶĂƚŝŽŶ
                 /ŶǀŽůǀŝŶŐZŝƐŬƚŽŚŝůĚ

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                 WŽƐƐĞƐƐŝŽŶͬhƐĞŽĨĂŶ
                                                        Eͬ                 ϭϬWĞŶĂůƚǇĂǇƐ             ϮϬWĞŶĂůƚǇĂǇƐ
                 hŶĂƵƚŚŽƌŝǌĞĚ&ŝƌĞĂƌŵ



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         hƐĞŽĨhŶĂƵƚŚŽƌŝǌĞĚ
                                               Eͬ                   ϯWĞŶĂůƚǇĂǇƐ               ϲWĞŶĂůƚǇĂǇƐ
            ŵŵƵŶŝƚŝŽŶ

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         hƐĞŽĨhŶĂƵƚŚŽƌŝǌĞĚ
        ,ŽůƐƚĞƌͬ&ĂŝůƚŽhƚŝůŝǌĞĂ             Eͬ                   ϯWĞŶĂůƚǇĂǇƐ               ϲWĞŶĂůƚǇĂǇƐ
                ,ŽůƐƚĞƌ

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       DŝƐƵƐĞŽĨĂ&ŝƌĞĂƌŵǁŚŝůĞ
                                         &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ            dĞƌŵŝŶĂƚŝŽŶ                      Eͬ
            hŶĨŝƚĨŽƌƵƚǇ

    Ύ dŚĞƉĞŶĂůƚǇĞƐĐĂůĂƚĞƐĐŽŵŵĞŶƐƵƌĂƚĞǁŝƚŚƚŚĞŶĂƚƵƌĞĂŶĚĞǆƚĞŶƚŽĨƚŚĞŝŶũƵƌǇ͘




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          /ŶŐĞƐƚŝŶŐŽŶƚƌŽůůĞĚ^ƵďƐƚĂŶĐĞƐ͕DĂƌŝŚƵĂŶĂͬd,͕ĂŶŶĞĚ^ƵďƐƚĂŶĐĞƐ
          ĂŶĚǆĐĞƐƐŝǀĞͬhŶĞǆĐƵƐĞĚhƐĞŽĨWƌĞƐĐƌŝƉƚŝŽŶƌƵŐƐϳϱ
          ĚĚŝƚŝŽŶĂůĞĨŝŶŝƚŝŽŶƐ
          ŽŶƚƌŽůůĞĚ ^ƵďƐƚĂŶĐĞƐϳϲ͗ ƌƵŐƐ ƚŚĂƚ ĂƌĞ ƌĞŐƵůĂƚĞĚ ďǇ ƐƚĂƚĞ ĂŶĚ ĨĞĚĞƌĂů ůĂǁƐ ƚŚĂƚ Ăŝŵ ƚŽ ĐŽŶƚƌŽů ƚŚĞ ĚĂŶŐĞƌ ŽĨ
          ĂĚĚŝĐƚŝŽŶ͕ĂďƵƐĞ͕ƉŚǇƐŝĐĂůĂŶĚŵĞŶƚĂůŚĂƌŵ͕ƚŚĞƚƌĂĨĨŝĐŬŝŶŐďǇŝůůĞŐĂůŵĞĂŶƐ͕ĂŶĚƚŚĞĚĂŶŐĞƌƐĨƌŽŵĂĐƚŝŽŶƐŽĨƚŚŽƐĞ
          ǁŚŽŚĂǀĞƵƐĞĚƚŚĞƐƵďƐƚĂŶĐĞƐ͕ĂƐĨŽůůŽǁƐ͗

               x    ^ĐŚĞĚƵůĞ/ƌƵŐƐ͗ƌƵŐƐ͕ƐƵďƐƚĂŶĐĞƐ͕ŽƌĐŚĞŵŝĐĂůƐĚĞĨŝŶĞĚĂƐĚƌƵŐƐǁŝƚŚŽƵƚĐƵƌƌĞŶƚůǇĂĐĐĞƉƚĞĚŵĞĚŝĐĂůƵƐĞ
                    ĂŶĚĂŚŝŐŚƉŽƚĞŶƚŝĂůĨŽƌĂďƵƐĞ
                        R ǆĂŵƉůĞƐŽĨ^ĐŚĞĚƵůĞϭƌƵŐƐŝŶĐůƵĚĞ͗,ĞƌŽŝŶ͕>^͕ĐƐƚĂƐǇ͕ŽĐĂŝŶĞ͕ƌĂĐŬͲŽĐĂŝŶĞ͕DĂƌŝŚƵĂŶĂ͕
                             ĞƚĐ͘
               x    ^ĐŚĞĚƵůĞ//ƌƵŐƐ͗ƌƵŐƐ͕ƐƵďƐƚĂŶĐĞƐ͕ŽƌĐŚĞŵŝĐĂůƐĚĞĨŝŶĞĚĂƐĚƌƵŐƐǁŝƚŚŚŝŐŚƉŽƚĞŶƚŝĂůĨŽƌĂďƵƐĞ͕ǁŝƚŚƵƐĞ
                    ƉŽƚĞŶƚŝĂůůǇůĞĂĚŝŶŐƚŽƐĞǀĞƌĞƉƐǇĐŚŽůŽŐŝĐĂůŽƌƉŚǇƐŝĐĂůĚĞƉĞŶĚĞŶĐĞ
                        R ǆĂŵƉůĞƐŽĨ^ĐŚĞĚƵůĞ//ƌƵŐƐŝŶĐůƵĚĞ͗sŝĐŽĚŝŶ͕ŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞ͕ŵĞƚŚĂĚŽŶĞ͕ŽǆǇĐŽĚŽŶĞ͕ĞƚĐ͘
               x    ^ĐŚĞĚƵůĞ///ƌƵŐƐ͗ƌƵŐƐ͕ƐƵďƐƚĂŶĐĞƐŽƌĐŚĞŵŝĐĂůƐĚĞĨŝŶĞĚĂƐĚƌƵŐƐǁŝƚŚĂŵŽĚĞƌĂƚĞƚŽůŽǁƉŽƚĞŶƚŝĂůĨŽƌ
                    ƉŚǇƐŝĐĂůĂŶĚƉƐǇĐŚŽůŽŐŝĐĂůĚĞƉĞŶĚĞŶĐĞ
                        R ǆĂŵƉůĞƐŽĨ^ĐŚĞĚƵůĞ///ƌƵŐƐŝŶĐůƵĚĞ͗dǇůĞŶŽůǁŝƚŚĐŽĚĞŝŶĞ͕ŬĞƚĂŵŝŶĞ͕ĞƚĐ͘

          DĂƌŝŚƵĂŶĂͬdĞƚƌĂŚǇĚƌŽĐĂŶŶĂďŝŶŽů;͞d,͟Ϳ͗DĂƌŝŚƵĂŶĂŝƐĚĞĨŝŶĞĚƵŶĚĞƌEzWƵďůŝĐ,ĞĂůƚŚ>ĂǁΑϯϯϬϮ;ϮϭͿĂŶĚƚŚĞ
          &ĞĚĞƌĂůŽŶƚƌŽůůĞĚ^ƵďƐƚĂŶĐĞƐĐƚϮϭh͘^͘͘ΑϴϭϮ͘ ϳϳd,ŝƐďĞůŝĞǀĞĚƚŽďĞƚŚĞƉƌŝŵĂƌǇƉƐǇĐŚŽĂĐƚŝǀĞĐŽŵƉŽŶĞŶƚŽĨ
          ŵĂƌŝŚƵĂŶĂ͘

          ŶĂďŽůŝĐ^ƚĞƌŽŝĚƐ͗^ǇŶƚŚĞƚŝĐĂůůǇƉƌŽĚƵĐĞĚǀĂƌŝĂŶƚƐŽĨƚŚĞŶĂƚƵƌĂůůǇŽĐĐƵƌƌŝŶŐŵĂůĞŚŽƌŵŽŶĞƚĞƐƚŽƐƚĞƌŽŶĞƚŚĂƚĂƌĞ
          ĂďƵƐĞĚ ŝŶ ĂŶ ĂƚƚĞŵƉƚ ƚŽ ƉƌŽŵŽƚĞ ŵƵƐĐůĞ ŐƌŽǁƚŚ͕ ĞŶŚĂŶĐĞ ĂƚŚůĞƚŝĐ Žƌ ŽƚŚĞƌ ƉŚǇƐŝĐĂů ƉĞƌĨŽƌŵĂŶĐĞ͕ ĂŶĚ ŝŵƉƌŽǀĞ
          ƉŚǇƐŝĐĂůĂƉƉĞĂƌĂŶĐĞ͘

               x    ǆĂŵƉůĞƐŽĨŶĂďŽůŝĐ^ƚĞƌŽŝĚƐŝŶĐůƵĚĞ͗dĞƐƚŽƐƚĞƌŽŶĞ͕ŶĂŶĚƌŽůŽŶĞ͕ƐƚĂŶŽǌŽůŽ͕ŵĞƚŚĂŶĚŝĞŶŽŶĞ͕ďŽůĚĞŶŽŶĞ͕ĞƚĐ͘

          ĂŶŶĞĚ ^ƵďƐƚĂŶĐĞƐ͗ ŝĞƚĂƌǇ ƐƵƉƉůĞŵĞŶƚƐ ƚŚĂƚ ĂƌĞ ƉƌŽŚŝďŝƚĞĚ ďǇ ƚŚĞ ĞƉĂƌƚŵĞŶƚ ĂƐ ůŝƐƚĞĚ ŝŶ WĞƌƐŽŶŶĞů ƵƌĞĂƵ
          DĞŵŽηϰϰƐ͘ϮϬϭϭ͕ƉƉĞŶĚŝǆ͞͟;ŶĂďŽůŝĐ^ƚĞƌŽŝĚƐĂŶĚ,ƵŵĂŶ'ƌŽǁƚŚ,ŽƌŵŽŶĞͿ͕ĂŶĚĂŶǇƐƵďƐĞƋƵĞŶƚƵƉĚĂƚĞƐ͘ ϳϴ
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          ϳϱdŚĞEzWŝƐĂĚƌƵŐͲĨƌĞĞǁŽƌŬƉůĂĐĞĂƐĚĞĨŝŶĞĚƵŶĚĞƌϰϭh͘^͘͘ΑϴϭϬϭĂŶĚEzWĞŵƉůŽǇĞĞƐĂƌĞƉƌŽŚŝďŝƚĞĚĨƌŽŵƵƐŝŶŐ

          ĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞƐ͘hŶĚĞƌϰϭh͘^͘͘ΑϴϭϬϯ͕ƚŚĞĞƉĂƌƚŵĞŶƚŵƵƐƚĂĚŚĞƌĞƚŽƚŚĞƐĞĚƌƵŐͲĨƌĞĞƌĞƋƵŝƌĞŵĞŶƚƐŝŶŽƌĚĞƌƚŽ
          ƌĞĐĞŝǀĞĨĞĚĞƌĂůŐƌĂŶƚĨƵŶĚŝŶŐ͘ĚĚŝƚŝŽŶĂůůǇ͕ƚŚĞ&ĞĚĞƌĂů'ƵŶŽŶƚƌŽůĐƚ͕ϭϴh͘^͘͘ΑϵϮϮ͕ƉƌŽŚŝďŝƚƐĂŶǇŽŶĞǁŚŽƵƐĞƐĂĐŽŶƚƌŽůůĞĚ
          ƐƵďƐƚĂŶĐĞ͕ĂƐƚŚĂƚƚĞƌŵŝƐĚĞĨŝŶĞĚƵŶĚĞƌƚŚĞ&ĞĚĞƌĂůŽŶƚƌŽůůĞĚ^ƵďƐƚĂŶĐĞƐĐƚ͕ĨƌŽŵƉŽƐƐĞƐƐŝŶŐĂĨŝƌĞĂƌŵ͘
          ϳϲ^ĞĞƚŚĞŽŶƚƌŽůůĞĚ^ƵďƐƚĂŶĐĞƐĐƚ͕Ϯϭh͘^͘͘ΑΑϴϬϴʹϵϬϰ͘
          ϳϳ/ŶĐůƵĚĞƐĂůůƉĂƌƚƐŽĨƚŚĞƉůĂŶƚŽĨƚŚĞŐĞŶƵƐĂŶŶĂďŝƐ͕ǁŚĞƚŚĞƌŐƌŽǁŝŶŐŽƌŶŽƚ͖ƚŚĞƐĞĞĚƐƚŚĞƌĞŽĨ͖ƚŚĞƌĞƐŝŶĞǆƚƌĂĐƚĞĚĨƌŽŵĂŶǇ

          ƉĂƌƚŽĨƚŚĞƉůĂŶƚ͖ĂŶĚĞǀĞƌǇĐŽŵƉŽƵŶĚ͕ŵĂŶƵĨĂĐƚƵƌĞ͕ƐĂůƚ͕ĚĞƌŝǀĂƚŝǀĞ͕ŵŝǆƚƵƌĞ͕ŽƌƉƌĞƉĂƌĂƚŝŽŶŽĨƚŚĞƉůĂŶƚ͕ŝƚƐƐĞĞĚƐŽƌƌĞƐŝŶ͘
          ϳϴdŚĞůŝƐƚŽĨƐƵďƐƚĂŶĐĞƐŝŶƉƉĞŶĚŝǆŝƐƐƵďũĞĐƚƚŽĐŚĂŶŐĞĂƚĂŶǇƚŝŵĞ͘^ĞĞĂůƐŽ͕ǁǁǁ͘ŶƐĨƐƉŽƌƚ͘ĐŽŵ͘

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    WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌŽŶƚƌŽůůĞĚ^ƵďƐƚĂŶĐĞƐ͕DĂƌŝũƵĂŶĂͬd,͕ĂŶŶĞĚ^ƵďƐƚĂŶĐĞƐĂŶĚ
    ǆĐĞƐƐŝǀĞͬhŶĞǆĐƵƐĞĚhƐĞŽĨWƌĞƐĐƌŝƉƚŝŽŶƌƵŐƐ
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               DŝƐĐŽŶĚƵĐƚ                         DŝƚŝŐĂƚĞĚWĞŶĂůƚǇ WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚǇ ŐŐƌĂǀĂƚĞĚWĞŶĂůƚǇ
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        WŽƐŝƚŝǀĞKƌĚĞƌĞĚŽƌZĂŶĚŽŵ
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        ƌƵŐ^ĐƌĞĞŶŝŶŐdĞƐƚ^ŚŽǁŝŶŐ
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        WŽƐŝƚŝǀĞĨŽƌhƐĞŽĨ^ĐŚĞĚƵůĞ/
             Žƌ^ĐŚĞĚƵůĞ//ƌƵŐƐ
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        WŽƐŝƚŝǀĞKƌĚĞƌĞĚŽƌZĂŶĚŽŵ
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       ƌƵŐ^ĐƌĞĞŶŝŶŐdĞƐƚ^ŚŽǁŝŶŐ
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          hƐĞŽĨ^ĐŚĞĚƵůĞ///ƌƵŐ
                                                           Eͬ                     dĞƌŵŝŶĂƚŝŽŶ                   Eͬ
          ǁŝƚŚŽƵƚĂsĂůŝĚ͕>ĂǁĨƵůůǇ
       KďƚĂŝŶĞĚWƌĞƐĐƌŝƉƚŝŽŶŽƌǁŝƚŚ
       ŶŽ>ĞŐŝƚŝŵĂƚĞDĞĚŝĐĂůZĞĂƐŽŶ

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         WŽƐƐĞƐƐŝŽŶŽĨĂ^ĐŚĞĚƵůĞ/Žƌ
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              ^ĐŚĞĚƵůĞ//ƌƵŐ

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           ZĞĨƵƐĂůƚŽ^ƵďŵŝƚƚŽĂŶ
          KƌĚĞƌĞĚŽƌZĂŶĚŽŵƌƵŐ                          Eͬ                     dĞƌŵŝŶĂƚŝŽŶ                   Eͬ
               ^ĐƌĞĞŶŝŶŐdĞƐƚ
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       ƚƚĞŵƉƚƚŽůƚĞƌŽƌDĂƐŬĂŶ
           KƌĚĞƌĞĚŽƌZĂŶĚŽŵ                              Eͬ                     dĞƌŵŝŶĂƚŝŽŶ                   Eͬ
             ^ĐƌĞĞŶŝŶŐdĞƐƚ
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       WŽƐŝƚŝǀĞKƌĚĞƌĞĚͬZĂŶĚŽŵƌƵŐ
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           ^ĐƌĞĞŶŝŶŐdĞƐƚ^ŚŽǁŝŶŐ
       WŽƐŝƚŝǀĞĨŽƌĂŶŶĂďŽůŝĐ^ƚĞƌŽŝĚ
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                                                    &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ              dĞƌŵŝŶĂƚŝŽŶ                   Eͬ
         ǁŝƚŚŽƵƚĂsĂůŝĚĂŶĚ>ĂǁĨƵůůǇ
        KďƚĂŝŶĞĚWƌĞƐĐƌŝƉƚŝŽŶŽƌǁŝƚŚ
        ŶŽ>ĞŐŝƚŝŵĂƚĞDĞĚŝĐĂůZĞĂƐŽŶ

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            /ŶŐĞƐƚŝŽŶŽĨĂĂŶŶĞĚ
                                                    &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ              dĞƌŵŝŶĂƚŝŽŶ                   Eͬ
                  ^ƵďƐƚĂŶĐĞ
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            WŽƐƐĞƐƐŝŽŶŽĨƌƵŐ                                                   ϲϬWĞŶĂůƚǇĂǇƐн
                                                     ϰϱWĞŶĂůƚǇĂǇƐн
         WĂƌĂƉŚĞƌŶĂůŝĂ;ǁŝƚŚŽƵƚĂ                                              ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶн   
                                                    ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ
        ƉŽƐŝƚŝǀĞŽƌĚĞƌĞĚŽƌƌĂŶĚŽŵ                                            KƌĚĞƌĞĚƌƵŐ^ĐƌĞĞŶŝŶŐ         dĞƌŵŝŶĂƚŝŽŶ
                                                      нKƌĚĞƌĞĚƌƵŐ
         ĚƌƵŐƐĐƌĞĞŶŝŶŐƚĞƐƚƌĞƐƵůƚͿ                 ^ĐƌĞĞŶŝŶŐdĞƐƚƐ                 dĞƐƚƐϳϵ

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    ϳϵKƌĚĞƌĞĚĚƌƵŐƐĐƌĞĞŶŝŶŐƚĞƐƚƐŵĂǇďĞĂŐƌĞĞĚƵƉŽŶŝŶĂŶĞŐŽƚŝĂƚĞĚƐĞƚƚůĞŵĞŶƚ͘dŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŵĂǇďĞƐƵďũĞĐƚƚŽ

    ƚĞƐƚŝŶŐĂƚĂŶǇƚŝŵĞĚƵƌŝŶŐƚŚŝƐƉĞƌŝŽĚ͘
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            sŝŽůĂƚŝŽŶƐŽĨĞƉĂƌƚŵĞŶƚZƵůĞƐĂŶĚZĞŐƵůĂƚŝŽŶƐ
            ĞƉĂƌƚŵĞŶƚ ƌƵůĞƐ ĂŶĚ ƌĞŐƵůĂƚŝŽŶƐ ĂƌĞ ĐŽĚŝĨŝĞĚ ŝŶ ƚŚĞ WĂƚƌŽů 'ƵŝĚĞ͕ ĚŵŝŶŝƐƚƌĂƚŝǀĞ 'ƵŝĚĞ͕ ĞƚĞĐƚŝǀĞ 'ƵŝĚĞ͕ ^
            ƵůůĞƚŝŶƐ͕ &ŝŶĞƐƚ DĞƐƐĂŐĞƐ͕ ZĞĨĞƌĞŶĐĞ 'ƵŝĚĞƐ ĂŶĚ ŽƚŚĞƌ ƉƵďůŝĐĂƚŝŽŶƐ ĂǀĂŝůĂďůĞ ƚŽ ŵĞŵďĞƌƐ ŽŶ ƚŚĞ ĞƉĂƌƚŵĞŶƚ͛Ɛ
            ĞůĞĐƚƌŽŶŝĐ ƉŽƌƚĂů ƵŶĚĞƌ ƚŚĞ ͞ŝƌĞĐƚŝǀĞƐ Θ DĂŶƵĂůƐ͟ ƐĞĐƚŝŽŶ͘ ϴϬ DĞŵďĞƌƐ ĂƌĞ ƌĞƋƵŝƌĞĚ ƚŽ ƌĞŵĂŝŶ ĐŽŐŶŝǌĂŶƚ ŽĨ ƚŚĞ
            ĞƉĂƌƚŵĞŶƚ͛ƐƌƵůĞƐĂŶĚƌĞŐƵůĂƚŝŽŶƐ͘dŚĞĨŽůůŽǁŝŶŐĐŚĂƌƚĚĞƉŝĐƚƐƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚŝĞƐĨŽƌǀŝŽůĂƚŝŽŶƐƚŚĂƚĂƌĞ
            ĐŽŵŵŽŶůǇĂĚũƵĚŝĐĂƚĞĚƚŚƌŽƵŐŚŚĂƌŐĞƐĂŶĚ^ƉĞĐŝĨŝĐĂƚŝŽŶƐ͘dŚŝƐůŝƐƚŝƐŶŽƚĞǆĐůƵƐŝǀĞ͘&ŽƌĂŶǇZƵůĞŽƌZĞŐƵůĂƚŝŽŶŶŽƚ
            ůŝƐƚĞĚ͕ĂĚĞƚĞƌŵŝŶĂƚŝŽŶǁŝůůďĞŵĂĚĞďĂƐĞĚƵƉŽŶƚŚĞĨĂĐƚƐĂŶĚĐŝƌĐƵŵƐƚĂŶĐĞƐƐƵƌƌŽƵŶĚŝŶŐƚŚĞŝŶĐŝĚĞŶƚ͘
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            WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌsŝŽůĂƚŝŽŶŽĨĞƉĂƌƚŵĞŶƚZƵůĞƐĂŶĚZĞŐƵůĂƚŝŽŶƐʹĚũƵĚŝĐĂƚĞĚďǇ
            ŚĂƌŐĞƐĂŶĚ^ƉĞĐŝĨŝĐĂƚŝŽŶƐϴϭ
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                       DŝƐĐŽŶĚƵĐƚ                     DŝƚŝŐĂƚĞĚWĞŶĂůƚǇ              WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚǇ                ŐŐƌĂǀĂƚĞĚWĞŶĂůƚǇ
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                  ĐĐĞƐƐŝŶŐŽŶĨŝĚĞŶƚŝĂů
               /ŶĨŽƌŵĂƚŝŽŶtŝƚŚŽƵƚWŽůŝĐĞ                ϱWĞŶĂůƚǇĂǇƐ                  ϭϬWĞŶĂůƚǇĂǇƐ                   ϮϬWĞŶĂůƚǇĂǇƐ
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              ZĞĐŽƌĚĂWƌĞƐĐƌŝďĞĚǀĞŶƚŽƌ
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              ŽŵŵĞŶĐŝŶŐͬdĞƌŵŝŶĂƚŝŶŐĂ
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              ŽŵŵĞŶĐŝŶŐͬdĞƌŵŝŶĂƚŝŶŐĂ
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               dŝŵĞEƚŚĞhŶĚĞƌůǇŝŶŐ
              /ŶĐŝĚĞŶƚŝƐƚŚĞ^ƵďũĞĐƚŽĨĂŶ
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            ϴϬ^ĞĞŚƚƚƉƐ͗ͬͬƉŽƌƚĂů͘ŶǇƉĚ͘ŽƌŐͬƉĂŐĞƐͬŝƌĞĐƚŝǀĞƐŶĚDĂŶƵĂůƐ͘ĂƐƉǆ
            ϴϭ ŚĂƌŐĞƐĂŶĚ^ƉĞĐŝĨŝĐĂƚŝŽŶƐŝƐŽŶĞŵĞƚŚŽĚƐƵŝƚĂďůĞĨŽƌƚŚĞĂĚũƵĚŝĐĂƚŝŽŶŽĨƚŚĞŵŝƐĐŽŶĚƵĐƚůŝƐƚĞĚ͘ dŚĞŵŝƐĐŽŶĚƵĐƚƐƉĞĐŝĨŝĞĚŚĞƌĞ

            ŵĂǇŽƌŵĂǇŶŽƚƌŝƐĞƚŽƚŚĞůĞǀĞůŽĨŚĂƌŐĞƐĂŶĚ^ƉĞĐŝĨŝĐĂƚŝŽŶƐĂƐĚĞƚĞƌŵŝŶĞĚďǇƚŚĞĞƉĂƌƚŵĞŶƚĚǀŽĐĂƚĞďĂƐĞĚƵƉŽŶĂůůŽĨƚŚĞ
            ĨĂĐƚƐĂŶĚĐŝƌĐƵŵƐƚĂŶĐĞƐƐƵƌƌŽƵŶĚŝŶŐƚŚĞŝŶĐŝĚĞŶƚ͘/ŶƐƵĐŚĐĂƐĞƐ͕ƚŚĞǀŝŽůĂƚŝŽŶƐŵĂǇďĞĂĚĚƌĞƐƐĞĚĂƐĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌƐƌĞůĂƚĞĚ
            ƚŽ ŽƚŚĞƌ ĂĐƚƐ ŽĨ ŵŝƐĐŽŶĚƵĐƚ Žƌ ŵĂǇ ďĞ ĂĚĚƌĞƐƐĞĚ Ăƚ ƚŚĞ ĐŽŵŵĂŶĚ ůĞǀĞů ŝĨ ƚŚĞƌĞ ĂƌĞ ŶŽ ĂƐƐŽĐŝĂƚĞĚ ĂĐƚƐ ŽĨ ŵŝƐĐŽŶĚƵĐƚ ďĞŝŶŐ
            ĂĚũƵĚŝĐĂƚĞĚƚŚƌŽƵŐŚĐŚĂƌŐĞƐĂŶĚƐƉĞĐŝĨŝĐĂƚŝŽŶƐ͘
            ϴϮ^ĞĞ͕WĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϬϯͲϮϮ͕ĞƉĂƌƚŵĞŶƚŽŶĨŝĚĞŶƚŝĂůŝƚǇWŽůŝĐǇ͘

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        ŽĚǇtŽƌŶĂŵĞƌĂͲ
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       /ŶƚĞŶƚŝŽŶĂůŽƌZĞĐŬůĞƐƐ
         &ĂŝůƵƌĞƚŽZĞĐŽƌĚĂ                                                            
         WƌĞƐĐƌŝďĞĚǀĞŶƚŽƌ           ϭϬWĞŶĂůƚǇĂǇƐ            ϮϬWĞŶĂůƚǇĂǇƐ             ϯϬWĞŶĂůƚǇĂǇƐ
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     ŽŶĚƵĐƚWƌĞũƵĚŝĐŝĂůƚŽƚŚĞ                                                         
    'ŽŽĚKƌĚĞƌĂŶĚĨĨŝĐŝĞŶĐǇŽĨ          dƌĂŝŶŝŶŐ                     Eͬ                     dĞƌŵŝŶĂƚŝŽŶ
         ƚŚĞĞƉĂƌƚŵĞŶƚ
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        ƌŝŵŝŶĂůƐƐŽĐŝĂƚŝŽŶ           ϭϱWĞŶĂůƚǇĂǇƐ           ϮϬWĞŶĂůƚǇĂǇƐ             ϯϬWĞŶĂůƚǇĂǇƐ

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            dŽǁWƌŽĐĞĚƵƌĞƐ

       &ĂŝůƚŽ/ŶǀŽŝĐĞWƌŽƉĞƌƚǇ        ϱWĞŶĂůƚǇĂǇƐ            ϭϬWĞŶĂůƚǇĂǇƐ             ϮϬWĞŶĂůƚǇĂǇƐ

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     &ĂŝůƚŽWƌĞƉĂƌĞĂZĞƋƵŝƌĞĚ                                                                ϭϬWĞŶĂůƚǇĂǇƐ
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         &ĂŝůƚŽZĞŵĂŝŶůĞƌƚ          ϱWĞŶĂůƚǇĂǇƐ            ϭϬWĞŶĂůƚǇĂǇƐ             ϮϬWĞŶĂůƚǇĂǇƐ

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      &ĂŝůƚŽ^ĂĨĞŐƵĂƌĚWƌŝƐŽŶĞƌ                                                               ϯϬWĞŶĂůƚǇĂǇƐ
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      ŽĨKĨĨĞŶƐŝǀĞDĂƚĞƌŝĂů
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     ƉĞƌƐŽŶĂůĞůĞĐƚƌŽŶŝĐͬĚŝŐŝƚĂů                                                              ϯϬWĞŶĂůƚǇĂǇƐ
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     ĂƵĚŝŽŽƌƚĂŬĞƉŚŽƚŽŐƌĂƉŚƐ
    ĚƵƌŝŶŐĂŶǇƉŽůŝĐĞĞŶĐŽƵŶƚĞƌͿ

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                   /ŶƐƵďŽƌĚŝŶĂƚŝŽŶ               ϭϱWĞŶĂůƚǇĂǇƐ                 ϮϬWĞŶĂůƚǇĂǇƐ            ϯϬWĞŶĂůƚǇĂǇƐ

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               DĂŬŝŶŐĂŶhŶĂƵƚŚŽƌŝǌĞĚ                                                                         ϮϬWĞŶĂůƚǇĂǇƐ
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           WŽƐƐĞƐƐͬĐƋƵŝƌĞͬWƵďůŝƐŚŚŝůĚ                                                                             Eͬ
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               ƚŚĞEĞǁƐDĞĚŝĂŽƌŽƚŚĞƌ
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                       WĞƌŵŝƐƐŝŽŶ
          ΎdŚĞ ŶƵŵďĞƌ ŽĨ ƉĞŶĂůƚǇ ĚĂǇƐ ƐŚĂůů ŝŶĐƌĞĂƐĞ ďĂƐĞĚ ŽŶ ƚŚĞ ĂŵŽƵŶƚ ŽĨ ƚŝŵĞ ŵŝƐƵƐĞĚ Žƌ ƐĞǀĞƌŝƚǇ ŽĨ ƚŚĞ ŵŝƐƵƐĞ ƚŽ
          ƌĞŝŵďƵƌƐĞƚŚĞĞƉĂƌƚŵĞŶƚĨŽƌƚŚĞŝŵƉƌŽƉĞƌƵƐĞŽĨƚŝŵĞ͘dŚĞƉĞŶĂůƚǇŵĂǇĂůƐŽŝŶĐůƵĚĞŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶŽƌĨŽƌĐĞĚ
          ƐĞƉĂƌĂƚŝŽŶĨƌŽŵƚŚĞĞƉĂƌƚŵĞŶƚ͘
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          ϴϯ^ĞĞ͕WĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞƐϮϭϵͲϯϮ͕ĞƉĂƌƚŵĞŶƚDŽďŝůĞŝŐŝƚĂůĞǀŝĐĞƐ͕ϮϬϯͲϮϳĞƉĂƌƚŵĞŶƚŵĂŝůWŽůŝĐǇĂŶĚϮϬϯͲϭϬWƵďůŝĐ

          ŽŶƚĂĐƚʹWƌŽŚŝďŝƚĞĚŽŶĚƵĐƚ͘
          ϴϰ^ĞĞWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϬϯͲϮϱ͕ĞƉĂƌƚŵĞŶƚWŽůŝĐǇWƌŽŚŝďŝƚŝŶŐZĂĐŝĂůWƌŽĨŝůŝŶŐĂŶĚŝĂƐͲĂƐĞĚWŽůŝĐŝŶŐ͘
          ϴϱ^ĞĞWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϭϮͲϳϳ͕ZĞůĞĂƐĞŽĨ/ŶĨŽƌŵĂƚŝŽŶƚŽEĞǁƐDĞĚŝĂ͘

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    KĨĨͲƵƚǇDŝƐĐŽŶĚƵĐƚΘWƌŽŚŝďŝƚĞĚŽŶĚƵĐƚ'ĞŶĞƌĂůůǇ
    DĞŵďĞƌƐŽĨƚŚĞƐĞƌǀŝĐĞĂƌĞƌĞƋƵŝƌĞĚƚŽŵĂŝŶƚĂŝŶƚŚĞƐƚĂŶĚĂƌĚƐĞƐƚĂďůŝƐŚĞĚďǇƚŚĞĞƉĂƌƚŵĞŶƚĨŽƌƚŚĞŝƌĐŽŶĚƵĐƚ
    ǁŚĞƚŚĞƌŽŶͲŽƌŽĨĨͲĚƵƚǇĂŶĚĂƌĞŚĞůĚƚŽĂŚŝŐŚĞƌƐƚĂŶĚĂƌĚŽĨĞƚŚŝĐƐĂŶĚŝŶƚĞŐƌŝƚǇ͘dŚĞŵŝƐĐŽŶĚƵĐƚĚĞƐĐƌŝďĞĚĂŶĚƚŚĞ
    ƉƌĞƐƵŵƉƚŝǀĞ ƉĞŶĂůƚŝĞƐ ĞŶƵŵĞƌĂƚĞĚ ƚŚƌŽƵŐŚŽƵƚ ƚŚĞƐĞ ŐƵŝĚĞůŝŶĞƐ ĂƌĞ ĞƋƵĂůůǇ ĂƉƉůŝĐĂďůĞ ƚŽ ŽŶͲ ĂŶĚ ŽĨĨͲĚƵƚǇ
    ĚĞƉŽƌƚŵĞŶƚĂŶĚĐŽŶĚƵĐƚ͘dŚĞĨŽůůŽǁŝŶŐĐŚĂƌƚƉƌŽǀŝĚĞƐƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚŝĞƐĨŽƌĂĐƚƐŽĨŵŝƐĐŽŶĚƵĐƚƚŚĂƚƚǇƉŝĐĂůůǇ
    ŽĐĐƵƌŽĨĨͲĚƵƚǇ͕ŚŽǁĞǀĞƌ͕ƚŚŝƐĚŽĞƐŶŽƚƉƌĞĐůƵĚĞƚŚĞĂƉƉůŝĐĂƚŝŽŶŽĨƚŚĞƐĞƉĞŶĂůƚŝĞƐŝĨƚŚĞĐŽŶĚƵĐƚŽĐĐƵƌƐǁŚŝůĞ ŽŶͲ
    ĚƵƚǇ͘ŽŵŵŝƚƚŝŶŐĂĐƚƐŽĨŵŝƐĐŽŶĚƵĐƚĚĞƐĐƌŝďĞĚďĞůŽǁǁŚŝůĞŽŶͲĚƵƚǇŵĂǇďĞĂŶĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌŝŶĂƐƐĞƐƐŝŶŐƚŚĞ
    ĂƉƉƌŽƉƌŝĂƚĞƉĞŶĂůƚǇ͘
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    WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌKĨĨͲƵƚǇDŝƐĐŽŶĚƵĐƚΘWƌŽŚŝďŝƚĞĚŽŶĚƵĐƚ
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                                                           DŝƚŝŐĂƚĞĚ                                                     ŐŐƌĂǀĂƚĞĚ
                    DŝƐĐŽŶĚƵĐƚ                                                     WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚǇ
                                                            WĞŶĂůƚǇ                                                       WĞŶĂůƚǇ
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                                                                                       ϯϬWĞŶĂůƚǇĂǇƐн
                   ŶŝŵĂůƌƵĞůƚǇ                             Eͬ                                                        dĞƌŵŝŶĂƚŝŽŶ
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           ŽŶƐƵŵŝŶŐ/ŶƚŽǆŝĐĂŶƚƐtŚŝůĞŝŶ                                             ϯϬWĞŶĂůƚǇĂǇƐн
                                                               Eͬ                                                        dĞƌŵŝŶĂƚŝŽŶ
                     hŶŝĨŽƌŵ                                                         ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ
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          ŝƐƉůĂǇŝŶŐĂtĞĂƉŽŶtŚŝůĞKĨĨͲ
                                                         ϭϬWĞŶĂůƚǇĂǇƐ                ϭϱWĞŶĂůƚǇĂǇƐ                ϮϬWĞŶĂůƚǇĂǇƐ
                       ƵƚǇ

      ŝƐƉƵƚĞͬ&ĂŝůƵƌĞƚŽŽŵƉůǇǁŝƚŚKŶͲ                                                                          
         ƵƚǇ>ĂǁŶĨŽƌĐĞŵĞŶƚKĨĨŝĐĞƌ                   ϭϬWĞŶĂůƚǇĂǇƐ                ϭϱWĞŶĂůƚǇĂǇƐ                ϮϬWĞŶĂůƚǇĂǇƐ
                tŚŝůĞKĨĨͲƵƚǇ
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          &ĂŝůƚŽ/ĚĞŶƚŝĨǇ^ĞůĨƚŽZĞƐƉŽŶĚŝŶŐ
           KĨĨŝĐĞƌƐĂƚƚŚĞ^ĐĞŶĞŽĨĂWŽůŝĐĞ             ϱWĞŶĂůƚǇĂǇƐ                ϭϬWĞŶĂůƚǇĂǇƐ                ϭϱWĞŶĂůƚǇĂǇƐ
                        /ŶĐŝĚĞŶƚ
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           &ĂŝůƚŽZĞŵĂŝŶĂƚƚŚĞ^ĐĞŶĞŽĨĂ
                                                          ϭWĞŶĂůƚǇĂǇ                  ϱWĞŶĂůƚǇĂǇƐ                ϭϬWĞŶĂůƚǇĂǇƐ
                    WŽůŝĐĞ/ŶĐŝĚĞŶƚ

      &ĂŝůƚŽZĞƉŽƌƚ/ŶĐŝĚĞŶƚŽƌEŽƚŝĨǇƚŚĞ                                                                       
       ĞƉĂƌƚŵĞŶƚŽĨ/ŶǀŽůǀĞŵĞŶƚŝŶĂ                    ϭWĞŶĂůƚǇĂǇ                  ϱWĞŶĂůƚǇĂǇƐ                ϭϬWĞŶĂůƚǇĂǇƐ
                 WŽůŝĐĞ/ŶĐŝĚĞŶƚ
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      &ŝŶĂŶĐŝĂůZĞƐƚƌŝĐƚŝŽŶƐʹWƌŽŚŝďŝƚĞĚϴϲ            ϭϬWĞŶĂůƚǇĂǇƐн             ϮϬWĞŶĂůƚǇĂǇƐн
                                                                                                                           ŝǀĞƐƚƵƌĞŽĨ
                                                       ŝǀĞƐƚƵƌĞŽĨ/ŶƚĞƌĞƐƚ         ŝǀĞƐƚƵƌĞŽĨ/ŶƚĞƌĞƐƚ
                                                                                                                             /ŶƚĞƌĞƐƚ

                    ,ĂƚĞ^ƉĞĞĐŚϴϳ                      &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ                 dĞƌŵŝŶĂƚŝŽŶ                         Eͬ
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    ϴϲ ^ĞĞ WĂƚƌŽů 'ƵŝĚĞ ƉƌŽĐĞĚƵƌĞƐ ϮϬϯͲϭϯ &ŝŶĂŶĐŝĂů ZĞƐƚƌŝĐƚŝŽŶƐ ʹ WƌŽŚŝďŝƚĞĚ ĐƚƐ ĂŶĚ ϮϬϯͲϭϰ &ŝŶĂŶĐŝĂů ZĞƐƚƌŝĐƚŝŽŶƐ ʹ WƌŽŚŝďŝƚĞĚ

    /ŶƚĞƌĞƐƚƐ͘
    ϴϳ
       ^ƵĐŚ ŵŝƐĐŽŶĚƵĐƚ ŵĂǇ ĂƉƉůǇ ƚŽ ĂĐƚŝǀŝƚǇ ĐŽǀĞƌĞĚ ďǇ ƚŚĞ ĨŽůůŽǁŝŶŐ WĂƚƌŽů 'ƵŝĚĞ ƉƌŽĐĞĚƵƌĞƐ͗ ϮϬϯͲϯϮ͕ WĞƌƐŽŶĂů ^ŽĐŝĂů DĞĚŝĂ
    ĐĐŽƵŶƚƐĂŶĚWŽůŝĐǇ͕ϮϬϯͲϮϴ͕ĞƉĂƌƚŵĞŶƚ^ŽĐŝĂůDĞĚŝĂĐĐŽƵŶƚƐĂŶĚWŽůŝĐǇ͕ϮϬϯͲϭϬ͕WƵďůŝĐŽŶƚĂĐƚʹWƌŽŚŝďŝƚĞĚŽŶĚƵĐƚ͕ĂŶĚϮϬϱͲ
    ϯϲ͕ŵƉůŽǇŵĞŶƚŝƐĐƌŝŵŝŶĂƚŝŽŶ͘
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                  DŝƐƌĞƉƌĞƐĞŶƚĂƚŝŽŶƐZĞŐĂƌĚŝŶŐ
                                                                                    ϯϬ^ƵƐƉĞŶƐŝŽŶĂǇƐн       
                 ŽŶƚƌĂĐƚƵĂůŽƌ&ŝŶĂŶĐŝĂůDĂƚƚĞƌƐ
                                                                Eͬ                  ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ              dĞƌŵŝŶĂƚŝŽŶ
                ;Ğ͘Ő͘DŝůŝƚĂƌǇƵƚǇ^ƚĂƚƵƐ͕,ŽƵƐŝŶŐ͕
                          DŽƌƚŐĂŐĞƐ͕ĞƚĐ͘Ϳ
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              KĨĨͲƵƚǇŵƉůŽǇŵĞŶƚʹWƌŽŚŝďŝƚĞĚ
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              ŵƉůŽǇŵĞŶƚŽƌƉƉůŝĐĂƚŝŽŶĞŶŝĞĚ

                     KĨĨͲƵƚǇŵƉůŽǇŵĞŶƚʹ                                                                    
                    hŶĂƵƚŚŽƌŝǌĞĚͬƵƚŚŽƌŝǌĂƚŝŽŶ            ϱWĞŶĂůƚǇĂǇƐ              ϭϬWĞŶĂůƚǇĂǇƐ              ϭϱWĞŶĂůƚǇĂǇƐ
                        ĞŶŝĞĚŽƌǆƉŝƌĞĚ
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                KƉĞƌĂƚŝŶŐĂsĞŚŝĐůĞŝŶĂZĞĐŬůĞƐƐ                                                                    ϯϬWĞŶĂůƚǇĂǇƐн
                                                           ϭϱWĞŶĂůƚǇĂǇƐ             ϮϬWĞŶĂůƚǇĂǇƐ
                            DĂŶŶĞƌ                                                                                  ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ
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                 WƵďůŝĐƐƐŝƐƚĂŶĐĞʹƉƉůǇĨŽƌŽƌ
                    KďƚĂŝŶĞŶĞĨŝƚƐtŝƚŚŽƵƚ              &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ              dĞƌŵŝŶĂƚŝŽŶ                      Eͬ
                  :ƵƐƚŝĨŝĐĂƚŝŽŶŽƌYƵĂůŝĨŝĐĂƚŝŽŶ
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                                                                                       ϯϬWĞŶĂůƚǇĂǇƐн
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                                                                                     ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶн 
                          hŶĨŝƚĨŽƌƵƚǇ                       Eͬ                KƌĚĞƌĞĚƌĞĂƚŚdĞƐƚŝŶŐн           dĞƌŵŝŶĂƚŝŽŶ
                                                                                       ŽŽƉĞƌĂƚŝŽŶǁŝƚŚ
                                                                                          ŽƵŶƐĞůŝŶŐ
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                 sĞŚŝĐůĞ/ŶƐƵƌĂŶĐĞʹĂƵƐŝŶŐƚŚĞ
                                                           ϱWĞŶĂůƚǇĂǇƐ              ϭϬWĞŶĂůƚǇĂǇƐ              ϭϱWĞŶĂůƚǇĂǇƐ
                  /ŶĐŽƌƌĞĐƚZĂƚĞƚŽďĞƉƉůŝĞĚ
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              sĞŚŝĐůĞ/ĚĞŶƚŝĨŝĐĂƚŝŽŶWůĂƚĞͬWůĂĐĂƌĚ
                                                           ϱWĞŶĂůƚǇĂǇƐ              ϭϬWĞŶĂůƚǇĂǇƐ              ϮϬWĞŶĂůƚǇĂǇƐ
                           DŝƐƵƐĞϴϴ
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          ĞĨŝŶŝƚŝŽŶŽĨ,ĂƚĞ^ƉĞĞĐŚ͗
          ^ƉĞĞĐŚŽƌŽƚŚĞƌĨŽƌŵŽĨĞǆƉƌĞƐƐŝŽŶƚŚĂƚŝƐŝŶƚĞŶĚĞĚƚŽŝŶƚŝŵŝĚĂƚĞ͕ĂƚƚĂĐŬ͕ŽƌƚŚƌĞĂƚĞŶͬŝŶĐŝƚĞǀŝŽůĞŶĐĞĂŐĂŝŶƐƚĂƉĞƌƐŽŶ
          Žƌ ŐƌŽƵƉ ŽŶ ƚŚĞ ďĂƐŝƐ ŽĨ ŶĂƚŝŽŶĂů ŽƌŝŐŝŶ͕ ĞƚŚŶŝĐŝƚǇ͕ ĐŽůŽƌ͕ ƌĞůŝŐŝŽŶ͕ ŐĞŶĚĞƌ͕ ŐĞŶĚĞƌ ŝĚĞŶƚŝƚǇ͕ ƐĞǆƵĂů ŽƌŝĞŶƚĂƚŝŽŶ͕
          ĚŝƐĂďŝůŝƚǇ Žƌ ŽƚŚĞƌ ƉƌŽƚĞĐƚĞĚ ĐůĂƐƐ͘ ,ĂƚĞ ^ƉĞĞĐŚ ŝƐ ŵŽƌĞ ĞŐƌĞŐŝŽƵƐ ƚŚĂŶ ͞KĨĨĞŶƐŝǀĞ >ĂŶŐƵĂŐĞ͟ ĂŶĚ ŵĂǇ ŶŽƚ ďĞ
          ůĂŶŐƵĂŐĞƚŚĂƚŵĞƌĞůǇŽĨĨĞŶĚƐŽƌŝŶƐƵůƚƐĂŶŝŶĚŝǀŝĚƵĂůŽƌŝƐĐŽŶƐŝĚĞƌĞĚƌƵĚĞ͕ĚŝƐƚĂƐƚĞĨƵůŽƌŽĨĨĞŶƐŝǀĞďƵƚƌĂƚŚĞƌƐŚŽĐŬƐ
          ƚŚĞĐŽŶƐĐŝĞŶĐĞ͘ĐŚĂƌŐĞŽĨ,ĂƚĞ^ƉĞĞĐŚǁŝůůŽŶůǇďĞƐƵƐƚĂŝŶĞĚǁŚĞŶƚŚĞůĂŶŐƵĂŐĞƐŽĐůĞĂƌůǇĚĂŵĂŐĞƐƚŚĞĞŵƉůŽǇĞĞ͛Ɛ
          ĂďŝůŝƚǇ ƚŽ ĐŽŶƚŝŶƵĞ ƚŽƉĞƌĨŽƌŵ ƚŚĞŝƌ ũŽď ƌĞƐƉŽŶƐŝďŝůŝƚŝĞƐ͕ ĚĂŵĂŐĞƐ ƚŚĞ ĂďŝůŝƚǇ ŽĨ ĐŽͲǁŽƌŬĞƌƐ ƚŽ ƉĞƌĨŽƌŵ ƚŚĞŝƌ ŽǁŶ
          ĚƵƚŝĞƐŽƌŚĂƐƐƵĐŚĂŶĞĨĨĞĐƚŽŶŐŽŽĚŽƌĚĞƌĂŶĚĚŝƐĐŝƉůŝŶĞƚŚĂƚŝƚĚĂŵĂŐĞƐƚŚĞĐƌĞĚŝďŝůŝƚǇŽĨƚŚĞĞƉĂƌƚŵĞŶƚŽƌƚŚĞ
          ĞƉĂƌƚŵĞŶƚ͛ƐĂďŝůŝƚǇƚŽƉƌŽǀŝĚĞƐĞƌǀŝĐĞƐĂŶĚĨƵůĨŝůůŝƚƐŵŝƐƐŝŽŶ͘
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          ϴϴ
            ǆĂŵƉůĞƐŽĨƉůĂĐĂƌĚĂďƵƐĞŶŽƚĐŽǀĞƌĞĚŝŶƚŚĞƐĞĐƚŝŽŶƐŽŶŽŵŵĂŶĚŝƐĐŝƉůŝŶĞŵĂǇŝŶĐůƵĚĞ͕ďƵƚŝƐŶŽƚůŝŵŝƚĞĚƚŽ͕ŵŝƐĐŽŶĚƵĐƚ
          ƐƵĐŚĂƐĚƵƉůŝĐĂƚŝŶŐĂƉůĂĐĂƌĚĨŽƌĂŶŽƚŚĞƌ͛ƐƵƐĞ;Ğ͘Ő͘ĨĂŵŝůǇŵĞŵďĞƌͿŽƌƵƐŝŶŐͬĐƌĞĂƚŝŶŐĂŶƵŶĂƵƚŚŽƌŝǌĞĚƉůĂĐĂƌĚǁŚĞŶŽŶĞŝƐŶŽƚ
          ĂƐƐŝŐŶĞĚƚŽƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ͘
                                                                                                                                       ϰϳ
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    ƋƵĂůŵƉůŽǇŵĞŶƚKƉƉŽƌƚƵŶŝƚǇŝǀŝƐŝŽŶĂŶĚƚŚĞŝƐĐŝƉůŝŶĞ^ǇƐƚĞŵ
    ^ŝŶĐĞƚŚĞĞŶĂĐƚŵĞŶƚ ŽĨ dŝƚůĞ s//ŽĨƚŚĞ ŝǀŝůZŝŐŚƚƐĐƚ͕Ă ŶƵŵďĞƌŽĨ ĐĂƚĞŐŽƌŝĞƐƚŚĂƚĂƌĞĐŽŶƐŝĚĞƌĞĚ ĞŵƉůŽǇŵĞŶƚ
    ĚŝƐĐƌŝŵŝŶĂƚŝŽŶ ŚĂǀĞ ďĞĞŶ ĞƐƚĂďůŝƐŚĞĚ ƵŶĚĞƌ h͘^͘ ůĂǁ͗ ĚŝƐƉĂƌĂƚĞ ƚƌĞĂƚŵĞŶƚ͕ ĚŝƐƉĂƌĂƚĞ ŝŵƉĂĐƚ͕ ŚĂƌĂƐƐŵĞŶƚ ĂŶĚ
    ƌĞƚĂůŝĂƚŝŽŶ͘dŚĞEzWKĨĨŝĐĞŽĨƋƵŝƚǇĂŶĚ/ŶĐůƵƐŝŽŶ;͞K/͟ͿƉƌŽŵŽƚĞƐĂĨĂŝƌ͕ƐĂĨĞ͕ŝŶĐůƵƐŝǀĞĂŶĚĂĐĐŽŵŵŽĚĂƚŝŶŐǁŽƌŬ
    ĞŶǀŝƌŽŶŵĞŶƚĨŽƌĂůůŵĞŵďĞƌƐŽĨƚŚĞEzW͘K/ŝƐƌĞƐƉŽŶƐŝďůĞĨŽƌĞŶƐƵƌŝŶŐƚŚĂƚŽƵƌĞŵƉůŽǇĞĞƐĂƌĞƚƌĞĂƚĞĚǁŝƚŚĚŝŐŶŝƚǇ
    ĂŶĚƌĞƐƉĞĐƚŝŶƚŚĞǁŽƌŬƉůĂĐĞ͕ŝĚĞŶƚŝĨǇŝŶŐĂŶĚĂĚĚƌĞƐƐŝŶŐŽďƐƚĂĐůĞƐƚŽƐƵĐĐĞƐƐ͕ĂŶĚƉƌŽŵŽƚŝŶŐĂĨĂŝƌĂŶĚŝŶĐůƵƐŝǀĞ
    ǁŽƌŬƉůĂĐĞƚŚĂƚŝƐĨƌĞĞĨƌŽŵĚŝƐĐƌŝŵŝŶĂƚŝŽŶĂŶĚŚĂƌĂƐƐŵĞŶƚ͘dŚĞƋƵĂůŵƉůŽǇŵĞŶƚKƉƉŽƌƚƵŶŝƚǇŝǀŝƐŝŽŶ;͞K͟Ϳ͕
    ĂƐƵďͲƵŶŝƚŽĨK/͕ŝƐƌĞƐƉŽŶƐŝďůĞĨŽƌƚŚĞƉƌĞǀĞŶƚŝŽŶĂŶĚŝŶǀĞƐƚŝŐĂƚŝŽŶŽĨĞŵƉůŽǇŵĞŶƚ ĚŝƐĐƌŝŵŝŶĂƚŝŽŶĐůĂŝŵƐ͘ K
    ŝŶǀĞƐƚŝŐĂƚŝŽŶƐŽĐĐƵƌƵŶĚĞƌƚŚĞŐƵŝĚĂŶĐĞĂŶĚƐƵƉĞƌǀŝƐŝŽŶŽĨƚŚĞĞƉƵƚǇŽŵŵŝƐƐŝŽŶĞƌŽĨƋƵŝƚǇĂŶĚ/ŶĐůƵƐŝŽŶ͘
    dŚĞKŝŶǀĞƐƚŝŐĂƚŽƌǁŝůůĞǀĂůƵĂƚĞƚŚĞŝŶĨŽƌŵĂƚŝŽŶƐƵďŵŝƚƚĞĚĂŶĚŵĂŬĞĂƌĞĐŽŵŵĞŶĚĂƚŝŽŶĂƐƚŽǁŚĞƚŚĞƌƚŚĞƌĞŝƐ
    ƌĞĂƐŽŶĂďůĞĐĂƵƐĞƚŽďĞůŝĞǀĞƚŚĂƚƵŶůĂǁĨƵůĚŝƐĐƌŝŵŝŶĂƚŝŽŶŚĂƐƚĂŬĞŶƉůĂĐĞ͘/ĨƚŚĞƌĞŝƐĂƌĞĂƐŽŶĂďůĞĐĂƵƐĞƚŽďĞůŝĞǀĞ
    ƚŚĂƚĂŶƵŶůĂǁĨƵůĚŝƐĐƌŝŵŝŶĂƚŽƌǇĂĐƚŚĂƐƚĂŬĞŶƉůĂĐĞ͕ĂŶKŝŶǀĞƐƚŝŐĂƚŽƌǁŝůůƉƌŽŵƉƚůǇĂŶĚƚŚŽƌŽƵŐŚůǇŝŶǀĞƐƚŝŐĂƚĞ
    ƚŚĞĂůůĞŐĂƚŝŽŶƐ͘tŚĞŶĂŶŝŶĨŽƌŵĂůŽƌĨŽƌŵĂůĐŽŵƉůĂŝŶƚŝƐŵĂĚĞ͕ŝƚŝƐK͛ƐƌĞƐƉŽŶƐŝďŝůŝƚǇƚŽŵĂŬĞƐƵƌĞŝŵŵĞĚŝĂƚĞ
    ƐƚĞƉƐĂƌĞƚĂŬĞŶƚŽƐƚŽƉƚŚĞĂůůĞŐĞĚŵŝƐĐŽŶĚƵĐƚĂŶĚďĞŐŝŶƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶ͘dŚĞŐŽĂůŽĨƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶŝƐƚŽŝĚĞŶƚŝĨǇ
    ĂŶĚ ƌĞƐŽůǀĞ ŝŶƚĞƌŶĂů ƉƌŽďůĞŵƐ ďĞĨŽƌĞ ƚŚĞǇ ďĞĐŽŵĞ ǁŝĚĞƐƉƌĞĂĚ ĂŶĚ ĞĨĨĞĐƚ ƚŚĞ ŽǀĞƌĂůů ĐƵůƚƵƌĞ ŽĨ ƚŚĞ EzW͘
    /ŶǀĞƐƚŝŐĂƚŝŽŶƐŵƵƐƚďĞƉƌŽŵƉƚĂŶĚƚŚŽƌŽƵŐŚƚŽĞŶƐƵƌĞĞǀĞƌǇŽŶĞŚĂƐƚŚĞĂďŝůŝƚǇƚŽǁŽƌŬŝŶĂƐĂĨĞĞŶǀŝƌŽŶŵĞŶƚ͕ĨƌĞĞ
    ĨƌŽŵĂŶǇƵŶůĂǁĨƵůĚŝƐĐƌŝŵŝŶĂƚŽƌǇƉƌĂĐƚŝĐĞƐ͘KŶĐĞƚŚĞŝŶǀĞƐƚŝŐĂƚŽƌŚĂƐĐŽŵƉůĞƚĞĚƚŚĞŝŶǀĞƐƚŝŐĂƚŝŽŶ͕KǁŝůůŵĂŬĞ
    ĂĚĞƚĞƌŵŝŶĂƚŝŽŶŽŶƚŚĞŵĞƌŝƚƐŽĨƚŚĞĐŚĂƌŐĞ͘dŚĞĨŝŶĂůĚŝƐƉŽƐŝƚŝŽŶŝƐĚĞƉĞŶĚĞŶƚŽŶĂǀĂƌŝĞƚǇŽĨĨĂĐƚŽƌƐ͕ŝŶĐůƵĚŝŶŐ͕ďƵƚ
    ŶŽƚůŝŵŝƚĞĚƚŽ͕ƚŚĞƐĞǀĞƌŝƚǇŽĨƚŚĞĐŽŶĚƵĐƚ͕ƚŚĞŝŵƉĂĐƚŽĨƚŚĞĐŽŶĚƵĐƚŽŶŐŽŽĚŽƌĚĞƌĂŶĚĚŝƐĐŝƉůŝŶĞ͕ƚŚĞŵĞŵďĞƌŽĨ
    ƚŚĞƐĞƌǀŝĐĞ͛ƐŚŝƐƚŽƌǇŽĨƐƵďƐƚĂŶƚŝĂƚĞĚŵŝƐĐŽŶĚƵĐƚ͕ŝĨĂŶǇ͕ĂŶĚŝŶƉƵƚĨƌŽŵƚŚĞǀŝĐƚŝŵ͘
    /Ŷ ŵŽƐƚ ĐĂƐĞƐ ŝŶ ǁŚŝĐŚ ƚŚĞƌĞ ŚĂƐ ďĞĞŶ Ă ĚĞƚĞƌŵŝŶĂƚŝŽŶ ƚŚĂƚ ƚŚĞ ĂůůĞŐĂƚŝŽŶƐ ĂƌĞ ƐƵďƐƚĂŶƚŝĂƚĞĚ͕ ƚŚĞ ĞƉƵƚǇ
    ŽŵŵŝƐƐŝŽŶĞƌŽĨƋƵŝƚǇĂŶĚ/ŶĐůƵƐŝŽŶƐƵďŵŝƚƐĂĨŝŶĂůĐĂƐĞƌĞƉŽƌƚƚŽƚŚĞWŽůŝĐĞŽŵŵŝƐƐŝŽŶĞƌǁŝƚŚƌĞĐŽŵŵĞŶĚĂƚŝŽŶƐ
    ƌĞŐĂƌĚŝŶŐǁŚĞƚŚĞƌƚŚĞĐĂƐĞŵĞƌŝƚƐƚŚĞŝƐƐƵĂŶĐĞŽĨĂŽŵŵĂŶĚŝƐĐŝƉůŝŶĞŽƌǁŚĞƚŚĞƌƚŚĞĐĂƐĞ ƐŚŽƵůĚďĞŚĂŶĚůĞĚ
    ƚŚƌŽƵŐŚ ƚŚĞ ƐĞƌǀŝĐĞ ŽĨ ŚĂƌŐĞƐ ĂŶĚ ^ƉĞĐŝĨŝĐĂƚŝŽŶƐ͘ dŚĞ K ǁŝůů ŵĂŬĞ ƌĞĐŽŵŵĞŶĚĂƚŝŽŶƐ͕ ǁŚĞƌĞ ĂƉƉƌŽƉƌŝĂƚĞ͕
    ƌĞŐĂƌĚŝŶŐǁŚĞƚŚĞƌĂƚƌĂŶƐĨĞƌŽĨƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞŝƐĂƉƉƌŽƉƌŝĂƚĞ͘/ŶĐĂƐĞƐǁŚĞƌĞƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ
    ŝƐĂƉƌŽďĂƚŝŽŶĂƌǇŵĞŵďĞƌŽĨƚŚĞĞƉĂƌƚŵĞŶƚ;ĞŝƚŚĞƌĞŶƚƌǇͲůĞǀĞů͕ĚŝƐŵŝƐƐĂůŽƌƉƌŽŵŽƚŝŽŶƉƌŽďĂƚŝŽŶͿ͕ƚŚĞKǁŝůů
    ŵĂŬĞƌĞĐŽŵŵĞŶĚĂƚŝŽŶƐƌĞŐĂƌĚŝŶŐƚŚĞĞǆƚĞŶƐŝŽŶŽĨƉƌŽďĂƚŝŽŶ͕ĚŝƐŵŝƐƐĂůĂŶĚͬŽƌĚĞŵŽƚŝŽŶƚŽƚŚĞŵĞŵďĞƌŽĨƚŚĞ
    ƐĞƌǀŝĐĞ͛ƐĨŽƌŵĞƌĐŝǀŝůƐĞƌǀŝĐĞƚŝƚůĞ͘

    WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚŝĞƐĨŽƌƋƵĂůŵƉůŽǇŵĞŶƚKƉƉŽƌƚƵŶŝƚǇsŝŽůĂƚŝŽŶƐ
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             DŝƐĐŽŶĚƵĐƚ                  DŝƚŝŐĂƚĞĚWĞŶĂůƚǇ              WƌĞƐƵŵƉƚŝǀĞWĞŶĂůƚǇ              ŐŐƌĂǀĂƚĞĚWĞŶĂůƚǇ

       ƌĞĂĐŚŽĨŽŶĨŝĚĞŶƚŝĂůŝƚǇ             ϭϬWĞŶĂůƚǇĂǇƐ                ϭϱWĞŶĂůƚǇĂǇƐ                 ϯϬWĞŶĂůƚǇĂǇƐ

      ŝƐƉĂƌĂŐŝŶŐZĞŵĂƌŬƐĂƐĞĚ                                                                       
          ŽŶDĞŵďĞƌƐŚŝƉŝŶĂ                 ϭϬWĞŶĂůƚǇĂǇƐ                ϮϬWĞŶĂůƚǇĂǇƐ                   dĞƌŵŝŶĂƚŝŽŶ
            WƌŽƚĞĐƚĞĚůĂƐƐ

      ŝƐƉĂƌĂƚĞdƌĞĂƚŵĞŶƚĂƐĞĚ                                                                       
         ŽŶDĞŵďĞƌƐŚŝƉŝŶĂ                        Eͬ                      ϯϬWĞŶĂůƚǇĂǇƐ                   dĞƌŵŝŶĂƚŝŽŶ
            WƌŽƚĞĐƚĞĚůĂƐƐ
                                                                                                       
        ŝƐƉůĂǇŽĨKĨĨĞŶƐŝǀĞ
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        DĂƚĞƌŝĂůĂƐĞĚϴϵŽŶ
                                              ϭϬWĞŶĂůƚǇĂǇƐ                ϮϬWĞŶĂůƚǇĂǇƐ                 ϯϬWĞŶĂůƚǇĂǇƐ
      DĞŵďĞƌƐŚŝƉŝŶĂWƌŽƚĞĐƚĞĚ
               ůĂƐƐ

    ϴϵ^ĞĞWĂƚƌŽů'ƵŝĚĞWƌŽĐĞĚƵƌĞϮϬϱͲϯϳ͕^ĞǆƵĂů͕ƚŚŶŝĐ͕ZĂĐŝĂů͕ZĞůŝŐŝŽƵƐ͕ŽƌKƚŚĞƌŝƐĐƌŝŵŝŶĂƚŽƌǇ^ůƵƌƐdŚƌŽƵŐŚŝƐƉůĂǇŽĨ

    KĨĨĞŶƐŝǀĞDĂƚĞƌŝĂů͘
                                                                                                                                  ϰϴ
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                  &ĂŝůƵƌĞƚŽZĞƉŽƌƚK
                                                        ϱWĞŶĂůƚǇĂǇƐ             ϭϬWĞŶĂůƚǇĂǇƐ             ϮϬWĞŶĂůƚǇĂǇƐ
                        ůůĞŐĂƚŝŽŶƐ

                         ZĞƚĂůŝĂƚŝŽŶ                  ϮϬWĞŶĂůƚǇĂǇƐ             ϯϬWĞŶĂůƚǇĂǇƐ               dĞƌŵŝŶĂƚŝŽŶ

               ^ĞǆƵĂů,ĂƌĂƐƐŵĞŶƚ;ǀĞƌďĂůͿ             ϭϬWĞŶĂůƚǇĂǇƐ             ϮϬWĞŶĂůƚǇĂǇƐ               dĞƌŵŝŶĂƚŝŽŶ
                                                                                                           
                   ^ĞǆƵĂů,ĂƌĂƐƐŵĞŶƚ
                                                             Eͬ                   ϮϱWĞŶĂůƚǇĂǇƐ               dĞƌŵŝŶĂƚŝŽŶ
                  ;ƐƵŐŐĞƐƚŝǀĞƚŽƵĐŚŝŶŐͿ
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                ^ĞǆƵĂů,ĂƌĂƐƐŵĞŶƚ;ŽǀĞƌƚ
                                                     ϯϬ^ƵƐƉĞŶƐŝŽŶĂǇƐн
                                                                                                            
                ƐĞǆƵĂůƚŽƵĐŚŝŶŐͬŝŶƚŝŵĂƚĞ                                             dĞƌŵŝŶĂƚŝŽŶ                        Eͬ
                                                      ŝƐŵŝƐƐĂůWƌŽďĂƚŝŽŶ
                    ƉŚǇƐŝĐĂůĐŽŶƚĂĐƚͿ

                     ^ĞǆƵĂů,ĂƌĂƐƐŵĞŶƚ                                                                    
                     ;ŚĂďŝƚƵĂůͬƉƌĞĚĂƚŽƌǇ             &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ              dĞƌŵŝŶĂƚŝŽŶ                        Eͬ
                          ďĞŚĂǀŝŽƌͿ
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             WƌŽƚĞĐƚĞĚůĂƐƐĞƐWƵƌƐƵĂŶƚƚŽ&ĞĚĞƌĂů͕^ƚĂƚĞ͕ĂŶĚ>ŽĐĂů>Ăǁ;ĐƵƌƌĞŶƚĂƐŽĨ:ƵŶĞϭϲ͕ϮϬϮϬͿ
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                               ZĂĐĞͬƚŚŶŝĐŝƚǇ                                                   ƌĞĞĚ

                      'ĞŶĚĞƌ;^ĞǆŽƌ'ĞŶĚĞƌ/ĚĞŶƚŝƚǇͿ                            WƌŝŽƌZĞĐŽƌĚŽĨƌƌĞƐƚŽƌŽŶǀŝĐƚŝŽŶ

                               EĂƚŝŽŶĂůKƌŝŐŝŶ                        WƌĞĚŝƐƉŽƐŝŶŐ'ĞŶĞƚŝĐŚĂƌĂĐƚĞƌŝƐƚŝĐƐͬ'ĞŶĞƚŝĐ/ŶĨŽƌŵĂƚŝŽŶ

                                    ŽůŽƌ                                     ŽŶƐƵŵĞƌƌĞĚŝƚ,ŝƐƚŽƌǇͬWĂǇŵĞŶƚ,ŝƐƚŽƌǇ

                         ZĞůŝŐŝŽŶ;/ŶĐůƵĚŝŶŐĂƚƚŝƌĞͿ                                       ĂƌĞŐŝǀĞƌ^ƚĂƚƵƐ

                                  ŝƐĂďŝůŝƚǇ                       ^ƚĂƚƵƐĂƐĂsŝĐƚŝŵŽĨŽŵĞƐƚŝĐsŝŽůĞŶĐĞ͕^ĞǆKĨĨĞŶƐĞƐŽƌ^ƚĂůŬŝŶŐ

                               DŝůŝƚĂƌǇ^ƚĂƚƵƐ                                            WĂƌƚŶĞƌƐŚŝƉ^ƚĂƚƵƐ

                     /ŵŵŝŐƌĂƚŝŽŶŽƌŝƚŝǌĞŶƐŚŝƉ^ƚĂƚƵƐ                                  hŶĞŵƉůŽǇŵĞŶƚ^ƚĂƚƵƐ

                                        ŐĞ                                                 &ĂŵŝůŝĂů^ƚĂƚƵƐ

                               DĂƌŝƚĂů^ƚĂƚƵƐ                                 ^ĞǆƵĂůĂŶĚZĞƉƌŽĚƵĐƚŝǀĞ,ĞĂůƚŚĞĐŝƐŝŽŶƐ

                             ^ĞǆƵĂůKƌŝĞŶƚĂƚŝŽŶ                                  ,ĂŝƌƐƚǇůĞĂƐĞĚŽŶZĂĐĞŽƌZĞůŝŐŝŽŶ
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             ĚĚŝƚŝŽŶĂůWŽƚĞŶƚŝĂůŐŐƌĂǀĂƚŝŶŐ&ĂĐƚŽƌƐ
                 x       EĂƚƵƌĞŽĨƚŚĞƉƌŽĨĞƐƐŝŽŶĂůƌĞůĂƚŝŽŶƐŚŝƉďĞƚǁĞĞŶŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞĂŶĚĐŽŵƉůĂŝŶĂŶƚ;Ğ͘Ő͘
                         ƐƵƉĞƌǀŝƐŽƌͲƐƵďŽƌĚŝŶĂƚĞƌĞůĂƚŝŽŶƐŚŝƉͿ
                 x       EĂƚƵƌĞŽĨƐƐŝŐŶŵĞŶƚ
                 x       ZĂŶŬͬ^ƵƉĞƌǀŝƐŽƌǇƌŽůĞŽĨƚŚĞŵĞŵďĞƌŽĨƚŚĞƐĞƌǀŝĐĞ
                 x       DŝƐĐŽŶĚƵĐƚŝŶĚŝĐĂƚŝǀĞŽĨĂƉĂƚƚĞƌŶŽĨďĞŚĂǀŝŽƌ




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    DŝƐĐŽŶĚƵĐƚĚũƵĚŝĐĂƚĞĚďǇ
    ŽŵŵĂŶĚŝƐĐŝƉůŝŶĞʹ'ĞŶĞƌĂůdĞƌŵƐ
    dŚĞƌĞĂƌĞƚŚƌĞĞƚǇƉĞƐŽĨŽŵŵĂŶĚŝƐĐŝƉůŝŶĞ;͞͟Ϳ͗ ^ĐŚĞĚƵůĞ;͞Ͳ͟Ϳ͖^ĐŚĞĚƵůĞ;͞Ͳ͟Ϳ͖ĂŶĚ^ĐŚĞĚƵůĞ;͞Ͳ
    ͟Ϳ͘dŚĞͲĂŶĚͲƉĞƌŵŝƚƚŚĞĐŽŵŵĂŶĚĞƌŽĨƚŚĞƵŶŝƚŝŶǀŽůǀĞĚƚŽĂĚĚƌĞƐƐŵŝŶŽƌŵŝƐĐŽŶĚƵĐƚͬƌƵůĞǀŝŽůĂƚŝŽŶƐ
    ĂŶĚƐĞƚƚŚĞƉĞŶĂůƚǇǁŝƚŚŝŶƚŚĞĞƐƚĂďůŝƐŚĞĚƌĂŶŐĞƐĨŽƌĞĂĐŚƚǇƉĞŽĨ͘&ŽƌĂĐƚƐŽĨŵŝƐĐŽŶĚƵĐƚĞŶƵŵĞƌĂƚĞĚŝŶƚŚĞ
    'ƵŝĚĞůŝŶĞƐƚŚĂƚĂƌĞĂĚũƵĚŝĐĂƚĞĚďǇ͕ĐŽŵŵĂŶĚĞƌƐǁŝůůŝŵƉŽƐĞƉĞŶĂůƚŝĞƐƚŚĂƚĂƌĞĐŽŶƐŝƐƚĞŶƚǁŝƚŚƚŚĞƉƌĞƐƵŵƉƚŝǀĞ
    ƉĞŶĂůƚŝĞƐĚĞƐĐƌŝďĞĚŚĞƌĞŝŶ͕ǁŚŝůĞĐŽŶƐŝĚĞƌŝŶŐƌĞůĞǀĂŶƚĂŐŐƌĂǀĂƚŝŶŐĂŶĚŵŝƚŝŐĂƚŝŶŐĨĂĐƚŽƌƐ͘dŚĞͲŝƐŽŶůǇŝƐƐƵĞĚďǇ
    ƚŚĞĞƉĂƌƚŵĞŶƚĚǀŽĐĂƚĞĨŽƌĐĞƌƚĂŝŶĞŶƵŵĞƌĂƚĞĚŽĨĨĞŶƐĞƐĂŶĚƵƚŝůŝǌĞĚŝŶůŝĞƵŽĨŚĂƌŐĞƐĂŶĚ^ƉĞĐŝĨŝĐĂƚŝŽŶƐ͘ŶͲ
    ĐĂƌƌŝĞƐĂƉĞŶĂůƚǇƌĂŶŐĞĨƌŽŵŽƌĂůĂĚŵŽŶŝƐŚŵĞŶƚƵƉƚŽϱĚĂǇƐ͖ĂͲĐĂƌƌŝĞƐĂƉĞŶĂůƚǇƌĂŶŐĞƵƉƚŽϭϬĚĂǇƐ͖ĂŶĚ
    ĂͲĐĂƌƌŝĞƐĂƉĞŶĂůƚǇƌĂŶŐĞƵƉƚŽϮϬĚĂǇƐ ϵϬ͘dŚĞĞƉĂƌƚŵĞŶƚĚǀŽĐĂƚĞŵĂǇĚŝƌĞĐƚƚŚĂƚĂĚŝƐĐŝƉůŝŶĂƌǇŵĂƚƚĞƌďĞ
    ĂĚũƵĚŝĐĂƚĞĚƚŚƌŽƵŐŚŝŶůŝĞƵŽĨŚĂƌŐĞƐĂŶĚ^ƉĞĐŝĨŝĐĂƚŝŽŶƐǁŚĞŶĂƉƉƌŽƉƌŝĂƚĞ͘
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    ĚũƵĚŝĐĂƚĞĚďǇ^ĐŚĞĚƵůĞŽŵŵĂŶĚŝƐĐŝƉůŝŶĞϵϭ
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                                            D/^KEhdʹ^,h>͞͟

                                        ďƐĞŶĐĞĨƌŽŵŵĞĂůůŽĐĂƚŝŽŶ͕ƉŽƐƚŽƌĂƐƐŝŐŶŵĞŶƚ

           ĂƌƌǇŝŶŐƉĂĐŬĂŐĞƐ͕ŶĞǁƐƉĂƉĞƌƐŽƌŽƚŚĞƌĂƌƚŝĐůĞƐĂƐƉƌŽŚŝďŝƚĞĚǁŚŝůĞŝŶƵŶŝĨŽƌŵŽƌĞƉĂƌƚŵĞŶƚǀĞŚŝĐůĞ

                                              &ĂŝůƵƌĞƚŽĂƚƚĞŶĚĂƌĂŶŐĞƚƌĂŝŶŝŶŐĐǇĐůĞ

                                   &ĂŝůƵƌĞƚŽĐŽŵƉůǇǁŝƚŚƉƌŽƉĞƌĚƌŝǀŝŶŐƌƵůĞƐĂŶĚƌĞŐƵůĂƚŝŽŶƐ

                                        &ĂŝůƵƌĞƚŽŚĂǀĞůŽĐŬĞƌƐĞĐƵƌĞĚŽƌƉƌŽƉĞƌůǇƚĂŐŐĞĚ

                                        &ĂŝůƵƌĞƚŽůŽĐŬĂŶƵŶŐƵĂƌĚĞĚĞƉĂƌƚŵĞŶƚǀĞŚŝĐůĞ

            &ĂŝůƵƌĞƚŽŵĂŝŶƚĂŝŶůŝǀĞ͕ĂƵƚŚŽƌŝǌĞĚĂŵŵƵŶŝƚŝŽŶŝŶĂƵƚŚŽƌŝǌĞĚǁĞĂƉŽŶƐ;ŝŶĐůƵĚĞƐŚĂǀŝŶŐƚŚĞƌĞƋƵŝƌĞĚ
                                       ŵĂǆŝŵƵŵĂŵŽƵŶƚŽĨĂŵŵƵŶŝƚŝŽŶŝŶƚŚĞǁĞĂƉŽŶͿ

                                  &ĂŝůƵƌĞƚŽŵĂŝŶƚĂŝŶŶĞĂƚĂŶĚĐůĞĂŶƉƌŽĨĞƐƐŝŽŶĂůĂƉƉĞĂƌĂŶĐĞ

                       &ĂŝůƵƌĞƚŽŵĂŬĞĂƚŝŵĞůǇŶŽƚŝĨŝĐĂƚŝŽŶƚŽƚŚĞ^ŝĐŬĞƐŬĂŶĚĐŽŵŵĂŶĚ͕ĂƐƌĞƋƵŝƌĞĚ

                                               &ĂŝůƵƌĞƚŽŵĂŬĞƉƌŽƉĞƌŶŽƚŝĨŝĐĂƚŝŽŶƐ

                                  &ĂŝůƵƌĞƚŽŵĂŬĞƌŽƵƚŝŶĞŝŶƐƉĞĐƚŝŽŶƐĂŶĚƐƵƌǀĞǇƐĂƐƌĞƋƵŝƌĞĚ

            &ĂŝůƵƌĞƚŽŶŽƚŝĨǇĐŽŵŵĂŶĚŝŶŐŽĨĨŝĐĞƌǁŚĞŶĂĚĚƌĞƐƐ͕ƚĞůĞƉŚŽŶĞŶƵŵďĞƌ͕ŽƌƐŽĐŝĂůĐŽŶĚŝƚŝŽŶĐŚĂŶŐĞƐ

                 &ĂŝůƵƌĞƚŽŶŽƚŝĨǇƐƵƉĞƌǀŝƐŝŶŐŽĨĨŝĐĞƌǁŚĞŶůĞĂǀŝŶŐƉŽƐƚĨŽƌĞƉĂƌƚŵĞŶƚŽƌƉĞƌƐŽŶĂůŶĞĐĞƐƐŝƚǇ

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                      &ĂŝůƵƌĞƚŽƉƌĞƐĞŶƚƌĞƋƵŝƌĞĚĨŝƌĞĂƌŵƐƚŽƚŚĞƌĂŶŐĞŽĨĨŝĐĞƌĂƚĨŝƌĞĂƌŵƐƚƌĂŝŶŝŶŐĐǇĐůĞ

                                     &ĂŝůƵƌĞƚŽƉƌŽƉĞƌůǇƉĞƌĨŽƌŵƉĂƚƌŽůŽƌŽƚŚĞƌĂƐƐŝŐŶŵĞŶƚ
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    ϵϬsĂĐĂƚŝŽŶĚĂǇƐĂŶĚŽƌĂĐĐƌƵĞĚĐŽŵƉĞŶƐĂƚŽƌǇƚŝŵĞŵĂǇďĞĨŽƌĨĞŝƚĞĚƚŚƌŽƵŐŚƚŚĞŽŵŵĂŶĚŝƐĐŝƉůŝŶĞƉƌŽĐĞƐƐ͘
    ϵϭ^ĞĞWĂƚƌŽů'ƵŝĚĞWƌŽĐĞĚƵƌĞϮϬϲͲϬϯ͕sŝŽůĂƚŝŽŶƐ^ƵďũĞĐƚƚŽŽŵŵĂŶĚŝƐĐŝƉůŝŶĞ͘

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                                                        &ĂŝůƵƌĞƚŽƐŝŐŶŝŶŽƌŽƵƚŽĨĐŽƵƌƚ

                                                         &ĂŝůƵƌĞƚŽƐŝŐŶƌĞƚƵƌŶƌŽůůĐĂůů

                                                     &ĂŝůƵƌĞƚŽƐŝŐŶĂůŽƌŝŵƉƌŽƉĞƌůǇƐŝŐŶĂů

                                                 &ĂŝůƵƌĞƚŽƐƵďŵŝƚƌĞƉŽƌƚƐŝŶĂƚŝŵĞůǇŵĂŶŶĞƌ

                                                /ůůĞŐĂůƉĂƌŬŝŶŐŽĨĞƉĂƌƚŵĞŶƚŽƌƉƌŝǀĂƚĞǀĞŚŝĐůĞ

                                                       /ŵƉƌŽƉĞƌƵŶŝĨŽƌŵŽƌĞƋƵŝƉŵĞŶƚ

                                                           >ŽƐƐŽĨ/ĚĞŶƚŝĨŝĐĂƚŝŽŶĂƌĚ

                                                  >ŽƐƐŽĨƐƵŵŵŽŶƐŽƌůŽƐƐŽĨƐƵŵŵŽŶƐďŽŽŬ

                                                      KďǀŝŽƵƐŶĞŐůĞĐƚŽƌĐĂƌĞŽĨĨŝƌĞĂƌŵƐ

                                                         KŵŝƚƚĞĚĐƚŝǀŝƚǇ>ŽŐĞŶƚƌŝĞƐ

                                           KŵŝƚƚĞĚĞŶƚƌŝĞƐŝŶĞƉĂƌƚŵĞŶƚƌĞĐŽƌĚƐ͕ĨŽƌŵƐŽƌƌĞƉŽƌƚƐ

                                                            ZĞƉŽƌƚŝŶŐůĂƚĞĨŽƌĚƵƚǇ

                ZĞƉŽƌƚƉƌĞƐĞŶƚĨŽƌĚƵƚǇďĞĨŽƌĞƚŚĞƐƚĂƌƚŽĨƚŚĞƌĞŐƵůĂƌƚŽƵƌǁŝƚŚŽƵƚƉƌŝŽƌĂƵƚŚŽƌŝǌĂƚŝŽŶĨƌŽŵĂƐƵƉĞƌǀŝƐŽƌŽĨĂ
                                                                  ŚŝŐŚĞƌƌĂŶŬ

                                                             ^ŵŽŬŝŶŐĂƐWƌŽŚŝďŝƚĞĚ

                   hƐĞŽƌĚŝƐƉůĂǇsĞŚŝĐůĞ/ĚĞŶƚŝĨŝĐĂƚŝŽŶWůĂƚĞ;͞WůĂĐĂƌĚ͟ͿǁŚŝůĞŽĨĨĚƵƚǇŽƌǁŚŝůĞŶŽƚŽŶŽĨĨŝĐŝĂůĞƉĂƌƚŵĞŶƚ
                                                                     ďƵƐŝŶĞƐƐ

                   hƐŝŶŐŶǇůĞĐƚƌŽŶŝĐͬŝŐŝƚĂůĞǀŝĐĞ;Ğ͘Ő͕͘ƉĞƌƐŽŶĂůŐĂŵŝŶŐĚĞǀŝĐĞ͕DWϯƉůĂǇĞƌ͕ƉĞƌƐŽŶĂůĚŝŐŝƚĂůĂƐƐŝƐƚĂŶƚ͕
                                                    ůƵĞƚŽŽƚŚŚĞĂĚƐĞƚ͕ĞƚĐ͘ͿǁŚŝůĞŽŶĚƵƚǇ

                                             hŶĂƵƚŚŽƌŝǌĞĚWĞƌƐŽŶZŝĚŝŶŐŝŶĂĞƉĂƌƚŵĞŶƚǀĞŚŝĐůĞ

                                                 hŶĂƵƚŚŽƌŝǌĞĚhƐĞŽĨĞƉĂƌƚŵĞŶƚƚĞůĞƉŚŽŶĞƐ

                                                          hŶŶĞĐĞƐƐĂƌǇĐŽŶǀĞƌƐĂƚŝŽŶ

                    ŶǇŵŝŶŽƌ&KǀŝŽůĂƚŝŽŶƚŚĂƚ͕ŝŶƚŚĞŽƉŝŶŝŽŶŽĨƚŚĞZŽƌEzWŝƐĂƉƉƌŽƉƌŝĂƚĞĨŽƌĂ^ĐŚĞĚƵůĞ͞͟
                                                           ŽŵŵĂŶĚŝƐĐŝƉůŝŶĞ

                ŶǇŵŝŶŽƌǀŝŽůĂƚŝŽŶƚŚĂƚ͕ŝŶƚŚĞŽƉŝŶŝŽŶŽĨƚŚĞĐŽŵŵĂŶĚŝŶŐͬĞǆĞĐƵƚŝǀĞŽĨĨŝĐĞƌŝƐĂƉƉƌŽƉƌŝĂƚĞĨŽƌ^ĐŚĞĚƵůĞ͞͟
                                                        ŽŵŵĂŶĚŝƐĐŝƉůŝŶĞƉƌŽĐĞĚƵƌĞ




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    ĚũƵĚŝĐĂƚĞĚďǇ^ĐŚĞĚƵůĞŽŵŵĂŶĚŝƐĐŝƉůŝŶĞϵϮ
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                                           D/^KEhdʹ^,h>͞͟

      ƌŝŶŐŝŶŐĂůĐŽŚŽůďĞǀĞƌĂŐĞƐŝŶƚŽĂĞƉĂƌƚŵĞŶƚĨĂĐŝůŝƚǇŽƌǀĞŚŝĐůĞƵŶůĞƐƐŝƚŝƐŝŶǁŝƚŚŝŶƚŚĞƐĐŽƉĞŽĨĂŶĂƐƐŝŐŶŵĞŶƚ

                                 &ĂŝůƵƌĞƚŽŐŝǀĞŶĂŵĞĂŶĚƐŚŝĞůĚŶƵŵďĞƌƚŽƉĞƌƐŽŶƌĞƋƵĞƐƚŝŶŐ

           &ĂŝůƵƌĞƚŽƌĞƐƉŽŶĚ͕ƌĞƉŽƌƚĚŝƐƉŽƐŝƚŝŽŶƉƌŽŵƉƚůǇ͕ŽƌĂĐŬŶŽǁůĞĚŐĞƌĂĚŝŽĐĂůůĚŝƌĞĐƚĞĚƚŽŵĞŵďĞƌ͛ƐƵŶŝƚ

                                                  &ĂŝůƵƌĞƚŽƐĂĨĞŐƵĂƌĚƉƌŝƐŽŶĞƌ

                                                       >ŽƐƐŽĨĐƚŝǀŝƚǇ>ŽŐ

                                                  >ŽƐƐŽĨĞƉĂƌƚŵĞŶƚƉƌŽƉĞƌƚǇ

                                                          >ŽƐƐŽĨ^ŚŝĞůĚ

                                               hŶĂƵƚŚŽƌŝǌĞĚZĂĚŝŽdƌĂŶƐŵŝƐƐŝŽŶƐ

                                          hŶĂƵƚŚŽƌŝǌĞĚhƐĞŽĨĂĞƉĂƌƚŵĞŶƚsĞŚŝĐůĞ

         ŶǇ&KǀŝŽůĂƚŝŽŶƚŚĂƚ͕ŝŶƚŚĞŽƉŝŶŝŽŶŽĨƚŚĞZŽƌEzWŝƐĂƉƉƌŽƉƌŝĂƚĞĨŽƌĂ^ĐŚĞĚƵůĞ͞͟ŽŵŵĂŶĚ
                                                         ŝƐĐŝƉůŝŶĞ

         ŶǇŽƚŚĞƌǀŝŽůĂƚŝŽŶ͕ǁŚŝĐŚ͕ŝŶƚŚĞŽƉŝŶŝŽŶŽĨƚŚĞĐŽŵŵĂŶĚŝŶŐͬĞǆĞĐƵƚŝǀĞŽĨĨŝĐĞƌĂŶĚĐŽŶƐƵůƚĂƚŝŽŶǁŝƚŚƚŚĞ
                  ĞƉĂƌƚŵĞŶƚĚǀŽĐĂƚĞŝƐĂƉƉƌŽƉƌŝĂƚĞĨŽƌ^ĐŚĞĚƵůĞ͞͟ŽŵŵĂŶĚŝƐĐŝƉůŝŶĞƉƌŽĐĞĚƵƌĞ

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    ĚũƵĚŝĐĂƚĞĚďǇ^ĐŚĞĚƵůĞŽŵŵĂŶĚŝƐĐŝƉůŝŶĞϵϯ
    ͲŵĂǇďĞƵƚŝůŝǌĞĚŝŶůŝĞƵŽĨŚĂƌŐĞƐĂŶĚ^ƉĞĐŝĨŝĐĂƚŝŽŶƐďǇƚŚĞĞƉƵƚǇŽŵŵŝƐƐŝŽŶĞƌ͕ĞƉĂƌƚŵĞŶƚĚǀŽĐĂƚĞĨŽƌ
    ƐŝƚƵĂƚŝŽŶƐŝŶǁŚŝĐŚƚŚĞƌĞĂƌĞŶŽƐŝŐŶŝĨŝĐĂŶƚĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌƐŽƌĂĚĚŝƚŝŽŶĂůŵŝƐĐŽŶĚƵĐƚ͘
    dŚĞ ĞƉƵƚǇ ŽŵŵŝƐƐŝŽŶĞƌ͕ ĞƉĂƌƚŵĞŶƚ ĚǀŽĐĂƚĞ ǁŝůů ĞǀĂůƵĂƚĞ ĞĂĐŚ ĐĂƐĞ ŽŶ ŝƚƐ ŵĞƌŝƚƐ ĂŶĚ ĐŽŶƐŝĚĞƌ Ăůů ƌĞůĞǀĂŶƚ
    ĨĂĐƚŽƌƐǁŚĞŶŵĂŬŝŶŐĂĚĞƚĞƌŵŝŶĂƚŝŽŶƚŽŝƐƐƵĞĂͲŝŶĐůƵĚŝŶŐĐŽŶƐƵůƚĂƚŝŽŶǁŝƚŚƚŚĞŵĞŵďĞƌ͛ƐŽŵŵĂŶĚŝŶŐKĨĨŝĐĞƌ͘
    WƌŝŽƌ ĚŝƐĐŝƉůŝŶĂƌǇŚŝƐƚŽƌǇ͕ ŝŶĐůƵĚŝŶŐ ƚŚĞƐĂŵĞ Žƌ ƐŝŵŝůĂƌ ĂĐƚƐ ŽĨ ŵŝƐĐŽŶĚƵĐƚ͕ ĐŽŶƚĞŵƉŽƌĂŶĞŽƵƐ ƉĞŶĚŝŶŐƵŶƌĞůĂƚĞĚ
    ĚŝƐĐŝƉůŝŶĂƌǇŵĂƚƚĞƌƐĂŶĚĂŶǇƐŝŐŶŝĨŝĐĂŶƚĂŐŐƌĂǀĂƚŝŶŐĨĂĐƚŽƌƐŵĂǇŵĂŬĞƚŚĞŝƐƐƵĂŶĐĞŽĨĂͲŝŶĂƉƉƌŽƉƌŝĂƚĞ͘ƚƚŚĞ
    ĚŝƌĞĐƚŝŽŶ ŽĨ ƚŚĞ ĞƉƵƚǇ ŽŵŵŝƐƐŝŽŶĞƌ͕ ĞƉĂƌƚŵĞŶƚ ĚǀŽĐĂƚĞ͕ ƚŚĞ ĂƐƐŝŐŶĞĚ ŵĞŵďĞƌ ĨƌŽŵ ƚŚĞ ĞƉĂƌƚŵĞŶƚ
    ĚǀŽĐĂƚĞ͛ƐKĨĨŝĐĞǁŝůůƉƌĞƉĂƌĞƚŚĞͲĂŶĚĨŽƌǁĂƌĚŝƚƚŽƚŚĞŽŵŵĂŶĚŝŶŐKĨĨŝĐĞƌŽĨƚŚĞĂƉƉƌŽƉƌŝĂƚĞĂĚũƵĚŝĐĂƚŝŶŐ
    ďŽƌŽƵŐŚŽƌĞƋƵŝǀĂůĞŶƚĐŽŵŵĂŶĚǁŝƚŚĂŵĞŵŽƌĂŶĚƵŵŝĚĞŶƚŝĨǇŝŶŐƚŚĞƐŝŐŶŝĨŝĐĂŶƚĨĂĐƚƐƌĞůĂƚĞĚƚŽƚŚĞŵŝƐĐŽŶĚƵĐƚ͕
    ƚŚĞĂƉƉƌŽƉƌŝĂƚĞƉĞŶĂůƚǇƌĂŶŐĞĂƐǁĞůůĂƐƚŚĞƉƌĞƐƵŵƉƚŝǀĞƉĞŶĂůƚǇ͘
    /ŶĂĐĐŽƌĚĂŶĐĞǁŝƚŚWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞƐϮϬϲͲϬϰĂŶĚϮϬϲͲϬϱ͕ƚŚĞŽƌŽƵŐŚĚũƵƚĂŶƚ;ŽƌĞƋƵŝǀĂůĞŶƚͿǁŝůůĂĚũƵĚŝĐĂƚĞ
    ƚŚĞͲƉƌŽŵƉƚůǇ͕ĂĚŚĞƌŝŶŐƚŽƚŚĞŐƵŝĚĂŶĐĞͬĚŝƌĞĐƚŝŽŶƉƌŽǀŝĚĞĚďǇƚŚĞĞƉĂƌƚŵĞŶƚĚǀŽĐĂƚĞ͘/ĨƚŚĞƐƵďũĞĐƚŵĞŵďĞƌ
    ŽĨƚŚĞƐĞƌǀŝĐĞĚĞĐůŝŶĞƐƚŚĞƉƌŽƉŽƐĞĚƉĞŶĂůƚǇŽƌĞůĞĐƚƐŚĂƌŐĞƐĂŶĚ^ƉĞĐŝĨŝĐĂƚŝŽŶƐ͕ƚŚĞĚũƵƚĂŶƚǁŝůůĐŽŵƉůǇǁŝƚŚƚŚĞ
    ƉƌŽǀŝƐŝŽŶƐŽĨWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϬϲͲϬϱ͘
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    ϵϮ^ĞĞWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϬϲͲϬϯ͕sŝŽůĂƚŝŽŶƐ^ƵďũĞĐƚƚŽŽŵŵĂŶĚŝƐĐŝƉůŝŶĞ͘ŵĞŵďĞƌƐŽŵŵĂŶĚŝŶŐKĨĨŝĐĞƌŽƌƚŚĞ

    ĞƉĂƌƚŵĞŶƚĚǀŽĐĂƚĞ͛ƐKĨĨŝĐĞĐĂŶŝŵƉŽƐĞĂƉĞŶĂůƚǇŽĨƵƉƚŽƚĞŶϭϬǀĂĐĂƚŝŽŶĚĂǇƐŽƌĂĐĐƌƵĞĚƚŝŵĞĨŽƌ^ĐŚĞĚƵůĞ͞͟ŽŵŵĂŶĚ
    ŝƐĐŝƉůŝŶĞǀŝŽůĂƚŝŽŶƐ͘
    ϵϯ^ĞĞWĂƚƌŽů'ƵŝĚĞƉƌŽĐĞĚƵƌĞϮϬϲͲϬϯ͕sŝŽůĂƚŝŽŶƐ^ƵďũĞĐƚƚŽŽŵŵĂŶĚŝƐĐŝƉůŝŶĞ͘

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           hƉŽŶ ĂĚũƵĚŝĐĂƚŝŽŶŽĨ ƚŚĞ ŽŵŵĂŶĚ ŝƐĐŝƉůŝŶĞ͕ ƚŚĞ ĚũƵƚĂŶƚ ǁŝůů ƌĞƚƵƌŶ ƚŚĞ ĞŶĚŽƌƐĞĚŽŵŵĂŶĚ ŝƐĐŝƉůŝŶĞ ƚŽ ƚŚĞ
           ĞƉĂƌƚŵĞŶƚĚǀŽĐĂƚĞ͘KŶĐĞƚŚĞŽŵŵĂŶĚŝƐĐŝƉůŝŶĞŝƐĂĚũƵĚŝĐĂƚĞĚĂŶĚƌĞĐĞŝǀĞĚďǇƚŚĞĞƉĂƌƚŵĞŶƚĚǀŽĐĂƚĞ͛ƐKĨĨŝĐĞ͕
           ŝƚǁŝůůďĞĨŽƌǁĂƌĚĞĚƚŽƚŚĞ>ĞĂǀĞ/ŶƚĞŐƌŝƚǇDĂŶĂŐĞŵĞŶƚ^ĞĐƚŝŽŶ;͞>/D^͟ͿĨŽƌƚŚĞĂƉƉƌŽƉƌŝĂƚĞĚĞĚƵĐƚŝŽŶŽĨĂŶǇƉĞŶĂůƚǇ͘
           ŶĂƐƐŝŐŶĞĚŵĞŵďĞƌŽĨƚŚĞĞƉĂƌƚŵĞŶƚĚǀŽĐĂƚĞ͛ƐKĨĨŝĐĞǁŝůůĐŽŶĨŝƌŵƚŚĞĚĞĚƵĐƚŝŽŶŽĨƚŝŵĞǁŝƚŚ>/D^͘
           ŽŵŵĞŶĐŝŶŐ:ƵůǇϭ͕ϮϬϭϵ͕ĂŶǇŵŝƐĐŽŶĚƵĐƚƚŚĂƚƐĂƚŝƐĨŝĞƐƚŚĞƌĞƋƵŝƌĞŵĞŶƚƐĨŽƌ^ĐŚĞĚƵůĞ͞͟ŽŵŵĂŶĚŝƐĐŝƉůŝŶĞǁŝůů
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                                 MEMORANDUM OF UNDERSTANDING

       MEMORANDUM OF UNDERSTANDING BETWEEN THE NEW YORK CITY
      POLICE DEPARTMENT AND THE NEW YORK CITY CIVILIAN COMPLAINT
          REVIEW BOARD CONCERNING THE NYPD DISCIPLINE MATRIX

 Memorandum of Understanding (“MOU”) entered into on this ____ day of __________ , 2021,
 between the New York City Police Department (“NYPD”), with headquarters at One Police Plaza,
 New York, New York 10038; and the New York City Civilian Complaint Review Board
 (“CCRB”), with offices at 100 Church Street, New York, New York 10007 (collectively the
 “Parties”).

         WHEREAS, Section 440 of the New York City Charter gives the CCRB power to receive,
 investigate, hear, make findings and recommend action upon complaints by members of the public
 against members of the police department that allege misconduct involving excessive use of force,
 abuse of authority, discourtesy, or use of offensive language (“FADO”); and

         WHEREAS, in accordance with Section 440 of the New York City Charter, the CCRB’s
 investigators collect and review all available evidence, such as documents and video and audio
 recordings, and interview all available victims, witnesses, subject officers, and witness officers,
 among others, as part of its investigative process; and

         WHEREAS, the CCRB’s Administrative Prosecution Unit (“APU”), which was created
 pursuant to a separate Memorandum of Understanding between the CCRB and the NYPD dated
 April 2, 2012, is authorized to prosecute substantiated cases where the CCRB has recommended
 that Charges and Specifications be brought against a subject officer, except in those cases where
 the Police Commissioner retains jurisdiction; and

         WHEREAS, Section 440 (d)(1) of the New York City Charter requires that the NYPD
 provide assistance as the CCRB may reasonably request, cooperate fully with CCRB
 investigations, and provide the CCRB, upon request, records and other materials necessary for the
 investigation of complaints submitted to the CCRB, except such records or materials that cannot
 be disclosed by law, and the CCRB may, pursuant to Section 440(c)(3) of the New York City
 Charter, issue subpoenas for those records and other materials; and

         WHEREAS, subdivision (b) of 38 Rules of the City of New York (“RCNY”) § 15-19
 provides that the CCRB and the NYPD may also exchange information pursuant to subdivision
 (b) of 38 RCNY § 15-12 and 38 RCNY § 15-18 to the extent that the disclosure of such information
 does not tend to reveal the identity of a party or witness involved in the investigation or prosecution
 of the substantiated civilian complaint which is the subject matter of the correspondence; and

         WHEREAS, Section 434 of the New York City Charter gives the Police Commissioner
 cognizance and control over the disposition and discipline of the police department and police
 force; and



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             WHEREAS, Section 14-115 of the New York City Administrative Code gives the Police
     Commissioner discretionary power to discipline members of the NYPD for criminal offenses,
     neglect of duty, violation of rules, neglect or disobedience of orders, conduct injurious to the public
     peace or welfare, or immoral conduct or conduct unbecoming of an officer, by reprimand,
     suspension, with or without pay, or dismissal; and

             WHEREAS, in January 2018, the CCRB instituted a pilot program to test the use of an
     internal disciplinary framework with the goal of creating more consistent voting recommendations
     across its various Board Panels; and

            WHEREAS, in 2018, the NYPD convened an independent panel of experts which, after
     conducting a top to bottom review of the NYPD’s disciplinary system, made thirteen
     recommendations, one of which was for the NYPD to consider adopting a non-binding disciplinary
     matrix; and

             WHEREAS, Section 14-186 of the New York City Administrative Code establishes an
     internal NYPD disciplinary matrix, which sets forth an advisory schedule of violations, penalties,
     and mitigating and aggravating circumstances, or any other factors considered by the
     commissioner to be relevant to the process of determining the appropriate discipline for police
     department personnel for substantiated violations of department rules or other policies; and

            WHEREAS on January 15, 2021 the NYPD released its Discipline Matrix, developed
     pursuant to the requirements of Administrative Code section 14-186, and which the public and the
     CCRB reviewed and provided comments in advance of its adoption; and

             WHEREAS, while the CCRB investigates civilian complaints independent from the
     NYPD, the CCRB’s Charter-mandated jurisdiction over FADO complaints brought by civilians
     against members of the NYPD makes the CCRB an integral component of the NYPD’s
     disciplinary process; and

            WHEREAS, the CCRB routinely requests officer employment histories from the NYPD
     in connection with its APU cases and it is in both Parties’ interests to create an efficient process
     by which the CCRB can request and obtain officer employment histories from the NYPD; and

             WHEREAS, shared use of the Discipline Matrix may increase accountability and
     efficiency in the system by giving the NYPD and the CCRB a framework from which to determine
     disciplinary recommendations;

            NOW THEREFORE, upon the mutual agreement of the Parties, it is agreed as follows:



I.      DISCIPLINE MATRIX




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                  1. The goal of this MOU and the Discipline Matrix is to achieve consistent and fair discipline
                     recommendations. As such, the CCRB and the NYPD are committed to the Discipline
                     Matrix serving as a framework for discipline recommendations and to the administration
                     by each agency of the discipline recommendations therein.

                  2. Where the CCRB’s Board substantiates a complaint against a member of service, the
                     CCRB agrees to use penalty guidelines set forth in the Discipline Matrix as the framework
                     for its recommendations and shall only deviate from those recommendations in
                     extraordinary circumstances. The CCRB shall use the subject officer’s CCRB history, the
                     NYPD employment history, and the totality of the circumstances, including but not limited
                     to any aggravating or mitigating factors the subject officer applied, to guide its
                     determination of the appropriate recommendation, as outlined in the Discipline Matrix.
                     Such analysis shall be in writing, describing with particularity the basis for the
                     recommended penalty, any aggravating and/or mitigating factors applied and a description
                     of how those factors were applied, and shared with the NYPD, provided that the NYPD
                     produces the subject officer’s NYPD employment history to the CCRB, as described in
                     section V.

       II.        NON-APU CASES

                  3. In cases where the CCRB’s Board recommends Instructions, Formalized Training or
                     Command Discipline, the recommended penalty will be in line with the Discipline Matrix
                     penalty guidelines and take into account all the facts and circumstances, including but not
                     limited to any aggravating or mitigating factors, as well as the NYPD employment history
                     and any other relevant information. Such analysis shall be in writing, describing with
                     particularity the basis for the recommended penalty, any aggravating and or mitigating
                     factors applied and a description of how those factors were applied, and shared with the
                     NYPD. Where there is a finding of guilty, or a plea of guilty, the Police Commissioner and
                     his/her designees will accept the recommended penalty subject to section IV of this
                     agreement.

      III.        APU CASES

                  4. In cases where the CCRB recommends charges and specifications, the CCRB agrees to use
                     the Discipline Matrix as the framework for making penalty recommendations during the
                     APU1 process, subject to section IV of this agreement. The CCRB will take into account
                     all the facts and circumstances, including but not limited to any aggravating or mitigating
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               The process for when CCRB’s APU Unit asserts jurisdiction over administrative prosecutions is outlined in a
             previous memoranda of understanding between the CCRB and the NYPD executed on April 2, 2012. The MOU also
             specifies when the NYPD may retain jurisdiction over such prosecutions. Nothing herein this agreement intends to
             replace or supersede this previous MOU that was executed on April 2, 2012. See Memorandum of Understanding
             Between the Civilian Complaint Review Board (CCRB) and the Police Department (NYPD) of the City of New
             York Concerning the Processing of Substantiated Complaints (Apr., 2, 2012),
             https://www1.nyc.gov/assets/ccrb/downloads/pdf/about_pdf/apu_mou.pdf.

                                                                                                                           3
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              factors, the NYPD employment history, and other relevant information. Such analysis shall
              be in writing, describing with particularity the basis for the recommended penalty, any
              aggravating and or mitigating factors applied and a description of how those factors were
              applied, and shared with the NYPD. Where there is a finding of guilty, or a plea of guilty,
              the Police Commissioner and his/her designees will accept the recommended penalty
              subject to section IV of this agreement.

           5. In cases where the CCRB conducts plea negotiations with subject officers and their
              attorneys, to be heard by an NYPD Trial Commissioner and presented to the Police
              Commissioner for determination, the CCRB agrees to recommend penalties that are within
              the guidelines set forth in the Discipline Matrix, taking into account all the facts and
              circumstances, including aggravating and mitigating factors, the NYPD employment
              history, and other relevant information. Such analysis shall be in writing, describing with
              particularity the basis for the recommended penalty, any aggravating and or mitigating
              factors applied and a description of how those factors were applied, and shared with the
              NYPD. Subject to section IV of this agreement, the Police Commissioner will accept the
              plea recommendation.

IV.        DEPARTURES FROM DISCIPLINE MATRIX AND CCRB RECOMMENDATIONS

           6. In the extraordinary circumstance that the CCRB determines that a departure from the
              Discipline Matrix is required by the facts and circumstances, the CCRB shall set forth such
              departure in writing, describing with particularity the basis for such determination with
              reference to the guidelines set forth in the Discipline Matrix, including but not limited to
              aggravating and mitigating factors, and a description of how those factors were applied,
              and shall share the written determination with the NYPD and make it publicly available.2

           7. In the extraordinary circumstance that the Police Commissioner determines that a departure
              from the Discipline Matrix is required by facts and circumstances, the Police
              Commissioner shall set forth such departure in writing, describing with particularity the
              basis for such determination with reference to the guidelines set forth in the Discipline
              Matrix, including but not limited to aggravating and mitigating factors, and a description
              of how those factors were applied, and shall share the written determination with the CCRB
              and make it publicly available.3

           8. In the event that the Police Commissioner intends to impose discipline or penalty within
              the guidelines set forth in the Discipline Matrix that is lower than that recommended by
              the CCRB, the Police Commissioner shall notify the CCRB, with notice to the Respondent,


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        Notwithstanding the above, the publicly available copy of any such written determination referenced in Section IV
      may be redacted or withheld only where permitted by applicable local, state, or federal laws.
      3
        For purposes of paragraphs 7 and 8 of this section, such determinations by the Police Commissioner may be made
      based on recommendations from the NYPD Trials Commissioner or Department Advocate, where applicable.

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                   pursuant to the process specified in the 2012 MOU between the NYPD and the CCRB,4
                   and make the written determination publicly available.

      V.       ACCESS TO EMPLOYMENT HISTORY 5

               9. In any case where the CCRB investigator recommends that an allegation of misconduct be
                  substantiated, the CCRB’s Board must have access to the NYPD employment history of
                  the officer in order to appropriately evaluate the appropriate penalty, including but not
                  limited to aggravating and mitigating factors as set forth in the Discipline Matrix.

               10. To obtain the NYPD employment history for an officer against the whom the CCRB has
                   substantiated an allegation, the CCRB investigator shall complete and email a NYPD
                   employment history request form to an electronic address designated by the Police
                   Commissioner, providing as much information as is available at the time of the request.
                   The email shall include, at minimum, the CCRB case number, and the name(s) and tax
                   number(s) of the member(s) of service.

               11. The NYPD employment histories provided to the CCRB may contain records and other
                   materials that constitute law enforcement disciplinary records, which may be withheld
                   from public disclosure, or subject to redactions within the meaning of New York Public
                   Officers Law §§ 86(6-9), 87. Pursuant to the CCRB’s existing policy, the CCRB shall not
                   disclose any NYPD employment history to any person, organization or agency without first
                   notifying the NYPD’s Legal Bureau and providing the NYPD a reasonable opportunity to
                   review the proposed disclosure and assert any applicable legal exemptions. The paragraph
                   shall not apply to disclosures to the NYPD Trial Commissioner, the Department Advocate
                   (DAO), or the NYPD Internal Affairs Bureau. Nothing in this agreement shall bar
                   disclosure compelled by law, but the CCRB shall notify the NYPD of any such disclosure
                   as soon as reasonably practicable.

               12. Absent exceptional circumstances, which shall be documented in writing and shared with
                   the CCRB, the NYPD employment histories shall be provided to the CCRB within twenty
                   (20) business days. In instances where the CCRB determines the receipt of the NYPD
                   employment history to be a high priority, the NYPD shall make best efforts to expedite the
                   processing of an officer’s employment history.

               13. The NYPD shall not refuse to disclose or delay disclosure of an officer’s employment
                   history on the ground that it is conducting a concurrent or parallel investigation.

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             Nothing in this MOU shall abrogate or modify the obligations of the NYPD to the CCRB pursuant to
           Memorandum of Understanding Between the Civilian Complaint Review Board (CCRB) and the Police Department
           (NYPD) of the City of New York Concerning the Processing of Substantiated Complaints (Apr., 2, 2012),
           https://www1.nyc.gov/assets/ccrb/downloads/pdf/about_pdf/apu_mou.pdf.
           5
             For purposes of the Section V, “employment history” refers to a document which was previously supplied by the
           NYPD to the CCRB in cases where CCRB’s Administrative Prosecution Unit handled the prosecution of
           substantiated allegations resulting in charges and specifications. 

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              14. The CCRB will ensure that all CCRB investigator and staff members granted access to
                  NYPD documents will maintain the confidentiality of all information observed and
                  obtained. Failure to maintain such confidentiality may result in termination of this
                  agreement subject to the process outlined in Paragraph X.

 VI.          AMENDMENTS TO THE DISCIPLINE MATRIX

        The Discipline Matrix is developed by and remains solely within the discretion of the NYPD. The
        NYPD shall have the authority to amend the Discipline Matrix at any time, but, consistent with
        Administrative Code Section 14-186, shall only do so following notice by posting such amendment
        on the NYPD’s website, with an accompanying description of the modification as needed. The
        CCRB shall be given notice and an opportunity to provide comment on any proposed changes.

VII.          OTHER LAW

        Nothing in this agreement shall be interpreted to abrogate or otherwise conflict with State or Local
        law, or to modify or curtail the powers of the Police Commissioner under section 75 of the New
        York Civil Service Law or section 434 of the NYC Charter.

VIII.         ANNUAL REVIEW OF THIS AGREEMENT

        On August 1, 2021 and annually thereafter, the NYPD and the CCRB agree to review whether this
        agreement is accomplishing the mutual goal of consistent and fair discipline as well as the
        Discipline Matrix serving as a framework for discipline recommendations and to the
        administration by each agency of the discipline recommendations therein, as well as to consider
        any potential modifications to the agreement. Such reviews may include an analysis of relevant
        data such as the NYPD concurrence rate with the CCRB penalty recommendations, agency rates
        of deviation from the Discipline Matrix, facilitation and access to employment history, etc., in
        guiding any potential amendments to this agreement.

 IX.          AMENDMENT AND MODIFICATION

        If at any time the Parties to this MOU determine that this MOU cannot be implemented
        substantially in the manner set forth herein for any reason, the parties shall act to amend such rules
        as may be appropriate. Any amendments or modifications must be writing and signed by both
        Parties. Unless explicitly stated, nothing in this MOU shall abrogate or modify the obligations of
        the NYPD to the CCRB pursuant to 2012 MOU between the CCRB and the NYPD.

  X.          TERMINATION

        Termination of this Agreement requires written notice and reason(s) for termination to the other
        Party. Following the notification, the other Party shall have a period of thirty (30) days to cure
        before the termination takes effect.



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Appendix V




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        :HGQHVGD\-DQXDU\                                      7KXUVGD\'HFHPEHU
        Starting Date
                Jan      Feb      Mar        Apr    May         Jun
                                                                        Ending Date
                                                                             Jul         Aug     Sep          Oct     Nov         Dec
                                                                                                                                                                                                                                              
                                                                                                                                                                   Incidents                          Members of Service                             Subjects
        Background Statistics                      Incidents by Month                                                                                 Type of Force

          
                                                   1,000
                                                                                                                                                      % of Total




                                                    500                                                                                                            50%
          Overall 911 Calls


          
                                                      0
                                                                                                                                                                    0%
                                                                Jan    Feb         Mar   Apr   May      Jun   Jul 20 Aug    Sep   Oct    Nov    Dec
                                                                20      20         20    20    20        20           20     20   20     20     20                           Electrical W…      Firearm   Impact Wea…   OC Spray   Physical For… Police Canine Restraining …
          911 Calls - Person in Crisis
                                                    Count of Force Incidents by Precinct*                                                             Basis for Encounter
                                                                                                                                                                     CRIME/VIOLATION IN PROGRESS
          911 Calls - Weapon Involved
                                                                                                                                                                                         PERSON IN CRISIS

                                                                ALL                                                                                                                           OTHER
                                                                                                                                                                                                  PRISONER
          Overall Arrests                                      Current Selection
                                                                                                                                                                                        CROWD CONTROL


                                                                                                                                                                             PAST CRIME/VIOLATION
                                                                                                                                                                   WANTED SUSPECT (E.G. WARRANT, I CARD)
          Arrests - Weapon Possessed                                                                                                                                                         VTL INFRACTION
                                                                                                                                                                                     SUSPICIOUS ACTIVITY
                                                                                                                                                                                DETECTIVE INVESTIGATION
                                                                                                                                                                                        TRANSIT EJECTION
                                                                                                                                                                            NON-CRIME CALLS FOR SERVICE
                                                                                                                                                                                   ORDER OF PROTECTION
                                                                                                                                                                                       IN CUSTODY INJURY
                                                                                                                                                                                                 HOME VISIT
        Data last refreshed on...                                                                                                                                                    AMBUSH OF MEMBER
         1/20/2021 10:38:25 AM                                                                   6                                      251                                             SEARCH WARRANT
                                                                                                (min)                                   (max)                                         ANIMAL CONDITION
        Data are available for download at
        the NYC OpenData site.                             * Precincts shaded in gray have zero incidents                                                                                                     0%         10%             20%              30%              40%




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           Starting Date
                   Jan         Feb          Mar     Apr     May   Jun
                                                                        Ending Date
                                                                           Jul         Aug       Sep           Oct   Nov    Dec
                                                                                                                                                                                              
                                                                                                                                                     Incidents             Members of Service       Subjects
           Type of Force Used by NYPD Member                                Category of Injury Sustained by Subject                              NYPD Member Rank/Title
                                                                                                                                                 3ROLFH2IILFHU                                           6HUJHDQW
                    Electrical Weapon
                                                                                                  No Injury

                                 Firearm

                                                                                             Physical Injury
                      Impact Weapon


                               OC Spray                                          Substantial Physical Injury
                                                                                                                                                                                                          'HWHFWLYH
                           Physical Force
                                                                                    Serious Physical Injury

                           Police Canine

                                                                                                     Death                                                                                                /LHXW¬ 2¬
             Restraining Mesh Blanket


                                            0%            50%       100%                                       0%          50%            100%


           NYPD Member Race                                                                                                  NYPD Member Gender                            NYPD Member Assignment
                                                                                                                             100%                                          100%                       Assignment
                                             7.8%
                                                                                                                                                                                                        ANTI-CRIME
                               11.53%                                                             WHITE
                                                                                                                                                                                                        FIXED POST
                                                                                                  HISPANIC
                                                                                                                                                                                                        INVESTIGATION
                                                                                                  BLACK                                                           FEMALE
                                                                        49.18%                                                   50%                                       50%                          NCO
                                                                                                  ASIAN                                                           MALE
                                                                                                                                                                                                        OFF DUTY
                                                                                                  OTHER                                                                                                 OTHER
                              31.33%
                                                                                                  AMER INDIAN                                                                                           SCOOTER

                                                                                                                                                                                                        SECTOR/RESPONSE…
                                                                                                                                  0%                                        0%




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:HGQHVGD\-DQXDU\                                7KXUVGD\'HFHPEHU
Starting Date
        Jan        Feb         Mar   Apr      May   Jun
                                                          Ending Date
                                                            Jul     Aug     Sep    Oct   Nov    Dec
                                                                                                                                                                                                
                                                                                                                         Incidents                                           Members of Service             Subjects
Type of Force Used by Subject Against NYPD Member                                                            Category of Injury Sustained by NYPD Member

 Cutting Instrument                                                                                                    MOS Killed or Shot

  Displayed Weapon
                                                                                                                                 No Injury

                Firearm
                                                                                                                            Physical Injury
     Impact Weapon

                                                                                                                   Serious Physical Injury
              No Force

                                                                                                                Substantial Physical Injury
       Physical Force


                          0%                                      50%                                 100%                                    0%                                              50%                        100%

Subject Race                                                                             Subject Gender                                       Age of Subjects
                                                                                         100%                                                                      300
                          9.03%            0.17%
                 3.33%
                                                                        AMER INDIAN
                                                                                                                                              Count of Incidents




                                                                        ASIAN                                                                                      200

                                                                        BLACK                                               FEMALE
                                                                                          50%
       29.43%                                                           HISPANIC                                            MALE                                   100
                                                      55.48%
                                                                        OTHER
                                                                        WHITE
                                                                                                                                                                     0
                                                                                                                                                                         0                          50                    100
                                                                                           0%                                                                                                       Age




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                        Under New York State law, police officers may use force to protect life and property, to effect
                        arrests, and to prevent escapes. Private persons, except in certain limited circumstances, may
                        only use force in self-defense or in defense of others, and must exhaust all attempts at retreat
                        before using deadly physical force, except in their own dwellings. In contrast, police officers are
                        obligated to take action, and are required to pursue fleeing perpetrators and use force, if
                        necessary, to stop that flight.

                        Although police achieve compliance in the vast majority of encounters with verbal commands
                        alone, when those commands are insufficient, and subjects choose to ignore instructions or
                        resist, officers may use an array of force options to compel others to submit to their lawful
                        authority. These options range from physical force, to less-lethal options (e.g., OC spray, CEWs,
                        or impact weapons), or only when appropriate, to deadly physical force. Officers are not required
                        to move sequentially from one level of force to the next. Officers may escalate from verbal
                        commands to pointing a CEW, for instance, or may de-escalate from a threatened use of force or
                        a use of force to verbal commands, as situations evolve.

                        New York State law authorizes officers to use physical force only when they “reasonably believe
                        such to be necessary” to effect arrest, prevent escape, or defend a person or property from harm.
                        NYPD policy on the use of force is more restrictive than New York State and federal laws, and
                        holds members of the NYPD to an even higher standard of restraint. New York State law, for
                        example, allows the use of deadly physical force to protect property, but department policy does
                        not. Under NYPD policy, deadly force may only be used against a person to “protect members of
                        the service and/or the public from imminent serious physical injury or death” (Patrol Guide 221-
                        01). Thus, there may be instances of force that may be permissible under New York State and/or
                        federal law, but still violate department policy.££

                        Under NYPD policy, “force may be used when it is reasonable to ensure the safety of a member
                        of the service or a third person, or otherwise protect life, or when it is reasonable to place a
                        person in custody or to prevent escape from custody” (Patrol Guide 221-01). In accordance with
                        this standard of reasonableness, any application of force that is judged to be “unreasonable
                        under the circumstances…will be deemed excessive and in violation of department policy” (Patrol
                        Guide 221-01). Use of force, in this context, is broadly defined to encompass a wide range of
                        force options that may be employed to gain compliance or ensure the control of a subject.

                        While the NYPD’s use of force policy incorporates national best practices and serves as a
                        benchmark for law enforcement agencies worldwide, the department is presently in the process
                        of further refinement to its use of force protocols.



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     The NYPD Force Dashboard was developed to provide detailed insights into incidents in which NYPD Members              (DFKSDJHFRQWDLQVDYDULHW\RIYLVXDOL]DWLRQVWKDWVXPPDUL]HYDULRXVDVSHFWVRIWKHLQFLGHQWDQGWKH
 of Service (MOS) used force. The dashboard contains three pages (or tabs). The three pages are named for their            LQGLYLGXDOVLQYROYHG(DFKYLVXDOL]DWLRQLVLQWHUDFWLYH)RUH[DPSOHKRYHULQJRYHUDQHOHPHQWLQDFKDUWZLOO
 respective topic, specifically ,QFLGHQWV, 1<3'0HPEHUV8VLQJ)RUFH and 6XEMHFWV.                                          provide additional details about that data point.
     The ,QFLGHQWVSDJHVKRZVRQO\WKHLQFLGHQWVZKHUH0HPEHUVRI6HUYLFHXVHGIRUFH IRUFHLQFLGHQWV £7KH
 YDULRXVFKDUWVDQGFRXQWVVHHQZLWKLQWKLVVHFWLRQDUHDQRYHUYLHZRIWKHVHIRUFHLQFLGHQWV££7KHFKDUWVZLWKLQWKLV
 section represent information within the “Incidents” count, including a breakdown by month, precinct, type of
 IRUFHDQGEDVLVIRUHQFRXQWHU£,WLVLPSRUWDQWWRQRWHWKDWRQO\WKHPRVWVHULRXVW\SHRIIRUFHSHULQFLGHQWLV
 represented in the “Type of Force” chart.
   The 1<3'0HPEHUV8VLQJ)RUFH page displays information about the Members of Service who used force
 ZLWKLQWKHLQFLGHQWVGHVFULEHGLQWKHSUHYLRXVVHFWLRQ£7KLVLQIRUPDWLRQLQFOXGHVWKHW\SHRIIRUFHXWLOL]HGE\HDFK
 0HPEHURI6HUYLFHDVZHOODVWKHLUDVVLJQPHQWVW\SHV£,WDOVRVKRZVWKHFDWHJRU\RILQMXU\DVVRFLDWHGZLWKHDFK
 6XEMHFW£)XUWKHUPRUHWKLVVHFWLRQVKRZVDEUHDNGRZQRI2IILFHUUDQNDQGGHPRJUDSKLFLQIRUPDWLRQ UDFHDQG
 JHQGHU £7KH´7ype of Force Used by NYPD Member” shows the most serious type of force used by each Officer
 RXWRIWKHLQFLGHQWVUHSUHVHQWHGLQWKHSUHYLRXVVHFWLRQ£7KH´&DWHJRU\RI,QMXU\6XVWDLQHGE\6XEMHFWµFKDUWLVD
 VXEVHWRIWKHVXEMHFWFRXQWGLVSOD\HGDWWKHWRSRIWKLVVHFWLRQ
     The 6XEMHFWVSDJHGLVSOD\VLQIRUPDWLRQUHJDUGLQJDOO6XEMHFWVDVVRFLDWHGZLWKWKHLQFLGHQWVVHHQLQWKHILUVW
 VHFWLRQ£7KHFKDUWWLWOHG´7\SHGRI)RUFH8VHGE\6XEMHFW$JDLQVW1<3'0HPEHUµUHSUHVHQWVWKHW\SHRIIRUFHG             )XUWKHUPRUHHDFKYLVXDOL]DWLRQDFWVDVDILOWHUIRURWKHUYLVXDOL]DWLRQV&OLFNLQJRQDQHOHPHQWLQDFKDUWZLOO
 XVHGDJDLQVW0HPEHUVRI6HUYLFHE\HDFK6XEMHFW£6LPLODUWRWKH´7ype of Force Used by NYPD Member” in the               cause that element to be highlighted and will result in the other charts on that page being updated to focus on
 SUHYLRXVVHFWLRQLWRQO\VKRZVWKHPRVWVHULRXVW\SHRIIRUFHXVHGE\HDFK6XEMHFW£7KLVVHFWLRQDOVRGLVSOD\VD        the element clicked. In the image below, after clicking on the 120th Precinct in Staten Island, all the other visuals
 FKDUWVKRZLQJWKHLQMXULHVLIDQ\VXVWDLQHGE\0HPEHUVRI6HUYLFH ´&DWHJRU\RI,QMXU\6XVWDLQHGE\1<3'                update to show only data related to the incidents in that precinct. This includes the indicator totals in the banner.
 0HPEHUµ £6LPLODUWR´&DWHJRU\RI,QMXU\6XVWDLQHGE\6XEMHFWµLQWKHSUHYLRXVVHFWLRQLIDQ2IILFHUVXVWDLQV
 PXOWLSOHLQMXULHVRQO\WKHPRVWVHULRXVLQMXU\LVUHSUHVHQWHGLQWKLVFKDUW£)XUWKHUWKLVVHFWLRQGLVSOD\VD
 EUHDNGRZQRI6XEMHFWV·GHPRJUDSKLFLQIRUPDWLRQLQFOXGLQJDJHUDFHDQGJHQGHU£
 $WWKHWRSRIHDFKSDJHLVDEOXHEDQQHUZKLFKZLOODVVLVWLQQDYLJDWLRQ%HQHDWKWKHWLWOHRQWKHOHIWLVD
 month slider. The user can drag the slider to filter the data to show only those incidents that occurred in those
 months. The slider filters the data on all three pages and is also synced across each page.
     To the right of the slider are key metrics for each topic: the number of incidents, the number of members
 LQYROYHGDQGWKHQXPEHURIVXEMHFWVLQYROYHG7KHVHLQGLFDWRUVDUHG\QDPLFDQGZLOOXSGDWHDFFRUGLQJO\EDVHG
 on the month filter, as well as the chart filters (described on the right). In addition, the indicators act as links to
 WKHRWKHUSDJHV&OLFNLQJRQDQLQGLFDWRUZLOOWDNHWKHXVHUWRWKDWLQGLFDWRUVSDJH)RUH[DPSOHZKHQRQWKH
 ,QFLGHQWVSDJHFOLFNLQJRQ 6XEMHFWV RULWVYDOXHZLOOEULQJWKHXVHUWRWKH6XEMHFWVSDJH




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                                                                                                                       7KUHDW5HVLVWDQFHRU,QMXU\ 75, 5HSRUW:
              The Threat, Resistance, or Injury (TRI) Report is the primary means by which the NYPD                    A Department form that is composed of an ,QFLGHQW5HSRUW (completed by a supervisor or
              records use of force incidents. All reportable instances of force – whether used by a member             investigating authority) and an ,QWHUDFWLRQ5HSRUW(completed by the involved member). The TRI
              of the Department, or against the member – are recorded on a TRI Report. Data used to                    Report is the primary data collection mechanism for reportable uses of force.
              construct the 1<3')RUFH'DVKERDUG are a result of the information captured on TRI Reports.
                                                                                                                       0HPEHUVRIWKH6HUYLFH 026 :
                                                                                                                       A member of the NYPD. The MOS designation encompasses both uniformed officers of all ranks (e.g.,
              NYPD policy also requires the completion of a TRI Report in some instances when a member                 police officers, sergeants, lieutenants, etc.) and civilian members (e.g., traffic enforcement agents,
              of the Department does not use force. For example, a prisoner that is assaulted by another               school safety agents, etc.).£
              prisoner – while in the Department’s custody – would be documented on a TRI Report.                      £
              Similarly, the suicide of a prisoner in police custody is reportable on a TRI Report, but is not         6XEMHFWV:
              considered a use of force incident. Additionally, instances where subjects assault members of            An individual who is the target, or focus, of police action, including a suspect, perpetrator, or prisoner,
                                                                                                                       and any person that a member is attempting to direct or maintain custody or control over (e.g.,
              the service, without force being used by the members themselves, would also generate a TRI
                                                                                                                       disorderly person/group, emotionally disturbed person, etc.).
              Report. These incidents would all result in a “No Force” classification.                                 £
                                                                                                                       &LYLOLDQV%\VWDQGHUV:
              All of the department’s use of force policies and procedures are found in the Department                 Any non-employee of the Department who is not the intended subject of police action, but is
              Manual, and the types of force members of the NYPD use are separated into several                        inadvertently injured by the actions of the police.
              categories. Level 1 consists of hand strikes, foot strikes, forcible take-downs, discharging
                                                                                                                       %DVLVIRU(QFRXQWHU:
              oleoresin capsicum (OC) spray, discharging conducted electrical weapons (CEWs) in
                                                                                                                       The conduct, offense, or reason which formed the basis for the initial approach by a member of the
              “cartridge mode,” and using mesh restraining blankets to secure subjects. Level 2 is the                 Department that led to police action.
              intentional striking of a person with any object (including a baton, other equipment, etc.),
              police canine bites, or using CEWs in “drive stun” mode. Level 3 is the use of physical force            3K\VLFDO,QMXU\:
              that is readily capable of causing death or serious physical injury (e.g., discharging a firearm).       Impairment of physical condition, and/or substantial protracted pain (e.g., minor swelling, contusions,
              Level 4 incidents are those that result in death.                                                        lacerations, and/or abrasions).

                                                                                                                       6XEVWDQWLDO3K\VLFDO,QMXU\:
              Thorough oversight and investigation are built into the NYPD force policy. All four levels of
                                                                                                                       Physical injury consistent with the application of Level 2 force (e.g., contusions indicative of baton
              force must be reported on Threat, Resistance or Injury (TRI) Reports. Level 1 force incidents           strikes, unconsciousness, loss of a tooth/teeth, application of stiches/staples, etc.).
              are investigated by the member’s immediate supervisor. Level 2 incidents are investigated by             £
              department executives in the rank of captain or above. The NYPD Internal Affairs Bureau                  6HULRXV3K\VLFDO,QMXU\:
              (IAB) investigates all Level 3 incidents (i.e., cases where deadly physical force was used, but          Physical injury or illness that creates a substantial risk of death, or which causes serious and
              the subject’s injuries are not life-threatening). Level 4 incidents, which include all firearm           protracted disfigurement, protracted impairment of health, or protracted loss or impairment of
                                                                                                                       function of any bodily organ/limb (e.g., gunshot wound, broken/fractured bone, aneurysm, injury
              discharges and any event where a subject dies or is seriously injured and likely to die, are
                                                                                                                       requiring hospital admission, heart attack/stroke, other life threatening illness/injury, etc.).
              investigated by the NYPD Force Investigation Division (FID).




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Appendix VI

                        2/25/2021                                                                                                 Microsoft Power BI




                                                                                            1<3'+DWH&ULPHV'DVKERDUG                                                                                                                                                                     'DWDODVWUHIUHVKHGRQ
                                                                                                                                                                                                                                                                                               30
                                                                                                                       (Confirmed incidents)
                                     
                                                                                                                                %LDV7\SHRI,QFLGHQWV
                                                                                                                                                                        MULTI RACIAL GROUPS
                                                                                Incidents                    Arrests                                              LGBT MIXED GROUP
                                                                                                                                                                                         FEMALE               MALE HOMOSEXUAL GAY
                                                                                                                                                                                                                                     BLACK CATHOLIC
                                                                                                                                                                                                  JEWISH
                                                                                                                                                                                  FEMALE HOMOSEXUAL GAY
                           ,QFLGHQW&RXQWE\3UHFLQFW                                                                                                    OTHER                                                                               50 YEARS OLD OR MORE
                                                                                                                                                          ISLAMIC MUSLIM                                                                                          HINDU
                                                                                                                                                           TRANSGENDER
                                                                                                                                                        OTHER ETHNICITY
                                                                                                                                                                                             WHITE ASIAN        ARAB HISPANIC
                                                                                                                                                                                               GENDER NON CONFORMING
                                  (min)                             (max)                                                                                                                      RELIGIOUS PRACTICE GENERALLY


                                                                                                                                     1XPEHURI,QFLGHQWVHDFK0RQWK
                                                                                                                                                        40
                                                                                                                                     1XPEHURI,QFLG¬




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                                                                                                                                                                             n         eb          ar          pr          ay           n
                                                                                                                                                                                                                                                 /Ju           ug          ep                  ct          ov          ec
                                                                                                                                                                       /Ja           /F         /M          /A          /M          /Ju       20             /A          /S               /O             /N          /D
                                                                                                                                                                  20               20        20          20          20          20         20            20          20             20               20          20
                                                                                                                                                             20                  20       20          20          20          20                        20          20          20                  20          20

                                                                                                                                     /DZ&RGH&DWHJRU\DQG2IIHQVHRI,QFLGHQWV
                                                                                                                                          MISDEMEANOR                                                                                              FELONY
                           * Precincts shaded in gray have zero incidents

                           Precinct Date                   Bias Category        Bias Type   Offense Description    # of Arrests
                                        

                           090          Wed, 01/01/2020    Religion/Religious   JEWISH      FELONY ASSAULT                    1                                                                                                                                                                            FELONY ASSA…
                                                           Practice

                           094          Thu, 01/02/2020    Religion/Religious   JEWISH      MISCELLANEOUS PENAL               0
                                                           Practice                         LAW
                                                                                                                                                                                                                                                                                                           CRIMI…         ROB…
                           078          Mon, 01/06/2020    Religion/Religious   JEWISH      CRIMINAL MISCHIEF &               0
                                                           Practice                         RELATED OF
                                                                                                                                          CRIMINAL MISCHIEF & REL… ASSAULT 3 &…                                              OFF. AGNST… MISCELLANEOUS PENAL LAW                                           GRA…        BU…
                           120          Tue, 01/07/2020    Race/Color           BLACK       CRIMINAL MISCHIEF &               0
                                                                                            RELATED OF                               /DZ&RGH&DWHJRU\'HVFULSWLRQ                                      MISDEMEANOR             FELONY       VIOLATION




                          0LFURVRIW3RZHU%,                                                                                                                                                                                                                                                                                (
                        https://app.powerbigov.us/view?r=eyJrIjoiYjg1NWI3YjgtYzkzOS00Nzc0LTkwMDAtNTgzM2I2M2JmYWE1IiwidCI6IjJiOWY1N2ViLTc4ZDEtNDZmYi1iZTgzLWEyYWZkZDdjNjA0MyJ9                                                                                                                                                    1/1




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Appendix VII

NYPD Annual Early Intervention Program Report
 Local Law 68-2020 requires that the New York City Police Department (“NYPD” or
“Department”) submit a report to the Mayor and the Speaker of the City Council by January 31
 of each year on the Department’s use of early intervention during the previous year. This report
 covers the year 2020.

Police officers hold a unique position in our society. They are responsible for the safety and
security of all of those who live in, work in, and visit the city. Whether they are responding to
a call of a crime in progress or a cry for assistance due a medical or other type of emergency,
they are a critical component of local government that people frequently interact with and rely
upon for help. At the same time, they are given enormous discretion in how to perform their
work. They are entrusted with the power to seize property, restrict the freedom of individuals,
and, under appropriate carefully delineated circumstances, to use force in the course of their
duties. With this vast discretion comes vast responsibility, that is, to perform their duties
and exercise their authority within the bounds of the law and Department policy. The Early
Intervention Program is just one of many efforts the Department is undertaking that are
designed to ensure that our officers are performing their policing functions in concert with the
Department’s commitment to serve the public to the best of its ability.

While the NYPD has historically had a number of programs that have addressed issues of
potentially at-risk officers, these programs have never been consolidated nor tracked in a
unified way until now. The NYPD’s Early Intervention Program (“EIP”) now unites these previous
disparate efforts. EIP is a non-disciplinary program, although entry into the program may
be engendered by a pending or completed disciplinary action. EIP is designed to utilize risk
management strategies to intervene at the earliest possible opportunity in order to support
employee wellness and professional development by attempting to identify and mitigate
factors which may lead to negative performance issues, employee discipline, or negative
interactions with the public. EIP is neither punitive nor disciplinary in nature. At its core, it is
designed to mentor and coach officers to provide support to as to ensure that each officer is
performing his or her job in a way that scrupulously adheres to the legal, moral, and ethical
principles to which the Department subscribes by correcting issues as soon as they are
identified.

Under the Department’s Early Intervention Program, when a designated threshold is
triggered, Risk Management Bureau (“RMB”) staff prepare an overview of the officer and their
commanding officer is asked to make a recommendation regarding potential intervention
to the Early Intervention Committee (the “Committee”). The commanding officer is asked to
consider their prior experiences with the officer, both positive and negative, the officer’s tenure
with the Department, the facts of the underlying incident, and the effectiveness of any prior
interventions prior to making a recommendation to the Early Intervention Committee.




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The Early Intervention Committee is chaired by the Deputy Commissioner of RMB and is also
composed of executive-level personnel representing the Deputy Commissioner of Legal
Matters, the Deputy Commissioner of Equity and Inclusion, the Chief of Department, the Chief
of Detectives, the Chief of Patrol, and the Chief of Personnel. The Committee met for the first
time in August 2020 and was then convened once a month for the remainder of the year. When
evaluating an officer, the Committee considers all relevant details relating to the incident or
incidents that caused the officer to meet the designated threshold as well as their overall
tenure with the Department, including whether the officer has previously been presented to the
Committee.

The commanding officer and the Committee have a number of potential interventions to choose
from including training, mentoring, enhanced supervision, ongoing review of the officer’s body-
worn camera footage, conferral with command or bureau leadership, or change in assignment.
The Committee may also decide that no intervention is necessary. Where necessary, officers
may be referred for a determination of whether or not monitoring is appropriate, to the Health
and Wellness Section for an assessment, to the Internal Affairs Bureau for potential disciplinary
action, or to a District Attorney’s Office for potential criminal investigation.

After the Committee makes a final decision regarding potential intervention, that decision is
documented and sent to the commanding officer for implementation. Commanding officers
are required to document the implementation of any intervention that has been ordered within
thirty business days of receiving the Committee’s final decision.

In addition to the information collected pursuant to Local Law 68-2020, the Department’s Early
Intervention Program also collects information regarding certain declinations to prosecute as
well as Law Department declinations to indemnify or represent officers in civil lawsuits alleging
an unconstitutional stop, unconstitutional trespass enforcement, or racial profiling or slurs.1

The Department’s Early Intervention Program will continue to evolve going forward. The
Department will continue to improve the process as it gains more data on what non-disciplinary
interventions work best to mentor and support members of the service, effectively serve the
public better, and prevent officers from engaging in conduct that would merit discipline.




1. See Floyd v. City of New York, 08-cv-1034 (AT), Dkt. 767, Order at 2-5 (S.D.N.Y. June 2,
2020).


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Appendix VIII




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                                           or New York City, and the        safely. In fact, now is the time to    ^LYLHɉYTV\YJVTTP[TLU[[V            This plan represents our commitment


                                  F        world, this is one of the
                                           most challenging and painful
                                           times in recent memory. The
                                   coronavirus tragically claimed nearly
                                   50 of our colleagues, and many more
                                                                            YLKV\ISLV\YLɈVY[Z[VPKLU[PM`
                                                                            and focus on our strengths and
                                                                            weaknesses together, and to foster
                                                                            an environment where diverse
                                                                            talent and viewpoints are valued.
                                                                                                                   police this City smartly, and in full
                                                                                                                   collaboration with the community,
                                                                                                                   our members, and our government
                                                                                                                   partners – which means, notably, to
                                                                                                                   continue enhancing our transparency
                                                                                                                                                           to providing the highest-quality
                                                                                                                                                           police services and to keeping an open
                                                                                                                                                           dialogue with our communities. Over
                                                                                                                                                           the next few months we will continue to
                                                                                                                                                           collaborate, educate, and actively listen
                                   family members. In May of this year,                                            and improving the ways we provide       to you, our partners and stakeholders,
                                   our city, along with the nation, faced   When I became Police Commissioner      customer service both internally        regarding the role of the NYPD in
                                   an important reckoning and was           in December, I asked a team to         and externally, while having open       your communities. This process will
                                   prompted to stand up against racial      develop a plan – a process that        and honest discussions about what       build upon the commitments outlined
                                   injustice and inequity. Additionally,    came to a close in late February,      works well, and what we all need        here and to the people we serve.
                                   massive budget cuts citywide and         just as the NYPD began a sustained     [VKVKPɈLYLU[S`>LT\Z[HS^H`Z
                                   increasing violence in some of           redirection of resources to address    strive to be better and safer.          >LHYLUL]LYZH[PZÄLK^P[O[OLZ[H[\Z
                                   our neighborhoods have stoked            the pandemic, widespread protests,                                             quo. We will never be complacent. As
                                   concern and fear. This moment            and the steep rise in shootings and    In 2020, the NYPD marks 175 years of    a police department, we will always
                                   JLY[HPUS`KLZLY]LZYLÅLJ[PVU0         murders. Through all of this, we       continued evolution. NYPD in Focus      advance to ensure that New York City
                                   believe moving empathetically and        never lost track of our long-term      describes how our Neighborhood          continues to be safe for everyone, and
                                   responsively through these crises        vision: to keep New Yorkers safe, to   Policing philosophy engenders crime     remains the world’s leader in policing.
                                   is the way forward. One thing of         support all members of the police      control and prevention strategies
                                   which I am certain, though, is that      department, to foster strong bonds     by better connecting with our city’s
                                   the police – like the New Yorkers        with the people we serve, and to       young people, and by building trust
                                   we serve – are incredibly resilient.     keep the NYPD at the forefront         and strengthening relationships
                                                                            of police reform in America.           [OYV\NOV\[[OLÄ]LIVYV\NOZ(UK
                                   Since 2014, the NYPD has enacted                                                perhaps most importantly, it supports
                                   ZPNUPÄJHU[YLMVYTZPUHYLHZYHUNPUN     This is truly a pivotal moment in      our intention to always promote the
                                   from training and use of force, to       policing. This plan incorporates the   health and wellness of our most                      Dermot Shea
                                   discipline and transparency. Yet,        unique, uncertain times we have        critical resource – our uniformed and             Police Commissioner
                                   we are always ready to improve           faced over the past seven months,      civilian members, without whom none
                                   and evolve our practices to work         and the great results we have          of these programs would be possible.
                                   TVYLLɈLJ[P]LS`LɉJPLU[S`HUK         achieved in recent years. Today




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            OLOHSSTHYRVMJYPTLÄNO[PUN    VɉJLYZKLKPJH[L[OLPY[PTL[V          To reinforce our renewed focus on       upgrades included the deployment


    T       in New York City throughout
            the current administration has
            been a sustained decrease
    in crime coupled with a reduced
    enforcement footprint. Through
                                             collaborating with community
                                             members, active problem-solving,
                                             and addressing recurring quality-
                                             of-life issues. The community trust
                                             being built through Neighborhood
                                                                                     community concerns, the NYPD
                                                                                     enhanced our member training
                                                                                     to include awareness of implicit
                                                                                     biases, tactics to bring people
                                                                                     safely into custody and de-escalate
                                                                                                                             VMZTHY[WOVULZ[VL]LY`VɉJLY[OL
                                                                                                                             use of ShotSpotter technology to
                                                                                                                             detect gunshots, and the installation
                                                                                                                             of wireless cameras to deter and
                                                                                                                             investigate violent street crime.
    the creation and implementation of       Policing is essential in addressing     enforcement encounters, techniques      Moreover, we deployed body-worn
    Precision Policing, the NYPD shifted     these issues and in both preventing     to appropriately handle mental          cameras to every one of our patrol
    its focus towards the drivers of crime   and solving violent crimes.             health calls, and the use of life-      VɉJLYZNP]PUN\Z[OLHIPSP[`[V
    and reduced overall index crime                                                                                          review and improve our interactions
    14% below an already historically                                                                                        with the public.
    low crime rate. At the same time,           Through the creation and implementation                                      While all of these initiatives have
    investigative encounters instances
    dropped 93%, summonses declined             of Precision Policing, the NYPD shifted                                      reduced violent crime and increased
                                                                                                                             community trust, our work toward
    41%, and arrests declined 46%.
                                                its focus toward the drivers of crime                                        a safer future is never done. We
    Simultaneously, the Department                                                                                           must continue to build upon past
    implemented several initiatives that        and reduced overall index crime 14%                                          reforms and always move forward
    fostered community partnerships,                                                                                         to a safer New York City.
    improved the deployment of               Neighborhood Policing also includes     saving techniques and equipment.
    Department resources, enhanced           a commitment to increasing              Additionally, with invaluable input
    member training, and expanded the        internal collaboration to ensure        from the community and external
    use of technology. These initiatives     all NYPD resources are working          stakeholders, the NYPD’s use of
    WYV]PKLKVɉJLYZ^P[O[OLHIPSP[`        toward the same goal. To this end,      force policies have been revised over
    to address community concerns            the NYPD redeployed personnel,          the past four years and continue
    through non-enforcement means.           such as narcotics investigators,        to exceed national standards.
                                             to local borough investigations
    The introduction of Neighborhood                                                 The NYPD also invested in several
                                             \UP[ZPUHULɈVY[[VSPURWYVHJ[P]L
    Policing in 2015 anchored locally-                                               technology upgrades to ensure our
                                             investigations to precinct priorities
    IHZLKWH[YVSVɉJLYZPUZLJ[VYZ                                                  VɉJLYZOHKHSSVM[OLKH[HULJLZZHY`
                                             and local crime control.
    throughout each precinct. These                                                  to make informed decisions. These




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                                                                                                                      The NYPD continues to be a leader in setting the standard for innovation and
                                                                                                                      YLMVYT>LWYPKLV\YZLS]LZVUV\YLɈVY[Z[VJVU[PU\V\ZS`PTWYV]LHZL]PKLU[I`
                                                                                                                      some of our recent reforms:


                                                         )VK`>VYU*HTLYHZ)>*                   7YVQLJ[9LZL[                                 -VYJL0U]LZ[PNH[P]L+P]PZPVU              NYPD Use of Force Policies
                                                         +LJLTILY
               2014                                      BWC Program initiated. Provides
                                                                                                   March
                                                                                                   Joint program with District Attorney’s
                                                                                                                                                 June
                                                                                                                                                 New unit established to investigate all
                                                                                                                                                                                           June
                                                                                                                                                                                           Extensive revision of use of force policies
                                                         the ability to review and improve our     VɉJLZ[VKP]LY[UVU]PVSLU[ÄYZ[[PTL       ÄYLHYTZKPZJOHYNLZHUK\ZLZVMMVYJL     [OH[PUJS\KLT\S[PJSHZZPÄJH[PVUZ`Z[LT
               NYPD on Social Media                      interactions with the public.             `V\[OVɈLUKLYZPU[VHYLTLKPH[PVU            I`VɉJLYZ                                mandates in-depth investigations, and
               January
                                                                                                   program rather than court or jail. Court                                                introduces the Threat, Resistance, Injury
               NYPD adopts the use of Twitter,           *LHZLÄYL
               Facebook, and other platforms to
                                                                                                   records are expunged upon completion          5@7+6WLU+H[H7SH[MVYT                   ;909LWVY[
                                                         +LJLTILY                                  of program.                                   +LJLTILY
               increase community outreach and
               communication.
                                                         Violence-reduction program that                                                         Initiative increases transparency by      *YPTL=PJ[PT(ZZPZ[HUJL7YVNYHT*=(7
                                                         partners police with communities that     5LPNOIVYOVVK7VSPJPUN4VKLS                   making Department data publicly           :LW[LTILY
                                                         have high levels of gun violence.         May                                           available for examination, review,        Collaboration between the Department
               NYPD Re-engineering                                                                 Implemented to increase community             and research.                             and Safe Horizon to place trained
               April                                     .HUN+H[HIHZL9LMVYT                      engagement, collaboration, and trust.                                                   victim’s advocates in commands.
               1,200 NYPD participants of all ranks      +LJLTILY                                  Introduces the concepts of Neighborhood
               shared more than 800 recommendations      Improved accuracy and precision           *VVYKPUH[PVU6ɉJLYZ5*6ZZ[LHK`                                                     7YLJPZPVU7VSPJPUN:[YH[LN`
               with the Police Commissioner to
               PTWYV]L[OLLɉJPLUJ`HUKLɈLJ[P]LULZZ
                                                         of records by implementing tighter
                                                         standards for entry and oversight.
                                                                                                   sectors, and response autos.                  2016                                      :LW[LTILY
                                                                                                                                                                                           Focused resources on a small
               of the Department.                        Mandated reviews expunge names of         :THY[WOVULZHUK;HISL[Z                       *V9LZWVUZL;LHTZ                         percentage of the population involved
                                                         PUKP]PK\HSZ^OVHYLUVSVUNLYHɉSPH[LK   May                                           March                                     in violence, crime, and the drug trade.
               6MÄJLVM*VSSHIVYH[P]L7VSPJPUN           with gang activity.                       Mobile technology program for frontline       Co-Response Unit created,
               April
               New unit established to collaborate
                                                                                                   VɉJLYZPUP[PH[LK                             establishing teams consisting of two      =HJH[PUN:\TTVUZ(KQ\KPJH[PVU7HY[
               with public/private partners to enhance
                                                                                                                                                 uniformed members of the service          :(7>HYYHU[Z
                                                                                                   *YPZPZ0U[LY]LU[PVU;LHT*0;;YHPUPUN       <46:HUKHSPJLUZLKTLU[HSOLHS[O      :LW[LTILY
               public safety and police services.        2015                                      June                                          professional who assess persons           Program initiated to vacate low-
                                                                                                   Training course designed in                   in need of mental health treatment        level warrants for crime victims,
               *VTT\UP[`7HY[ULY7YVNYHT                 0U]LZ[PNH[P]L,UJV\U[LYZ9LMVYT           collaboration with mental health                                                        complainants and/or aided individuals.
               July                                                                                                                              and provide referrals to appropriate
                                                         -LIY\HY`                                  WYVMLZZPVUHSZ[V[LHJOVɉJLYZOV^[V         resources/services.
               Program involving community
               ]VS\U[LLYZ^OV^VYR^P[OUL^VɉJLYZ
                                                         Investigative encounters reforms          better approach and gain voluntary                                                      9_:[H[
                                                         initiated in all NYPD commands.           compliance from substance abusers             <UPÄLK0U]LZ[PNH[PVUZ4VKLS               6J[VILY
               to assist them in learning about their                                                                                                                                      In coordination with the NYC
                                                                                                   and persons experiencing a mental             March
               neighborhood.                             9PZR4HUHNLTLU[)\YLH\94)              OLHS[OJYPZPZOV\YJ\YYPJ\S\T           Consolidated Department investigative     Department of Health and Mental
                                                         March                                                                                   resources under the Detective Bureau,     Hygiene and other City agencies, and
               4HYPQ\HUH(YYLZ[7VSPJ`9LMVYT
               5V]LTILY
                                                         RMB works collaboratively with the        6WLYH[PVU.\UZ[VW                             dissolving the Organized Crime            in support of the Department’s opioid
                                                         Federal Monitor, the Inspector General,   June                                          Control Bureau.                           prevention strategy, RxStat forums,
               Criminal Court summonses were             the Law Department, the courts, the       Provides cash rewards to members                                                        based on the CompStat model, were
               authorized for low-level marijuana        public, and NYPD bureaus and units to     of the public who provide information                                                   initiated as a management tool to focus
               VɈLUZLZPUSPL\VMHYYLZ[                develop, implement, and audit required    SLHKPUN[V[OLHYYLZ[VMWLYZVUZMVY[OL                                             on the opioid crisis.
                                                         reforms, and to identify and mitigate     unlawful sale or illegal possession of
                                                         various risks to the Department.          illegal handguns.




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                                                                                                         The NYPD continues to be a leader in setting the standard for innovation and
                                                                                                         YLMVYT>LWYPKLV\YZLS]LZVUV\YLɈVY[Z[VJVU[PU\V\ZS`PTWYV]LHZL]PKLU[I`
                                                                                                         some of our recent reforms:


                                             (K\S[7YVQLJ[9LZL[                                                                                                              +PZJPWSPUL4H[YP_
                                                                                                                                                                              :LW[LTILY
 2017                                        March
                                             Diversion program for adults who          2019                                       2020                                        Proposed discipline matrix is published
                                             engage in non-violent crimes.                                                                                                    for public comment.
 /LYVPU6]LYKVZL7YL]LU[PVUHUK                                                       7\ISPJ7VZ[PUNVM+LWHY[TLU[               @V\[O*VVYKPUH[PVU6MÄJLY@*6
 ,K\JH[PVU7YVNYHT/67,7YVQLJ[*SLHY      /VTLSLZZ6\[YLHJOHUK:OLS[LY            ;YPHS*HSLUKHY                             January                                     0U[LYHJ[P]L+HZOIVHYKZ
 -LIY\HY`                                                                              -LIY\HY`                                   Newly-created position to focus on          :LW[LTILY
 *VSSHIVYH[P]LLɈVY[^P[O+PZ[YPJ[
                                             :LJ\YP[`:LJ[PVU                          Began to apprise the public of when a      engaging with youth and connecting
                                             March                                                                                                                            Published interactive dashboards on
 ([[VYUL`Z»VɉJLZ7YVNYHT[OH[KP]LY[Z     Establishment of the NYPD units who       particular MOS’s case may be observed,     them with resources in the community.       OH[LJYPTLZHUKZ[HɉUNKLTVNYHWOPJZ.
 SV^SL]LSKY\NVɈLUKLYZPU[VKY\N          work with the NYC Department of           and includes the date, time, rank, and
 treatment programs instead of court         /VTLSLZZ:LY]PJLZ+/:HUKV[OLYZ[V    UHTLVM[OL46:HUKPKLU[PÄLZ[OL[YPHS   @V\[O:[H[                                   *\Z[VTLY-LLKIHJR:\Y]L`
 or jail. Expunges arrest records upon                                                 room for each hearing.                     -LIY\HY`                                    :LW[LTILY
                                             engage, protect, and provide services
 completion of program.                                                                                                           Regular meetings with other City agencies   Survey published to solicit continuous
                                             for the City’s homeless population.
                                                                                       *OPSK:LUZP[P]L(YYLZ[7VSPJPLZ            to identify and address youth issues.       feedback on customer service.
 *YPTPUHS1\Z[PJL9LMVYT(J[*19(          )\PSK[OL)SVJR
                                                                                       April
 June                                        June                                      Established guidelines for MOS when a      -HJPHS9LJVNUP[PVU7VSPJ`                   7VSPJL9LMVYTHUK9LPU]LU[PVU
 Moved prosecution of lower-level                                                      parent/guardian gets arrested in order     March                                       *VSSHIVYH[P]L
                                             Initiated the Build the Block community
 VɈLUZLZMYVT[OL*YPTPUHSJV\Y[[V[OL     engagement campaign.                      to reduce trauma to children who may       Establishes safeguards for the              6J[VILY
 Civil court. Established civil penalties.                                             be present.                                permissible use of facial recognition       NYPD, Urban League, UFPWA, and
                                                                                                                                  technology, striking a balance between
                                             )S\L9PIIVU7HULS                                                                                                                Robin Hood co-sponsoring a series of
 6WPVPK6]LYKVZL7YL]LU[PVU7YVNYHT          June                                      ;YHUZP[)\YLH\/VTLSLZZ+P]LYZPVU         public safety and privacy.                  community engagements leading to a
 6J[VILY                                     External panel convened to review the     7YVNYHT                                                                                published Reform Plan by April 1, 2021.
 Guidelines established for opioid           Department’s disciplinary process.        May                                        5@7+(U[P*YPTL<UP[Z+PZIHUKLK
 prevention program.                                                                   Partnered the NYPD Transit Bureau          June
                                                                                       with the NYC DHS and other public          More than 600 plainclothes anti-crime
                                             )LOH]PVYHS/LH[O+P]LYZPVU7YVNYHT                                                   VɉJLYZ^LYLYLHZZPNULK[VWH[YVSHUK
                                             July                                      HUKWYP]H[LHNLUJPLZ[VVɈLYZOLS[LY
                                                                                       and harm-reduction services to             or investigative duties.
 2018                                        Diverted 911 calls for non-violent
                                             persons experiencing mental health        homeless persons violating New York
                                                                                                                                  9HJL-VY\TZ
                                             crisis to NYC Well, the City’s crisis     City Transit Rules of Conduct in lieu of
 6MÄJLVM,X\P[`HUK0UJS\ZPVU               intervention and referral service.        criminal enforcement.                      June
 January                                                                                                                          Discussion forums for employees to share
 Established to oversee, enhance, and        9PNO[[V2UV^(J[                         <ZLVM-VYJL9L]PZPVUZ                     their experiences and views on race and
 ensure accountability of the Department’s   6J[VILY                                   6J[VILY                                    law enforcement, and social justice.
 equity and inclusion strategies.            6ɉJLYZYLX\PYLK[VOHUKV\[HWYL        Use of force reporting and recording
                                             printed business card containing          processes are revised and upgraded.        *P]PSPHU3PHPZVU
 0TWSPJP[)PHZ;YHPUPUN                                                                TRI Report 2.0 introduced.                 (\N\Z[
                                             their name, rank, and shield when
 -LIY\HY`                                    conducting stops.
                                                                                                                                  Appointed a Civilian Liaison, who
 Implemented to mitigate bias that might                                                                                          will serve as a conduit between the
 HɈLJ[[OL^H`WVSPJLLUNHNL^P[O[OL                                                                                            +LWHY[TLU[HUKHɈLJ[LKTLTILYZVM[OL
 public and respond to situations.                                                                                                public regarding the disciplinary system.




                                                                                                                                                  NYC Police Reform and Reinvention Collaborative Draft Plan            131
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                                                                                                 The various reforms demonstrate the progress the NYPD has made
                                                                                                 in building trust with communities while keeping New Yorkers safe.



                                  994                                 NYPD Firearms Discharges
                                                                                   1971-2019




                                                                   Adversarial discharges have declined 95% since 1972.




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                                                               The various reforms demonstrate the progress the NYPD has made
                                                               in building trust with communities while keeping New Yorkers safe.



               Investigative Encounters                                                 Arrests by Category
                         2010 - 2019                                                           2010 - 2019




   Investigative encounters declined by 98% since their peak         Arrests declined by 49% since 2010. Misdemeanor arrests
   in 2011.                                                          declined by 56%HSSV^PUNWH[YVSVɉJLYZHUKKL[LJ[P]LZTVYL
                                                                     time to address community concerns and/or major crimes.




                                                                                     NYC Police Reform and Reinvention Collaborative Draft Plan   133
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                                                                              The various reforms demonstrate the progress the NYPD has made
                                                                              in building trust with communities while keeping New Yorkers safe.



                                        Criminal Summonses                                              Marijuana Arrests
                                               2010 - 2019                                                   2010 - 2019




                          The NYPD issued 83% fewer criminal summonses from         ;OL5@7+LɈLJ[LK95% fewer arrests for marijuana since 2010.
                          2010 to 2019.




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        This plan represents our commitment to providing the highest-quality
        police services and to keeping an open dialogue with our communities.
        Over the next few months, as part of the police reform and reinvention
        collaborative, we will continue to work with, educate, and actively listen to
        you, our partners and stakeholders, on the role of NYPD in your community.
        At the conclusion of that process, the City will publish a Police Reform and
        Reinvention Collaborative Plan that will further outline our commitments to
        the people we serve.

        This plan incorporates three main focus areas, which will lead the NYPD into
        the next era of policing.




         Encompasses all we do to keep New Yorkers safe, but also emphasizes
         strengthening our partnerships with communities to control gun violence and
         share information in new ways. This goal includes leveraging technology to
         improve the Department’s response to violent crime.




         Highlights our commitment to the physical and mental wellbeing and general
         job satisfaction of NYPD personnel. It includes a number of initiatives to
         improve Department programs and to promote inclusion, respect, and
         transparency for NYPD employees.




         Describes how the NYPD will double down on our commitment to
         providing superior customer service both internally and externally, increase
         transparency of information, and strengthen the trust that is essential to
         successful policing and crime prevention.




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                     To counter steep increases in both murders and shootings in the summer of
                     2020, in addition to redeploying resources and real-time crime analysis, the
                     5@7+^PSSYLKV\ISLP[ZLɈVY[Z[VJVSSHIVYH[L^P[OJVTT\UP[`TLTILYZMVY
                     a safer city. The plan expands the Neighborhood Policing approach with an
                     PU[LUZPÄLKMVJ\ZVUYLHJOPUNHUKOLSWPUN`V\UNWLVWSL6ɉJLYZZLY]PUNPU
                     [OLUL^[P[SLVM@V\[O*VVYKPUH[PVU6ɉJLY@*6^PSS^VYRZLHTSLZZS`^P[O
                     5LPNOIVYOVVK*VVYKPUH[PVU6ɉJLYZ5*6ZHUKV[OLY*P[`HNLUJPLZ[VWYL]LU[
                     young New Yorkers from being led on a downward trajectory of crime, and
                     work towards our common goal of keeping all kids safe.

                     The Department will further support Neighborhood Policing by expanding the
                     digital platform used to manage and direct responses to local problems that
                     YLX\PYLWVSPJLH[[LU[PVU>L^PSS[HYNL[ZOVV[PUNZ[OYV\NOJVVWLYH[P]LLɈVY[Z
                     with community partners, collect information on how communities feel about
                     their experiences with the police, keep neighborhoods better informed about
                     police actions, and invite the public to participate in educating our members
                     and sharing their experiences.




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                     (ZZLZZHUKPTWYV]LOV^^LHSSVJH[L^VYRMVYJLHUK 
                       policing resources
                     +L]LSVW+LWHY[TLU[^PKLZ[YH[LNPLZ^P[OJVTT\UP[` 
                     WHY[ULYZ[VJVTIH[N\U]PVSLUJL
                     ,_WHUKV\YJHWHIPSP[PLZ[OYV\NO[OL\ZLVMJ\[[PUNLKNL
                     WVSPJPUN[LJOUVSVNPLZ




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     )\PSK\WVU[OLZ\ccLZZLZVM5LPNOIVYOVVK7VSPJPUN
     Key Activity                                                                      Year*


     Expand Neighborhood Policing digital platform to enable                           2020
     VɉJLYZ[VIL[[LYJVSSHIVYH[LPU[LYUHSS`HUKJVUULJ[^P[O[OL
     community.

     Re-establish the Civilian Commendation Award to recognize                         2021
     members of the public for providing valuable assistance to
     the members of the NYPD.

     Establish a working group to regularly review Neighborhood                        2020
     Policing policies and procedures.

     Track the level of trust in police through community surveys                      2020
     and share the results publicly.
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                                                                                               The Neighborhood Policing Application allows Neighborhood Coordination
                                                                                               6ɉJLYZ5*6ZHUK7YLJPUJ[:LJ[VY6ɉJLYZ[VIL[[LY[YHJRTHUHNLHUK
                                                                                               respond to neighborhood concerns, as well as manage the connections
                                                                                               made with the neighborhoods’ residents and other stakeholders.




                                                                                                               NYC Police Reform and Reinvention Collaborative Draft Plan   137
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                         (ZZLZZHUKPTWYV]LOV^^LHSSVJH[L^VYRMVYJLHUKWVSPJPUNYLZV\YJLZ                                                                     Options                    Dashboard               List Members
                                                                                                                                                                                                 PBSI
                                                                                                                                                                                       Present, Uniform Only
                         Key Activity                                                                      Year*


                         Further centralize crime analysis functions to better identify                    2021
                         HUKLUNHNL^P[OYLWLH[VɈLUKLYZ

                         Work with other City agencies and community partners to                           2020
                         transition non-enforcement activities out of NYPD to ensure                                                                              0            10           20               30          40     50



                         VWLYH[PVUHSYLZV\YJLZHYLTVZ[LɈLJ[P]LS`KLWSV`LK[V
                                                                                                                                                                  Patrol




                         protect our City.                                                                                                                        Administrative




                                                                                                                                                                  Not Assigned
                                                                                                                               Attendance

                         Continue to leverage technology to enhance workforce                              2020
                         management and resource deployment.                                                                                                                   PO        SGT            LT        CAP+
                                                                                                                                                                           “CAP+” Captain or Above (e.g. Uniformed Executive)
                                                                                                                                                                           “PO” Includes detectives.




                         Evaluate the Department’s recent response to and develop                          2020
                         a plan to provide comprehensive training around mass
                         demonstrations.                                                                           The Roll Call Application is a highly-innovative internal-facing
                                                                                                                   technological policing tool that provides up-to–the-minute live counts
                        @LHYKLUV[LZ^OLU[OL5@7+^PSSILNPUMVJ\ZPUNV\YLɈVY[ZVU[OLRL`HJ[P]P[`           of all available on-duty uniformed members of the service assigned to
                                                                                                                   commands. First piloted in Staten Island and then rolled out citywide, the
                                                                                                                   application was conceived, crafted, and implemented as a way to deploy
                                                                                                                   H]HPSHISLYLZV\YJLZPU[OLTVZ[LɉJPLU[THUULYWVZZPISLIVSZ[LYPUN[OL
                                                                                                                   NYPD’s commitment to providing better policing services for the people
                                                                                                                   of this City.




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     JVTIH[N\U]PVSLUJL                                                                      WVSPJPUN[LJOUVSVNPLZ
     Key Activity                                                                      Year*   Key Activity                                                                       Year*


     ,_WHUK[OL*LHZLÄYLWYVNYHTH]PVSLUJLPU[LY]LU[PVU                             2021    Expand gunshot detection systems and other proactive                              2021
     strategy focused on the individuals who are disproportionately                            technologies in areas that have historically high levels of
     responsible for the majority of violence within their community.                          gun violence.

     Share data and work with our community partners to                                2021    Leverage data to identify crime patterns and trends to increase                   2021
     proactively identify high-risk individuals for intervention to                            [OLLɉJHJ`VMWVSPJLHJ[PVUZ[OYV\NO7YLJPZPVU7VSPJPUN
     avoid becoming victims of gun violence.
                                                                                               Continue the installation of new security cameras to deter and                    2021
     Expand the NYPD CompStat platform to include regular                              2021    prevent hate crimes.
     strategy meetings with law enforcement partners to share
     information and resources to reduce gun violence.

     Create a multi-agency intelligence team to focus on the                           2020
     people and groups that are most responsible for gun violence.
                                                                                                                               The Department has recently made available multiple user-
    @LHYKLUV[LZ^OLU[OL5@7+^PSSILNPUMVJ\ZPUNV\YLɈVY[ZVU[OLRL`HJ[P]P[`
                                                                                                                               friendly dashboards -with more on the way- that will allow the
                                                                                                                               public to view our information in new and interactive way.




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                     Our members are the Department’s most important resource. Their work can
                     be extremely stressful, and the COVID-19 pandemic has only added to that
                     stress. So, too, has the uncertainty of community support for their mission.
                     The plan seeks to identify and serve the current needs of the NYPD workforce
                     in areas such as health and wellness, training, career paths and opportunities,
                     working conditions, and general fairness in promotions, transfers, and discipline,
                     while also providing help and support to employees and their families as the
                     Department does its part to prevent the spread of the virus.

                     In 2019, the Department faced a mental health crisis when ten members
                     took their own lives. We immediately responded by adding outreach and
                     service programs to support our people, including the addition of in-house
                     psychological services and the Finest Care program, a collaboration with
                     5L^@VYR7YLZI`[LYPHU/VZWP[HS^OLYLTLTILYZJHUZLLRJVUÄKLU[PHS
                     independent counseling services at no cost to them. The NYPD strives to
                     reduce the stigma and fear associated with mental health and to encourage
                     our members to seek help through the Department’s medical and peer support
                     programs if needed.




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                    TH_PTPaLTLU[HSLTV[PVUHSHUKWO`ZPJHSOLHS[O
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     LTV[PVUHSHUKWO`ZPJHSOLHS[O
     Key Activity                                                                      Year*


     Improve the accessibility of mental and emotional health                          2020
     services.

     Expand our internal peer support network.                                         2020

     Provide services to improve the physical health of our                            2020
     LTWSV`LLZPUJS\KPUNÄ[ULZZHUKU\[YP[PVUHSYLZV\YJLZ

     Launch a Telemedicine program for uniformed members to discuss                    2020
     Ä[ULZZMVYK\[`Z[H[\Z^P[OTLKPJHSWYVMLZZPVUHSZYLTV[LS`

     Develop recommendations to streamline and improve                                 2021
     Medical Division policies and procedures.                                                 The NYPD has trained almost 400 members of the service that volunteered
                                                                                               [VWYV]PKLJVUÄKLU[PHSPUMVYTHSZ\WWVY[HUKN\PKHUJL[V[OLPYMLSSV^ÄYZ[
     Improve scheduled leave policies for uniformed members of                         2021    responders. The Peer Support members share information on mental and
     the service.                                                                              WO`ZPJHSOLHS[OTLU[HSPSSULZZZ\PJPKLWYL]LU[PVU[VVSZ[VÄNO[[OLZ[PNTH
                                                                                               associated with seeking help, how to maintain resilience, and other health-
                                                                                               related information. Any member of the service can speak to a peer support
     Evaluate the implementation of a compressed work week,                            2021    member in their command or through a new internal Health & Wellness App.
     including ten-hour tours.

     6ɈLYÄUHUJPHSYL[PYLTLU[HUKJHYLLYWSHUUPUNZLY]PJLZ[V                       2021
     support employees.

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                                                                                                                 NYC Police Reform and Reinvention Collaborative Draft Plan     141
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                         7YVTV[LPUJS\ZPVUYLZWLJ[HUK[YHUZWHYLUJ`MVY5@7+LTWSV`LLZ
                         Key Activity                                                                      Year*


                         Collaborate with employees to develop policies and                                2020
                         mechanisms that build and support an equitable and
                         inclusive work environment.

                         Formalize an employee feedback program to allow the sharing                       2020
                         of ideas, comments, and concerns.

                         Centralize our internal communications to provide clear and                       2020
                         coordinated information to our members.

                         Develop clear and accessible communication materials about                        2020
                         the disciplinary process.

                         7YV]PKLV\YVɉJLYZ^P[OZ[YH[LNPLZ[VHJ[P]LS`PU[LY]LULHUK                     2021    0U1\UL[OL7VSPJL*VTTPZZPVULYHUUV\UJLK[OH[[OL6ɉJLVM,X\P[` 
                         to foster a culture that supports them in doing so.                                       0UJS\ZPVU6,0^V\SKJVU]LULKPZJ\ZZPVUMVY\TZMVYLTWSV`LLZ[VZOHYL[OLPY
                                                                                                                   experiences and views on race and law enforcement, and social justice.
                        @LHYKLUV[LZ^OLU[OL5@7+^PSSILNPUMVJ\ZPUNV\YLɈVY[ZVU[OLRL`HJ[P]P[`
                                                                                                                   Led by OEI, the virtual discussions have covered various topics including
                                                                                                                   racial identity, systemic racism, diversity, acceptance, leadership, and
                                                                                                                   obstacles to equity in both the Department and society in general.

                                                                                                                   Many of the themes throughout the course of these discussions have included
                                                                                                                   ideas on how to create a more inclusive and equitable Department. These
                                                                                                                   ideas will generate recommendations for the Department moving forward.




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     Key Activity                                                                      Year*   Key Activity                                                     Year*


     Conduct a training needs assessment to address the evolving                       2021    Develop a plan for a more robust employee recognition program.   2021
     community and policing environment.
                                                                                               Continue improvement of the onboarding experience for            2020
     Update and streamline the Department Manual for clarity                           2021    civilian employees.
     and readability.
                                                                                               Evaluate the Department’s discretionary promotion process.       2021
     Centralize training management to streamline remote and                           2020
     distance-learning opportunities.                                                          Evaluate our civilian advancement process.                       2020

     Develop a Pre-Commanders Course for uniformed executive                           2021    Identify opportunities to improve mentorship and orientation     2021
     Z[HɈPUWYLWHYH[PVUMVYJVTTHUKSLHKLYZOPWHUKL_WHUKLK                                  practices.
     collaboration with the community.

     Develop a Civilian Managers Course to build leadership skills                     2021
     and set management expectations.

     ,UOHUJL[OL+LWHY[TLU[»ZLɈVY[Z[VPKLU[PM`LTWSV`LLZ[OH[                       2021
     may be in need of non-disciplinary interventions, including
     training, mentoring, monitoring, or reassignment.

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                     *VTT\UP[`[Y\Z[PZLZZLU[PHS[VLɈLJ[P]LWVSPJL^VYRHUK[OL5@7+PZKLKPJH[LK
                     to building that trust with all communities. At our core, the members of the NYPD
                     work to provide quality police service to the public and we are committed to
                     continuous improvements in collaborating with our partners. To that end, the
                     Department is developing a comprehensive customer service feedback process
                     that will allow us to constantly re-evaluate the service we provide. This feedback,
                     coupled with policy input from community members, will ensure that the NYPD
                     is connecting New Yorkers with the services they need. The Department’s Youth
                     :[YH[LN`^P[O[OL@V\[O*VVYKPUH[PVU6ɉJLY@*6HZ[OLJVYULYZ[VUL^PSS^VYR
                     with our community partners to identify programs and services for young people
                     and help them pursue a path to opportunities to reach their full potential. This
                     approach draws on talented, committed NYPD personnel, and their cumulative
                     L_WLYPLUJL^P[O`V\UNWLVWSL[VTHRLHSHZ[PUNHUKWVZP[P]LKPɈLYLUJLPU[OLPY
                     lives. Most importantly, the NYPD remains committed to improving transparency
                     on data and policies, including the discipline process, providing the public
                     with better insight into Department practices, and increasing trust between our
                     VɉJLYZHUK[OLJVTT\UP[PLZ[OL`ZLY]L


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                    ULLKZVM5@*HUKMVZ[LYW\ISPJJVUÄKLUJL
                    9LPTHNPUL[OL^H`[OL+LWHY[TLU[WYV]PKLZ                                   
                    J\Z[VTLYZLY]PJLIV[OPU[LYUHSS`HUKL_[LYUHSS`
                    )LTVYL[YHUZWHYLU[PU[OL+LWHY[TLU[»ZKPZJPWSPUHY` 
                      processes




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     0TWSLTLU[[OL+LWHY[TLU[»Z@V\[O:[YH[LN`
     Key Activity                                                                      Year*


     Onboard YCOs that will work with at-risk youth, assist youth                      2020
     crime victims, and collaborate with internal and external
     partners to ensure service accessibility for youth.

     Develop tools to track and share information about available                      2020
     youth services and programs.

     Expand the use of virtual reality technology to teach youth                       2020
     better decision-making skills.
                                                                                               The NYPD has renewed its commitment to proactively          the community. This new structure will increase the
     3H\UJO@V\[O:[H[HZHJVSSHIVYH[P]LLɈVY[^P[OV[OLYJP[`                        2020    reach young people at risk of engaging in criminal          U\TILYVMVɉJLYZZVSLS`KLKPJH[LK[VOLSWPUN`V\UN
     partners to keep young people safe.                                                       activity before they do so. As an initial step, we          people. The ultimate goal is to keep every child in
                                                                                               are reshaping the roles of many NYPD personnel              the City safe and on track. As an all-encompassing
                                                                                               ^OVMVJ\ZL_JS\ZP]LS`VU`V\UNWLVWSLLN@V\[O         strategy, certain physical spaces have been carefully
     Re-structure the Juvenile Crime Desk to better coordinate                         2020    6ɉJLYZ<UPMVYTLK;HZR-VYJLHUK[OL1\]LUPSL             designed by the Department to minimize the exposure
     interagency information sharing                                                           9VIILY`0U[LY]LU[PVU7YVNYHT;OLZLWVZP[PVUZ             of youth to the criminal justice system, and to mitigate
                                                                                               have been incorporated into a new role, the Youth           the stresses that may come with being in a precinct.
                                                                                               *VVYKPUH[PVU6ɉJLY@*6^OPJOPZ]LY`ZPTPSHY[V         Precinct Juvenile Rooms throughout the Department
     Re-envision the Juvenile Rooms as opportunities to connect                        2020    [OL5LPNOIVYOVVK*VVYKPUH[PVU6ɉJLY5*6TVKLS            ^PSSILL]HS\H[LKHUKYLTVKLSLK[VÄ[IV[OSLNHSHUK
     youth with social services.                                                               but is focused exclusively on protecting and serving        Department standards. This includes, for example,
                                                                                               children. YCOs will serve a central role in each precinct   installing technology in each Juvenile Room that will
     Liaise with external partners to activate underutilized indoor                            HUK7VSPJL:LY]PJL(YLH7:(6ULVM[OLPYWYPTHY`        connect the youth, via video application, directly
                                                                                       2021    functions will be to gain a full understanding of the       [VJVTT\UP[`IHZLKZLY]PJLZLNTLU[HSOLHS[O
     and outdoor spaces for young people.                                                      local risks and needs of all young people in their          JV\UZLSVYZL[J(SZVLHJOYLZWLJ[P]LIVYV\NOJV\Y[
                                                                                               commands, not only identifying crime trends involving       location will designate an appropriate juvenile lodging
    @LHYKLUV[LZ^OLU[OL5@7+^PSSILNPUMVJ\ZPUNV\YLɈVY[ZVU[OLRL`HJ[P]P[`           young people, but also focusing on engaging and             area to expedite the arraignment process for juvenile
                                                                                               connecting them to resources and opportunities in           VɈLUKLYZRUV^UHZ*V\Y[1\]LUPSL9VVTZ




                                                                                                                                  NYC Police Reform and Reinvention Collaborative Draft Plan                          145
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                         ,UZ\YL[OL5@7+JVU[PU\LZ[VL]VS]L[VTLL[[OLULLKZVM5@*HUK
                         MVZ[LYW\ISPJJVUÄKLUJL
                         Key Activity                                                                      Year*


                         Develop a community input mechanism for Department                                2020
                         policies and initiatives to increase the NYPD’s understanding of
                         community priorities.

                         7YV]PKLVɉJLYZ^P[OUL^WVSPJPLZHUK[YHPUPUNVU]PHISL\ZLVM                   2020
                         force alternatives and tactics, and ensure any use of force is
                         reasonable and necessary.

                         Assess the Department’s handling of sexual assault cases                          2020
                         through a survivor-focused lens.                                                          As part of the East New York Neighborhood Plan, the NYPD worked with
                                                                                                                   SVJHSSLHKLYZ[VJYLH[L[OLÄYZ[5@7+T\S[PW\YWVZL@V\[O*VTT\UP[`*LU[LY
                         Create learning opportunities for community members on police                     2020    for young people aged 12-19 at 127 Pennsylvania Avenue in Brooklyn.
                         TL[OVKZH[V\Y1VPU[;HJ[PJHS;YHPUPUN*LU[LYZ1;;*                                    The NYPD’s goal in opening this center was to embody the philosophy of
                                                                                                                   Neighborhood Policing by building stronger community connections. The
                                                                                                                   building, renovated by our Facilities Management Division, features a large
                         Find ways to incorporate community members into the instruction                   2021    classroom, a gym, a multi-media space, a counseling room, and a clubhouse
                         of classes or panel discussions at the Police Academy.                                    to provide educational opportunities for youth. The Center melds the historical
                                                                                                                   and aesthetic features of the existing structure with modern updates like
                         Leverage graduates of the Citizens Police Academy to assist in                    2021    a state-of-the-art computer lab, smartboards in classrooms, and a music
                                                                                                                   studio. The Child Center of NY, Inc. together with community and police
                         developing crime prevention strategies to better serve the needs                          partners, conduct programming in basketball, boxing, dance classes, digital
                         of the community.                                                                         media skills development, and general tutoring. Community Board 5 is also
                                                                                                                   co-located in the building and will, along with other community leaders,
                         Make crime and enforcement data and reports more transparent                      2020    participate in a Community Outreach Committee to encourage make 127
                         and accessible, including the addition of hate crimes in the                              Pennsylvania Avenue a safe, social hub for the residents of East New York.
                         CompStat report.

                        @LHYKLUV[LZ^OLU[OL5@7+^PSSILNPUMVJ\ZPUNV\YLɈVY[ZVU[OLRL`HJ[P]P[`




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     9LPTHNPUL[OL^H`[OL+LWHY[TLU[WYV]PKLZJ\Z[VTLYZLY]PJLIV[O
     PU[LYUHSS`HUKL_[LYUHSS`
     Key Activity                                                                      Year*


     Create accountability for and ensure our employees have the                       2021
     tools they need to deliver superior service.

     Revise policies and practices to focus on superior service.                       2020

     Develop a comprehensive customer service feedback process.                        2020

     Enhance CompStat to measure progress towards building                             2020
     trust and community partnerships.

     Re-evaluate our meetings at the neighborhood and district                         2021
     levels to ensure our communities have the appropriate venues
     to communicate feedback and concerns.

    @LHYKLUV[LZ^OLU[OL5@7+^PSSILNPUMVJ\ZPUNV\YLɈVY[ZVU[OLRL`HJ[P]P[`

                                                                                               Customer Service Feedback
                                                                                               In September 2020, the Department launched a Customer Service Feedback
                                                                                               Survey pilot program in the 25th and 113th precincts as part of our ongoing
                                                                                               LɈVY[Z[VJVUULJ[^P[O[OLWLVWSL^LZLY]L;OLPUMVYTH[PVUJVSSLJ[LKPU
                                                                                               the survey will help us continue to provide superior customer service to
                                                                                               our communities.




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                         )LTVYL[YHUZWHYLU[PU[OL+LWHY[TLU[»ZKPZJPWSPUHY`WYVJLZZLZ
                         Key Activity                                                                      Year*


                         Enhance regular disciplinary reporting to the public, including                   2021
                         posting discipline records online.

                         Expedite the disciplinary adjudication process.                                   2020

                         Increase transparency of the disciplinary process by creating                     2020
                         and publishing a matrix of presumptive penalties.

                         Appoint a Civilian Liaison to provide family members with                         2020
                         information, including the status of any disciplinary
                         proceedings, after use of force and other critical incidents.

                         Conduct a periodic audit of discipline procedures with an                         2021
                         external entity.                                                                          The NYPD is committed to a fair and transparent discipline process. That
                                                                                                                   is why in September of 2020, the Department released a comprehensive
                                                                                                                   Discipline Matrix. The Discipline Matrix gives an overview of the goals of
                        @LHYKLUV[LZ^OLU[OL5@7+^PSSILNPUMVJ\ZPUNV\YLɈVY[ZVU[OLRL`HJ[P]P[`           PU[LYUHSKPZJPWSPULKLÄULZ[OLWYLZ\TW[P]LWLUHS[PLZMVYZWLJPÄJHJ[ZVM
                                                                                                                   Z\IZ[HU[PH[LKTPZJVUK\J[I`VɉJLYZHUKV\[SPULZWV[LU[PHSHNNYH]H[PUN
                                                                                                                   and mitigating factors that may be considered when assessing a
                                                                                                                   disciplinary penalty.
                                                                                                                   In addition to increased transparency, the Discipline Matrix fosters building
                                                                                                                   bridges between the NYPD and the public by soliciting public feedback on
                                                                                                                   its contents. This feedback will be collected, aggregated, and evaluated for
                                                                                                                   inclusion into the Discipline Matrix.




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 Police Commissioner Dermot Shea
 First Deputy Commissioner Benjamin Tucker
 Chief of Department Terence Monahan
 &KLHIRI6WDĳVincent Grippo

 DEPUTY COMMISSIONERS                              CHIEFS
 William W. Andrews, Executive Communications      David P. Barrere, Housing
 John P. Beirne, Labor Relations                   Edward Delatorre, Transit
 Richard J. Esposito, Public Information           Thomas Galati, Intelligence
 Matthew C. Fraser, Information Technology         Rodney Harrison, Detectives
 Robert L. Ganley, Employee Relations              Nilda Irizarry Hofmann, Transportation
 Ernest F. Hart, Legal Matters                     Juanita N. Holmes, Collaborative Policing
 Amy Litwin, Department Advocate                   Donna G. Jones, Criminal Justice
 Rosemarie Maldonado, Trials                       Eli J. Kleinman, MD, MPH, Supervising Chief Surgeon
 Robert S. Martinez, Support Services              Michael Lipetri, Crime Control Strategies
 Tanya Meisenholder, Equity and Inclusion          -HσUH\0DGGUH\&RPPXQLW\$ĳDLUV
 John J. Miller, Intelligence & Counterterrorism   Martine Materasso, Counterterrorism
 Chauncey Parker, Community Partnerships           Martin Morales, Personnel
 Danielle M. Pemberton, Strategic Initiatives      Fausto B. Pichardo, Patrol Services
 Joseph J. Reznick,,QWHUQDO$ĳDLUV                Raymond Spinella, Operations
 Kristine M. Ryan, Management and Budget           Harry Wedin, Special Operations
 -HσUH\6FKODQJHU, Risk Management




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Appendices

Appendix I                                                         Appendix IX
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Appendix II                                                        Enforcement (ABLE) Project Fact Sheet
NYC Executive Order No. 203                                        Appendix X
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NYPD Discipline Matrix                                             Appendix XI
Appendix IV                                                        NYPD Digital Recruitment Campaign
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Memorandum of Understanding                                        NYPD Allocation Ethnic Rank Report
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October 2020




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Appendix IX



                                                                   Active Bystandership for
                                                                Law Enforcement (ABLE) Project
                                                                                    FACT SHEET


                                                     Executive Summary

                                                     Georgetown University Law Center’s Innovative Policing Program, in
                                                     collaLoration wit gloLal law wrm - e««ar` Õllin LLP, create` t e
                                                     Ƃctive ystan`ers i« vor Law nvorcement ­Ƃ L ® Proect, to serve as
                                                     a national ÕL vor active Lystan`er sc olars i«, training, an` tec nical
                                                     assistance.

              Christy Lopez                          • ABLE teaches a practical skill. Ƃ L training «rovi`es «ractical active
     Provessor, Georgetown Law Center                  Lystan`ers i« strategies an` tactics to «revent miscon`Õct, re`Õce
   Co irector, Innovative Policing Program            ovwcer mistaes, an` «romote ealt an` wellness. Ƃ L gives ovwcers
                                                       t e tools t ey nee` to overcome t e «owervÕl in iLitors to intervene
               Rosa Brooks                             in another’s actions.
     Provessor, Georgetown Law Center
   Co irector, Innovative Policing Program          • ABLE requires agency commitment. Ƃ L training cÕrrently is
                                                       «rovi`e` «rimarily throÕgh a /rain/he/rainer ­///® «rogram. /o Le
             Jonathan Aronie                           consi`ere` vor the /// «rogram, law envorcement agencies mÕst
        Partner, -he««ar` Õllin LLP                   commit to £ä Ƃ L -tan`ar`s an` sÕLmit voÕr letters ov sÕ««ort q
    Chair, Ƃ L Proect oar` ov Ƃ`visors                one vrom the agency hea` ­e.g., ChievÉ-herivv®, one vrom the locality
                                                       hea` ­e.g., ayorÉCoÕnty ÝecÕtive®, an` two vrom commÕnity groÕ«s
                                                       voÕching vor the agency’s commitment to Ƃ L . /hese -tan`ar`s are
                                                       meant to ensÕre that Ƃ L training is evvective at «reventing harm an`
                                                       changing cÕltÕre.

                                                     • ABLE is evidence-based. /he Ƃ L Proect is ÕniµÕe in how carevÕlly
                                                       the training is LÕilt Õ«on `eca`es ov research, wel` stÕ`ies, an` on
                                                       thegroÕn` eÝ«erience. 7hen Lase` on soÕn` research, active
                                                       Lystan`ershi« wors an` can Le taÕght.

                                                     • ABLE is widely supported. "vwcers, `e«artments, civil rightsÉsocial
                                                       Õstice groÕ«s, an` memLers ov the commÕnity emLrace Ƃ L .
                                                       Law nvorcement agencies that have ma`e «ÕLlic commitments to
                                                       Ƃ L inclÕ`e the ew "rleans Police e«artment, the Phila`el«hia
                                                       Police e«artment, the 7ashington -tate Criminal Õstice /raining
                                                       Commission, the orthern 6irginia Criminal Õstice /raining Ƃca`emy,
                                                       the ew am«shire Police -tan`ar`s an` /raining CoÕncil, the
                                                       Clemson University Police e«artment, the 7ilmington orth Carolina
                                                       Police e«artment, an` many others.

                                                     • ABLE is not a reporting program. Ƃ L is not a `isci«linary «rogram or a
                                                       re«orting «rogram. Iv an action is re«ortaLle Levore the im«lementation
                                                       ov Ƃ L , it remains re«ortaLle avter the im«lementation ov Ƃ L . Ƃ L
                                                       sim«ly teaches ovwcers a new sill q a Letter way to `o something many
                                                       want to `o anyway q an` sees to «romote a `e«artmental cÕltÕre
                                                       where the Õse ov that sill is encoÕrage`, acce«te`, an` even rewar`e`.

                   1.




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                                                     • ABLE is tested. /he Ƃ L Proect is voÕn`e` Õ«on the scholarshi«
                                                       an` research ov r. rvin -taÕL, «rovessor emeritÕs, U. ass. Ƃmherst.
                                                         r. -taÕL wore` han` in han` with other eÝ«erts an` the men
                                                       an` women ov the ew "rleans Police e«artment to `evelo« the
                                                       coÕntry’s wrst `e«artmentwi`e «eer intervention «rogram, calle` PIC
                                                       ­ thical Policing Is CoÕrageoÕs®. PIC has Leen in Õse sÕccessvÕlly in
                                                         ew "rleans since Óä£È.

                                                     • ABLE is adaptable. o matter what «olicing or «olice `e«artments
                                                       loo lie tomorrow, we still will nee` active Lystan`ershi« training.


                                                     The ABLE Project Mission

                                                     /he mission ov the Ƃ L Proect is sim«le an` straightvorwar`.

                                                     U nsÕre every «olice ovwcer in the Unite` -tates has the o««ortÕnity to
                                                      receive meaningvÕl, evvective active Lystan`ershi« training.

                                                     U Pro`Õce an` serve as a clearinghoÕse vor thoÕghtvÕl an` soÕn` training
                                                       materials, inclÕ`ing cÕrricÕla, lesson «lans, «resentation materials, an`
                                                       teacher’s ai`es.

                                                     U Provi`e gÕi`ance to «olice agencies an` commÕnities that want to
                                                       `evelo« meaningvÕl active Lystan`ershi« «rograms an` LÕil` the
                                                       cÕltÕres that sÕstain them.

                                                     U staLlish stan`ar`s an` Lenchmars vor evvective active Lystan`ershi«
                                                      «rograms.

                                                     U -erve as a hÕL to connect Ƃ L «artners agencies, commÕnity groÕ«s,
                                                       an` other organiâations across the U.-.


                                                     ABLE Project Programs

                                                     /he Ƃ L Proect ovvers `ivverent active Lystan`ershi« «rograms vor law
                                                     envorcement agencies ov all siâes.

                                                     • ABLE Train-The-Trainer Events. Ƃ L /rain/he/rainer events are
                                                       ovvere` vree ov charge to agencies willing to commit to the £ä Ƃ L
                                                       -tan`ar`s availaLle at www.law.georgetown.e`ÕÉIPPÉƂ L . Intereste`
                                                       agencies mÕst sÕLmit "U, letters ov sÕ««ort in conÕnction with their
                                                       a««lications\ "ne letter vrom the agency hea` ­chievÉsherivvÉ`irector®
                                                       one letter vrom the locality hea` ­mayorÉcoÕnty eÝecÕtiveÉgovernor®,
                                                       an` two letters vrom commÕnity groÕ«s voÕching vor the agencies
                                                       sincerity in im«lementing Ƃ L .

                                                     • ABLE Academy/POST-Focused Train-The-Trainer Events. /he Ƃ L
                                                       Proect is woring with a nÕmLer ov statewi`e an` regional aca`emies
                                                       an` stan`ar`ssetting agencies to ovver `e`icate` /rain/he/rainer
                                                       events vor those organiâations.
                  2.




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                                            • ABLE Overview Programs. /he Ƃ L Proect vrom time to time
                                              hol`s ºvirtÕal o«en hoÕses» to «rovi`e more invormation aLoÕt
                                              active Lystan`ershi« generally an` the Ƃ L Proect in «articÕlar.
                                              /he wrst "«en oÕse was hel` in Õly ÓäÓä, an` is availaLle vor vree
                                              `ownloa` at htt«s\ÉÉwww.yoÕtÕLe.comÉ«laylist¶listrPLÓ+PPg<ÈÎv
                                              {äiGv6Ƃ/7{ <aiµaG£x.

                                            • Implementation Work Shops. Ƃ L «artici«ants will Le invite` to
                                              «artici«ate in vree, `e`icate` online worsho«s. /hese worsho«s will
                                              «rovi`e im«lementation sÕ««ort vor agencies acce«te` into the Ƃ L
                                              Proect.

                                            • Command Staff “Lunch & Learns.” U«on reµÕest an` sÕLect to
                                              availaLility, the Ƃ L Proect ovvers vree virtÕal overview «rograms to
                                              law envorcement agencies looing to «artici«ate in the Ƃ L Proect.

                                            • Complementary Programs. /he ew "rleans Police e«artment, in
                                              «artnershi« with Loyola University ew "rleans Law -chool, hol`s an
                                              annÕal ÝecÕtive Lea`ershi« Converence vocÕsing on «eer intervention.
                                              ore invormation aLoÕt the PIC converence can Le voÕn` at htt«s\ÉÉ
                                              e«ic.nola.gov. 7hile this is not an Ƃ L s«onsore` «rogram, it is an
                                              eÝcellent com«lement to the Ƃ L Proect.


                                            How We Know Active Bystandership Training Works

                                            7hile it is har` to µÕantivy the sÕccess ov active Lystan`ershi« training
                                            LecaÕse, in most cases, when it wors, nothing ha««ens, we have strong
                                            evi`ence it is evvective.

                                            U     r. rvin -taÕL an` other scholars have stÕ`ie` active Lystan`ershi«
                                                vor `eca`es. /heir research conwrms the sills necessary to intervene
                                                sÕccessvÕlly can Le taÕght an` learne`.

                                            U     r. -taÕL an` others have con`Õcte` eÝtensive wel` eÝ«eriments
                                                that show the inhibitors to an intervention can be overcome even in
                                                hierarchical environments.

                                            U "ther national «roblems have been sÕccessvÕlly mitigate` Õsing active
                                              bystan`ershi« techniµÕes, inclÕ`ing `rÕn `riving, mistaes in sÕrgery,
                                              «ilot errors, an` seÝÕal assaÕlts on cam«Õs.

                                            U /he onthegroÕn` eÝ«erience ov the ew "rleans Police e«artment
                                              evi`ences the sÕccess ov the Ƃ L «rinci«les. /he "P `evelo«e`
                                              an` im«lemente` a sÕccessvÕl bystan`ershi« «rogram calle` PIC
                                              ­ thical Policing Is CoÕrageoÕs® in ew "rleans in Óä£x, mÕch ov which
                                              serve` as the voÕn`ation vor the Ƃ L Proect.

                                            U Ƃ sÕrvey ov «olice ovwcers in ew "rleans showe` ovwcers who have
                                              gone throÕgh PIC training «erceive themselves as being more liely
                                              to intervene in another ovwcer’s actions.


         3.




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                                                     ABLE History

                                                     /he Ƃ L Proect was laÕnche` in arch ÓäÓä, bÕt is bÕilt Õ«on `eca`es
                                                     ov research, wel` stÕ`ies, an` onthegroÕn` eÝ«erience.

                                                     U     r. rvin -taÕb, Provessor meritÕs at the University ov assachÕsetts
                                                         an` the voÕn`er ov the Psychology ov Peace an` 6iolence Program, has
                                                         stÕ`ie` active an` «assive bystan`ershi« vor `eca`es. ollowing the
                                                         ,o`ney ing beating, r. -taÕb was engage` by the LƂP to create
                                                         active bystan`er training vor LƂP ovwcers.

                                                     U /he Óä£Ó ew "rleans Consent ecree incor«orate` a reµÕirement
                                                       that "P teach «eer intervention to its ovwcers.

                                                     U In Óä£{ civil rights lawyer ary owell, social activist /e` +Õant,
                                                       «sychologist r. oel vosin an` others «ro«ose` incor«orating an
                                                       active bystan`ershi« training recommen`ation in the Presi`ent’s /as
                                                       orce on Ó£st CentÕry Policing ,e«ort.

                                                     U In Óä£{ an` Óä£x, the ew "rleans Police e«artment wore` with r.
                                                       -taÕb, r. vosin, commÕnity members, an` other eÝ«erts to `evelo«
                                                       the coÕntry’s wrst `e«artmentwi`e active bystan`ershi« «rogram,
                                                       calle` PIC ­ thical Policing Is CoÕrageoÕs®.

                                                     U /he «Õsh to `evelo« PIC came vrom "P ran an` wle ovwcers,
                                                       woring closely with e«artment lea`ershi« an` commÕnity members,
                                                       looing vor a way to «rotect the «Õblic an` save careers at the same
                                                       time.

                                                     U In arch ÓäÓä, vollowing the tragic illing ov George loy`,
                                                       Georgetown University Law Center’s Innovative Policing Program, in
                                                       collaboration with global law wrm -he««ar` Õllin LLP, create` the
                                                       Ƃctive ystan`ershi« vor Law nvorcement ­Ƃ L ® Proect to serve as
                                                       a national hÕb vor active bystan`er scholarshi«, training, an` technical
                                                       assistance. /he Ƃctive ystan`ershi« vor Law nvorcement ­Ƃ L ®
                                                       Proect is hoÕse` within Georgetown’s eÝisting Innovative Policing
                                                       Program, le` by Provessors Christy Lo«eâ an` ,osa roos. /he creators
                                                       ov the ew "rleans PIC «rogram remain signiwcantly involve` in the
                                                       Ƃ L Proect.

                                                     U In -e«tember ÓäÓä, the Ƃ L Proect began woring with the  I
                                                         ational Ƃca`emy ­ Ƃ®, the coÕntry’s «remier e`Õcation «rogram vor
                                                       law envorcement eÝecÕtives, to bring the Ƃ L Proect to even more
                                                       agencies an` commÕnities across the coÕntry. Ƃmong other things,
                                                       the  I Ƃ will incor«orate active bystan`ershi« training taÕght by
                                                       Ƃ L certiwe` «rovessional Ƃ instrÕctors vor all Ƃ atten`ees an` will
                                                       give Ƃ «artici«ants the o«tion ov taing a two`ay Ƃ L certiwcation
                                                       «rogram while at the Ƃ to become an Ƃ L certiwe` instrÕctor.




                  4.




             The Active Bystandership for Law Enforcement (ABLE) Project is a program of the Georgetown University Law Center.
         The ABLE Project is a registered service mark of Georgetown. For more information visit www.law.georgetown.edu/IPP/ABLE.




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                                            ABLE Resources

                                            /he Ƃ L Proect is always evolving. 7e continÕe to eÝ«an` oÕr training
                                            ovverings an` eÝ«an` the resoÕrces available on oÕr website. ere is
                                            a loo at the resoÕrces that are or soon will be available via the Ƃ L
                                            Proect web site\

                                            • Caselaw Digests. e`eral an` state law regar`ing the civil an` criminal
                                              liability ov bystan`er ovwcers continÕes to evolve. /he Ƃ L Proect
                                              website will «rovi`e a `igest ov relevant ve`eral an` state bystan`er
                                              caselaw.

                                            • Statutory Digests. LegislatÕres across the coÕntry are actively seeing
                                              to im«ose reµÕirements vor ovwcers to intervene to «revent wrong`oing.
                                              /he Ƃ L Proect website will trac these legislative evvorts.

                                            • Policy Best Practices. /o «artici«ate in the Ƃ L Proect, law
                                              envorcement agencies mÕst a`o«t certain «olicies `esigne` to create
                                              a cÕltÕre in which active bystan`ershi« will thrive. /he Ƃ L Proect
                                              website will «rovi`e a collection ov mo`el «olicies to assist agencies in
                                              a`o«ting best «ractices in these areas.

                                            • Online “ABLE Shorts” Video Series.                 /o give agencies an`
                                              commÕnities a `ee«er Õn`erstan`ing ov what active bystan`ershi« is
                                              an` how it wors it in the conteÝt ov «olicing, the Ƃ L Proect will
                                              host a series ov ÓäminÕte <oom interviews with thoÕghtlea`ers in the
                                              areas ov «olicing, social Õstice, civil rights, teaching, «sychology, an`
                                              relate` wel`s. /hese vi`eos will be vree to all, an` will air beginning in
                                                ovember ÓäÓä.

                                            • Implementation Technical Assistance. /he Ƃ L Proect «rovi`es law
                                              envorcement agencies acce«te` in the «rogram with a wi`e variety
                                              ov vree im«lementation sÕ««ort. or agencies that reµÕire a``itional
                                              assistance, the Ƃ L Proect website will ovver a list ov in`ivi`Õals an`
                                              agencies ovvering vree an` veebase` sÕ««ort.




                                                For More Information regarding the ABLE Project, please visit
                                                 htt«s\ÉÉwww.law.georgetown.e`ÕÉinnovative«olicing«rogramÉ
                                                           activebystan`ershi«vorlawenvorcementÉ
                                                                or email Lba£ÇJgeorgetown.e`Õ.




         5.




    The Active Bystandership for Law Enforcement (ABLE) Project is a program of the Georgetown University Law Center.
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Appendices

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Appendix III                                                       Questions
NYPD Discipline Matrix                                             Appendix XI
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NYPD-CCRB Discipline Matrix                                        Appendix XII
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Appendix X

NYPD Feedback Survey
Thank you for visiting the New York City Police Department.

Your responses to this survey will help us improve and provide excellent service to our
communities. The survey will take about 2 minutes to complete, and is anonymous.



1. Where did you visit the NYPD?

   •   Manhattan
   •   Brooklyn
   •   Queens
   •   Bronx
   •   Staten Island


2. What facility did you visit?

   •   Precinct (Drop Down Lists By Borough)
   •   Other (Please Specify)


3. Why did you visit an NYPD facility?

   •   Report a Crime or Violation
   •   Obtain an Accident Report
   •   Report Lost or Stolen Property
   •   Pick Up Property
   •   Speak to a Detective
   •   Attend a Meeting
   •   Attend a Precinct Program
   •   Ask for Information
   •   Other (Please Specify)




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4. I am satisfied with the overall service I received.

      •    Strongly agree
      •    Agree
      •    Neither agree nor disagree
      •    Disagree
      •    Strongly disagree


5. How long did you wait at the facility before you met with someone who could assist
you?

      •    0-5 minutes
      •    5-10 minutes
      •    10-20 minutes
      •    20-30 minutes
      •    More than 30 minutes


6. The person who greeted me was able to direct me toward the services I needed.

      •    Strongly agree
      •    Agree
      •    Neither agree nor disagree
      •    Disagree
      •    Strongly disagree


7. I spoke with a detective about my issue.

      •    Yes
      •    No
      •    Unsure


8. The detective I worked with was helpful in providing information about the
investigative process.

      •    Strongly agree
      •    Agree




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   •   Neither agree nor disagree
   •   Disagree
   •   Strongly disagree


9. The person who assisted me was knowledgeable about how to resolve my request.

   •   Strongly agree
   •   Agree
   •   Neither agree nor disagree
   •   Disagree
   •   Strongly disagree


10. I am satisfied with how my issue was addressed.

   •   Strongly agree
   •   Agree
   •   Neither agree nor disagree
   •   Disagree
   •   Strongly disagree


11. Please comment on your experience, specifically on the things NYPD did well or ways
in which we could improve. Survey responses are not monitored 24/7. For emergencies,
please call 911.



To file a formal complaint, please contact the Internal Affairs Bureau (IAB) at 212-741-8401 or
IAB@NYPD.org.




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Appendix XI




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Appendix XII

                                                                    DEPARTMENT ALLOCATION ETHNIC RANK REPORT
                          WHITE                           BLACK              HISPANIC              ASIAN                    NAT AMERICAN              TOTALS
        Rank       M       F    TOTAL                M     F    TOTAL    M      F     TOTAL   M     F   TOTAL                M    F   TOTAL    M         F   TOTAL
        CHIEF      ͹         ͳ         8             ʹ      ʹ       4      ʹ                2                                                  ͳͳ        ͵      14
                 ͻͶǤͶά     ͽǤͷά     ͻͽǤͷά       ͷͺǤ͹ά     ͷͺǤ͹ά   ͸;Ǥͼά   ͷͺǤ͹ά           ͷͺǤ͹ά                                               ͽ;Ǥͼά    ͸ͷǤͺά

        AC         ͳ͵        ʹ        15             ͳ      ʹ       3      Ͷ                4                                                  ͳͺ        Ͷ      22
                 ͻͿǤͷά     ͿǤͷά     ͼ;Ǥ͸ά        ͺǤͻά     ͿǤͷά    ͷ͹Ǥͼά   ͷ;Ǥ͸ά           ͷ;Ǥ͸ά                                               ;ͷǤ;ά    ͷ;Ǥ͸ά

        DC         Ͷͷ        ͳ        46             ͹      ͳ       8      ͵                3        ͳ              1                          ͷ͸        ʹ      58
                 ͽͽǤͼά     ͷǤͽά     ͽͿǤ͹ά       ͷ͸Ǥͷά     ͷǤͽά    ͷ͹Ǥ;ά   ͻǤ͸ά            ͻǤ͸ά     ͷǤͽά           ͷǤͽά                        ͿͼǤͼά     ͹Ǥͺά

        INS        ͺ͹        ͹        94             ͳͳ     Ͷ      15      ͳͷ              15        ʹ              2                          ͳͳͷ      ͳͳ      126
                 ͼͿǤͶά     ͻǤͼά     ͽͺǤͼά        ;Ǥͽά     ͹Ǥ͸ά    ͷͷǤͿά   ͷͷǤͿά           ͷͷǤͿά    ͷǤͼά           ͷǤͼά                        ͿͷǤ͹ά     ;Ǥͽά

        DI        ͳͳͶ        ͺ        122            ͳͳ     ͸      17      ͳͺ       ͵      21        ͷ              5                          ͳͶͺ      ͳ͹      165
                 ͼͿǤͷά     ͺǤ;ά     ͽ͹ǤͿά        ͼǤͽά     ͹Ǥͼά    ͷͶǤ͹ά   ͷͶǤͿά   ͷǤ;ά    ͷ͸Ǥͽά    ͹ǤͶά           ͹ǤͶά                        ;ͿǤͽά    ͷͶǤ͹ά

        CPT       ͳͻʹ       ͳʹ        204            ʹͷ    ͳͲ      35      Ͷͺ       ͺ      56       ͵ͺ      Ͷ      42                          ͵Ͳ͵      ͵Ͷ      337
                 ͻͽǤͶά     ͹Ǥͼά     ͼͶǤͻά        ͽǤͺά     ͹ǤͶά    ͷͶǤͺά   ͷͺǤ͸ά   ͸Ǥͺά    ͷͼǤͼά    ͷͷǤ͹ά   ͷǤ͸ά   ͷ͸Ǥͻά                       ;ͿǤͿά    ͷͶǤͷά

        LT        ͺ͵Ͷ       ͸ͳ        895        ͳͶͺ       ͸ʹ      210    ʹͺͲ      ͷ͸      336      ͳ͵͵     ͺ      141       ͳ           1    ͳǡ͵ͻ͸     ͳͺ͹    1,583
                 ͻ͸Ǥͽά     ͹ǤͿά     ͻͼǤͻά        ͿǤ͹ά     ͹ǤͿά    ͷ͹Ǥ͹ά   ͷͽǤͽά   ͹Ǥͻά    ͸ͷǤ͸ά    ;Ǥͺά    ͶǤͻά   ;ǤͿά     ͶǤͷά        ͶǤͷά   ;;Ǥ͸ά    ͷͷǤ;ά

        SGT      ʹǡͲ͵Ͳ      ʹͲͷ      2,235       ͶͲͲ       ʹͳͺ     618    ͺͶͶ      ʹͷͲ    1,094     ͵͸ʹ    ʹͲ      382       ͵           3    ͵ǡ͸͵ͻ     ͸ͻ͵    4,332
                 ͺͼǤͿά     ͺǤͽά     ͻͷǤͼά        ͿǤ͸ά     ͻǤͶά    ͷͺǤ͹ά   ͷͿǤͻά   ͻǤ;ά    ͸ͻǤ͹ά    ;Ǥͺά    ͶǤͻά   ;Ǥ;ά     ͶǤͷά        ͶǤͷά   ;ͺǤͶά    ͷͼǤͶά

        DET      ʹǡʹ͸ͻ      ʹͶ͵      2,512       ͷͺͳ       ͳͺͻ     770    ͳǡͲ͵ͳ    ʹͺ͸    1,317     ͳͻͷ    ʹͶ      219       Ͷ      ͳ    5    ͶǡͲͺͲ     ͹Ͷ͵    4,823
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        PO       ͺǡ͸ʹͲ     ͳǡ͵͵͸     9,956      ʹǡ͵ʹͲ     ͳǡʹͻͶ   3,614   ͷǡ͵ͺ͵   ʹǡͲʹͺ   7,411    ʹǡͳͻ͹   ʹͲͺ    2,405      ͳͲ     ͸    16   ͳͺǡͷ͵Ͳ   Ͷǡͺ͹ʹ 23,402
                 ͹ͼǤ;ά     ͻǤͽά     ͺ͸Ǥͻά        ͿǤͿά     ͻǤͻά    ͷͻǤͺά   ͸͹ǤͶά   ;Ǥͽά    ͹ͷǤͽά    ͿǤͺά    ͶǤͿά   ͷͶǤ͹ά    ͶǤͶά   ͶǤͶά ͶǤͷά   ͽͿǤ͸ά    ͸ͶǤ;ά
         UMOS
        TOTALS
                 ͳͶǡʹͳͳ ͳǡͺ͹͸       16,087      ͵ǡͷͲ͸     ͳǡ͹ͺͺ   5,294   ͹ǡ͸ʹͺ   ʹǡ͸͵ͳ   10,259   ʹǡͻ͵͵ ʹ͸Ͷ      3,197      ͳͺ   ͹     25    ʹͺǡʹͻ͸ ͸ǡͷ͸͸ 34,862
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        Personnel Bureau - Strategic Analysis Unit
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                                WHITE                        BLACK                      HISPANIC                    ASIAN            NAT AMERICAN              TOTALS
            TITLE      M         F    TOTAL         M         F        TOTAL     M          F    TOTAL      M        F    TOTAL      M    F TOTAL       M        F    TOTAL
           PAA        ʹ͵         ʹͲͲ      223           ʹͻ    ͸Ͷʹ        671     ͳʹ        ʹ͸͸     278      ͵ͷ      ͺͶ      119       ͳ      ͵    4     ͳͲͲ    ͳǡͳͻͷ     1,295
                     ͷǤ;ά       ͷͻǤͺά    ͷͽǤ͸ά      ͸Ǥ͸ά     ͺͿǤͼά      ͻͷǤ;ά   ͶǤͿά      ͸ͶǤͻά   ͸ͷǤͻά    ͸Ǥͽά     ͼǤͻά   ͿǤ͸ά     ͶǤͷά   ͶǤ͸ά ͶǤ͹ά   ͽǤͽά    Ϳ͸Ǥ͹ά

           SPAA       ͳͳ         ͳͲͺ      119           ͳͲ    Ͷͺͳ        491     ͷ         ͳͳ͵     118       ͸      ʹͺ       34                         ͵ʹ      ͹͵Ͳ       762
                     ͷǤͺά       ͷͺǤ͸ά    ͷͻǤͼά      ͷǤ͹ά     ͼ͹Ǥͷά      ͼͺǤͺά   ͶǤͽά      ͷͺǤ;ά   ͷͻǤͻά    ͶǤ;ά     ͹Ǥͽά   ͺǤͻά                        ͺǤ͸ά    ͿͻǤ;ά

           PRAA        ͵         Ͷ͵       46            ͺ     ͳ͹͸        184     ͳ         ͵͸      37        Ͷ      ͳͳ       15                         ͳ͸      ʹ͸͸       282
                     ͷǤͷά       ͷͻǤ͸ά    ͷͼǤ͹ά      ͸Ǥ;ά     ͼ͸Ǥͺά      ͼͻǤ͸ά   ͶǤͺά      ͷ͸Ǥ;ά   ͷ͹Ǥͷά    ͷǤͺά     ͹ǤͿά   ͻǤ͹ά                        ͻǤͽά    ͿͺǤ͹ά

           PCT        ͵ͳ         ͷͻ       90        ͳͳͶ      ͳǡͲʹͶ      1,138    ͷ͵        ͵ʹ͵     376      ͵͵      ͷ͸       89       ʹ      ʹ    4     ʹ͵͵    ͳǡͶ͸Ͷ     1,697
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           SSA        ͳʹͲ        ͳͷ͹     277        ͹ͺ͵      ʹǡͷ͵ͳ      3,314   ͶͷͶ        ͺ͵ͻ    1,293     ͳͷͲ     ͻ͹      247       ͳ     ͳͳ    12   ͳǡͷͲͺ   ͵ǡ͸͵ͷ     5,143
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           TEA        ͳͶ͸        ͻͲ      236        ͷ͵Ͷ       ͹ͻͲ       1,324   ʹͷͲ        ʹͻ͵     543     ͳǡͲͲͲ    ͳͷʹ     1,152     ʹ      ʹ    4    ͳǡͻ͵ʹ   ͳǡ͵ʹ͹     3,259
                     ͺǤͻά       ͸Ǥ;ά     ͽǤ͸ά      ͷͼǤͺά     ͸ͺǤ͸ά      ͺͶǤͼά   ͽǤͽά      ͿǤͶά    ͷͼǤͽά    ͹ͶǤͽά    ͺǤͽά   ͹ͻǤ͹ά    ͶǤͷά   ͶǤͷά ͶǤͷά   ͻͿǤ͹ά   ͺͶǤͽά

           CAD        ͶͲ         ͳͲ       50            ͳͷ    ʹͲ          35     Ͷ͹        ͵ͷ      82       ͵ʹ      ͳͲ       42                         ͳ͵Ͷ     ͹ͷ        209
                     ͷͿǤͷά      ͺǤ;ά     ͸͹ǤͿά      ͽǤ͸ά     ͿǤͼά       ͷͼǤͽά   ͸͸Ǥͻά     ͷͼǤͽά   ͹ͿǤ͸ά    ͷͻǤ͹ά    ͺǤ;ά   ͸ͶǤͷά                       ͼͺǤͷά   ͹ͻǤͿά

           SCG        ͵͸         ͷ͵͹      573           ͸ͳ    ͺͲͳ        862     Ͷͺ        ͹͹͸     824      ͵Ͳ      ͳͺ͹     217       ͳ      ͸    7     ͳ͹͸    ʹǡ͵Ͳ͹     2,483
                     ͷǤͺά       ͸ͷǤͼά    ͸͹Ǥͷά      ͸Ǥͻά     ͹͸Ǥ͹ά      ͹ͺǤͽά   ͷǤͿά      ͹ͷǤ͹ά   ͹͹Ǥ͸ά    ͷǤ͸ά     ͽǤͻά   ;Ǥͽά     ͶǤͶά   ͶǤ͸ά ͶǤ͹ά   ͽǤͷά    Ϳ͸ǤͿά

           OTH        ͺͲͷ        ͶͲ͹     1,212      ͵͸͵       ͷͶͷ        908    ʹͻ͵        ʹͺ͵     576      ʹͷ͵     ͳͶ͵     396       ͸      ͵    9    ͳǡ͹ʹͲ   ͳǡ͵ͺͳ     3,101
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                     2010               WHITE       BLACK           HISPANIC      ASIAN           CITY POPULATION
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                                        WHITE       BLACK          HISPANIC       ASIAN           MALE     FEMALE
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           Personnel Bureau - Strategic Analysis Unit
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Appendix XIII

                        2/26/2021                                                                                                                                Microsoft Power BI




                                                              New York City Demographics (US Census Figures - 2019)                                                                                                                          Select the Member of Service (MOS) Type...

                                                              8,336,817                   13.9%                                24.3%                         29.1%                        0.4%                       32.1%                            Civilian                Uniform

                                                              NYC Population              Asian                                Black                         Hispanic                     Native American            White                           Ci ilian
                                                              NYPD Members of Service (MOS) Demographics                                                                                                                                                                        Uniform

                                                          34,583                          9.1%                                 15.2%                         29.3%                        0.1%                       46.4%                                  Data refreshed on:
                                                          Uniform                         Asian                                Black                         Hispanic                     Native American            White                                      / /         AM

                         Race and Rank/Title                                                                                                                            Years of Service                   Percent of Gender by Rank/Title
                         5DFH      White   Hispanic   Black     Asian   Native American                                                                                   Female   Male                     Female             Male

                          White                                                                                                 Black                                                                       100%
                                                                                                                                                                        50 - 54              0 1



                                                                                                                                                                        40 - 44              1 11
                                                                                                                                                                                                            80%

                                                                                                                                                                        35 - 39            10 145



                                                                                                                                                                        30 - 34            22 307
                                                                                                                                                                                                            60%
                                                                                                                                Police Officer

                                                                                     Detective                 Sergeant                                                 25 - 29            99      897

                                                                                                                                Detective
                                                                                                                  Capt…                                                                   341       2032    40%
                                                                                                                                                                        20 - 24
                          Police Officer                                             Lieutenant                   Depu…         Sergeant
                          Hispanic                                                                                              Asian                                                 1388         5717
                                                                                                                                                                        15 - 19


                                                                                                                                                                                                            20%
                                                                                                                                                                        10 - 14       1272         5720



                                                                                                                                                                        5-9           1357          6551
                                                                                                                                Police Officer
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                                                                                                  Detective         Sergeant                                                                                                er tive      nt    nt       in        r      r     f    f    f    n
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2/26/2021                                                                                                                                                                  Microsoft Power BI




 Rank/Title, Gender and Race
 5DFH      Asian     Black     Hispanic         Native American            White

 100%




  80%




  60%




  40%




  20%




   0%
                  Police      Police          Detective Detective          Sergeant        Sergeant Lieutenant Lieutenant            Captain         Captain       Deputy           Deputy      Inspector         Inspector    Deputy            Deputy     Assistant       Assistant     Chief          Chief        Surgeon        Surgeon
                 Officer      Officer          Female     Male              Female           Male     Female      Male               Female           Male        Inspector        Inspector     Female             Male        Chief             Chief       Chief          Chief       Female          Male          Female         Male
                 Female        Male                                                                                                                                Female            Male                                      Female             Male       Female           Male


       Rank/Title             Police Officer                      Detective                       Sergeant                      Lieutenant                        Captain                    Deputy Inspector                  Inspector                    Deputy Chief                 Assistant Chief                     Chief

          Race         Female          Male         7RWDO   Female    Male       7RWDO      Female    Male       7RWDO     Female    Male      7RWDO     Female      Male      7RWDO     Female     Male      7RWDO      Female    Male      7RWDO      Female    Male      7RWDO    Female     Male     7RWDO    Female     Male        7RWDO    Fem
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  Asian                      203       2142                  24        197                21        361                8       128                 4         38                  £         5                   £         2                   £         1                  £        £        £          £           £        £

  Black                    1278        2293                 190        584               222        400               58       140                10         25                  6        11                  4        11                 1          7                 2         1                  2       2            

  Hispanic                 1980        5291                 284       1042              253        840              53       279                 9         48                  3        18                  £        15                  £         3                  £        4                  £       1            

  Native American              6         10                     1          4                   £          3                  £         1                   £          £         £          £         £          £         £         £          £         £         £        £          £        £        £          £           £        £

  White                    1315        8555                 247       2292              204       2023              62       827                12        193                 8       116                 7        87                 1        48                 2        14                 1       6            

  7RWDO                                                                                                                                                                                                                                                   




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Appendix XIV

ABOUT THE CRISIS MANAGEMENT SYSTEM
The Crisis Management System: this network deploys teams of credible messengers who
mediate conflicts on the street and connect high-risk individuals to services that can reduce
the long-term risk of violence. From 2010 to 2019, data shows the Crisis Management System
has contributed to an average 40% reduction in shootings across program areas compared to
31% decline in shootings in the 17 highest violence precincts in New York City.




   •   Teams of “violence interrupters” – typically credible messengers who have turned
       their lives around – engage individuals most likely to be involved in gun violence. The
       teams work to deescalate disputes before crisis or violence erupt and connect high-risk
       individuals to extensive networks that provide job training, employment opportunities,
       mental health services and legal services to increase the likelihood of long-term violence
       reduction.
   •   The effect of this effort is not only enhanced safety, but also an improved relationship
       between government and New Yorkers. Emerging evidence of this can be seen in some
       of the key indicators being tracked by the John Jay College of Criminal Justice, which is
       currently evaluating the Cure Violence component of the Crisis Management System.




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Crisis Management System Wrap Around Supportive
Services
School Conflict Mediation: The school-based conflict mediation component is designed to
provide culturally competent programming to at-risk youth to reduce the likelihood of their
involvement in violence in their school and community while increasing their attendance,
academic progress, and other social measures. The program includes school-wide activities to
assist in changing culture around violence and to assist schools in their response to incidents
that occur in the school or community.

Employment Program: Justice Plus is a flexible, wrap- around designed to support referred
participants of neighborhood-based Cure Violence programs by providing a range of work
readiness opportunities. These opportunities include: work experience placements, hard/
vocational and soft job skills development, and job search and career awareness/planning
competencies. The program participants receive stipends.

Therapeutic Mental Health Services: Therapeutic mental health services are offered and
designed to provide culturally competent therapeutic support to children, youth, and families
impacted by gun violence by improving resilience, network support, and building skills in self-
management and self-care.

Legal Services: Cure Violence participants receive support from the Legal Aid Society such as
how to identify a legal emergency and substantive legal issues such as criminal law, housing,
family, employment issues, what to do post-conviction and the hidden civil consequences of a
criminal conviction. Legal representation is provided as needed.

Anti- Gun Violence Employment Program: The Anti-Gun Violence Employment Program
(AGVEP) is a seasonal employment program that employs participants (14-24) who are
serviced through the New York City Crisis Management System. The program consists of two
phases: a 6 week summer program and a 25 week school year program. Job responsibilities
include but are not limited to community canvassing, asset mapping, data/research gathering,
community outreach and coordinating/ conducting shooting responses.



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Appendix XV


  WŽůŝĐĞZĞĨŽƌŵΘZĞŝŶǀĞŶƚŝŽŶ>ŝƐƚĞŶŝŶŐ^ĞƐƐŝŽŶƐ
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Reform & Reinvention Collaborative Timeline




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                     Participant Expectations




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How to Contribute


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                 Community Discussion (Sample Questions)


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 tŚĂƚƌŽůĞĚŽǇŽƵĨĞĞůƚŚĂƚƚŚĞEzWƐŚŽƵůĚƉůĂǇŝŶ
  ĂĚĚƌĞƐƐŝŶŐǇŽƵƌŶĞŝŐŚďŽƌŚŽŽĚĐŽŶĚŝƚŝŽŶƐ͍

 ŽǇŽƵŚĂǀĞŝĚĞĂƐĂďŽƵƚŚŽǁƚŚĞEzWĐŽƵůĚďĞƚƚĞƌ
  ĞŶŐĂŐĞƉĞŽƉůĞŝŶǇŽƵƌŶĞŝŐŚďŽƌŚŽŽĚ͍

 ,ŽǁĚŽǇŽƵĨĞĞůǁĞĐĂŶĞŶĐŽƵƌĂŐĞĂĚŝǀĞƌƐĞ
  ƵŶŝǀĞƌƐĞŽĨƌĞĂůůǇŐŽŽĚƉĞŽƉůĞƚŽƐĞƌǀĞŝŶƚŚĞEzW͍

 tŚĂƚĚŽĞƐũƵƐƚŝĐĞŵĞĂŶƚŽǇŽƵ͍



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Recent Reforms

   ƌƌĞƐƚƐĚĞĐůŝŶĞĚďǇϰϵйƐŝŶĐĞϮϬϭϬ͕    dŚĞEzWŝƐƐƵĞĚϴϯйĨĞǁĞƌĐƌŝŵŝŶĂů
   DŝƐĚĞŵĞĂŶŽƌĂƌƌĞƐƚƐĚĞĐůŝŶĞĚďǇϱϲй͘    ƐƵŵŵŽŶƐĞƐĨƌŽŵϮϬϭϬƚŽϮϬϭϵ͘


          ƌƌĞƐƚƐďǇĂƚĞŐŽƌǇ                   ƌŝŵŝŶĂů^ƵŵŵŽŶƐĞƐ
             ϮϬϭϬʹ ϮϬϭϵ                            ϮϬϭϬʹ ϮϬϭϵ




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                 Collaborative Policing & Youth Strategy

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                                   'ŽǀĞƌŶŵĞŶƚ͕
                                     ĚǀŽĐĂƚĞ
                                   ZĞůĂƚŝŽŶƐŚŝƉƐ


                                ĐĐĞƐƐƚŽ^ĞƌǀŝĐĞƐ

                                ƌĞĂƚŝǀĞƌŝŵĞ
                              ZĞĚƵĐƚŝŽŶ^ƚƌĂƚĞŐŝĞƐ

                                  /ŶĐƌĞĂƐĞĚŶŽŶͲ
                                   ĞŶĨŽƌĐĞŵĞŶƚ
                                      ŽƉƚŝŽŶƐ




                                   ŽůůĂďŽƌĂƚŝǀĞ
                                      WŽůŝĐŝŶŐ




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Strengthening Community Partnerships




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                 Recruitment, Retention and Resiliency




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Training




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                 Force Reporting

                                                                                   &ŝƌĞĂƌŵĚŝƐĐŚĂƌŐĞƐŚĂǀĞĚĞĐůŝŶĞĚϵϲй ƐŝŶĐĞϭϵϳϮ͘
                                                                   /ŶϮϬϮϬƚŚĞƌĞŚĂǀĞďĞĞŶϮϵƚŽƚĂůKĨĨŝĐĞƌ/ŶǀŽůǀĞĚ^ŚŽŽƚŝŶŐƐ͖ϭϱ ŽĨƚŚŽƐĞǁĞƌĞĂĚǀĞƌƐĂƌŝĂů͘




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Investigative Encounters

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                     ϮϬϭϬϮϬϭϭϮϬϭϮϮϬϭϯϮϬϭϰϮϬϭϱϮϬϭϲϮϬϭϳϮϬϭϴϮϬϭϵ

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                 Discipline

                                                                   ϮϬϭϵŝƐƉůŝŶĂƌǇĂƐĞKƵƚĐŽŵĞƐ
                                                                   ϮϬϭϵŝƐƉůŝŶĂƌǇĂ
                                                                   dŽƚĂůĂƐĞƐ͗ϯϯϵ
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                                                                   dŽƚĂů'ƵŝůƚǇ͗ϯϮϮ                                ϭϬ    ϭϳ

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                                                                    &ŽƌĐĞĚ^ĞƉĂƌĂƚŝŽŶ
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                                                                    WĞŶĂůƚǇĂǇƐ




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Data Transparency




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                 Body Worn Camera



       Ϯϱ͕ϯϮϭ ƉŽůŝĐĞŽĨĨŝĐĞƌƐ
        ŝŶƚŚĞĨŝĞůĚŽƵƚĨŝƚƚĞĚ
        ǁŝƚŚtƐ͘
       KǀĞƌϭϯŵŝůůŝŽŶ
        ƉŽůŝĐĞŝŶƚĞƌĂĐƚŝŽŶƐ
        ƌĞĐŽƌĚĞĚ͘
       ϭϴŵŽŶƚŚƌĞƚĞŶƚŝŽŶ
        ǁŝƚŚĂƵƚŽĚĞůĞƚŝŽŶ
       ϭϯϬ͕ϬϬϬ ŶĞǁǀŝĚĞŽƐ
        ĂĚĚĞĚĞĂĐŚǁĞĞŬ͘


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Inclusion, Respect, and Transparency




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